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EXPERT REPORT

Analysis of Distributor and Manufacturer
Regulatory Compliance to Maintain
Effective Controls for the Prevention of
Diversion of Controlled Substances




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I.     QUALIFICATIONS AND EXPERIENCE
       Statement of Qualifications

          ● 1999 graduate of Eastern Michigan University with a degree in Public
            Administration.

          ● 26 years of law enforcement experience.

          ● Retired in 2002 as an Executive Lieutenant with the Romulus Police Department.

          ● Drug Enforcement Administration Diversion Investigator assigned to the Detroit
            Divisional Office from September 2004 through retirement in June 2017. Diversion
            Investigators are responsible for several different types of investigations including
            regulatory investigations, state-action related investigations, pre-registration
            application investigations, civil investigations, administrative investigations, and
            criminal investigations.     In 2011 Detroit DEA management restructured the
            responsibilities of the diversion investigators in the Detroit Divisional Office. At
            that time, Mr. Rafalski’s primary responsibility was to conduct administrative,
            civil, and regulatory investigations of DEA registrants.

          ● Successfully completed the following DEA training: Basic Diversion Investigator
            School (2004), Distributor Briefing/Training (2008), Advanced Diversion
            Investigator School (2009), Comprehensive Regulatory Investigation Training
            (2010), Diversion Leadership School (2011), Advanced Diversion Investigator
            School (2015).

          ● Participated as a DEA Instructor in the design and presentation of the following
            training programs: Task Force Officers Training and Orientation, Detroit,
            Michigan (January 2009), Basic Narcotics Training, Macomb Police Academy,
            Clinton Township, Michigan (April 2009), U.P. Prescription Diversion/Asset
            Forfeiture Class, Marquette, Michigan (July 2009 and September 2010), and Basic
            Narcotic Investigator Course, Richmond, Kentucky (May 2010). Prescription Drug
            Diversion, Gaylord, Michigan (2015)

       Awards
         ● Maintained a performance rating of “Outstanding” from 2005 to 2016.

          ● Received DEA performance awards from 2009 to 2015 and in 2017.

          ● Received an award from the Detroit Federal Executive Board in 2013 for exemplary
            public service to the DEA.

          ● DEA Administrator’s Award for the investigation of the Harvard Drug Group.




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          ● In June of 2013 and September of 2017 he received recognition from the United
            States Attorney’s Office, Eastern District of Michigan for the Harvard Drug Group
            and Mallinckrodt LLC

       Significant Investigations

          ● 2004 -2008 Investigation of Dr. Leo Ognen
               ○ Criminal opioid investigation related to improper prescriptions.
               ○ Led to the creation of prescribing database utilized in Ohio.
               ○ Conducted interviews with employees of pharma companies.
               ○ Resulted in conviction and incarceration.

          ● 2006 – 2011 Investigation of Dr. Sohrab Shafinia, D.O.
               ○ Criminal opioid investigation of conspiracy to possess controlled
                   substances with intent to distribute.
               ○ Investigation led to the identification and conviction of an organized
                   prescription drug ring.
               ○ Extensive reviews of Michigan Automated Prescribing Records (MAPS)
               ○ Conducted interviews, surveillance, recruiting and utilizing cooperating
                   individuals, as well as undercover activities.
               ○ Investigation led to the identification and conviction of the responsible
                   pharmacist.

          ● 2006 – 2008 Investigation of Dr. Louis Cannella, M.D.
               ○ Criminal opioid investigation related to improper prescriptions.
               ○ Extensive reviews of Michigan prescription monitoring program records.
               ○ Led to the creation of a Wisconsin prescription database.
               ○ Conducted numerous interviews of witnesses and defendants, surveillance,
                   recruiting and using cooperating individuals, as well as other investigative
                   activities.
               ○ Resulted in conviction and incarceration.

          ● 2006 Regulatory Investigation of Walgreen, Perrysburg, Ohio
               ○ Unannounced regulatory investigation related to ensure compliance with
                  regulations and record keeping involving controlled substances.
               ○ Conducted an accountability audit, record-keeping review, and security
                  investigation.
               ○ Resulted in the issuance of a Letter of Admonition for inadequate SOMS.

          ● 2007 Regulatory Investigation of Lake Erie Medical Supply
               ○ Regulatory investigation related to repackaging, relabeling and distribution
                  of controlled substances mainly to physicians and medical offices.
               ○ Recommended a distributor briefing at DEA headquarters in November
                  2008 to reiterate regulatory requirements to registrants.




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                 ○ Attended the November 2008 distributor briefing presented by other
                   Diversion Investigators.

          ● 2010 – 2011 Administrative Investigation of The Harvard Drug Group
               ○ Conducted a review of ARCOS data to identify any unusual patterns of
                   distribution of oxycodone to Florida pain clinics.
               ○ Conducted extensive review of company records and policies, controlled
                   substance order forms, DEA Form 222s, and interviews of employees.
               ○ Conducted review of chargeback system.
               ○ Investigation led to an Order to Show Cause in June of 2010 for among
                   other things, developing work around as to not trigger SOMS.
               ○ Investigation concluded with entry of an Administrative Memorandum of
                   Agreement that remained in effect for three years.

          ● 2010 – 2013 Administrative Investigation of Masters Pharmaceutical
               ○ Met with and interviewed employees and initiated an on-site investigation.
               ○ Served several DEA Administrative subpoenas and obtained 21 customers
                   files to review.
               ○ Reviewed customer files which contained customer due diligence including
                   but not limited to: questionnaires, on-site investigation reports, written
                   notations, utilization reports, ship to memos, SOMS information, and
                   electronic notations.
               ○ Investigation concluded with the issuance of an Order to Show Cause.
               ○ Order to Show Cause resulted in revocation of DEA registration which was
                   affirmed by United States Court of Appeals for the District of Columbia
                   Circuit.

          ● 2010 – 2017 Administrative Investigation of Mallinckrodt L.L.C.
               ○ Administrative investigation begun in response to information related to a
                   chargeback program based on other investigations.
               ○ Reviewed the chargeback discount program and transactional information
                   involved in the program, which included the purchasers name, address, type
                   and strength of drug, and date of transaction.
               ○ The investigated chargeback data contained information that allowed
                   Mallinckrodt to see the geographic distribution of their products, the
                   volume and size of purchases.
               ○ Chargeback data also disclosed some pharmacies and/or practitioners
                   utilizing multiple distributors to purchase the same product in large
                   quantities.
               ○ Through an administrative subpoena requested documents related to
                   suspicious order system and related policies, related compliance policies,
                   chargeback data, customer files, internal and external communications to
                   include emails, written correspondence, and notes.




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                         ○ Administrative investigation resulted in an Administrative Memorandum of
                           Agreement that remained in effect for three years.

        As a DEA Diversion Investigator with 13 years of experience (2004-2017), I am uniquely
qualified to offer expert opinions regarding compliance with federal regulations governing the
distribution of controlled substances including oxycodone and hydrocodone. I am familiar with
the DEA Diversion Investigators Manual and received training from the United States Department
of Justice on suspicious order monitoring, data analysis from ARCOS, reporting of suspicious
orders and the due diligence required before shipping an order flagged as suspicious. I directly
participated in the successful prosecution of Masters Pharmaceutical which resulted in a case
opinion from the highest federal court in the country (to date). I led the first action that led to a
memorandum of agreement with a manufacturer for failure to maintain effective controls to
prevent diversion and failing to design and operate an adequate suspicious order monitoring
system.

         Based (a) on my education, training and experience, (b) the law, regulation and practices
in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty that there
was a systematic, prolonged failure over many years by the defendant manufacturers and
distributors to maintain effective controls against diversion of legitimate opioid prescriptions into
the illicit market. 1 I am further of the opinion that this systematic failure was a substantial cause
of the opioid epidemic plaguing the country and specifically in Cuyahoga County and Summit
County. I am prepared to testify regarding the regulatory duties imposed by the CSA and federal
regulations. I have been asked to review the documents produced by the defendants and
depositions taken in MDL2804 and offer opinions regarding statutory and regulatory compliance.

        I offer my opinions herein to a reasonable degree of professional certainty. I believe the
facts stated herein are true and accurate and based on the record provided to me. I understand that
the defendants continue to supplement discovery and have disclosed tens of millions of documents.
I have relied upon the defendant's answers to Combined Discovery Requests (served on July 1,
2018) as a basic outline for evidence of compliance to reach my opinions.

        I am being compensated at the rate of $300.00 per hour for the time I have spent related to
this report. The hourly rate for my time spent testifying is $500.00 per hour. I have not previously
provided expert testimony at trial or deposition. I have not authored any publications or articles.
In addition to the documents and testimony cited within my report, I have also reviewed documents
identified in the attached Schedule I.




1
    I provide all opinions in this report with a reasonable degree of professional certainty.




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           II.      STANDARDS

                    A.       STATUTORY DUTY.

        Each distributor owes a duty to maintain effective control against diversion of prescription
opiates into the illicit market. 21 U.S.C.A. § 823(b)(1) [1970].

         The Controlled Substances Act (“CSA”) and its implementing regulations create
restrictions on the distribution of controlled substances. See 21 U.S.C. §§ 801–971 (2006); 21
C.F.R. §§ 1300–1321 (2009). The main objectives of the CSA are to conquer drug abuse and to
control the legitimate and illegitimate traffic in controlled substances. Congress was particularly
concerned with the need to prevent the diversion of drugs from legitimate to illicit channels. To
effectuate these goals, Congress devised a closed regulatory system making it unlawful to
manufacture, distribute, dispense, or possess any controlled substance except in a manner
authorized by the CSA. The CSA categorizes all controlled substances into five schedules. The
drugs are grouped together based on their accepted medical uses, the potential for abuse, and their
psychological and physical effects on the body. Each schedule is associated with a distinct set of
controls regarding the manufacture, distribution, and use of the substances listed therein. The CSA
and its implementing regulations set forth strict requirements regarding registration, labeling and
packaging, production quotas, drug security, and recordkeeping. 2

        The CSA authorizes the DEA to establish a registration program for manufacturers,
distributors, and dispensers of controlled substances designed to prevent the diversion of legally
produced controlled substances into the illicit market. 3 Any entity that seeks to become involved
in the production or chain of distribution of controlled substances must first register with the DEA. 4

        The CSA provides for control by the Justice Department of problems related to drug abuse
through registration of manufacturers, wholesalers, retailers, and all others in the legitimate
distribution chain, and makes transactions outside the legitimate distribution chain illegal. 5
“Congress was particularly concerned with the diversion of drugs from legitimate channels. It was
aware that registrants, who have the greatest access to controlled substances and therefore the
greatest opportunity for diversion, were responsible for a large part of the illegal drug traffic.” 6

       Distributors of Schedule II drugs—controlled substances with a “high potential for abuse” 7
– must maintain “effective control against diversion of particular controlled substances into other

2
    Gonzales v. Raich, 545 U.S. 1, 12–14 (2005) (internal citations omitted).
3
 H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970); see 21 U.S.C. § 801(2); 21 U.S.C. §§
821-824, 827, 880.
4
    21 U.S.C. § 822; 21 C.F.R. § 1301.11.
5
    1970 U.S.C.C.A.N. 4566, 4569 (emphasis added).
6
    United States v. Moore, 423 U.S. 122, 135 (1975).
7
    21 U.S.C. §§ 812(b), 812(2)(A)-(C)




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than legitimate medical, scientific, and industrial channels.” 8 The CSA is designed to improve the
administration and regulation of the manufacturing, distribution, and dispensing of controlled
substances by providing for a “closed” system of drug distribution for legitimate handlers of such
drugs. Such a closed system is intended to reduce the widespread diversion of these drugs out
of legitimate channels into the illicit market, while at the same time providing the legitimate
drug industry with a unified approach to narcotic and dangerous drug control. 9 The CSA seeks,
through appropriate regulation of the manufacture and distribution of drugs, to reduce the
availability of drugs subject to abuse except through legitimate channels of trade and for legitimate
uses. 10

Based on my review of all the relevant documents and testimony taken in this case (MDL 2804) it
is my opinion to a reasonable degree of professional certainty that the multiple distributors
servicing Cuyahoga County and Summit County failed to maintain effective control against
diversion of prescription opiates into other than legitimate medical, scientific, and industrial
channels in violation of 21 U.S.C.A. § 823(b)(1). The bar graphs included as Figures 1 and 2 in
Schedule II evidence the volume of hydrocodone and oxycodone distributed into Cuyahoga
County and Summit County from 1996 to 2018.

           B.       REGULATORY DUTY
        Each distributor “shall design and operate a system to disclose to the registrant suspicious
orders of controlled substances. The registrant shall inform the Field Division Office of the
Administration in his area of suspicious orders when discovered by the registrant. Suspicious
orders include orders of unusual size, orders deviating substantially from a normal pattern, and
orders of unusual frequency.” 11
           This regulatory duty has been defined to include the following obligations:
           The “security requirement” at the heart of this case mandates that distributors
           “design and operate a system” to identify “suspicious orders of controlled
           substances” and report those orders to DEA (the Reporting Requirement). 21
           C.F.R. § 1301.74(b). The Reporting Requirement is a relatively modest one: It
           requires only that a distributor provide basic information about certain orders to
           DEA, so that DEA “investigators in the field” can aggregate reports from every
           point along the legally regulated supply chain and use the information to ferret out
           “potential illegal activity.” Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501
           (Drug Enf't Admin. July 3, 2007). Once a distributor has reported a suspicious
           order, it must make one of two choices: decline to ship the order, or conduct some


8
    21 U.S.C. § 823(b)(1).
9
    1970 U.S.C.C.A.N. 4566, 4571-72.
10
     1970 U.S.C.C.A.N. 4566, 4574.
11
     21 C.F.R. § 1301.74(b) [1971]




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            “due diligence” and—if it is able to determine that the order is not likely to be
            diverted into illegal channels—ship the order (the Shipping Requirement). 12
         The regulatory duty is not difficult to follow and understand. As one who voluntarily
 applies to become a registrant must submit an application and undergo a pre-registration
 investigation. The pre-registration investigation involves a through onsite inspection of the
 registrant’s facilities as well as extensive discussions of the applicable regulations and the security
 requirements that must be followed. While there are numerous requirements related to registration,
 my opinions focus on the following compliance requirements:
            ● Maintain effective controls to prevent the diversion of controlled substances into “other
              than legitimate medical, scientific, and industrial channels”;
            ● “Design and operate” a system to identify suspicious orders; and
            ● Report suspicious order “when discovered.”
            C.       MDL2804 Discovery Ruling 12
         The Court in MDL2804 issued a discovery ruling (Discovery Ruling 12) which outlines
 the statutory and regulatory duties imposed by federal law upon distributors of controlled
 substances. 13 The ruling addresses the following legal standards:
            Distributors of opioids are required to “‘design and operate a system’ to identify
            ‘suspicious orders of controlled substances’ and report those orders to DEA (the
            Reporting Requirement).” Masters Pharmaceutical, 861 F.3d 206, 212 (D.C. Cir.
            2017) (quoting 21 C.F.R. § 1301.74(b)). Federal regulations explain that
            “suspicious orders include [among others] orders of unusual size, orders
            deviating substantially from a normal pattern, and orders of unusual frequency.”
            21 C.F.R. § 1301.74(b). Thus, an order for opioids received by a distributor from
            a retail pharmacy may qualify as “suspicious” for any of a number of different
            reasons. 14

 12
      Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 212–13 (D.C. Cir. 2017) (emphasis added).
 13
      See Discovery Ruling No. 12 regarding Suspicious Order Interrogatory [Doc. 1174].
 14
   “Of course, an order may be suspicious for other reasons, even if it doesn’t fit the Monthly Total Rule, such as
 that the pharmacy-customer “submitted more order forms in a 30-day period than it had in any of the prior six
 calendar months [the ‘Order Form Rule’], or if the timing of the order did not comport with the customer’s general
 ordering pattern over those six months [the ‘Order Timing Rule’].” Id. There are many other algorithms a distributor
 could use to identify opioid orders as suspicious, including: (1) the order for the opioid was placed within 30 days of
 an earlier suspicious order for the same opioid (the “Consecutive Order Rule”); (2) the order for the opioid was
 placed within 30 days of an order for the same opioid from a different distributor (the “Multi-Distributor Rule”); (3)
 the percentage increase in the amount of opioid ordered exceeded a certain threshold (the “Percentage Increase
 Rule”); or (4) the amount of opioid ordered exceeded by some threshold the amounts ordered by other similar or
 nearby pharmacies (“the Pharmacy Comparison Rule”).
           “See also Masters Pharmaceuticals, Inc., Decision and Order, 80 Fed. Reg. 55418-01 at *55477 (DEA
 Sept. 15, 2015) (“a pharmacy’s business model, dispensing patterns, or other characteristics might make an order
 suspicious, despite the particular order not being of unusual size, pattern or frequency. In other words, orders placed
 by a pharmacy that engages in suspicious activity, but places orders of regular size, pattern, and frequency, could
 still be deemed suspicious.”); id. at *55478 (noting that “suspicion” is a low bar: it “is simply a far lower standard of




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          The simplest example is that a given order for an opioid may be suspicious if it
          was of “unusual size” – say, an order that pushed a pharmacy’s monthly total
          number of opioid doses to exceed the monthly totals the same pharmacy had
          ordered in the prior six months. The Order refers below to this algorithm as the
          “Monthly Total Rule.” (Masters Pharmaceutical described the “Monthly Total
          Rule” as follows: an order is suspicious if “that order—combined with other
          orders placed in the same 30-day period—requested more doses of a controlled
          medication than the pharmacy had requested in any of the previous six calendar
          months.” Id. at 213.)

          As noted, once it has identified a suspicious order, a distributor is required to
          report it to the Drug Enforcement Agency (“DEA”). See 21 C.F.R. §1301.74(b)
          (“The [distributor] shall inform the Field Division Office of the Administration
          in his area of suspicious orders when discovered by the [distributor].”).
          Furthermore, having received a suspicious order, the distributor “must make one
          of two choices: decline to ship the [suspicious] order, or conduct some ‘due
          diligence’ and—if it is able to determine that the order is not likely to be diverted
          into illegal channels—ship the order (the Shipping Requirement).” Id. at 212–13.
          Of course, a distributor’s due diligence efforts must be thorough: “the
          investigation must dispel all red flags indicative that a customer is engaged in
          diversion to render the order non-suspicious and exempt it from the requirement
          that the distributor ‘inform’ the Agency about the order. Put another way, if, even
          after investigating the order, there is any remaining basis to suspect that a
          customer is engaged in diversion, the order must be deemed suspicious and the
          Agency must be informed.” Masters Pharmaceuticals, Inc., Decision and Order,
          80 Fed. Reg. 55418-01 at *55477 (DEA Sept. 15, 2015) (hereinafter, “Decision
          and Order”). Indeed, the DEA may revoke a distributor’s certificate of
          registration as a vendor of controlled substances if the distributor identifies orders
          as suspicious and then ships them “without performing adequate due diligence.”
          Masters Pharmaceuticals, 861 F.3d at 212. 15




 proof than whether it is ‘likely’ that the circumstance exists,” and “the regulation’s adoption of suspicion as the
 threshold for triggering the requirement that a distributor inform the Agency about the order does not even rise to the
 level of probable cause.”)” Discovery Ruling No. 12, fn 2.
 15
   Discovery Ruling No. 12 [Doc. 1174]. See also, id., at n.3 (“The Decision and Order was a final order
 entered by the DEA revoking Masters Pharmaceutical’s certificate of registration, without which Masters
 Pharmaceutical could not sell controlled substances. In Masters Pharmaceutical, the D.C. Circuit Court
 of Appeals denied a petition for review, leaving intact the DEA’s analysis and conclusion in the Decision
 and Order.”)




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         The Order noted the “legal authorities reviewed above leave unclear exactly when an
 order is deemed suspicious, and thus when a distributor is required to inform the DEA that it
 received a suspicious order. The following flowchart illustrates the issue.” 16




                    This flowchart shows how a distributor’s Suspicious Order Monitoring
            System must work and diagrams the process a distributor must undertake when
            it receives a suspicious order. Notably, there is a “yellow light” (caution) and a
            “red light” (stop) in the process. When a distributor first identifies an order as
            suspicious, this is a “yellow light” – it cannot ship the order without doing some
            investigation. If that investigation does not “dispel all red flags indicative that a
            customer is engaged in diversion,” then the distributor gets a “red light” and must
            not ship the order. Masters Pharmaceutical, 861 F.3d at 222. Beyond requiring
            that a distributor must employ some Suspicious Order Monitoring System
            (“SOMS”), the federal regulations do not make explicit exactly what algorithm(s)
            the SOMS must use to identify suspicious orders, or exactly what due diligence
 16
      See Discovery Ruling No. 12 issued December 9, 2018 at page 5.




                                                         12
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            efforts are required when investigating an order after it is identified as suspicious.
            For example, a distributor is not required to use the Monthly Total Rule or the
            Pharmacy Comparison Rule; it is free to design its SOMS using any algorithms
            and rules it believes will get the job done.

                     With regard to the Reporting Requirement, it is not entirely clear whether
            a distributor’s obligation to inform the DEA attaches: (1) when the “yellow light”
            flashes – that is, when the distributor first identifies an order as suspicious; or (2)
            only after the “red light” flashes – which would mean a distributor does not have
            to inform the DEA it received a suspicious order if investigation shows the order
            was legitimate, after all. Indeed, the authorities cited above provide support for
            each approach, as shown by the following quotations.

            “Red Light”

                •   “[I]f, even after investigating the order, there is any remaining basis to
                    suspect that a customer is engaged in diversion; the order must be deemed
                    suspicious and the Agency must be informed. Decision and Order, 80
                    Fed. Reg. at *55478.

                •   “DEA regulations expressly provide that deviations in size, frequency, or
                    pattern are the sort of indicia that give rise to a suspicion and, unless the
                    suspicion is dispelled, the obligation to report. Masters Pharmaceuticals,
                    861 F.3d at 215 (citing Decision and Order, 80 Fed. Reg. at *55,479; and
                    21 C.F.R. §1301.74(b)).

            “Yellow Light”

                • “Once a distributor has reported a suspicious order, it must make one of
                  two choices: decline to ship the order or conduct some ‘due diligence’
                  and—if it is able to determine that the order is not likely to be diverted
                  into illegal channels—ship the order (the Shipping Requirement).”
                  Masters Pharmaceutical, 861 F.3d at 212–13. 17


         In other words, the Court determined it is unclear whether an order is “suspicious” (and so
 must be reported to the DEA) as soon as a distributor’s SOMS flags it as suspicious, or only after
 due diligence fails to dispel any suspicion. In any event, it is clear that distributors are required to
 identify suspicious orders from pharmacies and cannot ship those orders unless they conduct “due
 diligence” that determines those orders are not likely to be diverted. Further, distributors are
 required to report suspicious orders to the DEA upon discovery.


 17
      Discovery Ruling No. 12 [1174].




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                     D.     ARCOS/DADS
         The Automated Records and Consolidated Orders System/Diversion Analysis and
 Detection System (ARCOS/DADS) 18 system is used to track and report the transfer of
 pharmaceuticals and to detect potential diversion. This system of records is maintained pursuant
 to the reporting requirements of the Comprehensive Drug Abuse Prevention and Control Act of
 1970 19 and to fulfill the United States treaty obligations under the Single Convention on Narcotic
 Drugs and the Convention on Psychotropic Substances of 1971. 20
         The Automation of Reports and Consolidated Orders System (ARCOS) is the automated
 system developed by DEA to monitor selected controlled substances. ARCOS software enables
 the government to maintain a current and historical record of selected controlled substance
 inventories and transactions from the point of manufacture to the point of sale, distribution, or
 other disposition, and finally, to the dispenser level. 21
        The information contained in the ARCOS system consists of documentation of individual
 business transactions between individuals who handle controlled substances at every level, from
 manufacturers down to the pharmacies. Records include copies of controlled substances
 inventories, drug codes, deletion and adjustment reports, sales, and purchase orders, and includes,
 but not limited to the date of the transaction, the name, quantity, and quality of the
 chemicals/substances purchased or dispensed, the parties to the transaction, NCD code, and the
 DEA registrant numbers. This information provides an audit trail of all manufactured and/or
 imported controlled substances.
         All automated data files associated with ARCOS/DADS are maintained in the Department
 of Justice Data Center and the Drug Enforcement Administration Data Center and the system is



 18
   “ARCOS” refers to the automated, comprehensive drug reporting system which monitors the flow of DEA
 controlled substances from their point of manufacture through commercial distribution channels to point of sale or
 distribution at the dispensing/retail level - hospitals, retail pharmacies, practitioners, mid-level practitioners, and
 teaching institutions. Included in the list of controlled substance transactions tracked by ARCOS are the following:
 All Schedules I and II materials (manufacturers and distributors); Schedule III narcotic and gamma-hydroxybutyric
 acid (GHB) materials (manufacturers and distributors); and selected Schedule III and IV psychotropic drugs
 (manufacturers only). ARCOS accumulates these transactions which are then summarized into reports which give
 investigators in Federal and state government agencies information which can then be used to identify the diversion
 of controlled substances into illicit channels of distribution. The information on drug distribution is used throughout
 the United States (U.S.). by U.S. Attorneys and DEA investigators to strengthen criminal cases in the courts. See
 United States Department of Justice, Drug Enforcement Administration, Diversion Control Division, Automation of
 Reports and Consolidated Orders System (ARCOS), Background: What is ARCOS and What Does it Do?,
 https://www.deadiversion.usdoj.gov/arcos/#background (last visited September 7, 2017)
 19
      (21 U.S.C. 826(d))
 20
      69 FR 51104-02.
 21
   See ARCOS Registrant Handbook, United States Department of Justice, Drug Enforcement Administration,
 Office of Diversion Control, Section 1.1.1, ARCOS Defined (Version 1.0 August 1997).




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 located at Drug Enforcement Administration, 700 Army Navy Drive, Arlington, VA 22202. 69
 FR 51104-02.
         The ARCOS/DADS system uniquely has access to all of the data submitted by each DEA
 registrant from the across the country. 22 These distribution transactional records are compiled by
 the DEA through a portal and the data is compiled by DEA in accordance with law for determining
 quota, distribution trends, internal audits, inspection, investigations and other analyses.23
 Additionally, the DEA provides internet access to summary data from this system.
         The DOJ/DEA disclosed the national ARCOS database to the Plaintiffs’ Executive
 Committee (2006-2014) and that additional transactional data was independently disclosed by
 some of the defendants. Both sets of data were then uploaded to a database managed by Craig J.
 McCann, PhD, CF, of Securities Litigation and Consulting Group, Inc. (“SLCG”) (retained as an
 expert by the PEC). I have relied upon data derived from and provided by SLCG in the formulating
 of specific requests.
        The ARCOS data, defendant transactional data, and the SLCG reports generated therefrom
 are consistent with the types of data, facts, information, and reports I would typically rely on in
 conducting the analysis and reaching the opinions contained herein. I am very familiar with the
 ARCOS data and defendant transactional data and have experience analyzing the data and reports
 generated therefrom. I have reviewed SLCG’s methods and reports and they are consistent with
 my understanding, based on my experience, of how the data should be analyzed.
                    E.       DEA DIVERSION INVESTIGATOR’S MANUAL.
         The DEA published a manual which provides further guidance related to the statutory and
 regulatory duties. Portions of the manual have previously been publicly available and accurately
 set forth the charge for DEA investigator as follows:
            Registrants, who routinely report suspicious orders, yet fill these orders, with reason to
            believe they are destined for the illicit market, are expressing an attitude of irresponsibility
            that is a detriment to the public health and safety as set forth in 21 U.S.C. 823 and 824.
            Suspicious orders include those which are in excess of legitimate medical use or exhibit
            characteristics leading to possible diversion such as: orders of unusual size, unusual
            frequency, or those deviating substantially from a normal pattern. The supplier can
            determine whether the order is excessive by checking their own sales and establishing
            the average amount of controlled substances shipped to registrants of the same apparent
            size in a particular geographic area. If the customer exceeds this threshold, the request
            should be viewed as suspicious. This activity, over extended periods of time, would lead
            a reasonable person to believe that controlled substances possibly are being diverted. An

 22
   The DEA maintains the Automation of Reports and Consolidated Orders System (“ARCOS”), an official
 automated comprehensive drug reporting system that monitors the flow of DEA controlled substances from their
 point of manufacture through commercial channels to the point of sale or distribution at the dispensing/retail level.
 Drug wholesalers do not have access to the ARCOS data or to the data of other wholesalers and distributors.
 Keysource Med., Inc. v. Holder, No. 1:11-CV-393, 2011 WL 3608097, at *2 (S.D. Ohio Aug. 16, 2011).
 23
      https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/index.html




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           investigation will be conducted for possible violation of the CSA and regulations upon
           determining that the reporting registrant, as a general practice, does not voluntarily halt
           shipments of controlled substances to registrants involved in suspected diversion or to
           registrants against whom previous action has been taken. In these instances, the registrant
           is subject to the appropriate prosecution and/or administrative action. 24

        Importantly, the DEA does not approve or disapprove supplier shipments of controlled
 substances. The responsibility for making the decision to ship rests with the supplier. 25 26
                   F.       DEA DISTRIBUTOR INITIATIVE BRIEFINGS.
         In August 2005, Drug Enforcement Administration designed and implemented the DEA
 Distributor Initiative. The initiative was in response to the growing number of rogue Internet
 pharmacies illegally dispensing controlled substances and their pattern of purchasing extremely
 large amounts of a limited type of controlled substances from distributors. This program consisted
 of an individual meeting between the DEA and distributors to re-iterate to DEA registrants their
 responsibilities under the Controlled Substances Act and Code of Federal Regulations and to
 discuss current trends and methods of diversion.
        In February 2014, at a conference in North Carolina, DEA Deputy Assistant Administrator
 Joseph T. Rannazzisi reported that the DEA had conducted distributor briefings to 81 registrants
 that had a total of 233 registered locations. The DEA has produced in discovery summaries of
 some of these meetings as follows:
           Memorandum, Meeting with Cardinal Health, Inc. Concerning Interact Pharmacies on
           August 22, 2005; 27
           Memorandum, Conference Call with. Mr. John. Gilbert of McKesson Corp. on November
           28, 2005; 28


 24
   See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
 CAH_PRIORPROD_DEA07_01176914 at 01176957) ; see also DEA Diversion Manual (1990)
 (CAH_PRIORPROD_DEA_01176247 at 01176301); DEA Diversion Investigators Manual (2011)
 (CAH_MDL2804_00953317 at 00953396, CAH_MDL2804_01483146, CAH_MDL2804_01563592) (“By its very
 nature, an order is a request to purchase controlled substances and has not yet been filled. Reporting a filled order is
 potentially allowing controlled substances to be diverted. Therefore, suspicious orders will not be filled.”)
 25
   See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
 CAH_PRIORPROD_DEA07_01176247); see also DEA Diversion Investigators Manual (2011)
 (CAH_MDL2804_00953317, CAH_MDL2804_01483146, CAH_MDL2804_01563592) (“DEA field offices will
 not approve or disapprove a registrant's shipment of controlled substances, nor their procedures for detecting
 suspicious orders. The responsibility for detecting suspicious orders and making the decision to ship rests solely
 with the registrant.”)
 26
   At the request of DEA/DOJ, Plaintiffs have removed a section of this Report based on DEA/DOJ’s claim that a
 claw-back of a document cited in the removed section is forthcoming.
 27
      US-DEA-00000352.
 28
      US-DEA-00000369.




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            Memorandum, Meeting Between Office of Diversion Control (OD) and McKesson Corp.
            on January 3, 2006; 29
            Memorandum, Internet Presentation; with AmerisourceBergen on August 10, 2005; 30 and
            Memorandum, Distributor Initiative Briefing with AmerisourceBergen Drug on May 16,
            2017. 31
         At these briefings DEA personnel would reiterate the registrant’s requirement to maintain
 effective controls to prevent diversion as required in U.S.C. 21 § 843(e) and 21 C.F.R. §
 1301.71(a). During these meetings the DEA specifically focused on discussing 21 C.F.R. §
 1301.74(b) which states, “The registrant shall design and operate a system to disclose to the
 registrant suspicious orders of controlled substances. The registrant shall inform the Field Division
 Office of the Administration in his area of suspicious orders when discovered by the registrant.
 Suspicious orders include orders of unusual size, orders deviating substantially from a normal
 pattern, and orders of unusual frequency.” DEA also advised the registrant at these meetings that
 DEA cannot tell a distributor if an order is legitimate or not. 32 The distributor has the responsibility
 to determine which orders are suspicious and once identified they should report those orders to
 DEA and should not distribute suspicious orders. 33 Further, it was reiterated that a distributor was
 advised prior to shipping any order that was determined to be suspicious, the distributor should
 conduct a due diligence investigation to insure the controlled substances in the order are not likely
 to be diverted and document their due diligence actions. 34 Failure to do so could result in action
 against their DEA registration.
                   G.       DEA GUIDANCE LETTER
       (September 2006) - Written notification issued to distributors and manufacturers from DEA
 Deputy Assistant Administrator Joseph T. Rannazzisi. 35
         In September 2006, in response to the nationwide growing health problems involving
 diversion of controlled substances, DEA Deputy Assistant Administrator Joseph T. Rannazzisi
 forwarded a letter to all DEA registered distributors and manufacturers. The purpose of the letter



 29
      US-DEA-00000371.
 30
      US-DEA-00000147.
 31
      US-DEA-00000144
 32
      US-DEA-00000352, 00000360.
 33
      Id.
 34
    See also Novelty Distributors, Inc., 73 Fed. Reg. 52,689, 52,669 (Drug Enf’t Admin. September 3, 2008)
 (“Fundamental to its obligation to maintain effective controls against diversion, a distributor must review every
 order and identify suspicious transactions. Further, it must do so prior to shipping the products. Indeed, a distributor
 has an affirmative duty to forgo a transaction if, upon investigation, it is unable to determine that the proposed
 transaction is for legitimate purposes.”)
 35
      See CAH_MDL_PRIORPROD_DEA07_00837645.




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 was to reiterate the legal duties of distributors as DEA registrants and provide some examples of
 activities that may be indicative of diversion.
         Mr. Rannazzisi’s letter referenced 21 U.S.C. 823(e) that restated the requirement that
 distributors and manufacturers have a legal requirement to maintain effective controls against
 diversion. Mr. Rannazzisi’s letter further cited DEA Regulation 21 C.F.R. 1301.74(b) which states
 the requirement for a registrant to design and operate a system to disclose suspicious orders of
 controlled substances and to report suspicious orders to the D.E.A. when discovered. The system
 should be capable of identifying a suspicious order based on size, pattern and frequency and
 reporting that order to DEA. Contained in the written notification were a list of circumstances that
 may be indicative of diversion. Those circumstances listed the following:
        a.      Ordering excessive quantities of a limited variety of controlled substances
        b.      Ordering a limited variety of controlled substances in quantities disproportionate to
                the quantity of non-controlled medications ordered.
        c.      Ordering excessive quantities of a limited variety of controlled substances in
                combination with excessive quantities of lifestyle drugs.
        d.      Ordering the same controlled substances from multiple distributors.
          The written communication also listed some guidance for a distributor by providing some
 possible inquiries of a customer’s business activity that could be indicative of diversion. Mr.
 Rannazzisi further stated and reiterated:
             The DEA regulations require all distributors to report suspicious orders of
             controlled substances. Specifically, the regulations state in 21 C.F.R.
             1301.74(b):
                  The registrant shall design and operate a system to disclose to the
                  registrant suspicious orders of controlled substances. The registrant
                  shall inform the Field Division Office of the Administration in his
                  area of suspicious orders when discovered by the registrant.
                  Suspicious orders include orders of unusual size, orders deviating
                  substantially from a normal pattern, and orders of unusual
                  frequency.
             It bears emphasis that the foregoing reporting requirement is in addition to,
             and not in lieu of the general requirement under 21 U.S.C. 823(e) that a
             distributor maintain effective controls against diversion.
             This, in addition to reporting all suspicious orders, a distributor has a statutory
             responsibility to exercise due diligence to avoid filling suspicious orders that
             might be diverted into other than legitimate medical, scientific, and industrial
             channels. Failure to exercise such due diligence could, as circumstances




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                 warrant, provide a statutory basis for revocation or suspension of a distributor’s
                 registration. 36
                     H.       JUNE 2007 SOUTHWOOD                          PHARMACEUTICALS,           INC.
                              DISTRIBUTOR CASE
         DEA Deputy Administrator Michele M. Leonhart issued an Order on June 22, 2007 37,
 detailing the revocation of DEA registration for Southwood Pharmaceuticals, Inc (“Southwood”).
 The Order further denied any pending applications for renewal or modification of registration
 because of the imminent danger to the public health or safety.
         The language contained in this Order clearly re-iterated the requirement for a distributor to
 have a suspicious order monitoring program. The Order states the following, “a registrant must
 ‘‘design and operate a system to disclose to the registrant suspicious orders of controlled
 substances’’; suspicious orders must be reported to the local Field Division Office upon discovery
 by the registrant. 38 Under the regulation, suspicious orders include orders of unusual size, orders
 deviating substantially from a normal pattern, and orders of unusual frequency.’’
         This Order also contains a description of the conduct of Southwood causing the revocation
 of their DEA registration as described in the Order to Show Cause and Immediate Suspension
 Order of Registration (OTSC/ISO) issued on November 30, 2006. The OTSC/ISO detailed that
 Southwood distributed controlled substances to customers they knew or should have known were
 diverting controlled substances. The OTSC/ISO stated Southwood repeatedly supplied excessive
 quantities of hydrocodone to fifteen pharmacies that were orders of unusual size and frequency as
 well as substantially deviating from the normal pattern. The OTSC/ISO further stated Southwood
 never reported any of the orders as suspicious to the DEA.
         The OTSC/ISO also stated that Michael Mapes of the DEA conducted a meeting with
 Southwood by conference call on July 17, 2006. The content of the meeting described in the
 OTSC/ISO is consistent with the DEA Distributor Program being conducted by the DEA and
 described in this timeline. During this meeting Mr. Mapes discussed the purchasing activities of
 several pharmacies who were customers of Southwood. During this meeting Mr. Mapes also
 provided Southwood with a description of illegal conduct of Internet pharmacies and described
 factors to consider when assessing customers for diversion. These factors included the size and
 frequency of order, range of product order, and the percentage of control substances ordered when
 compared to non-controlled substances. Mr. Mapes further discussed the factors that are required
 to ensure a prescription is legally prescribed by a physician.
         The following statement is contained in the OTSC/ISO, "a pattern of drugs being
 distributed to pharmacies [which] are diverting controlled substances demonstrates a lack of
 effective controls against diversion by the distributor" and could lead to the revocation of the
 distributor's registration.” Mr. Mapes further stated, "… any distributor who was selling controlled

 36
      See id. (emphasis added).
 37
      Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007).
 38
      21 CFR 1301.74(b).




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 substances that are being dispensed outside the course of professional practice must stop that
 distribution immediately." 39
         The OTSC/ISO stated Mr. Mapes discussed with Southwood representatives whether it
 could ship an order which it had reported as suspicious. Mr. Mapes advised Southwood
 representatives if they reported a suspicious order to the D.E.A. they still needed to make the
 decision as to whether to ship the order. The OTSC/ISO further detailed that Southwood
 representatives asked Mr. MAPES whether they should stop shipping controlled substances to the
 internet pharmacies and Mr. MAPES replied the DEA cannot tell a distributor whether a particular
 order is legitimate or not, and whether to ship was "a business decision," but Southwood had an
 obligation to ensure that the controlled substance being distributed were used for legitimate
 medical purposes.
                  I.      DECEMBER 2007 DEA GUIDANCE LETTER
        In December 2007, DEA Deputy Assistant Administrator for the Office of Diversion
 Control, Joseph T. Rannazzisi issued a second letter to all DEA registered distributors and
 manufacturers restating much of the information contained in the previous letter. 40
         This letter was focused on reiterating the responsibilities of manufacturers and distributors
 to inform DEA of suspicious orders as required by 21 CFR 1301.74(b)
         The letter re-iterated that 21 CFR 1301.74(b) requires a manufacturer or distributor to
 design and operate a system to disclose to the registrant suspicious order of controlled substances.
 The letter further notified registrants it is the sole responsibility of registrants to design and operate
 the system. The letter advised registrants of the following, “Past communications with DEA,
 whether implicit or explicit, that could be construed as approval of a particular system for report
 suspicious orders, should no longer be taken to mean that DEA approves a specific system.
         The letter also notifies that filing a monthly report of transactions to the DEA, often referred
 to as excessive purchase reports, does not meet the regulatory requirement to report suspicious
 orders.
          The letter also reiterated the following requirements:
          1. 21 CFR 1301.74(b) requires DEA registrants inform the DEA of suspicious order when
             discovered by the registrant.
          2. DEA registrants must conduct an independent analysis of suspicious orders prior to
             completing a sale to determine if the controlled substances are likely to be diverted.
          3. The regulation states suspicious orders include orders of an unusual size, deviating
             substantially from a normal pattern, and orders of an unusual frequency. The criteria
             are disjunctive and are not all inclusive.

 39
   Southwood Pharmaceuticals, Inc.; Revocation of Registration, 72 Fed. Reg. 36,487, 36,492(Drug Enf’t Admin.
 July 3, 2007).
 40
      CAH_MDL_PRIORPROD_DEA07_00092296.




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         4. DEA registrants who routinely report suspicious orders, yet fill these orders without
            first determining whether the orders are not being diverted may be failing to maintain
            effective controls against diversion that may result in possible action against their DEA
            registration.
              J. DEA ADMINISTRATIVE ACTIONS
         Distributors and manufacturers in this industry regularly monitor DEA administrative
 actions involving maintenance of effective controls against diversion and failure to identify and/or
 report suspicious orders. There are many different types of sources that make the details of DEA
 administrative action available for the industry to review. The type of information available can
 be a very in-depth article or publications simple as a press releases. Two examples of an in-depth
 sources of information is the information published in the Federal Register involving DEA cases
 against Masters Pharmaceutical Inc. and Southwood Pharmaceuticals Inc.

         The DEA posts administrative case information on the Internet on their website at
 www.deadiversion.usdoj.gov. The DEA and Department of Justice also normally issue press
 releases on administrative actions that subsequently generate media coverage and reviews by law
 firms. Further, trade organizations like HDA typically publish articles regarding DEA
 administrative action for review by their members. Typically, when a DEA administrative
 action occurs, there are several law firms that closely follow the industry and they post articles on
 their websites that describe the action and offer opinions of future impact to the industry.

         Listed below are some of the significant administrative action against distributors and
 manufacturers for failing to maintain effective controls against diversion and for failing to identify
 and/or reports suspicious orders:

      1. April 24, 2007, the DEA issued an Order to Show Cause and Immediate Suspension Order
         against the AmerisourceBergen Orlando, Florida distribution center alleging failure to
         maintain effective controls against diversion of controlled substances. On June 22, 2007,
         AmerisourceBergen entered into a settlement and release agreement with the DEA related
         to the allegations made by the agency. 41

      2. June 22, 2007, the DEA revoked the Registration of Southwood Pharmaceuticals, Inc. 72
         Fed. Reg. 36,487 (Department of Justice; Southwood Pharmaceuticals, Inc.; Revocation of
         Suspension (July 2, 2007)) on Tuesday, July 3, 2007July 3, 2007, Department of Justice,
         Drug Enforcement Administration article in the Federal Register, titled, Southwood
         Pharmaceuticals, Inc.; Revocation of Registration. 42

 41
   AmerisourceBergen Corporation, AmerisourceBergen Signs Agreement with DEA Leading to Reinstatement of its
 Orlando Distribution Center’s Suspended License to Distribute Controlled Substances, June 22, 2007, available at
 http://investor.amerisourcebergen.com/news-releases/news-release-details/amerisourcebergen-signs-agreement-dea-
 leading-reinstatement-its (last visited March 11, 2019).
 42
    Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007)(also available at
 https://www.deadiversion.usdoj.gov/fed regs/actions/2007/fr07032.htm (last visited March 10, 2019)).




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      3. November 29, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
         Order against the Cardinal Health Auburn, Washington Distribution Center which
         suspended their DEA registration for failure to maintain effective controls against diversion
         of hydrocodone. 43

      4. December 7, 2007, DEA issued an Order to Show Cause and Immediate Suspension Order
         against the Cardinal Health Lakeland, Florida Distribution Center for failure to maintain
         effective controls against diversion of hydrocodone. 44

      5. December 7, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
         Order against the Cardinal Health Swedesboro, New Jersey Distribution Center for failure
         to maintain effective controls against diversion of hydrocodone. 45

      6. January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal Health
         Stafford, Texas Distribution Center for failure to maintain effective controls against
         diversion of hydrocodone. Cardinal agreed to suspend shipping any controlled substances
         from the location pending a resolution with the DEA. 46

      7. May 2, 2008, McKesson Corporation agree to pay a $13 million civil penalty and entered
         into an Administrative MOA with the DEA which provided that McKesson would
         “maintain a compliance program designed to detect and prevent the diversion of controlled
         substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and
         follow the procedures established by its Controlled Substance Monitoring Program. 47

      8. On September 30, 2008, Cardinal Health agreed to pay a $34 million civil penalty and
         entered into a Settlement and Release Agreement and Administrative Memorandum of

 43
   Cardinal Health, Press Release, Cardinal Health Receives DEA Order to Temporarily Cease Distribution of
 Controlled Substances from Auburn Wash. Facility, November 29, 2007, available at (Source:
 https://ir.cardinalhealth.com/news/press-release-details/2007/Cardinal-Health-Receives-DEA-Order-to-Temporarily-
 Cease-Distribution-of-Controlled-Substances-from-Auburn-Wash-Facility/default.aspx (last visited March 11,
 2019).
 44
    Cardinal Health, Press Release, Cardinal Health to Cease Distribution of Controlled Substances from Florida
 Facility, December 7, 2007, available at https://cardinalhealth mediaroom.com/newsreleasearchive?item=122500
 (last visited March 8, 2019).
 45
   Drug Topics, “DEA hits third Cardinal Health distribution center,” December 21, 2007, available at
 https://www.drugtopics.com/pharmacy/dea-hits-third-cardinal-health-distribution-center (last visited March 8,
 2019).
 46
   Drug Topics, “Cardinal caught between DEA and pharmacies over diversion control,” April 14, 2008, available at
 https://www.drugtopics.com/community-practice/cardinal-caught-between-dea-and-pharmacies-over-diversion-
 control (last visited March 9, 2019).
 47
   Settlement and Release Agreement and Administrative Memorandum of Agreement, entered into May 2, 2008,
 between DEA and McKesson Corporation, available at https://www.dea.gov/sites/default/files/ 2018-
 06/Pharmaceutical%20Agreements%20-%20McKesson%20-%202008 0.pdf (last visited March 19, 2019).




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         Agreement (MOA) with the DEA related to its Auburn Facility, Lakeland Facility,
         Swedesboro Facility and Stafford Facility. The MOA also referenced allegations by the
         DEA that Cardinal failed to maintain effective controls against the diversion of controlled
         substances. 48

      9. January 9, 2009, Rite Aid agreed to pay $5 Million in civil penalties to resolve allegations
         that Rite Aid knowingly filled prescriptions for controlled substances that were not issued
         for legitimate medical purposes; failed to notify the DEA of significant thefts and losses of
         controlled substances; failed to maintain or failed to furnish to the DEA upon request
         records required to be kept under the Controlled Substances Act for a period of two years;
         and failed to properly execute DEA forms used to ensure the amount of Schedule II drugs
         ordered by Rite Aid were actually received violations of the Controlled Substances Act in
         eight states. 49

      10. April 21, 2009, Settlement and Release Agreement and Administrative Memorandum of
          Agreement between DOJ/DEA and Masters Pharmaceutical Inc. 50

      11. June 15, 2010, Order to Show Cause – Immediate Suspension Order served to The Harvard
          Drug Group, Livonia, MI. 51

      12. June 10, 2010, DEA suspended Sunrise Wholesale, Inc. from selling controlled substances
          for supplying excessive amounts of oxycodone to “pill mills.” 52

      13. October 13, 2010, settlement was reached between the DEA and CVS Pharmacy, Inc.
          resolving the criminal investigation of unlawful distribution and sales of pseudoephedrine
          ("PSE") by CVS/pharmacy stores in Southern California and Nevada and a CVS/pharmacy
 48
   United States Attorney’s Office. (October 2, 2008) Cardinal Health Inc., Agrees to Pay $34 Million to Settle
 Claims That It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances [Press Release].
 Available at https://www.justice.gov/archive/usao/co/news/2008/October08/10 2 08.html (last visited March 10,
 2019).
 49
   United States Department of Justice, (January 12, 2009) Rite Aid Corporation and Subsidiaries Agree to Pay $5
 Million in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act [Press Release].
 Available at https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-
 penalties-resolve-violations (last visited March 8, 2019).
 50
   Settlement and Release Agreement and Administrative Memorandum of Agreement between DEA and Masters
 Pharmaceutical, Inc. Available at https://www.dea.gov/sites/default/files/2018-
 06/Pharmaceutical%20Agreements%20-%20Masters%20Pharmaceutical%20-%202009.pdf (last visited March 19,
 2019.
 51
   Administrative Memorandum of Agreement between DEA and The Harvard Drug Group, LLC dated March 28,
 2011. Available at https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
 %20Harvard%20Drug%20Group%20-%202011.pdf (last visited March 19, 2019).
 52
   LaMendola, Bob. “DEA accuses Sunrise company of supplying painkillers to ‘pill mills.’” Sun-Sentinel. June 22,
 2010. Available at https://www.sun-sentinel.com/business/fl-xpm-2010-06-22-fl-drug-wholesaler-stopped-
 20100621-story.html (last visited March 19, 2019).




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         distribution center in Southern California. CVS paid a penalty of $75,000,000.00 and
         forfeited $2.6 million in profits for a total payment of $77.6 million. 53

      14. April 18, 2011, Harvard Drug Group agreed to pay $8,000,000 in civil penalties as part of
          settlement with DEA related to allegations that Harvard failed to have in place an effective
          system for identifying suspicious orders of controlled substances, violating the Controlled
          Substances Act. 54

      15. June 10, 2011, Order to Show Cause and Immediate Suspension Order served on
          Keysource Medical Inc. Keysource Medical distributed 48 million doses of oxycodone
          products to Florida Pharmacies. 55

      16. July 6, 2011, Order Denying Plantiff’s (Keysource Medical) Motion for Temporary
          Restraining Order and for Preliminary Injunction. 56

      17. February 2, 2012, the DEA issued an Order to Show Cause and Immediate Suspension
          Order against the Cardinal Health Lakeland, Florida Distribution Center for failure to
          maintain effective controls against diversion of oxycodone. 57

      18. March 7, 2012, Memorandum of Opinion [Doc. 32] from the United States District Court
          for the District of Columbia, Cardinal Health, Inc., vs. Eric H. Holder, Jr., Civil Action
          No. 12-185 (RBW), denying Cardinal’s challenge of the DEA’s Order to Show Cause and
          Immediate Suspension of Registration of Cardinal’s Lakeland Distribution Center. 58

      19. April 5, 2012, A United States Attorney Office press release stated Keysource Medical
          agreed to pay a $320,000 fine for failing to guard against diversion of controlled

 53
  United States Attorney’s Office. (October 14, 2010) CVS Admits Illegally Selling Pseudoephedrine to Criminals
 who made Methamphetamine, Agrees to Pay $77.6 Million to Resolve Government Investigation [Press Release].
 Available at https://www.justice.gov/archive/usao/cac/Pressroom/pr2010/148 html (last visited March 19, 2019).
 54
   United States Drug Enforcement Administration. (April 18, 2011) Michigan Based Pharmaceutical Wholesaler
 Harvard Drug Group to Pay $8,000,000 in Settlement [Press Release]. Available at https://www.dea.gov/press-
 releases/2011/04/18/michigan-based-pharmaceutical-wholesaler-harvard-drug-group-pay-us (last viewed on March
 19, 2019).
 55
   United States Drug Enforcement Administration. (June 10, 2011) Cincinnati Pharmaceutical Supplier’s DEA
 License Suspended [Press Release]. Available at https://www.dea.gov/press-releases/2011/06/10/cincinnati-
 pharmaceutical-suppliers-dea-license-suspended (last visited March 11, 2019).
 56
   Keysource Medical, Inc., v. Attorney General of the United States, et al., No. 1:2011cv00393, Order Denying
 Plaintiff’s Motion for Temporary Restraining Order and for Preliminary Injunction [Doc. 22], available at
 https://law.justia.com/cases/federal/district-courts/ohio/ohsdce/1:2011cv00393/147299/22/ (last visited March 11,
 2019).
 57
  2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 CAH_MDL2804_02465982.
 58
   Copy of Order available at https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1 12-cv-
 00185/pdf/USCOURTS-dcd-1 12-cv-00185-0.pdf (last visited March 19, 2019).




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            substances. and states Keysource Medical agreed to voluntarily surrender their DEA
            registration in September 2011. 59

        20. May 14, 2012, Cardinal Health entered into an Administrative MOA with the DEA, which,
            among other things, stipulated that its compliance with the terms of the 2008 MOA were
            inadequate in certain respects and that its Lakeland, Florida Distribution Center’s DEA
            registration would be suspended for two years. 60

        21. March 28, 2013, settlement was reached among the United States and the DEA and CVS
            Pharmacy, Inc and Oklahoma CVS Pharmacy, L.L.C., to resolve claims that CVS violated
            the CSA by: (1) filling prescriptions for certain prescribers whose DEA registration
            numbers were not current or valid; (2) entering and maintaining invalid DEA registration
            numbers on CVS dispensing records for certain prescriptions, which were at times provided
            to state prescription drug monitoring programs; and (3) entering and maintaining CVS
            dispensing records including prescription vial labels that identify a non-prescribing
            provider as the prescribing provider for certain prescriptions. CVS paid a fine of
            $11,000,000.00. 61

        22. In July, 2013, the DEA initiated a regulatory investigation at CVS Indiana. After the
            investigation and after the DEA had informally indicated its displeasure with what it found
            at CVS, Mark NiCastro, the CVS Indiana Director of Operations, sent correspondence to
            the DEA. In the correspondence, Mr. NiCastro attempted to explain to the DEA why the
            CVS Indiana distribution center had never reported a suspicious order and he wrote:

                     “In your recent email, you asked for information concerning CVS store
                     orders that have been stopped outside of Indiana. Across the chain, the CVS
                     SOM process has stopped and cancelled orders. I have attached the dates
                     and the offices to which we reported these orders. As we discussed during
                     the DEA audit and during our recent phone call, it is important to remember
                     that CVS is shipping only to its own stores, and there are additional due
                     diligence processes in our pharmacy operations group which monitor the
                     dispensing of prescriptions across the entire CVS chain to ensure
                     appropriate dispensing by stores. This is a primary contributor to the limited
                     number of suspicious orders identified through our distributor SOM
                     process.” 62


 59
   United States District Attorney’s Office, Southern District of Ohio. (April 5, 2012) Cincinnati Pharmaceutical
 Distributor to Pay $320,000 for Failing to Guard Against Diversion of Controlled Substances [Press Release].
 Available at https://www.justice.gov/archive/usao/ohs/news/04-05-12.html (last visited March 11, 2019).
 60
  2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 CAH_MDL2804_02465982.
 61
      CVS-MDLT1-000060822 – 000060829.
 62
      See NiCastro Depo. at 204-207; Ex. 42.




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        23. July 17, 2013, Walgreens agreed to pay $80 Million in civil penalties related to
            allegations that Walgreens was filling numerous prescriptions that Walgreens employees
            knew, or should have known, were not issued for a legitimate medical purpose. 63

        24. June 19, 2014, In Regards to Masters Pharmaceutical the Administrative Law Judge issued
            a Recommended Decision in regards to the Order to Show Cause Hearing that occurred on
            February 24 through 28 and March 3 through 4, 2014. 64

        25. On September 2, 2014, settlement was reached among the United States and the DEA and
            CVS Pharmacy, Inc. The Settlement resolved claims against CVS for filling from April 1,
            2012 to July 31, 2012, 153 prescriptions at eight different pharmacies, written by Dr. Pedro
            Garcia during a time period during which his Texas Department of Public Safety
            Controlled Substances registration was expired. CVS paid a $1,912,500 fine. 65

        26. On May 12, 2015, a settlement was reached among the United States and the DEA and
            CVS Health and all of its subsidiaries and affiliates. The Settlement resolved claims that
            CVS failed “to fulfill its corresponding responsibility to ensure that CVS dispensed
            controlled substances only pursuant to prescriptions issued for legitimate medical purposes
            by practitioners acting in the usual course of their professional practice, as required by 21
            CF.R. §1306.64.” The Settlement also covered CVS’s “Florida Distribution Center[s]
            failure to maintain effective controls against the diversion of controlled substances into
            other than21 U.S.C. §823(e)” and failure to timely detect and report suspicious orders of
            controlled substances. CVS's conduct complained of is set forth in the February 2, 2012
            Orders to Show Cause and Immediate Suspension Orders issued to CVS stores 219 and
            5195. CVS paid a fine of $22,000,000.00. 66

        27. On July 24, 2015, a Settlement was reached among the United States and the DEA and
            CVS Health to resolves claims that from May 1, 2013 through July 30, 2014, CVS failed
            to keep complete and accurate records of Schedule II controlled substances at a CVS store
            in Massachusetts in violation of 21 U.S.C. § 827(a)(3) and 21 C.F.R. §§ 1304.11(e)(3)(i),
            1304.21, and 1304.22; and that CVS failed to report a March 14, 2014 robbery to the DEA
            within one business day in violation 21 C.F.R. § 1301.76(b). CVS paid a $50,000 fine. 67

        28. On August 7, 2015, a Settlement was reached among the United States and the DEA and
            CVS Health. The Settlement resolved claims that between March 3, 2010 and August,
 63
    United States Attorney’s Office, Eastern District of New York. (July 17, 2013) Eastern District U.S. Attorney’s
 Office Participates in Record Settlement: Walgreens Agrees to Pay $80 Million in Civil Penalties Under the
 Controlled Substnaces Act [Press Release]. Available at https://www.justice.gov/usao-edny/pr/eastern-district-us-
 attorney-s-office-participates-record-settlement-walgreens-agrees (last visited March 19, 2019).
 64
      Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
 65
      CVS-MDLT1-00060907 – 000060914.
 66
      CVS-MDLT1-000060796 – 000060804.
 67
      CVS-MDLT1-000099702 –000099704.




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            2015 CVS stores in Rhode Island (1) filled prescriptions with invalid prescriber DEA
            number (knew or should have known in violation of 21 U.S.C. § 842(a)(1) and 21 C.F.R.
            § 1306.04); (2) filled prescriptions for Schedule III controlled substances written by
            psychiatric nurse practitioners who were not authorized under state law or by terms of their
            DEA registration to issue such prescriptions in violation of 21 U.S.C. § 842(a)(1) and 21
            C.F.R. § 1306.03(a)(1); and (3) entering, creating, or maintaining CVS dispensing records
            in which the DEA registration numbers of non-prescribing practitioners, were substituted
            for the DEA registration numbers of prescribing practitioners in violation of 21 U.S.C. §
            842(a)(5) and 21 C.F.R. § 1306.24. CVS paid a $450,000 fine. 68

        29. September 8, 2015, Masters Pharmaceutical – DEA Acting Administrator Chuck
            Rosenberg issued a Final Order revoking the DEA registration of Master Pharmaceutical
            Inc. 69

        30. On December 18, 2015, a Settlement was reached among the United States and the DEA
            and CVS Pharmacy, Inc. The Settlement was the result of a DEA Inspection that was
            performed after CVS reported the theft of over 40,000 dosages of controlled substances by
            two former employees from a Texas CVS pharmacy. The inspection that was started due
            to theft demonstrated that CVS again failed its CSA obligations. CVS paid a fine of
            $345,000.00. 70

        31. On December 31, 2015, the DEA issued a letter of admonishment for violations in
            distributing HCPs at the CVS Indiana distribution center. This DEA finding was the result
            of the July 2013 investigation. Before the admonishment, Agent Gillen of the DEA sent
            an email to Mr. Nicastro outlining that CVS Store No. 6880 ordered 1,888,600 dosage units
            of hydrocodone between January 1, 2012 and October of 2013. The pharmacy is located in
            Vincennes, IN with a population of approximately 18,000 people. Additionally, he
            indicated that Store No. 6757 ordered 2,012,400 of hydrocodone tablets for Columbus, IN,
            which has a population of 45,000. Agent Gillen then writes: “Both stores have purchased
            a large quantity of Hydrocodone given their population.” 71

        32. On February 12, 2016, a Settlement was reached among the United States and the DEA
            and CVS Pharmacy, Inc. In the Settlement, CVS acknowledged that between 2008 and
            2012, “certain CVS/pharmacy retail stores in Maryland did dispense certain controlled
            substances in a manner not fully consistent with their compliance obligations under the
            CSA…” CVS paid a fine of $8,000,000.00. 72


 68
      CVS-MDLT1-000060847 – 000060855.
 69
      Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
 70
      CVS-MDLT1-00060915-00060921.
 71
      See CVS-MDLT1-00008014 – 00008015; CVS-MDLT1- 000076135.
 72
      CVS-MDLT1-000060805-00060811.




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       33. June 30, 2016, CCS agreed to pay $3.5 Million to resolve allegations that 50 of its stores
           violated the Controlled Substances Act by filling forged prescriptions for controlled
           substances – mostly addictive painkillers – more than 500 times between 2011 and
           2014. 73

       34. On October 20, 2016, a Settlement was reached among the United States and CVS
           Pharmacy, Inc. The Settlement resolved claims from an investigation that the DEA began
           in January 2016. The DEA investigated two CVS stores in Connecticut. Although the
           offending conduct occurred after CVS quit distributing HCPs, it is indicative of the overall
           pattern and practice of CVS. The Settlement resolves claims that CVS failed to keep paper
           Schedule III-V prescriptions either in a separate prescription file or readily retrievable from
           other prescription records, which allegedly violated 21 U.S.C. 827(b)(2)(A) and (B) and
           21 C.F.R. 1304.04(h)(4) and failed to keep Schedule III-V purchase invoices on at least 31
           occasions in separate or in a readily retrievable manner from all other records of the
           pharmacy, which allegedly violated 21 U.S.C. 827(b)(2)(A) AND (b) AND 21 C.F.R.
           1304.04(h)(3). CVS paid a $600,000 fine. 74

       35. December 22, 2016, Consent Order entered into between the United States and Kinray,
           LLC, a subsidiary of Cardinal Health. 75

       36. December 23, 2016, Cardinal Health agreed to pay a $34 million civil penalty to the DEA
           to resolve allegations that it failed to report suspicious orders and meet its obligation under
           the CSA in Florida, Maryland, New York, and Washington. 76

       37. January 5, 2017, McKesson Corporation entered into an Administrative MOA with the
           DEA wherein it agreed to pay a $150 million civil penalty for violation of the 2008 MOA
           as well as failure to identify and report suspicious orders at its facilities in Aurora,
           Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;
           Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen, Massachusetts;
           Santa Fe Springs, California; Washington Courthouse, Ohio; and West Sacramento,
           California. 77

 73
    United States District Attorney’s Office, District of Massachusetts. (June 30, 2016) CVS to Pay $3.5 Million to
 Resolve Allegations that Pharmacists Filled Fake Prescriptions [Press Release]. Available at
 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions
 (last visited March 19, 2019).
 74
      CVS-MDLT1 000060830 – 000060838.
 75
   United States of America v. Kinray, LLC, Case #16 Civ. 8767-RA. Available at https://www.justice.gov/usao-
 sdny/press-release/file/920806/download (last visited March 19, 2019).
 76
    United States Attorney’s Office, Middle District of Florida. (December 23, 2016) United States Reaches $34
 Million Settlement with Cardinal Health for Civil Penalties Under the Controlled Substances Act [Press Release].
 Available at https://www.justice.gov/usao-mdfl/pr/united-states-reaches-34-million-settlement-cardinal-health-civil-
 penalties-under (last visited March 19, 2019).
 77
   United States Department of Justice. (January 17, 2017) McKesson Agrees to Pay record $150 Million settlement
 for Failure to Report Suspicious Orders of Pharmaceutical Drugs [Press Release]. Available at




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        38. January 18, 2017, Walgreens agreed to pay $200,000 following an investigation by the
            Massachusetts Attorney General’s Office found that Walgreens failed to track the opioid
            use of high-risk patients in the state’s Medicaid program. 78

        39. March 9, 2017, Rite Aid paid $834,200 to the United States to settle claims that Rite Aid
            pharmacies in Los Angeles, California dispensed and/or recorded controlled substances
            using a medical practitioner’s incorrect or invalid DEA registration number. 79

        40. June 30, 2017, the United States Court of Appeals for the District of Columbia Circuit
            published an opinion denying the Masters’ petition of review and upholding the Final
            Order. 80

        41. On July 5, 2017, a settlement was reached among the United States and the DEA and CVS
            Pharmacy, Inc. The Settlement was the result of an investigation began by the DEA as a
            result of “an increase in the number of thefts and explained losses of Hydrocodone…” at
            numerous Eastern District of California CVS retail stores. The Settlement resolved claims
            for the following misconduct: 1) failure to “provide effective controls and procedures to
            guard against theft and diversion of controlled substances (see 21 C.F.R. §1301.71(a)) and
            failure to notify DEA of certain thefts or significant losses of controlled substances within
            one business day of the discovery (see 21 C.F.R. §1301.74(c)); 2) failure to maintain
            schedule 3-5 invoices (21 CFR §1304.04(a)); 3) failure to maintain Schedule 3-5 records
            separate from non-controlled substance records (21 CFR §1304.04 (h)(3)); 4) failure to
            conduct a Biennial Inventory on one specific day (21 CFR §1304.11(c)); 5) failure to
            maintain complete and accurate records (21 CFR §1304.21(a)); 6) failure to record the date
            of acquisition of controlled substances (21 CFR §1304.22(c), 1304.22(a)(2)(iv); 7) failure
            to record the amount received on Schedule 3-5 invoices (21 CFR §1304.22(c)); 8) failure
            to record the amount received and the date received on DEA 222 forms (21 CFR
            §1305.13(e)); 9) failure to maintain DEA-222 forms (21 CFR §1305. 17(a)); and 10) failure
            to maintain DEA-222 forms separate from other records (21 CFR §1305. 17(c)). CVS
            admitted that between April 30, 2011 and April 30, 2013 the retail stores violated their




 https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-suspicious-orders
 (last visited March 19, 2019).
 78
   Associated Press, “Walgreens to pay $200k, change opioid procedures,” The Washington Times, January 19,
 2017, available at https://www.washingtontimes.com/news/2017/jan/19/walgreens-to-pay-200k-change-opioid-
 procedures/) (last visited March 11, 2019).
 79
   United States Attorney’s Office, Central District of California. (March 9, 2017) Rite Aid Corporation Pays
 $834,300 to Settle Allegations of Violating the Controlled Substances Act [Press Release]. Available at
 https://www.justice.gov/usao-cdca/pr/rite-aid-corporation-pays-834200-settle-allegations-violating-controlled-
 substances-act (last visited March 19, 2019).
 80
      Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).




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           recordkeeping obligations, but it denied that the recordkeeping obligations caused any
           diversion. CVS paid a fine of $5,000,000.00. 81

       42. July 7, 2017, Department of Justice/DEA and Mallinckrodt entered into a Memorandum of
           Agreement to resolve allegations that if failed to maintain effective controls to prevent
           diversion and to detect and report suspicious orders. 82

       43. January 24, 2018, the U.S. Attorney's Office entered into settlement with Rite Aid for
           improper sales of the meth precursor pseudoephedrine. 83

       44. On June 15, 2018, a Settlement was reached among the United States and the DEA and
           CVS Health. The Settlement resolved claims that between February, 2013 and January,
           2015, CVS failed to report to the DEA in writing, within one business day of discovery,
           thefts or significant losses of controlled substances, including hydrocodone, from certain
           Long Island CVS Pharmacy retail stores, as required by 21 C.F.R. §1301.76(b). CVS
           agreed to pay a $1,500,000.00 fine. (CVS-MDLT1-000060839 – 000060846).

       45. On July 29, 2018, a Settlement was reached the among the United States and the DEA and
           CVS Pharmacy, Inc., to resolve claims related to a November 2013 inspection of a CVS
           Pharmacy in Calera, Alabama. The Settlement resolved claims that CVS violated the CSA,
           as a result of violations of : (1) 21 C.F.R. 1305.13(c) (requirement to record the amount
           received and/or the date received on DEA 222 forms); (2) 21 C.F.R. 1304.21(a)
           (requirement to maintain complete and accurate records); and (3) 21 C.F.R. 1304.21(a)
           and/or (d) (requirement to document the number of packages received or the date package
           received on Schedule III through V purchase invoices). CVS agreed to pay a $1,000,000
           fine. 84

       46. August 21, 2018, CVS agreed to pay $1 Million to settle allegations that CVS stores in
           Alabama failed to keep adequate records in violation of the Controlled Substances Act. 85



 81
      CVS-MDLT1 000060856-000060871.
 82
   Administrative Memorandum of Agreement between DEA and Mallinckrodt, plc and its subsidiary Mallinckrodt,
 LLC, dated July 7, 2017. Available at https://www.justice.gov/usao-edmi/press-release/file/986026/download
 (March 19, 2019).
 83
   United States Attorney’s Office, Southern District of West Virginia. (January 24, 2018) U.S. Attorney’s Office
 enters settlement with Rite Aid based on improper sales of meth precursor pseudoephedrine [Press Release].
 Available at https://www.justice.gov/usao-sdwv/pr/us-attorneys-office-enters-settlement-rite-aid-based-improper-
 sales-meth-precursor (last visited March 11, 2019).
 84
      CVS-MDLT1-000060812 –000060821.
 85
   United States Attorney’s Office, Northern District of Alabama. (August 21, 2018) CVS Pharmacy Pays $1 Million
 Penalty in Settlement with DOJ for Violations of the Controlled Substances [Press Release]. Available at
 https://www.justice.gov/usao-ndal/pr/cvs-pharmacy-pays-1-million-penalty-settlement-doj-violations-controlled-
 substances-act (last visited March 19, 2019)




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        47. December 31, 2018, the DEA and the Rhode Island Attorney General announced $300,000
            settlement with Rite Aid for filling prescriptions of Schedule III controlled substances in
            excess of statutory maximums. 86

            K.       INDUSTRY GUIDELINES - HEALTHCARE DISTRIBUTION ALLIANCE
        A large number of drug distributors and manufacturers are members of The Healthcare
 Distribution Alliance (HDA), a trade organization that provides industry information, provide
 guidance on best practices, industry standards, regulation/legal changes, and other related services.
        A review of the website for The Healthcare Distribution Alliance (HDA) provided the
 following history of the organization. 87 The Western Wholesale Druggists’ Association (WWDA)
 was formed on March 15, 1876 and consisted of 95 wholesale druggists. In 1882 the WWDA
 became the National Wholesale Druggists Association (NWDA) that was representing distribution
 companies as an advocate in the distribution industry.
          In 2000 the NWDA organization was renamed Healthcare Distribution Management
 Association (HDMA). The website stated the organization changed reflected the “Association’s
 vision of a progressively more efficient and effective distribution system.” In 2016 the HDMA
 changed names to the Healthcare Distribution Alliance (HDA). The website states the following,
 “Now headquartered in Arlington, Virginia, HDA represents 36 distribution companies —
 national, regional and specialty — as well as more than 130 manufacturer and more than 50 service
 provider/international members, respectively. These members serve more than 200,000 licensed
 healthcare providers, delivering over 15 million lifesaving products to these outlets every day. But
 just as in 1876, HDA’s mission has remained the same, which is to protect patient safety and access
 to medicines through safe and efficient distribution; advocate for standards, public policies and
 business processes that enhance the safety, efficiency and value of the healthcare supply chain;
 and, create and exchange industry knowledge and best practices.”
 NWDA 1984 Suspicious Order Monitoring Policy
        A review of Cardinal Health discovery material revealed a thirty-eight page document from
 1984 by NWDA which was a draft outline of a suspicious order monitoring system. The
 documents can be found in the Cardinal Health discovery material in a group of documents that
 begin with a cover page containing, “NWDA Suspicious Order Monitoring System” with this
 stamped information, “Received Jun 21 1993 by Folsom.” 88



 86
    United States Drug Enforcement Administration. (December 31, 2018) DEA and Attorney General Kilmartin
 announces $300,000 settlement with Rite Aid for filling prescriptions of Schedule III controlled substances in excess
 of statutory maximums [Press Release]. Available at https://www.dea.gov/press-releases/2018/12/31/dea-and-
 attorney-general-kilmartin-announces-300000-settlement-rite-aid (last visited March 11, 2019).
 87
      See https://www hda.org/ (last viewed on March 20, 2019).
 88
   The group of documents described in this section can be found in the Cardinal Health discovery material with a
 Bates stamp range of CAH_MCL2804_01465723 to CAH_MCL2804_01465761.




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         The first seven pages of the document describes some of the elements of a suspicious order
 system. These seven pages do not contain a date indicating when the system was designed. There
 are two DEA letters in the documents that do identify a date which are letters from the DEA. These
 DEA letters provide comment and guidance to NWDA in regards to the suspicious order system.
 The first DEA letter was addressed to Mr. Ronald J. Streck, Vice President of Government Affairs
 (NWDA) and signed by G. Thomas Gitchel, Acting Chief Diversion Operations Section (DEA).
 The letter contained a stamped date of April 27, 1984, which details a meeting between the two on
 April 13, 1984. This letter stated the DEA reviewed a draft form of the suspicious order monitoring
 system. This DEA letter contained the following comment:
           The NWDA’s draft format for a suspicious order monitoring system provides as
           excellent framework for distributor registrants to “…design and operate a system
           to disclose to the registrant suspicious orders of controlled substances.” (21 CFR
           1301.74(b).) However, I am compelled to note, as I have in our previous
           discussions, that any automated data compliance processing system may provide
           the means and mechanism for compliance when the data is carefully reviewed and
           monitored by the wholesaler. As previously discussed, an after-the-fact computer
           printout of the sales data does not relieve a registrant of its responsibility to report
           excessive or suspicious orders when discovered. I am enclosing a copy of your
           draft with my pen-and-ink changes.” 89
        The second DEA letter was addressed to Mr. Ronald J. Streck, Vice President of
 Government Affairs (NWDA), signed by G. Thomas Gitchel, Acting Chief Diversion Operations
 Section (DEA) that was stamped with a date of May 14, 1984, which appeared to be a follow-up
 communication from the April 27, 1984 letter. This letter details that there was a NWDA meeting
 that was attended by DEA employee David Walkup. This DEA letter contained the following
 comment:
           I want to assure you that DEA fully supports NWDA’s effort to introduce a uniform
           reporting system among its members. This system, as proposed, will meet the
           reporting requirements of 21 CFR 1301.74(b). However, I want to make it clear
           that the submission of a monthly printout of after-the-fact sales will not relieve a
           registrant from the responsibility of reporting excessive or suspicious orders. DEA
           has interpreted “orders” to mean prior to a shipment. 90
        The background section of the system details it was created in co-operation with the DEA.
 Further, the document states that the DEA may be providing some variances and limits that would
 be incorporated into the suspicious order system.
        On page 7 of the suspicious order system document is “Section IX” that contains the
 following statement: “Single orders of unusual size or deviation must be reported immediately.
 The submission of a monthly printout of after-the-fact sales will not relieve a registrant from the
 responsibility of report these excessive or suspicious orders. DEA has interpreted “orders” to

 89
      CAH_MDL2804_01465723, 01465732.
 90
      CAH_MDL2804_01465723, 01465734.




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 mean prior to a shipment.” This statement along with the letter from DEA is an important
 communication that identifies the DEA was requiring the suspicious order system to identify single
 orders of controlled substances that must report immediately prior to being shipped.
 2008 Healthcare Distribution Management Association (HDMA) Industry Compliance
 Guidelines: Report Suspicious Orders and Preventing Diversion of Controlled Substances.
        In 2008 the HDMA posted on their website industry compliance guidelines that were titled,
 “Reporting Suspicious Orders and Preventing Diversion of Controlled Substances.” In the
 introduction section of the document appeared this comment:
           At the center of a sophisticated supply chain, distributors are uniquely situated to
           perform due diligence in order to help support security of controlled substances
           they deliver to their customers. Due Diligence can provide a greater level of
           assurance that those who purchase CS from distributors intend to dispense them
           flor legally acceptable purposes. Such due diligence can reduce the possibility that
           controlled substances within the supply chain will reach locations they are not
           intended to reach. 91
         On October 17, 2008, DEA Chief Counsel Attorney Wendy H. Goggins sent a written
 statement to HDMA President and CEO John M. Gray commending the HDMA for their efforts
 to assist their members in fulfilling the obligations regarding the Controlled Substance Act and
 corresponding regulations. 92
        The HDMA compliance guidelines document contains a general framework for a basic
 suspicious order monitoring system. 93 The document contains the following elements with
 accompanying suggested guidelines:
           1.      Know Your Customer Due Diligence
           2.      Monitoring for Suspicious Orders
           3.      Suspend/Stop an Order of Interest Shipment
           4.      Investigation of Orders of Interest
           5.      File Suspicious Order of Interest
           6.      Employees, Training and Standard Operating Procedures (SOPs)
           7.      Additional Recommendations
           8.      Glossary of Abbreviations



 91
      February 10, 2012 Declaration of Joseph Rannazzisi, CAH_MDL_PRIORPROD_DEA12_00014479, 00014512.
 92
      CAH_MDL_PRIORPROD_DEA12_00000825.
 93
      CAH_MDL_PRIORPROD_DEA12_00000826.




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 Although there are several areas or concerns which might render a suspicious order monitoring
 system less effective, the guidance provided by HDMA does contain several key elements that are
 consistent with compliance with 21 C.F.R. Section 1301.71(a) and 1301.74(b). Some of the keys
 areas of the guidance are the following:
         1.     Recommending distributors conduct thorough due diligence investigations that are
 documented and retained is essential in establishing a customer and providing a history for any
 further compliance actions or investigations. 94
         2.      Guidance for a distributor to develop an electronic suspicious order system as
 detailed in a standard operation procedure, although not required by regulation, demonstrates
 HDMA recognizes the manual review of orders for deviations in size, frequency, or pattern would
 render it ineffective. 95
         3.      Separating customers by business activity or class of trade is an essential system
 element. Further enhancement for monitoring and setting averages would be to form subgroups
 by the size of the customer. 96
         4.      Recommending of placing the controlled substances being monitored into groups
 or families provides a starting point for setting an average and monitoring. Only monitoring drug
 families and failing to evaluate the unusual order size, pattern, or frequency of any specific drug
 within a drug family has a much higher probability of failing to identify diversion of specific highly
 abused drugs. 97
         5.     Thresholds are set as averages shipped to a customer’s facility that are consistent
 with that class of customer. Threshold are recommended to calculated for single orders and
 average monthly orders per family, per customer, and class of trade. Thresholds should utilize the
 information obtained in the due diligence investigation. A sales history of a minimum of six
 months and maximum of 24 months is recommended. Thresholds for new customer accounts
 should be established at the lowest level indicated by the due diligence investigation. An important
 component is the periodic review of cumulative orders for the customer to evaluate purchasing
 trends. 98 Note: The use of a six-month average does not provide a sufficient purchase history for
 establishing accurate thresholds.
        6.      A distributor should consider allowing use of alternative criteria, outside of the
 suspicious order system, to be utilized to identify a suspicious order. 99
      7.    On Page 9, Section III in the section titled, SUSPEND/STOP AN ORDER OF
 INTEREST SHIPMENT, there is clear guidance from HDMA of what action should be taken by

 94
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000829-00000832.
 95
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000832.
 96
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000833.
 97
      Id.
 98
      Id.
 99
      Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000834.




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 a distributor when an order exceeds a threshold which is contained in the following statement, “If
 an order meets or exceeds a distributor’s threshold, as defined in the distributor’s monitoring
 system, or is otherwise characterized by the distributor as an order of interest, the distributor should
 not ship to the customer, in fulfillment of that order, any units of the specific drug code product as
 to which the order met or exceeded a threshold or as to which the order was otherwise characterized
 as an order of interest.” 100
         8.      Recommending if an order meets or exceeds a threshold the distributor examine the
 order further. The examination aids the distributor in deciding to either fill the order and ship or
 to continue to hold the order. This section also states, “Further examination will also aid in
 determining whether the and when to report the order to DEA under 21 C.F.R. Section
 1301.74(b).” 101
        9.      The following statement is made in regard to an order of interest, “The drug or
 drugs that cause an order to become an order of interest should not be shipped to the customer
 placing the order while the order is an order of interest.” 102
        12.    A customer interview should be conducted in regards to order. Any information
 provided by the customer should be verified and documented. 103
         13.     All investigation conducted by the distributor should be “fully documented,” and
 all records retained in an appropriate section. A critical element of guidance states the following,
 “The documentation should include a clear statement of the final conclusion of the investigation,
 including why the order investigated was (or was not) determined to be “suspicious.” The
 statement should be signed and dated by the reviewer.” 104
         15.    Order determined to be “suspicious” should be reported immediately upon being
 so determined. 105
             18.   The following guidance was provided for the content of the standard operating
 policy:
                   a.    Describe how an initial review and investigation will be conducted;
                   b.    Reflect the distributor’s and its customers’ business conditions;
                   c.    Are sufficiently flexible to adjust the review/investigation to address the
                         individual product/order/customer circumstances that are likely to occur;



 100
       Id.
 101
       Id.
 102
       Id.
 103
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000835.
 104
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000836.
 105
       Id.




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                   d.     Include a process and/or guidance/criteria for making the final
                          determination that an order is, or is not, “suspicious”;
                   e.     Define a process for reporting to DEA under 21 C.F.R. Section 1301.74(b);
                          and
                   f.     Define a process for allowing release of a shipment, or cancellation of an
                          order, as appropriate. 106
         19.      If a distributor concludes an order is suspicious after conducting an investigation it
 is recommended the distributor make a determination whether they will subject future orders from
 the same customer for the same drug product to more rigorous scrutiny and/or consider whether to
 cease filling all future orders of that drug product or all controlled substances. 107
                   L.     DEA CHEMICAL HANDLERS MANUAL
         Cardinal Health (and others) have responded to discovery referencing the DEA’s Chemical
 Handlers Manual and/or the 1998 Reno Report as “guidance” provided by the DEA regarding its
 suspicious order monitoring system for Schedule II and III controlled substances, including
 prescription opiates. 108 It is worth noting that these guidelines relate to “Listed Chemicals”, rather
 than Schedule II and III controlled substances, primarily focused on the sale of chemicals used to
 make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
 § 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which generally multiples a
 monthly base weight average per base code by a multiplier (3x)]. Notably, the Chemical Handlers
 Manual also mandates:
             When a regulated person suspects that an order may be intended for illicit
             purposes, good practice requires that every reasonable effort be made to
             resolve those suspicions. In addition to making required reports, the
             transactions should not be completed until the customer is able to eliminate
             suspicions. 109
 Relying upon a threshold of “extraordinary” size fails to detect orders of “unusual size” and is not
 compliant with 21 CFR 1301.74(b). Nor is shipping suspicious orders after reporting. Further,
 reliance on this threshold also does not detect orders of unusual pattern or frequency.
                   M.     MAINTENANCE OF EFFECTIVE CONTROLS                                AGAINST
                          DIVERSION OF CONTROLLED SUBSTANCES
       Registrants engaged in actively distributing controlled substances should implement
 measures to comply with the legal and regulatory requirements. These measures should be
 documented as a standard operating policy for the company and be distributed to all relevant

 106
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000837.
 107
       Id.
 108
       See, e.g., CAH_MDL_PRIORPROD_HOUSE_0002207; CAH_MDL_PRIORPROD_DEA07_01198690.
 109
       CAH_MDL_PRIORPROD_DEA07_01198690, 01198713.




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 employees. These standardized policies should be designed by distributors and manufacturers to
 take the utmost precautions to prevent diversion by maintaining the “closed system” of
 distribution. Included below are some key components that one would expect to see an operational
 system designed to maintain effective controls against diversion.
    ● Registrants must have a comprehensive system in place and conduct an investigation on a
      customer who will be purchasing controlled substances. The following are some of the
      activities utilized to establish a new customer:
          ○ The review to establish a new customer and begin distribution of controlled
              substances is a critical 1st step to ensures a potential customer has a business plan
              consistent with compliance to the Controlled Substances Act. The review should
              confirm the information provided by the potential customer is accurate. One
              commonly used procedure by distributors is to utilize a customer questionnaire
              which asks a series of questions similar to the following:
                  ■ Past history of DEA registration to determine compliance history
                  ■ Check of state and local licensure compliance.
                  ■ Compliance history with state medical/pharmacy board
                  ■ Review the business plan to determine legitimacy of the customer
                  ■ Identify any affiliation with pain management doctors
                  ■ Review percentage of controlled substance business
                  ■ Identify any other distributors providing control substances
                  ■ Review the percentage of cash payments and insurance payments
                  ■ Review of pharmacy utilization reports
                  ■ On-site inspection of customer
                  ■ Internet search to determine any negative information

    ● 21 C.F.R. §1301.74(b) requires all manufacturers and distributors to design and operate a
      system to disclose to the registrant suspicious orders of controlled substances. This
      regulation states that suspicious orders include orders of an unusual size, orders deviating
      substantially for a normal pattern, and orders or an unusual frequency. The regulation
      further states a registrant shall inform the local DEA Division Office of suspicious orders
      when discovered by the registrant. The regulation indicates it is the responsibility of the
      registrant to design and operate a suspicious order monitoring system. The design of a
      suspicious order system must clearly identify when the order is identified by the system.
      A system that establishes thresholds which are legitimate needs of a customer identified
      through a comprehensive “know your customer” should consider any orders exceeding that
      threshold as a suspicious order. The identified order should not be shipped and reported to
      the DEA. The subsequent shipping of that order would be after a due diligence
      investigation has determined the order is being shipped for legitimate use. A suspicious
      order system to be effective contains many components which should include, but not
      limited to, the following:
          ○ Customer Types – Customers should be placed in into customer types based on the
              business activity identified through the due diligence documentation.




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          ○ Scope of Practice – The system should monitor and/or restrict customers to only
            allow the ordering of controlled substances by schedule and type which have been
            identified as required for the legitimate medical needs of the practice.
          ○ Customer Tiers/Groups – Customers who have been placed into customer types
            should be segregated by size in a minimum of three groups, based on the volume
            of their ordering history identified through the due diligence documentation.
          ○ Drug Types – A suspicious order system to be effective should design drug types
            with more specificity that by drug group or drug code. Monitoring controlled
            substances only by the drug code or drug family is too broad and reduces the
            effectiveness of the system. Thresholds should also be designed for those
            controlled substances identified with a higher probability of being targeted for
            diversion.
          ○ Thresholds – A distributor must identify the amount of controlled substances
            required by a customer for the legitimate operation of their business based on the
            registrant’s knowledge of the customers business model, due diligence
            investigation, comparison of purchase amounts by other similar customers.
            Thresholds should be calculated based on the history of usage of customer for a
            period of at least 12 months.
          ○ Population – The geographic distribution of controlled substances should be
            analyzed with relevant population information of available end users. The
            cumulative amount of controlled substances being distributed by a registrant to a
            geographic area or region should be monitored to insure it is consistent with
            legitimate population consumption. Customers who identify an activity of filling
            prescriptions from patients traveling from outside the area require a thorough due
            diligence type investigation including the review of dispensing records (without
            patient information) to confirm the legitimacy of the activity.
          ○ Pattern of Orders – Reviewing orders to determine if there are patterns of ordering
            of controlled and non-controlled drugs with a comparison with relevant industry
            information on the most frequently prescribed drugs. If the ordering pattern
            deviates from established levels or what would be normal for another similarly
            situated customer this could indicate potential diversion.
          ○ Pattern of Orders - Are controlled substances ordered in combinations of frequently
            abused drugs. As an example, purchasing the combination of oxycodone or
            hydrocodone products with Soma, Valium, and/or Xanax. The pattern of ordering
            of known highly abused controlled substances in comparison of other drugs can
            indicate diversion.
          ○ Frequency of Orders – The frequency of orders for controlled substances increasing
            disproportionately for specific controlled substances that have been identified as
            being highly diverted.
          ○ Geographic Distribution – The density of like businesses in geographic areas should
            be reviewed. Further, there should be a comparison of like customers in similarly
            situated geographic areas for deviation of volume and/or pattern of controlled
            substance orders. The system should identify large volume of controlled substances




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               consistently being received from a customer(s) in a state, county and city/township
               that does not have the appropriate customer base density.

    ● A robust and well-documented due diligence program is key for every compliance system
      to identify suspicious orders of controlled substances. As orders of controlled substances
      are identified due to factors such as size, pattern, or frequency, those orders may only be
      shipped if any suspicion is dispelled after adequate due diligence is conducted and it is
      determined that such orders are not likely to be diverted for illicit purposes. The elements
      and procedures involved in a due diligence compliance program for suspicious orders
      should be contained in a standard operation policy and should be readily available to all
      employees whose responsibilities touch on suspicious order monitoring. Characteristics of
      a robust due diligence should include the following:

           ○ An established procedure and criteria for setting threshold quantities.
           ○ The person or department who is responsible for approving threshold quantities is
             specifically identified.
           ○ A procedure for adjusting threshold quantities that requires thorough review and
             documentation.
           ○ Justification for the increase or decrease of thresholds documented by the registrant,
             and made after a review of factors such as the following:
                 ■ Analysis of historical orders from the customer as well as any previous
                     adjustments in thresholds and the justification previously provided
                 ■ Analysis of the patient population serviced by the customer
                 ■ Analysis of the physician population serviced by the customer
                 ■ Analysis of the results of an adequate on-site customer review program
                 ■ Analysis of other factors that could indicate to the registrant whether or not
                     controlled substances are likely to be diverted for illicit purposes
           ○ Compliance review programs that have independent authority from other corporate
             entities/divisions to review thresholds as well as to approve or disapprove
             customers or threshold adjustments.
           ○ Sales role (if any) in the compliance review program must be appropriately
             managed.
           ○ On-site review includes the acquisition and review of utilization report.
           ○ Request for threshold changes necessitates an on-site review.
           ○ The person(s) is specifically identified who is responsible for reporting suspicious
             orders to the DEA.
           ○ Orders reported as suspicious that are subsequently shipped by the registrant have
             sufficient due diligence review being conducted and documented prior to
             distribution.




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               ○ The documentation of due diligence performed and the results thereof being
                 retained
               ○ Suspicious orders also being reported to states where applicable.
               ○ Suspicious orders being reported as drug families and by individual drugs.
               ○ Sufficient training and education for all involved in the distribution of controlled
                 substances.
         Almost as essential as the due diligence being conducted is that efforts made to dispel
 suspicions and the results thereof are adequately documented and retained. Thorough
 recordkeeping and documentation of the steps taken to justify flagged orders are necessary not
 only to explain why decisions were made in any particular instance, but also to inform future
 decisions regarding flagged orders. One important aspect of every due diligence review should
 always be an examination of the historical transactions of the customer who placed the flagged
 order. Such an examination is necessary to evaluate trends over time and to inform decisions about
 whether or not orders of controlled substances are likely to be diverted into illicit channels. For
 purposes of conducting a historical review of a customer when evaluating a flagged order, if prior
 due diligence investigations are not adequately documented and retained, they may as well have
 not occurred at all.

          As explained above, the goal of suspicious order monitoring is to ensure that bulk orders
 of controlled substances are being shipped for legitimate purposes rather than being diverted for
 illicit purposes. A suspicious order monitoring system has a self-policing aspect with the twin
 aims of both stopping the shipment of orders at risk of diversion and investigating those who have
 placed orders that are identified as suspicious. Not shipping a suspicious order is only part of the
 equation. The other parts are investigating the buyer and the circumstances surrounding the order
 and, if necessary, reporting the suspicious order to the DEA. Any order that is suspicious requires
 action to dispel suspicion and confirm legitimacy. Otherwise the order should not ship. When a
 distributor neglects to dispel suspicion and ships anyway, the risk of diversion does not disappear
 when the order ships. For this reason, any future order or shipment to that particular pharmacy or
 buyer should not ship until an investigation of the initial suspicious order occurs because there is
 an outstanding concern about the past shipment that has not been addressed. Otherwise, a
 distributor is potentially sending larger and larger quantities of controlled substances to a buyer
 that is under suspicion of being a diversion risk. The suspicious order monitoring system failures
 described above directly led to massive quantities of pills being shipped to buyers who had placed
 suspicious orders of controlled substances. These orders never should have shipped until after the
 suspicion of diversion was dispelled.


        III.      Identifying Suspicious Orders Distributed in CT1
         I have described in this report the ways in which distributor and manufacturer defendants’
 inadequate response to their statutory and regulatory requirements to maintain effective controls
 related to the sales of prescription opioids would potentially cause the diversion of these pills for
 non-medical use. I have reviewed five suspicious order methodologies, some of which were




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 utilized by one or more of the defendants. These methodologies are identified in the McCann
 Report as “Maximum Monthly, Trailing 6 Month Threshold,” “2x Trailing 12 Month average,”
 “Extraordinary Order Method – 3x Trailing 12 Month Average,” “Maximum 8,000 Dosage Units
 Monthly,” and “Maximum Daily Dosage Units.” The purpose of each system was to identify
 suspicious orders that should not be shipped unless the distributors’ due diligence eliminated the
 suspicion of diversion. Each method would have identified a significant volume of orders of
 opiates as shown in the tables below. 110
          A.       Methodology: Maximum Monthly, Trailing 6 Month Threshold
 Cuyahoga County: 1996-2018
  Distributor                Flagged Orders of Oxycodone             Flagged       Orders     of
                             (Dosage Units)                          Hydrocodone (Dosage Units)
  AmerisourceBergen Drug (p. 50,578,040 (86.5% of total              24,412,050 (92.7% of total
  46)                        dosage units)                           dosage units)
  Cardinal (p. 91)           92,257,585 (96.6% of total              29,954,990 (93.6% of total
                             dosage units)                           dosage units)
  McKesson Corporation (p. 49,621,330 (92.0% of total                21,298,200 (87.1% of total
  136)                       dosage units)                           dosage units)
  CVS (p. 181)               0 shipped                               43,763,460 (95.7% of total
                                                                     dosage units)
  Walgreens (p. 236)                      40,776,500 (95.3% of total 34,718,901 (95.1% of total
                                          dosage units)              dosage units)


 Summit County: 1996-2018
  Distributor                Flagged Orders of Oxycodone             Flagged       Orders     of
                             (Dosage Units)                          Hydrocodone (Dosage Units)
  AmerisourceBergen Drug (p. 35,909,640 (89.4% of total              23,505,340 (89.3% of total
  676)                       dosage units)                           dosage units)
  Cardinal (p. 721)          52,594,125 (92.7% of total              19,029,900 (90.4% of total
                             dosage units)                           dosage units)
  McKesson Corporation (p. 41,057,500 (90.9% of total                21,299,480 (86.9% of total
  766)                       dosage units)                           dosage units)
  CVS (p. 811)               0 shipped                               26,734,980 (94.0% of total
                                                                     dosage units)
  Walgreens (p. 236)                      16,833,800 (95.7% of total 22,166,224 (95.1% of total
                                          dosage units)              dosage units)




 110
    I utilized these Defendants: Cardinal Health, AmerisourceBergen Drug, McKesson, Walgreens, and CVS as they
 constitute a significant majority of the opioid pills delivered into CT1 according to the data described in the Expert
 Report of Craig J. McCann, Ph.D., CFA, App. 9, pp. 3775 and 3845.




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             B.      Methodology: 2x Trailing 12 Month Average
 Cuyahoga County: 1996-2018
  Distributor                       Flagged Orders of OxycodoneFlagged       Orders     of
                                    (Dosage Units)             Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 111        28,664,320 (49.0% of total 16,838,590 (63.9% of total
                                    dosage units)              dosage units)
  Cardinal 112                      66,138,725 (69.2% of total 27,975,390 (87.4% of total
                                    dosage units)              dosage units)
  McKesson Corporation 113          22,751,030 (42.2% of total 17,521,790 (71.7% of total
                                    dosage units)              dosage units)
  CVS 114                           0                          18,879,620 (41.3% of total
                                                               dosage units)
  Walgreens 115                     20,982,100 (49.0% of total 8,642,503 (23.7% of total
                                    dosage units)              dosage units)


 Summit County: 1996-2018
  Distributor                       Flagged Orders of Oxycodone   Flagged       Orders     of
                                    (Dosage Units)                Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 116        24,717,720 (61.5% of total    22,367,570 (84.9% of total
                                    dosage units)                 dosage units)
  Cardinal 117                      46,159,595 (81.3% of total    19,452,310 (92.4% of total
                                    dosage units)                 dosage units)
  McKesson Corporation 118          31,759,560 (70.4% of total    21,268,330 (86.8% of total
                                    dosage units)                 dosage units)
  CVS 119                           0                             19,078,240 (67.0% of total
                                                                  dosage units)
  Walgreens 120                     8,373,600 (47.6%   of   total 15,293,536 (65.6% of total
                                    dosage units)                 dosage units)

 111
       Id. at 55.
 112
       Id. at 100.
 113
       Id. at 145.
 114
       Id. at 190.
 115
       Id. at 235.
 116
       Id. at 685.
 117
       Id. at 730.
 118
       Id. at 775.
 119
       Id. at 20.
 120
       Id. at 865.




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             C.      Methodology: Extraordinary Order Method - 3x Trailing 12 Month Average
 Cuyahoga County: 1996-2018
  Distributor                       Flagged Orders of Oxycodone   Flagged        Orders        of
                                    (Dosage Units)                Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 121        14,825,640 (25.4% of total    11,222,530 (42.6% of total
                                    dosage units)                 dosage units)
  Cardinal 122                      38,564,150 (40.4% of total    24,677,550 (77.1% of total
                                    dosage units)                 dosage units)
  McKesson Corporation 123          15,051,250 (27.9% of total    11,296,570 (46.2% of total
                                    dosage units)                 dosage units)
  CVS 124                           0                             9,053,380 (19.8% of total
                                                                  dosage units)
  Walgreens 125                     631,100 (1.5% of total dosage 2,146,100 (5.9% of total dosage
                                    units)                        units)


 Summit County: 1996-2018
  Distributor                       Flagged Orders of Oxycodone    Flagged       Orders     of
                                    (Dosage Units)                 Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 126        17,001,100 (42.3% of total     19,602,410 (74.4% of total
                                    dosage units)                  dosage units)
  Cardinal 127                      32,928,520 (58.0% of total     18,209,480 (86.5% of total
                                    dosage units)                  dosage units)
  McKesson Corporation 128          20,274,000 (44.9% of total     18,065,520 (73.7% of total
                                    dosage units)                  dosage units)
  CVS 129                           0                              13,873,500 (48.8% of total
                                                                   dosage units)



 121
       Id. at 64.
 122
       Id. at 109.
 123
       Id. at 154.
 124
       Id. at 199.
 125
       Id. at 244.
 126
       Id. at 694.
 127
       Id. at 739.
 128
       Id. at 784.
 129
       Id. at 829.




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  Walgreens 130                     0                             4,139,945 (17.8%   of   total
                                                                  dosage units)


             D.      Methodology: Maximum 8,000 Dosage Units Monthly
 Cuyahoga County: 1996-2018
  Distributor                       Flagged Orders of OxycodoneFlagged       Orders     of
                                    (Dosage Units)             Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 131        49,861,960 (85.3% of total 17,325,850 (65.8% of total
                                    dosage units)              dosage units)
  Cardinal 132                      64,367,435 (67.4% of total 19,254,920 (60.2% of total
                                    dosage units)              dosage units)
  McKesson Corporation 133          32,040,890 (59.4% of total 9,018,230 (36.9% of total
                                    dosage units)              dosage units)
  CVS 134                           0                          31,285,440 (68.4% of total
                                                               dosage units)
  Walgreens 135                     38,382,200 (89.7% of total 27,437,550 (75.2% of total
                                    dosage units)              dosage units)


 Summit County: 1996-2018
  Distributor                       Flagged Orders of Oxycodone   Flagged       Orders     of
                                    (Dosage Units)                Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 136        34,865,465 (86.8% of total    23,421,790 (88.9% of total
                                    dosage units)                 dosage units)
  Cardinal 137                      46,007,150 (81.1% of total    15,405,020 (73.2% of total
                                    dosage units)                 dosage units)
  McKesson Corporation 138          36,665,030 (81.2% of total    16,826,000 (68.7% of total
                                    dosage units)                 dosage units)



 130
       Id. at 874.
 131
       Id. at 73.
 132
       Id. at 118.
 133
       Id. at 163.
 134
       Id. at 208.
 135
       Id. at 253.
 136
       Id. at 703.
 137
       Id. at 748.
 138
       Id. at 793.




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  CVS 139                           0                          27,389,540 (96.3% of total
                                                               dosage units)
  Walgreens 140                     16,196,500 (92.0% of total 22,731,439 (97.5% of total
                                    dosage units)              dosage units)


             E.      Methodology: Maximum Daily Dosage Units
 Cuyahoga County: 1996-2018
  Distributor                       Flagged Orders of OxycodoneFlagged       Orders     of
                                    (Dosage Units)             Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 141        57,026,480 (97.6% of total 25,707,190 (97.6% of dosage
                                    dosage units)              units)
  Cardinal 142                      88,238,715 (92.3% of total 29,632,670 (92.6% of total
                                    dosage units)              dosage units)
  McKesson Corporation 143          48,643,610 (90.2% of total 22,404,190 (91.7% of total
                                    dosage units)              dosage units)
  CVS 144                           0                          45,652,800 (99.8% of total
                                                               dosage units)
  Walgreens 145                     42,000,900 (98.2% of total 36,451,293 (99.9% of total
                                    dosage units)              dosage units)


 Summit County: 1996-2018
  Distributor                       Flagged Orders of Oxycodone   Flagged       Orders     of
                                    (Dosage Units)                Hydrocodone (Dosage Units)
  AmerisourceBergen Drug 146        38,743,465 (96.5% of total    26,080,560 (99.0% of total
                                    dosage units)                 dosage units)
  Cardinal 147                      53,940,750 (95.0% of total    20,130,620 (95.7% of total
                                    dosage units)                 dosage units)



 139
       Id. at 838.
 140
       Id. at 883.
 141
       Id. at 82.
 142
       Id. at 127.
 143
       Id. at 172.
 144
       Id. at 217.
 145
       Id. at 262.
 146
       Id. at 712.
 147
       Id. at 757.




                                                45
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  McKesson Corporation 148                  43,107,840 (95.5% of total 23,405,670 (95.5% of total
                                            dosage units)              dosage units)
  CVS 149                                   0                          28,455,080 (100.0% of total
                                                                       dosage units)
  Walgreens 150                             17,367,500 (98.7% of total 23,313,824 (100.00% of total
                                            dosage units)              dosage units)


         I have been asked to identify the number of opioid pills that entered Cuyahoga and Summit
 Counties unlawfully. This is an impossible task due to the defendants’ failure to comply with their
 Federal statutory and regulatory requirements. 151 However, it is my opinion to a reasonable degree
 of professional certainty that applying the test set forth in Masters Pharmaceutical, Inc. v. Drug
 Enforcement Administration, 861 F.3d 206 (2017) provides a reasonable estimate and an initial
 trigger and first step to identifying orders of unusual size. 152 See Methodology A above. Pursuant
 to Masters, “as a matter of common sense and ordinary language, orders that deviate from a six-
 month trend are an ‘unusual’ and not ‘normal’ occurrence” Masters Pharm., Inc. v. Drug Enf't
 Admin., 861 F.3d 206, 216 (D.C. Cir. 2017). I say this understanding that this litigation will be
 advanced by selecting a methodology quantifying a volume of pills that entered CT1 jurisdictions
 unlawfully and providing this data to an economist to measure the harm caused by this volume.
         Based on my education, background, and experience, as well as my review of relevant
 documents, the absence of adequate distributor due diligence and failure to respond to indicators
 of suspicious orders as described in this report constitutes the Defendants’ failures to comply with
 the requirements of the Controlled Substances Act. It is further my opinion that this misconduct
 led to the excess quantity of opiate pills flooding the illicit market in CT1 jurisdictions.


             IV.     REGISTRANT SUSPICIOUS ORDER MONITORING SYSTEMS (SOMS)
         I have been asked to review the documents produced in this litigation to determine whether
 the distributors complied with the statutory and regulatory duties outlined above. In this process I
 have reviewed numerous documents and depositions for each of the enumerated Defendants.
 Based on my review it is my opinion to a reasonable degree of professional certainty that each of
 the distributors failed to comply with their statutory and regulatory duty to maintain effective
 controls to prevent diversion and to design and operate a system to identify and report suspicious
 orders.

 148
       Id. at 802.
 149
       Id. at 847.
 150
       Id. at 892.
 151
    This includes, but is not limited to, the requirement of the defendants to maintain effective controls against
 diversion, the reporting requirement, and the not shipping requirement. The detail of some of these failures is set
 out more completely below in the distributor and manufacturer specific sections of this report.
 152
       This approach does not take into consideration unusual pattern or frequency.




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                   A. Cardinal Health
        Distribution Center: Wheeling, WV
        DEA Registrant Number: RO0153609
        Transactional Data Disclosed:
            Date range:      01/01/1996 through 05/01/2018 153
            Volume:          Cuyahoga County
  Cuyahoga 154                  Total Dosage                MME              Base Weight
  Oxycodone                     95,552,860                  1,197,320,705    803,333
  Hydrocodone                   32,000,890                  139,036,823      143,916

                             Summit County
             155
  Summit                        Total Dosage                MME              Base Weight
  Oxycodone                     56,762,025                  786,211,225      527,434
  Hydrocodone                   21,043,080                  85,080,979       87,778


                         1. Court ordered SOMS Discovery Disclosure:

       •    Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Combined Discovery
            Requests (July 31, 2018)
       •    Cardinal Health, Inc.’s First Supplemental Objections and Responses to Plaintiffs’ First
            Combined Discovery Requests (November 30, 2018)
       •    Cardinal Health, Inc.’s Second Supplemental Objections and Responses To Plaintiffs’
            First Combined Discovery Requests (January 22, 2019)
       •    Cardinal Health, Inc.’s Third Supplemental Objections and Responses To Plaintiffs’ First
            Combined Discovery Requests (March 4, 2019)
       •    Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Set of Requests for
            Production of Documents (May 29, 2018)
       •    Cardinal Health, Inc.’s Objections and Supplemental Responses to Plaintiffs’ First Set of
            Interrogatories (November 30, 2018)
       •    Cardinal Health, Inc.’s Objections and Second Supplemental Responses to Plaintiffs’ First
            Set of Interrogatories (March 4, 2019)
       •    Cardinal Health, Inc.’s Revised Objections and Third Supplemental Responses to
            Plaintiffs’ First Set of Interrogatories (March 25, 2019)
       •    30(b)(6) Deposition of Cardinal Health (Jennifer Norris) (August 7, 2018)
       •    Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 1 (September 11, 2018)

 153
   CAH_MDL2804_00000012, CAH_MDL2804_00000014, CAH_MDL2804_00135241, and
 CAH_MDL2804_00617320.
 154
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 91.
 155
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 721.




                                                         47
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        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics (O), 9-11 (October 18,
            2018)
        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 2 (October 25, 2018)
        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 3-5 (November 9, 2018)
        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 13, 15-21 (November
            14, 2018)
        •   Cardinal Health’s Supplemental Written Response to Plaintiffs’ 30(b)(6) Topic (a)
            (January 24, 2019)
        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 16-18 (January 24,
            2019)
        •   Cardinal Health’s Revised and Supplemental Written Response to Plaintiffs’ 30(b)(6)
            Topic (a) (March 4, 2019)
        •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 14 (March 4, 2019)

                      2. SOMS Corporate Policy Disclosed:
            Cardinal Health DEA Compliance Manual (April 5, 2000) 156
          This system that Cardinal used from April of 2000 till sometime in late 2007/early 2008
 had two operational aspects. First, Cardinal Health utilized the Ingredient Limit Reports, which
 were generated as a retrospective review of the prior month’s distribution data based on a formula
 that was applied on a monthly basis. A hard copy was then mailed to the local DEA office.
 According to Mr. Reardon, Vice President Quality and Regulatory Affairs from 2005 to 2007 and
 a Director in regulatory prior to 2000, this system was utilized by Cardinal as far back as the early
 1990’s. See Deposition of Steve Reardon, November 30, 2018 at 410: 10 to 411: 11 and 429: 3-
 10. The second part of this system was to have cage/vault employees looking for suspicious orders
 based on the “Excessive Purchases Schedule II” and “Excessive Purchases Schedule III, IV, V”
 charts. 157 If Cardinal’s pickers and checkers spotted an excessive order they were to notify the
 local DEA office prior to shipment of the order if possible and place a copy of these orders in the
 distribution center’s suspicious order file along with a Regulatory Agency Contract Form (Form
 #1) noting any specific instructions from the DEA. 158
            Cardinal SOM Program (12/01/2007 through 12/22/2008) 159
        The next step in the evolution of Cardinal’s SOM Programs is unclear. According to
 document CAH_MDL2804_01522227 Cardinal’s policies change on this date to incorporate
 threshold and a know your customer (KYC) system. However according to sworn testimony for
 Cardinal via its 30(b) designee Jennifer Norris, Cardinal does not know what changes it made



 156
       CAH_MDL_PRIORPROD_DEA07_01383895, 01383939-01384041.
 157
       See CAH_MDL_PRIORPROD_DEA07_01383136, 01384160-01384161.
 158
       CAH_MDL_PRIORPROD_DEA07_01383895, 01383940 and 01384080.
 159
       CAH_MDL2804_01522227




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 within its SOM systems from September 2006 through at least late 2007. See Norris Deposition
 at page 292.
           Cardinal SOM Program (12/22/2008 forward) 160
          In 2008 Cardinal implemented several Standard Operating Procedures (SOP) related to
 anti-diversion. This system also had two primary components. The first component was threshold
 utilization. This included setting a specific threshold (based on dosage unit) for each customer for
 each controlled drug base code or drug family and if the customer exceeded the allotted threshold
 the order was to be held and not shipped. The second component to this system was “Know Your
 Customer” (KYC) and it obligated Cardinal to know who they were dealing with. The threshold
 process and KYC are discussed in more detail in other portions of my report.
                       3. Enforcement Actions
        a) On December 26, 2006, Cardinal entered into an Assurance of Discontinuance Pursuant
           to Executive Law §63(15) with the NY AG related to its failures to prevent and monitor
           price diversion and closed door pharmacies; 161

        b) On September 18, 2007, the DEA issued a Warrant for Inspection against the Cardinal
           Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
           effective controls against diversion of hydrocodone; 162

        c) On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Auburn, Washington Distribution Center
           (“Auburn Facility”) for failure to maintain effective controls against diversion of
           hydrocodone; 163

        d) On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center
           (“Lakeland Facility”) for failure to maintain effective controls against diversion of
           hydrocodone; 164

        e) On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution


 160
   CAH_MDL_PRIORPROD_AG_0004208, CAH_MDL_PRIORPROD_AG_0000323,
 CAH_MDL_PRIORPROD_AG_0000344, CAH_MDL_PRIORPROD_AG_0000101,
 CAH_MDL_PRIORPROD_DEA12_00014535, 00014536; CAH_MDL_PRIORPROD_AG_0000013
 161
       CAH_MDL_PRIORPROD_DEA07_00833777.
 162
       CAH_MDL2804_02110916, 02110918-02110923.
 163
       CAH_MDL2804_00641449, 00641465.
 164
       CAH_MDL2804_00641449, 00641469.




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           Center (“Swedesboro Facility”) for failure to maintain effective controls against diversion
           of hydrocodone; 165

        f) On January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal
           Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
           effective controls against diversion of hydrocodone; 166

        g) On September 30, 2008, Cardinal Health entered into a Settlement and Release
           Agreement and Administrative Memorandum of Agreement with the DEA related to its
           Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The
           document also referenced allegations by the DEA that Cardinal failed to maintain
           effective controls against the diversion of controlled substances at all 27 of Cardinal’s
           distribution centers nationwide; 167

        h) On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center for
           failure to maintain effective controls against diversion of oxycodone; 168 and

        i) On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the DEA to
           resolve the civil penalty portion of the administrative action taken against its Lakeland,
           Florida Distribution Center. 169

                       4. Suspicious Orders Reported In CT1 Jurisdictions
                                   Pre-Shipment
                                                           Post-Shipment Reporting
                                    Reporting
                     1996                0
                     1997                0
                     1998                0
                     1999                0
                     2000                0
                     2001                0
                     2002                0
                     2003                0
                     2004                0
                     2005                0                ILRs (Jan through Dec only)

 165
       CAH_MDL2804_00641449, 00641474.
 166
       CAH_MDL2804_00641449, 00641479
 167
       CAH_MDL2804_00641449.
 168
       CAH_MDL2804_02465982.
 169
       CAH_MDL2804_0005778.




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                   2006                   0                           ILRs
                   2007                   0                           ILRs
                   2008                   0                     ILRs (April only)
                   2009                   0
                   2010                   0
                   2011                   0
                   2012                   0
                   2013                  40
                   2014                  57
                   2015                  19
                   2016                  20
                   2017                  10
                   2018                   1


                     5. Due Diligence Conducted
        Due Diligence is one of the core components of any SOMS and must be fully integrated if
 the SOMS is going to work adequately. The basic premise for due diligence is that a registrant
 must know who they are dealing with when distributing controlled substances (potentially
 dangerous drugs) into surrounding communities. Cardinal’s due diligence system has evolved
 over time and while it has made general improvements in theory the overall application of the
 system does not meet its regulatory requirement to maintain effective controls against diversion.
            Cardinal’s due diligence prior to 2006 is very limited, and it is difficult to discern exactly
 what due diligence was conducted by Cardinal prior to 2006. Cardinal cited to a defined list of
 documents in its Second Supplemental Combined Discovery Responses as the production related
 to due diligence conducted on the Cuyahoga County and Summit County customers. 170 It appears
 that prior to 2006 Cardinal’s customer due diligence was limited in fashion. The best I can tell it
 appears that Cardinal solely sought to ensure compliance with 21 CFR 1301.74(a) which reads in
 pertinent part:

         Before distributing a controlled substance to any person who the registrant does not
         know to be registered to possess the controlled substance, the registrant shall make
         a good faith inquiry either with the Administration or with the appropriate State
         controlled substance registration agency, if any, to determine that the person is
         registered to possess the controlled substance.




 170
   See Cardinal Second Supplemental Combined Discovery Responses, citing CAH_MDL2804_00000015 –
 00001851, CAH_MDL2804_00094067–00094604, CAH_MDL2804_00135242, CAH_MDL2804_00619125,
 CAH_MDL2804_01287246–01287525, CAH_MDL2804_02098561, CAH_MDL2804_02101808, and
 CAH_MDL2804_02879401–02879958




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 While such due diligence is a first step in the process it does not meet the required level of
 compliance to ensure a sufficient level of maintenance of effective control by which a registrant
 should operate.

            In 2005 it appears that the NY AG began an investigation of Cardinal related to the
 distribution of its products. 171 This matter involves, amongst other allegations, price diversion
 with closed door pharmacies that engaged in contract pricing. This matter resolved in December
 of 2006 with the entry of an Assurance of Discontinuance. This appears to have caused Cardinal
 to create its first customer screening and monitoring process at least as it applies to “closed-door
 pharmacy customers at contract pricing.” 172 This policy is very limited in its application to
 “closed-door pharmacy customers at contract pricing” and there was no indication that a like policy
 was enacted for Cardinal’s remaining customers. The main function of this policy as it relates to
 due diligence was to require a “Contract Pricing Declaration” and a “Site Visit Form.” This
 process did not constitute adequate due diligence for these customers. Additionally, it appears that
 these forms were not utilized prior to 2006, confirming the lack of due diligence even for closed-
 door pharmacies prior to that date. 173

            In 2007/2008 when Cardinal was being investigated by the DEA and received immediate
 suspension orders for three of its distribution centers, I see the next significant change in the due
 diligence process in place at Cardinal. This is first demonstrated in a training manual that is
 prepared by Eric Brantley (at least the manual bears his name) and dated October 2007 and is titled
 Know Your Customer Program: Retail Pharmacy Questionnaire Training. 174 There is also a
 related document that is an email from Gary Cacciatore sent on December 9, 2007 indicating this
 training is being rolled out to the “independent retail sales team” to be completed by December
 19, 2007. 175 For this time frame up until 2012 there appears to be some due diligence/know your
 customer functions occurring in Cuyahoga County and Summit County for retail independent
 pharmacies/drug stores but not to the extent I have outlined above. 176

             During this same time, 2007/2008 to 2012, there seems to be very little in
 implementation of actual policies related to know your customer/due diligence. 177 Cardinal Health
 provided almost preferential treatment to its chain pharmacies/national accounts as compared to
 their retail independent customers. Cardinal Health’s policies did not reflect this almost
 preferential treatment. Cardinal admittedly did not conduct the same due diligence on its chain


 171
       See CAH_MDL_PRIORPROD_DEA07_00833777.
 172
       See CAH_MDL_PRIORPROD_DEA07_00871842.
 173
       See CAH_MDL_PRIORPROD_DEA07_00008894.
 174
       See CAH_MDL_PRIORPROD_DEA07_02738896.
 175
       See CAH_MDL_PRIORPROD_DEA07_02738893.
 176
       See Section II. (M.).
 177
   See, e.g., Due Diligence files produced by Cardinal Health for customers in the City of Cleveland, Cuyahoga
 County, and Summit County, CAH_MDL2804_00000015 –00001851, CAH_MDL2804_00094067–00094604.




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 customers during this time period. 178 This practice is not acceptable for maintaining effective
 controls against diversion and is a breach of Cardinal’s obligation as a registrant. As indicated
 above, there was clearly some due diligence being conducted, some of which occurred in the way
 of on-site investigations, however, according to the Special Demand Committee Report of
 Cardinal’s Board of Directors, those investigations were not being reviewed properly. 179 These
 requirements are not intended to be an act in futility but are a useful and necessary tool in meeting
 the registrant’s regulatory requirements.

          There are several examples of this lack of due diligence/KYC occurring in Cuyahoga
 County and Summit County over this span of years. These examples are based on documents
 identified in the Second Supplemental Combined Discovery Responses, which identify the due
 diligence files for Cuyahoga County and Summit County. Looking at New Choice Pharmacy,
 which is located in Summit County, it appears that it initially became a customer of Cardinal’s in
 approximately May 2004 and remained a customer until approximately September 2015. During
 this timeframe New Choice went through three changes of DEA registration numbers
 (FN1432854, BC8680399, and BN8680399) with no real explanation for this in the produced due
 diligence file. 180 There could have been several reasons for this change, such as a change of
 ownership or change is business model. The distribution of oxycodone to New Choice showed a
 pattern of growth from 8,000 dosage units of oxycodone in May 2004 to over 134,000 dosage units
 in August 2007 and there appears to be no due diligence until January 2008. 181 The documents
 within this due diligence file fail to recognize risk factors that are apparent while Cardinal
 continued to increase the threshold for oxycodone, and eventually on March 7, 2008, the threshold
 increased to 145,000 oxycodone dosage units per month. 182 While New Choice was located in a
 medical complex, and for a time was owned by a hospital group, it did not service the hospital and
 instead actually serviced a pain clinic. Its controlled substances sales constituted 75% of total sales
 in the early part of 2008. The due diligence that is contained in Cardinal’s files is not sufficient to
 justify this large amount of oxycodone and does not meet Cardinal’s regulatory requirement. 183

          The next example is a chain pharmacy known as CVS #3322 (DEA# AR7531418), which
 appears to have been a customer of Cardinal’s from 2000 to at least May 2018. CVS #3322’s
 purchases of oxycodone increased over time from 3,100 for the month of February 2000 to a high
 of 61,400 for October 2012. There is a due diligence file produced by Cardinal for CVS 3322, but


 178
       See Declaration of Michael A. Mone, CAH_MDL_PRIORPROD_DEA12_00014053 at page 13.
 179
    See Investigation Report of the Special Demand Committee, CAH_MDL_PRIORPROD_HOUSE_0003331 at
 page 36.
 180
   See New Choice Pharmacy Due Diligence file, CAH_MDL2804_00000605-00000618,
 CAH_MDL2804_00001518-00001540.
 181
       See id.; see also Expert Report of Craig J. McCann, Ph.D, CFA, App. 9, pp. 1424, 1524, and 1536.
 182
       See CAH_MDL2804_00619126 and CAH_MDL2804_02098561.
 183
   See New Choice Pharmacy Due Diligence file, CAH_MDL2804_00000605-00000618,
 CAH_MDL2804_00001518-00001540.




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 there is no documented due diligence prior to January 24, 2014. 184 The diligence that is noted on
 this date is a “surveillance site visit report,” which according to Mr. Forst is completely different
 than an on-site investigation. 185 Again, this level of due diligence is not sufficient to meet
 Cardinal’s regulatory obligations and, as set out above, relying on the chain to conduct their own
 due diligence does not meet regulatory requirements.

                          6. Opinions Related to Cardinal Health
            1.       Cardinal Health failed to maintain effective control against diversion of
                     prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                     823(b)(1) [1970].
         The bar graphs identified as Figures 3-14 in Schedule II to this report demonstrate a clear
 increase of distribution of prescription opioids into Cuyahoga County and Summit County by dose,
 base weight and MME. In my opinion the massive increase in prescription opioids without
 sufficient due diligence documented is indicative of a failure to maintain effective control.
            2.       Cardinal Health failed to design and operate a system to identify suspicious
                     orders of controlled substances in violation of the security requirement set forth
                     in 21 C.F.R. § 1301.74(b).
            a.       Policy Period #1 (1996 to 2008):
                     i.       Ingredient Limit Reports
         Cardinal Health claims its system from 1996 to 2008 was premised upon “guidance” from
 the 1998 DEA Reno Report. 186 The record does not reveal any documentation which supports this
 contention. 187 Moreover, the Reno Report provides guidance on monitoring monthly orders of
 chemicals used to make illicit methamphetamine. The Reno Report, referencing the Chemical
 Handlers Manual, advises a distributor to set an “ingredient limit” as a tool to detect monthly
 orders of extraordinary size. This limit is determined by calculating a monthly average for
 similarly situated customers and multiplying by a factor of three (3). Monthly orders in excess of
 this limit are deemed “extraordinary” and must be reported.



 184
       See CVS #3322 Due Diligence file, CAH_MDL2804_00000204-00000219.
 185
       See Depo. of Stephen Forst, 30:4-33:19.
 186
     Cardinal Health’s Supplemental Response to Plaintiffs’ First Combined Discovery Request No. 3 (November 30,
 2018); Deposition of Jennifer Norris (30(b) Designee for Cardinal Health), 134:16-23.
 187
     See Deposition of Jennifer Norris (30(b) Designee for Cardinal Health); Cardinal Health’s original and First,
 Second, and Third Supplemental Responses to Plaintiffs’ Frist Combined Discovery Request; Cardinal Health’s
 Written Original and Supplemental Responses to Plaintiffs’ First Notice of 30(b) Deposition, Topic (a). Furthermore,
 while there is not necessarily evidence that the “guidance” Cardinal allegedly received was communicated by a DEA
 field agent, to the extent it was, pursuant to the reasoning in Novelty Distributors, Inc., 73 Fed. Reg. 52,689, n. 53
 (Drug Enf’t Admin. September 3, 2008), Cardinal’s reliance on an agent’s “erroneous understanding of the law and
 regulations” would have been misplaced..




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         Cardinal Health used this methodology to monitor controlled substances but used a factor
 of four (4) to identify unusual monthly orders. This design is insufficient to meet the security
 requirement because: (a) it fails to identify suspicious orders before shipment; (b) it uses after-
 the-fact reporting of suspicious orders; (c) it ships suspicious orders; and (d) it uses a 4x factor
 which is in excess of the factor recommended by the Reno Report to detect orders of extraordinary
 size. Cardinal Health knew or should have known that such a system, by itself, is woefully
 insufficient to meet its obligations under federal law.
         If Cardinal Health designed its system in accordance with the DEA Diversion Investigators
 Manual (1996), a copy of which it had in its possession since at least 2003, it would have identified
 a serious problem in Cuyahoga County and Summit County. The Manual states:
            Registrants, who routinely report suspicious orders, yet fill these orders, with
            reason to believe they are destined for the illicit market, are expressing an
            attitude of irresponsibility that is a detriment to the public health and safety as
            set forth in 21 U.S.C. 823 and 824. Suspicious orders include those which are
            in excess of legitimate medical use or exhibit characteristics leading to possible
            diversion such as: orders of unusual size, unusual frequency, or those
            deviating substantially from a normal pattern. The supplier can determine
            whether the order is excessive by checking their own sales and establishing the
            average amount of controlled substances shipped to registrants of the same
            apparent size in a particular geographic area. If the customer exceeds this
            threshold, the request should be viewed as suspicious. This activity, over
            extended periods of time, would lead a reasonable person to believe that
            controlled substances possibly are being diverted. 188
 Cardinal Health did not retain the algorithm nor the formula used to calculate the average purchase
 of controlled substances by the distribution center servicing Cuyahoga County and Summit
 County. 189 However, Cardinal Health produced Ingredient Limit Reports from its Wheeling
 Distribution Center from which the following “ingredient limits” of oxycodone and hydrocodone
 can be derived:
                                                                                    Limit      for Limit for
  Bates Range                                                        Date
                                                                                    9143           9193
  CAH_MDL_PRIORPROD_DEA07_01465435                               –
  01465712                                                           August
                                                                                    137.03136      42.67696
                                                                     2005
  (see CAH_MDL_PRIORPROD_DEA07_01465497)
  CAH_MDL_PRIORPROD_DEA07_01713984                               – September
                                                                             134.53336             43.14248
  01714260                                                         2005



 188
       See CAH_MDL2804_02203353.
 189
       See Special Master Cohen Discovery Hearing Transcript of January 25, 2019, pp. 60-67.




                                                          55
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  (see CAH_MDL_PRIORPROD_DEA07_01714045)


  CAH_MDL_PRIORPROD_DEA07_01676164          –
  01676385                                      October
                                                            140.26240   43.62120
                                                2005
  (see CAH_MDL_PRIORPROD_DEA07_01676206)
  CAH_MDL_PRIORPROD_DEA07_01640601          –
  01640859                                      November
                                                            140.00036   43.94216
                                                2005
  (see CAH_MDL_PRIORPROD_DEA07_01640661)
  CAH_MDL_PRIORPROD_DEA07_01698986          –
  01699238                                      December
                                                            138.63832   44.33880
                                                2005
  (see CAH_MDL_PRIORPROD_DEA07_01699031)
  CAH_MDL_PRIORPROD_DEA07_01554009          –
  01554254                                      January
                                                            136.70968   44.71368
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01554060)
  CAH_MDL_PRIORPROD_DEA07_01538085          –
  01538299                                      February
                                                            134.12484   45.21144
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01538126)
  CAH_MDL_PRIORPROD_DEA07_01611135          –
  01611464                                      March
                                                            131.07688   45.95936
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01611192)
  CAH_MDL_PRIORPROD_DEA07_01641502          –
  01641682                                      April 2006 127.79620    42.21564
  (see CAH_MDL_PRIORPROD_DEA07_01641540)
  CAH_MDL_PRIORPROD_DEA07_01788800          –
  01789058                                      May 2006    125.41532   46.93344
  (see CAH_MDL_PRIORPROD_DEA07_01788850)
  CAH_MDL_PRIORPROD_DEA07_01590839          –
  01591156                                      June 2006   122.04580   47.64656
  (see CAH_MDL_PRIORPROD_DEA07_01590908)
  CAH_MDL_PRIORPROD_DEA07_01573797          –
                                                July 2006   119.70760   48.77660
  01574019




                                       56
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  (see CAH_MDL_PRIORPROD_DEA07_01573850)


  CAH_MDL_PRIORPROD_DEA07_01475709          –
  01475962                                      August
                                                           117.42644   49.45828
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01475761)
  CAH_MDL_PRIORPROD_DEA07_01723108          –
  01723339                                      September
                                                          114.11996    49.58536
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01723159)
  CAH_MDL_PRIORPROD_DEA07_01685103          –
  01685339                                      October
                                                           112.16060   49.85244
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01685159)
  CAH_MDL_PRIORPROD_DEA07_01650463          –
  01650717                                      November
                                                           109.56708   49.98252
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01650518)
  CAH_MDL_PRIORPROD_DEA07_01515965          –
  01516204                                      December
                                                           107.36024   49.75956
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01516022)
  CAH_MDL_PRIORPROD_DEA07_01563313          –
  01563602                                      January
                                                           106.47764   50.03312
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01563374)
  CAH_MDL_PRIORPROD_DEA07_01546013          –
  01546207                                      February
                                                           105.83396   50.16428
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01546054)
  CAH_MDL_PRIORPROD_DEA07_01620843          –
  01621127                                      March
                                                           104.40680   50.17876
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01620900)
  CAH_MDL_PRIORPROD_DEA07_01457031          –
  01457282                                      April 2007 104.82816   50.70796
  (see CAH_MDL_PRIORPROD_DEA07_01457086)
  CAH_MDL_PRIORPROD_DEA07_01747160          –
                                                May 2007   105.42900   50.98644
  01747495




                                       57
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  (see CAH_MDL_PRIORPROD_DEA07_01747222)


  CAH_MDL_PRIORPROD_DEA07_01601686                    –
  01601970                                                June 2007    106.12548      50.75616
  (see CAH_MDL_PRIORPROD_DEA07_01601749)
  CAH_MDL_PRIORPROD_DEA07_01544958                    –
  01545544                                                July 2007    116.35200      50.83508
  (see CAH_MDL_PRIORPROD_DEA07_01545069)
  CAH_MDL_PRIORPROD_DEA07_01488350                    –
  01488972                                                August
                                                                       127.77312      52.07900
                                                          2007
  (see CAH_MDL_PRIORPROD_DEA07_01488469)
  CAH_MDL_PRIORPROD_DEA07_01732427                    –
  01732872                                                September
                                                                    137.53468         52.34368
                                                          2007
  (see CAH_MDL_PRIORPROD_DEA07_01732511)
  CAH_MDL_PRIORPROD_DEA07_01696166                    –
  01696738                                                October
                                                                       148.22516      53.21820
                                                          2007
  (see CAH_MDL_PRIORPROD_DEA07_01696272)
  CAH_MDL_PRIORPROD_DEA07_01660982                    –
  01661449                                                November
                                                                       158.34500      54.08492
                                                          2007
  (see CAH_MDL_PRIORPROD_DEA07_01661075)
  CAH_MDL_PRIORPROD_DEA07_01525200                    –
  01525688                                                December
                                                                       166.08928      52.92888
                                                          2007
  (see CAH_MDL_PRIORPROD_DEA07_0155294)
  CAH_MDL2804_00689780 – 00690378
                                                          April 2008 211.60004        49.09028
  (see CAH_MDL2804_00689879)


         Additionally, by reviewing this chart it exemplifies some of the concerns I have with
 Cardinal Health’s SOMS. This ILR information is all from Cardinal Health’s Wheeling
 distribution center and we can see that for this geographic area the limiter amount for oxycodone
 is decreasing from October 2005 through March 2007 from 140.26240 down to 104.40680. Then
 in April of 2007 the limiter begins to increase until April 2008 (did not have ILR’s for January,
 February, and March of 2008), climbing from 104.82816 up to 211.60004, more than doubling the
 amount of oxycodone in a year’s time. It is my understanding that this distribution center provides




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 distribution services to Ohio, West Virginia, and parts of Pennsylvania. 190 This drastic increase
 should have triggered an investigation to ensure the legitimacy of the orders placed by the
 customers for oxycodone.
                      ii.     Excessive Orders
         Cardinal Health’s system (early 1990’s-2008) 191 was also designed to identify “individual
 orders that appear to be excessive” on a daily basis and notify the DEA, if possible, before the
 order is shipped. Excessive orders are defined by the following dosage limits:
             Hydrocodone                                                   800 Tabs/Caps

             Oxycodone / Acet                                              1200 Tabs/Caps
             (Tylox, Roxilox, Roxicet. Percocet. Endocet)

             Oxycodone/Asa                                                 500 Tabs
             (Percodan, Endodan, Roxiprin)

             Oxycodone                                                     600 Tabs 192
             (Oxycontin, Roxicodone)

        During this timeframe Steve Reardon, Vice President Quality and Regulatory Affairs, was
 over the anti-diversion department at Cardinal Health. Mr. Reardon testified that this “Excessive
 Order” system was expected to be implemented the same across the whole company and
 implemented uniformly. 193 According to Mr. Reardon, Cardinal Health’s policy was for any order
 that exceeded these “Excessive Order” postings in the cage to be reported to the DEA as a
 suspicious order prior to shipment. 194

 I asked SLCG to determine how many daily orders exceeded the daily limit set by Cardinal Health
 between 1996 to 2018 which resulted in the following:

             Cuyahoga County: 195 166,869 196 orders of oxycodone (83.4 % of all oxycodone orders)
                                  exceeded the daily limit. These orders included 88,238,715 dosage
                                  units of oxycodone.



 190
       See Deposition of Craig Baranski, p. 82-83.
 191
       See Deposition of Steve Reardon, p. 429.
 192
       CAH_MDL_PRIORPROD_DEA07_01383136, 01383401.
 193
       See Reardon at 455 to 456.
 194
       See Reardon at 453 to 456.
 195
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 127.
 196
       Id. at Table 32.




                                                          59
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                                  88,662 197 orders of hydrocodone (76.4% of all hydrocodone orders)
                                  exceeded the daily limit. These orders included 29,632,670 dosage
                                  units of hydrocodone.
             Summit County: 198   104,253 199 orders of oxycodone (87.9% of all oxycodone orders)
                                  exceeded the daily limit. These orders included 53,940,750 dosage
                                  units of oxycodone.
                                  52,285 200 orders of hydrocodone (85.0% of all hydrocodone orders)
                                  exceeded the daily limit. These orders included 20,130,260 dosage
                                  units of hydrocodone.
         I have not been able to locate any reports related to orders in excess of the daily limit for
 the Wheeling distribution center produced in this matter. Furthermore, evidence in the record
 indicates that Cardinal Health employees instructed its personnel to ignore the daily limits.
 Cardinal Health’s employee, Dave Strizzi, claims that these excess “charts” are for guidance and
 that orders should not be cut but that staff should “record the orders that exceed these limits for
 possible reporting to the DEA.” 201 This is completely inconsistent with the way Cardinal Health’s
 policy reads as well as the way Mr. Reardon explained it. Even more concerning, on November
 1, 2006, Rafael Varela, one of Cardinal Health’s QA & Compliance Managers, wrote “the Vault
 Keyers were, until today, overriding the limiters for the vault items in the system… This is not
 supposed to happen without authorization.” 202

         Even if the daily limit system was designed properly as a tool to identify suspicious orders,
 it appears there is no evidence the system was sufficiently “operated.” This concern was clear
 even to the employees at Cardinal Health. On December 5, 2007, just after the license suspension
 of Cardinal Health’s Auburn distribution center, Bob Kurtz sent a follow-up email to Rafael
 Varela, one of Cardinal Health’s Compliance and QA Managers, and explained the following
 related to Cardinal’s “picker and checker” system:

             The manual process we perform now with the discovery of suspected excessive
             purchases being left up to the keyer notifying myself, or a picker/double
             checker/QCer questioning an amount being processed seems to leave ample
             opportunity for failure. A system generated “flag” would be a more complete
             or thorough method of determining spikes or excessive quantities than what we
             are currently performing.




 197
       Id.
 198
       Id. at p. 757.
 199
     Id. at Table. 33.
 200
     Id.
 201
     See CAH_MDL PRIORPROD_ DEA07_00319489.
 202
       See CAH_MDL PRIORPROD_ DEA07_01052516.




                                                   60
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            As you know, I’ve investigated many accounts, tracked their ordering history,
            and reached out for guidance and directions. But without “someone” bringing a
            suspected “excessive quantity” order to our attention, many, many more could
            be going out the door under our noses. I wonder could a similar situation
            happen in Lakeland and management be questioned “why wasn’t this
            discovered?” 203

 In my opinion, this represents a breach of the security requirement as it applies to Cardinal Health.

        This is all consistent with the testimony of Mark Hartman, who took over the regulatory
 department in December 2007, as the Senior Vice President of Supply Chain Integrity. 204
 According to Mr. Hartman as well as a power point presentation that he prepared, Cardinal Health
 had leaks in their supply chain. 205 This is during the same time that Cardinal was addressing three
 Immediate Suspension Orders and one Order to Show Cause across four of its distribution centers
 related to Cardinal Health’s failure to maintain effective controls against diversion. 206
 Specifically, Cardinal Health was alleged to have been failing to comply with its regulatory duties
 and distributing excess oxycodone, which is consistent with my opinions for Policy Period #1.

         Even Cardinal Health’s counsel recognized that Cardinal Health did not have a sufficient
 SOMS to properly detect all suspicious orders during this timeframe. 207 Prior to and during
 portions of 2008, Cardinal Health was still delivering not only controlled substances, but
 oxycodone in particular, after being specifically told that such an action would be illegal. 208
 Further, a spreadsheet produced by Cardinal describes a number of pharmacies, including some in
 CT1 jurisdictions, that Cardinal cut off prior to 2008 and the underlying reasons for termination. 209
 This document shows that Cardinal serviced pharmacies whose purchase histories, ratio of
 purchases of controlled to non-controlled substances, ratio of cash for purchases of controlled
 substances, total volume of certain controlled substances (hydrocodone, oxycodone), and other
 factors indicated potential diversion. Had Cardinal investigated these pharmacies sooner, as it
 should have, Cardinal would have been aware of this activity.


            b.       Policy Period #2 (2008 to 2012):

                     i.       Thresholds
 203
       See CAH_MDL_PRIORPROD_DEA07_00135433 (emphasis added).
 204
       See Deposition of Mark Hartman at 17:11-16.
 205
       See id. 236: 5-13, see also Hartman Depo. Exhibit 13.
 206
       CAH_MDL2804_00641449.
 207
    See CAH_MDL_PRIORPROD_DEA07_00968964 (“[H]ere, you have an Inet Pharmacy, the account is open,
 and Cardinal does not yet have a system for detecting all suspicious orders.”).
 208
       Id.; see also, Schedule IV, distributions to Ross Westbank (2006-2014).
 209
       CAH_MDL2804_00664969.




                                                               61
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         After the DEA instituted an enforcement action against Cardinal Health, it began
 implementing a different SOM system in 2008. Cardinal Health claims that this revised system
 focused on a dual approach. The first approach used in this system required the creation of a
 Threshold for each customer and that the Threshold be specific for each base code. The Threshold
 was designed to operate as a stop on any shipment which exceeded the predetermined
 Threshold. 210 The Second step in this process required Cardinal Health to be familiar with its
 customers (Know Your Customers). The record does not support that Cardinal Health complied
 with their own thresholds. To the contrary, Cardinal Health continued to ship orders that exceeded
 their own Thresholds without complying with their KYC requirements or conducting sufficient
 due diligence before shipping suspicious orders.

         Cardinal Health’s approach to setting these Thresholds for its customers, as with the ILR’s,
 was fatally flawed. Cardinal Health’s Threshold system required it to determine the 12 month
 average for its customers, for each base code based on type and size of customer, and multiply that
 average by a multiple of 3 for schedule II’s and a multiple of 5 for schedule III’s. 211 This too is
 insufficient under the security requirement because: (a) it premises setting a threshold limit in the
 middle of a national opioid epidemic; 212 and (b) Cardinal Health relies on the Reno Report 213 using
 a 3x and 5x multiple respectively, which, again, is recommended only to apply to extraordinary
 size of controlled substances containing List 1 chemicals, and not to Schedule II and Schedule III
 controlled substances which do not contain List I chemicals. 214

          Cardinal Health’s productions demonstrate that it regularly ignored the thresholds it had
 set for its customers. The DEA found that following the 2008 settlement with the DEA, Cardinal
 failed to report any suspicious orders of oxycodone products for pharmacies in Maryland between
 2008 and October 1, 2011. 215 During this time, the DEA found that Cardinal Health increased
 thresholds for these Maryland pharmacies despite evidence indicating potential diversion. 216 This
 fact was also part of the 2012 DEA enforcement action based on Cardinal Health’s Florida conduct.
 This appears to be a systemic problem that was occurring throughout Cardinal Health’s nationwide
 operations. Documents provided by Cardinal Health related to the Holder v. Cardinal Health
 litigation demonstrates this point. The following are examples of the number of times customers
 were permitted to exceed their predetermined thresholds:

 210
       See Deposition of Shirlene Justus, July 13, 2018 at 86:14 to 88:6.
 211
       CAH_MDL_PRIORPROD_AG_0000013.
 212
       See Deposition of Mark Hartman, 286:5-11.
 213
    See Deposition of Jennifer Norris (Cardinal Health 30(b) Designee), 134:16-23 (“An ingredient limit report is the
 report that was required pursuant to the 1998 DEA report to, I believe, the Attorney General. It included the algorithm
 for certain pharmaceuticals, and we on a monthly basis provided the report of the customers who had exceeded the
 designated amount that you achieve pursuant to doing the algorithm, the math problem.”).
 214
       See Deposition of Steve Reardon, 432:8-433:3.
 215
       CAH_MDL2804_025097322, 02509741.
 216
       Id. at 02509756, 02509758, 02509764, 02509780




                                                             62
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            •    CVS 219 allowed to exceed its threshold 14 out of 16 months.
            •    Gulf Coast allowed to exceed its threshold 12 out of 29 months.
            •    CVS 5195 allowed to exceed its threshold 5 consecutive months.
            •    Caremed allowed to exceed its threshold 13 out of 17 months. 217

 This conduct is concerning when viewed in light of the information not only available to Cardinal
 Health but that which their people actually reviewed and had knowledge of. The slide below was
 created by Cardinal to provide “talking points” for the “abnormal” buying pattern of CVS 219 in
 Sanford, Florida. 218




 Even Christopher Forst, who is a pharmacist and was Director of quality/regulatory affairs,
 testified that he “would be uncomfortable selling that much to the store,” referring to CVS 219. 219

        As mentioned above this same practice of exceeding thresholds was not limited to the
 above Florida pharmacies but also is evident in Cuyahoga and Summit Counties. I have reviewed
 a spreadsheet produced by Cardinal as “Records of orders placed by customers in the City of
 Cleveland, Cuyahoga County, and Summit County that were held by Cardinal Health’s anti-


 217
       See CAH_MDL_PRIORPROD_DEA12_00004353; Depo. of Christopher Forst at 312:22-320:9.
 218
   See CAH_MDL_PRIORPROD_DEA12_00003244, 00003250; CAH_MDL2804_01103874, 01103875; and
 CAH_MDL_PRIORPROD_DEA12_00014224 at 00014248 para 46.
 219
       See Deposition of Christopher Forst at 333:22-23.




                                                           63
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 diversion system.” 220 The spreadsheet contains the dates pharmacies exceeded their thresholds and
 what action was ultimately taken with respect to the orders (e.g., Cut, Released, or Reported).
 Based on the due diligence files produced, Cardinal frequently failed to conduct adequate due
 diligence with respect to orders placed by customers in Cuyahoga and Summit Counties that
 exceeded their respective thresholds for controlled substances. The table below identifies a small
 sample of the orders that were ultimately released and allowed to ship despite there being
 inadequately documented due diligence supporting the justification indicated for the release. 221

    Date of                                                         Justification
                                    Controlled                                               Due
   Threshold        Pharmacy                          Result      (CAH_MDL2804_
                                    Substance                                              Diligence
     Event                                                           00135242)
                     Pharmed
                     Pharmacy
                                                                      “NOT
                      (DEA#
                                                                  UNREASONABLE
                   AP4581155),
                                                                    QUANTITY,
       6/30/2011   24340 Sperry     Oxycodone        Released                                None
                                                                    PATTERN,
                       Drive,
                                                                     AND/OR
                   Westlake OH
                                                                   FREQUENCY”
                    (Cuyahoga
                      County)
                     Pharmed                                       “Order quantity
                     Pharmacy                                      consistent with
                      (DEA#                                         order normal
                   AP4581155),                                      pattern” NOT
       9/28/2011   24340 Sperry     Oxycodone        Released     UNREASONABLE               None
                       Drive,                                       QUANTITY,
                   Westlake OH                                       PATTERN,
                    (Cuyahoga                                         AND/OR
                      County)                                      FREQUENCY”

                                                                   “Order reviewed
                                                                    and released.”
                                                                    “VARIATION
                                                                    CONSISTENT
       8/13/2017                    Oxycodone        Released                                None
                                                                  WITH BUSINESS
                                                                    MODEL - NO
                                                                  INDICATION OF
                                                                    DIVERSION”


 220
    See CAH_MDL2804_00135242. See also CAH’s Third Supplemental Responses to Plaintiffs’ Combined
 Discovery Requests, App. D.
 221
   See, e.g., Due Diligence files produced by Cardinal Health for customers in the City of Cleveland, Cuyahoga
 County, and Summit County, CAH_MDL2804_00000015 –00001851, CAH_MDL2804_00094067–00094604.




                                                      64
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                                                                        “VARIATION
                                                                       CONSISTENT
                                         Hydrocodon                   WITH BUSINESS
       4/27/2017                                           Released                      None
                                             e                          MODEL - NO
                                                                      INDICATION OF
                                                                        DIVERSION”


                                                                       “Order reviewed
                                                                        and released.”
                                                                        “VARIATION
                                                                        CONSISTENT
       8/30/2017                         Oxycodone         Released                      None
                                                                      WITH BUSINESS
                                                                        MODEL - NO
                                                                      INDICATION OF
                                   a
                                                                        DIVERSION”
                         County)

         According to Christopher Forst, when an order is placed by a pharmacy or drug store that
 exceeds a predetermined threshold the particular order is automatically stopped. 222 This means
 that the order would not be filled until it was reviewed by a Cardinal Health employee and a
 conscious decision was made to release the order that exceeded the threshold. 223

         By setting a threshold for its respective customers Cardinal Health internally determined
 at what level a specific order would be triggered as potentially suspicious. Such a trigger under
 Cardinal Health’s system then implements the KYC requirement and requires Cardinal Health to
 conduct due diligence to determine whether the triggering order can be shipped or not. Such due
 diligence must be appropriately documented in the respective customers’ due diligence files to
 insure an adequate history of investigative activity.

                     ii. Know Your Customer

        The KYC aspect of Cardinal Health’s system was devised in a way to allow for the
 documentational support of the regulatory decision Cardinal Health is required to make for its
 customers. This system was intended to collect information from several differing functions
 including but not limited to: (a) new account approval process, (b) on-sight investigations, (c)
 additional internal research conducted on the customer, and (d) justifications for changes made
 and due diligence conducted related to any specific order or threshold change.



 222
       See Deposition of Christopher Forst at 339: 9-24.
 223
       See id.




                                                           65
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         Cardinal Health failures came not necessarily in the design of its KYC system but in the
 operation of the system. Due diligence files should be complete, accurate, and maintained on
 each customer to allow a registrant to have a sufficient understanding of each specific customer.
 These customer files also must be accessible to allow a registrant to use this information when it
 receives an order that it believes is potentially suspicious. Based on the information that I have
 reviewed Cardinal did not maintain sufficient KYC/due diligence files on each of its customers to
 establish sufficient knowledge of the customers.

          Cardinal also separated its retail customers into two categories: (a) retail independents (RI)
 and (b) retail chains. During Policy Period #2 Cardinal treated retail chain customers different
 from retail independents as it relates to KYC/due diligence. Cardinal Health relied on chain
 customers to conduct their own due diligence and investigations related to potential suspicious
 orders and diversion concerns. 224 This practice continued even after Cardinal Health was told by
 the DEA in November 2009 that Cardinal Health “must exercise the same level of oversight with
 respect to retail chain pharmacies and retail independent pharmacies.” 225 The CSA does not permit
 a registrant to delegate or shift the burden of maintaining effective controls to a third party, even
 if that third party is also a registrant. These practices were not sufficient for Cardinal Health to
 meet its obligations under the security requirement.

            c.      Policy Period #3 (2012 to Present):

        Cardinal Health’s third redesign of its SOM program (2012-present) occurred after the
  second enforcement action by the DEA. Cardinal Health asserted that this system was less
  subjective but in reality it was the contrary. The system that Cardinal implemented in 2013
  continued to utilize both the threshold system and the KYC/due diligence component. However,
  Cardinal Health’s revised system now based the thresholds solely on the individual customer’s
  information without consideration for the population that it served or comparison to similar
  customers. 226 This was violative of Cardinal Health’s own Standard Operating Procedures
  (SOP). 227

         Cardinal also developed working guidelines, or “General Work Instructions,” that,
 according to Todd Cameron, are utilized more frequently by Cardinal and contain more “action
 oriented detail” than the Standard Operating Procedures. 228 One set of these guidelines describe a
 process for Cardinal to permit customers who have exceeded their threshold for a particular drug
 to receive a certain percentage of dosage units over the threshold once per accrual period per drug

 224
   See Declaration of Michael A. Moné, CAH_MDL_PRIORPROD_DEA12_00014053 at page 13;
 CAH_MDL2804_03262274, 03262438.
 225
    See Correcting Declaration of Michael A. Moné, CAH_MDL_PRIORPROD_DEA12_00013747 at page 4; Depo.
 of Steven Morse, 113:8-13; Depo. of Christopher Forst, 33:9-34:5.
 226
       See Depo. of Todd Cameron, 54-69.
 227
       CAH_MDL_PRIORPROD_AG_0028694.
 228
       See Depo. of Todd Cameron, 118:2-119:5.




                                                    66
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 family. 229 The amount a customer is allowed to receive above its threshold depends on the current



         According to internal documents produced by Cardinal, it appears that Cardinal did not
 want its use of a “percentage over threshold” process to be disclosed to the DEA. In April 2014,
 Cardinal’s Director of Investigations QRA, Ullrich Mayeski, tasked Cardinal employees Kim
 Hownestein and Kimberly Anna-Soisson to create a presentation for Mayeski to give to Cardinal
 Compliance Officers concerning how the Compliance Officers would “facilitate an overview
 conversation about the SOM program during a DEA Cyclic Inspection.” 231 Ullrich also advised
 Howenstein and Anna-Soisson that the presentation would be shared with the DEA during an on-
 site inspection. 232 Howenstein and Anna-Soisson developed a draft and in an email on May 1, 2014
 discussing the document, Anna-Soisson stated that she “intentionally left out the part about
 releasing beyond the [threshold]” because she “did not want to draw attention to the practice but
 agree that the CO’s should know it exists.” 233 In an instant message exchange, Anna-Soisson then
 told Mayeski that she “did not want to draw attention to what I believe they would consider
 questionable at best so we agreed and put it in the notes only section. That way CO’s know it
 occurs but it isn’t so obvious.” 234Anna-Soisson had previously raised the issues with this practice
 in an email to Todd Cameron and Christopher Forst, pointing out that analysts were permitted to
 release a percentage over threshold even in instances where a threshold increase was not warranted
 or where the customer was “failing.” 235

         This is the first timeframe for which Cardinal Health has produced specific suspicious
 orders related to CT1 jurisdictions. Cardinal Health identified 147 suspicious orders for Summit
 and Cuyahoga Counties combined from 1/1/13 to present. 236 Cardinal Health’s system was
 designed so that if a customer exceeded a threshold and had a suspicious order reported based on
 that breach Cardinal Health was not to ship any more of that base code/drug family to that customer
 until the threshold reset at the end of the monthly cycle or there was adequate due diligence done
 to clear the order and subsequent orders. 237 I was able to compare Cardinal’s distribution data to
 the suspicious orders reported after 1/1/2013. 238 Additionally, I conducted a further review to


 229
       CAH_MDL2804_00012244, 00012249-00012267.
 230
       Id. at CAH_MDL2804_00012263-00012264.
 231
       CAH_MDL2804_00012244.
 232
       Id.
 233
       CAH_MDL2804_00012953.
 234
       CAH_MDL2804_02350970.
 235
       CAH_MDL2804_00009412, 00009413.
 236
       CAH_MDL2804_00000013.
 237
       See Deposition of Shirlene Justus, July 13, 2018 at 86:14 to 88:6.
 238
       CAH_MDL2804_00000012; CAH_MDL2804_00000014.




                                                             67
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 determine for which orders there was any 239 due diligence investigation (or review) conducted and
 documented prior to shipping any further products of this same drug family. Cardinal had
 repeatedly failed to conduct and document adequate due diligence to dispel the suspicious activity
 prior to shipping additional opioids of the same drug family. The chart contained in Schedule III
 shows that Cardinal Health continued to ship the same opioid drugs to customers who Cardinal
 Health had already determined were placing suspicious orders in CT1 46% of the time (68 orders),
 and of those orders, 92% (63 orders) were shipped with no documented due diligence

             3.       Cardinal Health failed to report suspicious orders of controlled substances in
                      violation of the reporting requirement set forth in 21 C.F.R. § 1301.74(b).

         Cardinal Health timely reported zero suspicious orders in CT1 jurisdictions (Summit and
 Cuyahoga Counties, Ohio) from 1996 to at least 2008, based on the records provided. The ILR is
 an after-the-fact distribution report which is insufficient. Cardinal has not been able to produce
 suspicious orders that were reported to the DEA for CT1 during Policy Period #2 (2008-2012).
 However, it was Cardinal Health’s practice not to report suspicious orders but to “report an order
 as suspicious when the customer appeared suspicious” and Cardinal Health was going to terminate
 service to that customer. 240 Waiting to the point of termination of a customer prior to reporting any
 suspicious orders related to the customer is not sufficient to meet the reporting requirement. This
 conclusion is supported by several documents produced by Cardinal Health. First, Cardinal’s
 November 1, 2012 Audit Committee Meeting packet indicates that during fiscal years 2010 and
 2011 Cardinal only reported 30 and 47 suspicious orders, respectively, nationwide. This is in stark
 contrast to the 6,326% increase of reported suspicious orders that allegedly occurred in 2012,
 according to the document. 241 Additionally, during this same period of time the Baltimore DEA
 office provided a presentation to Cardinal Health that, among other things, outlined that between
 2008 and October 1, 2011, Cardinal did not report any suspicious orders of oxycodone products in
 Maryland. 242

        Finally, during Policy Period #3 Cardinal Health reported 147 suspicious order but
 continued to ship the same base codes to many of those customers. 243 Any additional orders from
 these customers without having been cleared would also constitute a suspicious order and should
 have been reported to the DEA as such. Also during the 2012-2015 timeframe, Cardinal’s
 employee testified that Cardinal failed to report to the DEA approximately 14,000 separate
 suspicious orders from around the country. According to Mr. Cameron these were for “subbase


 239
       Whether the due diligence was sufficient or not is an additional consideration.
 240
    See Investigation Report of the Special Demand Committee, CAH_MDL_PRIORPROD_HOUSE_0003331 at
 page 36; also see Supplemental Declaration of Michael A. Mone, CAH_MDL_PRIORPROD_DEA12_00014762 at
 page 8; also see CAH_MDL2804_3262274, 03262438.
 241
       CAH_MDL2804_03262274, 03262438.
 242
       CAH_MDL2804_02509732, 02509741.
 243
       See “Know Your Customer” section above.




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 codes” which would generally be for more highly abused dosages. 244 Additionally, using any of
 the below methodologies, as described in the Expert Report of Craig McCann, it is apparent
 Cardinal Health failed to report thousands of suspicious orders arising out Cuyahoga County and
 Summit County. 245

           4.      Cardinal Health failed to stop shipment of suspicious orders of controlled
                   substances in violation of the requirement to maintain effective controls against
                   diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

         Again, the premise of the CSA is to ensure that when dealing with these controlled
 substances that are highly addictive in nature and dangerous that we do so in a way that best
 protects our communities. This is signified in the CSA’s requirement to all registrants’ to “maintain
 effective controls” against diversion. With this understanding, even if Cardinal Health had
 properly identified suspicious orders, its corporate policy from 1996 to 2008 was to ship anyway.
 This is a blatant failure to maintain effective controls to prevent diversion and a breach of their
 regulatory obligations as a registrant.

        Being that I have not specifically seen any suspicious orders identified by Cardinal Health
 as being reported for customers in Cuyahoga and Summit Counties during Policy Period #2, I
 cannot say whether Cardinal Health shipped any orders into Cuyahoga and/or Summit Counties
 that Cardinal Health identified as suspicious. However, I can say that Cardinal Health during this
 timeframe did ship suspicious orders that should have been identified. 246

          During Policy Period #3 it appears as Cardinal Health did halt shipment of the orders which
 it identified as suspicious. However, it is my opinion based on what has been provided and set out
 in Schedule III that Cardinal Health continued to ship base code 9143 and 9193 to the same
 registrant after reporting a suspicious order. Such conduct would constitute a violation of Cardinal
 Health’s duty to maintain effective controls against diversion.

                   B.       McKesson Corporation
 McKesson Corporation
 Distribution Center: New Castle, Pennsylvania
 DEA Registrant Number:
 Transactional Data Disclosed:                Date Range: 10/01/04 – 6/30/2018 247



 244
     Depo. of Todd Cameron, pp. 268-271.
 245
     See Section III ,“Identifying Suspicious Orders Distributed in CT1.”
 246
     See Section III.(A.)(2.) above.
 247
       MCKMDL00579972; MCKMDL00478913; MCKMDL00409045; MCKMDL00606062.




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     Cuyahoga 248               Total Dosage                MME            Base Weight
     Oxycodone                  53,955,790                  684,248,137    456,165
     Hydrocodone                24,444,160                  104,044,874    104,045


     Summit 249                 Total Dosage                MME            Base Weight
     Oxycodone                  45,144,860                  637,361,729    424,908
     Hydrocodone                24,502,420                  97,822,059     97,822


                        1. Court Ordered SOMS Discovery Disclosures:
 •     McKesson Corporation’s Objections and Responses to Plaintiffs’ Combined Discovery
       Requests (07/31/2018);

 •     McKesson Corporation’s Supplemental Objections and Responses to Plaintiffs’ Combined
       Discovery Requests (11/30/2018);

 •     McKesson Corporation’s Second Supplemental Objections and Responses to Plaintiffs’
       Combined Discovery Requests (03/04/2019).

 •     McKesson Corporation’s Third Supplemental Objections and Responses to Plaintiffs’
       Combined Discovery Requests (3/29/2019).

                        2. SOMS Corporate Policy Disclosed:
            McKesson Drug Operations Manual – Section 55 (January 15, 1997) 250
         McKesson Corporation (hereinafter “McKesson”) utilized this system from at least 1997
 to May 2007. Section 55 outlines five different reports concerning a customer’s purchases
 (Controlled Substances Sales Report, Controlled Substances Customer Purchase Report, Daily
 Controlled Substance Suspicious Order Warning Report, Monthly Controlled Substance
 Suspicious Purchases Report and the Monthly ARCOS Customer Recap Variance).
 (MCKMDL00651873 at 00651919-20). However, the output from these reports was rather basic.
 McKesson created daily and monthly reports that documented retrospective sales of controlled
 substances, including opioids, when those sales exceeded three times of that customer’s 12 month
 purchase average for that base code. (MCKMDL00651873 at 00651919-20; 1/10/19 Gary Hilliard
 Depo. at 163:21-169:7). After it was generated, a hard copy of the report was mailed or faxed to
 the local DEA office. The reports that were generated were known as DU-45 reports. However,


 248
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 136.
 249
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 766.
 250
       MCKMDL00651873.




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 it should be noted that McKesson has not been able to locate any DU-45 reports that were allegedly
 generated from the New Castle Distribution Center. (McKesson Corporation’s Second
 Supplemental Objections and Responses to Plaintiffs’ Combined Discovery Requests at p. 10).

            Lifestyle Drug Monitoring Program (May 2007) 251

         In May 2007, McKesson launched the Lifestyle Drug Monitoring Program (hereinafter
 “LDMP”). The LDMP was limited to four drug products (oxycodone, hydrocodone, alprazolam
 and phentermine). 252 For these four drugs, an 8,000 monthly dosage unit threshold was set for
 every customer nationwide. 253 Once the 8,000 dosage unit threshold was hit in a given month, a 3
 level review process was to be triggered. 254 However, the LDMP had no mechanism to block
 orders once the 8,000 unit threshold was hit and an investigation was ongoing. 255 Therefore,
 despite the 8,000 unit threshold being hit by a particular customer, that customer was still permitted
 to place and receive orders for opioids, including oxycodone and hydrocodone.

            Controlled Substances Monitoring Program (May 2008) 256
         In May 2008, McKesson launched the Controlled Substances Monitoring Program
 (hereinafter “CSMP”). The CSMP continued to apply monthly thresholds, however, under the
 CSMP monthly thresholds applied to all opioid products. Thresholds were initially set under the
 CSMP by reviewing the customer’s 12 month purchase history for each base code, reviewing the
 highest month of purchases in that 12 month period, and adding a 10% buffer to that purchase
 amount. 257 Thresholds could then be adjusted thereafter through a process referred to as a threshold
 change request (hereinafter “TCR”). 258 In 2015, McKesson supplemented the CSMP by adding
 an analysis of certain statistical and non-statistical red flags. 259 Beginning in 2017 and extending
 into 2018 McKesson began implementing a threshold system developed by Analysis Group
 (hereinafter “AGI”). 260 This system allowed for the establishment of thresholds using several
 different methodologies


 251
       MCKMDL00355251.
 252
       MCKMDL00355251.
 253
       MCKMDL00355251.
 254
       MCKMDL00355251 at MCKMDL00355252-00355255.
 255
       11/28/18 William Mahoney Depo. at 584:11-17.
 256
       MCKMDL00518064.
 257
       MCKMDL00267635 at MCKMDL00267641; MCKMDL00633917.
 258
       MCKMDL00267635 at 00267649.
 259
       MCKMDL00330099 at MCKMDL0033114.
 260
       MCKMDL00437057.




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                      3. Enforcement Actions
          a. On August 4, 2006, DEA issued an Order to Show Cause with respect to McKesson’s
             Lakeland distribution center for failing to maintain effective controls against diversion
             concerning opioid products. 262
          b. On November 1, 2007, DEA issued an Order to Show Cause against McKesson’s
             Landover distribution center for failing to maintain effective controls against diversion
             concerning opioid products. 263
          c. On May 2, 2008, McKesson and DOJ entered into a settlement agreement wherein
             McKesson agreed to pay a $13.25 million dollar fine and agreed to make improvements
             to its controlled substances monitoring practices. The settlement involved allegations
             by DOJ that McKesson failed to maintain effective controls against diversion at six of
             its distribution centers. 264
          d. On January 5, 2017, McKesson entered into a settlement agreement wherein it agreed
             to pay a $150 million civil penalty for violation of the 2008 settlement agreement as
             well as failure to identify and report suspicious orders at its facilities in Aurora,
             Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland,
             Florida; Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen,
             Massachusetts; Santa Fe Springs, California; Washington Courthouse, Ohio; and West
             Sacramento, California. 265 Moreover, as part of this settlement agreement McKesson
             accepted responsibility for failing to identify and report suspicious orders following the
             2008 settlement agreement. 266
                      4. Suspicious Orders Reported in CT1 Jurisdictions 267
                                Pre-Shipment Reporting            Post-Shipment Reporting
             1996                         0




 261
       MCKMDL00437057 at 00437059-60.
 262
       MCKMDL00337001.
 263
       MCKMDL00337001.
 264
       MCKMDL00337001 at 00337013-14.
 265
       MCKMDL00355349 at 00355352-53.
 266
       MCKMDL00355349 at 00355352.
 267
       MCKMDL00478912; MCKMDL00616425-26.




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               1997                              0 268                          DU-45 Reports
               1998                                0                            DU-45 Reports
               1999                                0                            DU-45 Reports
               2000                                0                            DU-45 Reports
               2001                                0                            DU-45 Reports
               2002                                0                            DU-45 Reports
               2003                                0                            DU-45 Reports
               2004                                0                            DU-45 Reports
               2005                                0                            DU-45 Reports
               2006                                0                            DU-45 Reports
               2007                                0                            DU-45 Reports
               2008                                0
               2009                                0
               2010                                0
               2011                                0
               2012                                0
               2013                             129 269
               2014                              649
               2015                              557
               2016                              300
               2017                              195
               2018                               77 270


                         5. Due Diligence Conducted
         From at least 1997 to May 2007, there was no due diligence conducted by McKesson
 regarding potential suspicious orders of controlled substances. From May 2007 to May 2008,
 McKesson represented to DOJ that under the LDMP “customers will not be allowed to exceed the
 8,000 monthly dosage limit until a due diligence review has been completed.” 271 However, this is
 not how the program appears to have actually operated, and in fact, I have seen documentation
 indicating that customers were routinely permitted to exceed the 8,000 monthly dosage thresholds


 268
    From 1997 through May 2007 it is possible that McKesson reported excessive orders by way of the DU-45
 Report for pharmacies in CT1, however, as noted above none of those reports could be located by McKesson and
 McKesson’s own employees have not viewed these reports as encompassing true suspicious orders. (See Gary
 Hilliard, Jan. 10, 2019 Deposition at 176:8-176:22; MCKMDL00510747). These reports solely listed shipments
 that had already occurred and did not report any orders pre-shipment.
 269
   All of the suspicious order reports in 2013 occurred on or after August 1, 2013. The orders reported from 2013-
 2018 were orders blocked by McKesson and not shipped.
 270
       The data I have reviewed runs through June 30, 2018 presently.
 271
       MCKMDL00330924 at 00330926; also stamped MCK-HOI-002-0000001 at 0000003.




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 prior to a due diligence review being completed by McKesson. 272 Both the LDMP and CSMP had
 a tiered three level review process that was triggered once a customer met their monthly threshold.
 However, I have reviewed the multiple due diligence files produced for Summit and Cuyahoga
 Counties covering the time span of 2006 to Jan, 1, 2014 and found no evidence of a Level 2 or
 Level 3 review being conducted prior to January 1, 2014. 273 Under the CSMP, McKesson also
 included a Know Your Customer Process. Again, however, McKesson’s due diligence files
 produced in this case show that for years this process was very rudimentary in nature and that there
 were very few substantive investigations being performed. 274          In 2015, McKesson began
                                                                  275
 investigating specific statistical and non-statistical red flags. However, each of the red flags
 included beginning in this time frame should have been monitored by McKesson for many years
 prior. McKesson’s failure to do so serves as additional evidence of its failure to exercise due care
 in preventing diversion of opioid products.
         Based on my review of documents and testimony and as noted throughout this report,
 historically the due diligence conducted by McKesson has generally been substandard, at best.
 McKesson conducted no due diligence until 2007. Once a due diligence program was finally
 instituted to require a review before a customer’s opioid dosage unit threshold could be increased,
 threshold increases were routinely authorized with little to no justification. Also, as McKesson
 regularly showed complete deference to threshold increase requests from chain pharmacies, the
 due diligence for those customers was consistently lacking. Therefore, while McKesson has had
 some sort of due diligence program in place since 2007, a review of those programs in practice
 make clear that for all practical purposes, McKesson’s due diligence efforts have fallen short of
 what is required.
                      6. Opinions Related to McKesson Corporation:
         McKesson Corporation failed to maintain effective controls against diversion of
 prescription opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970]. The bar
 graphs identified as Figures 15-26 in Schedule II to this report demonstrate a clear escalation of
 prescription opioids into Cuyahoga County and Summit County by dose, base weight, and MME.
         There is no more effective control to prevent diversion than blocking a suspicious order
 before it is shipped. This notion is also consistent with DEA guidance that has been provided to
 industry for decades. 276 As discussed above, from at least 1997 to May 2008, McKesson had no
 controls in place to block suspicious orders before they were shipped. Thus, any controls that were

 272
       See e.g., MCKMDL00540033.
 273
  MCKMDL00496212-MCKMDL00496305; MCKMDL00555448-MCKMDL00555744; MCKMDL00568207-
 MCKMDL00568281.
 274
        Id.
 275
       MCKMDL00330099 at 00330126-130.
 276
    (See e.g., 1996 DEA Investigators Manual (CAH_MDL2804_02203346); DEA Memorandum, Legal Guidance
 on Reporting Suspicious Orders (March 1, 2007) (CAH_MDL_PRIORPROD_DEA12_00000609).




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 in place during this time period were completely ineffective in meeting the ultimate goal; the
 prevention of diversion.
         With the launch of the CSMP in May 2008, for the first time McKesson established a
 process for blocking orders that were identified as suspicious. However, it is clear that from the
 time the CSMP was launched that McKesson’s programs contained multiple loopholes to ensure
 as few orders as possible were blocked, thereby ensuring that the controls that were put in place
 remained completely ineffective. In fact, at the outset of the program McKesson notified all of its
 customers they should not expect any change in their ability to order controlled substances under
 the CSMP. In a document that was to be shared with McKesson’s pharmacy customers when
 introducing them to the CSMP, McKesson stated “[t]his program addresses the DEA’s
 requirements to ensure controlled substances are used in the way they were intended, but it also
 ensures that you as a McKesson customer can continue with business as usual.” 277 Given that
 this document was written just after McKesson entered into a $13.25 million dollar settlement with
 DOJ for failing to have effective controls against diversion as it pertained to opioid distribution,
 the message to McKesson’s customers should have been that it would be anything but business as
 usual for them. However, unfortunately this mentality appears to have been pervasive within
 McKesson’s regulatory department for years to come, contributing to the following significant
 shortcomings with its SOM programs.
         First, while McKesson established thresholds under the CSMP, those thresholds were
 frequently set far too high to ever be triggered. In fact, in August 2014, DOJ pointed out this fatal
 flaw in McKesson’s CSMP. DOJ noted that McKesson’s review process under the CSMP was not
 even triggered until a customer purchased more than 10% of their average 278 ordering month in
 the prior 12 month period. Not to mention, these thresholds were set based on purchases from
 2007-2008 which DOJ noted was a “year in which McKesson had settled claims because diversion
 was flourishing in McKesson-supplied pharmacies.” 279 The extremely high thresholds set by
 McKesson for controlled substances did not go unnoticed within the company. On August 31,
 2011, Director of Regulatory Affairs, David Gustin, noted “I have thought of an area that needs to
 be tightened up in CSMP and it is the number of accounts we have that have large gaps between
 the amount of Oxy or Hydro they are allowed to buy (their threshold) and the amount they really
 need. (Their current purchases) This increases the ‘opportunity’ for diversion by exposing more
 product for introduction into the pipeline than may be being used for legitimate purchases.”’ 280
 Despite Mr. Gustin’s concerns, no serious efforts were undertaken to systematically reduce


 277
       MCKMDL00543610 at 00543613 (emphasis added).
 278
    The reference to the thresholds being set based on the average orders from the prior 12 months also underestimates
 how McKesson actually set thresholds. According to McKesson’s own documents, these thresholds were set based
 on the highest ordering month from the prior 12 months, not the average month. (See e.g., MCKMDL00626898).
 279
       MCKMDL00409224 at 00409234.
 280
       MCKMDL00507799.




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 thresholds until 2015, a full four years later. 281 McKesson also continued to utilize a form of this
 system to set new thresholds until switching to the AGI based threshold algorithm in the 2017-
 2018 time period. In fact, the “business as usual” mentality noted above continued even after
 McKesson entered into a $150 million settlement with DOJ for its continuing failure to have
 effective controls against diversion following the 2008 settlement. Only two weeks after the
 settlement agreement was signed, McKesson’s Senior Director of Regulatory Affairs, Nate Hartle,
 attempted to calm customer concerns that McKesson would be stricter on its supply of controlled
 substances by once again noting it would be “business as usual from a threshold perspective.” 282
          Second, McKesson routinely increased thresholds without requiring adequate justification
 for the increases. In order to have a threshold increased under the CSMP, a customer was supposed
 to provide documentation supporting a legitimate change in business that warranted the threshold
 increase. 283 However, these requirements were routinely ignored. As an example, in April 2011,
 Director of Regulatory Affairs, David Gustin, expressed that McKesson needed to tighten up the
 process regarding threshold increases because threshold increases were “almost automatic” and
 being granted for insufficient reasons, like “business increase”. 284 Regulatory Affairs Director
 Tom McDonald reiterated these concerns in July 2012. Mr. McDonald noted that the company
 was too liberally granting threshold increases without proper documentation and often based only
 a stated claim of business growth by the customer. 285 Mr. Gustin became so concerned about the
 lack of due diligence being conducted by McKesson that he even noted to other colleagues in
 regulatory affairs that “[w]e as DRAs need to get out visiting more customers and away from our
 laptops or the company is going to end up paying the price . . . big time.” 286 Another Regulatory
 Affairs Director, Michael Oriente, responded, “I am overwhelmed. I feel that I am going down a
 river without a paddle and fighting the rapids. Sooner or later, hopefully later I feel we will be
 burned by a customer that did not get enough due diligence. I feel it is more of when than if we
 have a problem rise up.” 287 McKesson ultimately acknowledged the problem of deficient due
 diligence, especially as to threshold increase requests. A November 2013 training deck noted a
 desire to make threshold change increases “the exception, not the rule” going forward in order to
 address the lack of due diligence that had become the norm at McKesson related to threshold
 increase requests. 288 The lack of due diligence surrounding threshold increases was also apparent



 281
       See MCKMDL00410744; MCKMDL00402184.
 282
       MCKMDL00418094 (emphasis added).
 283
       MCKMDL00267635 at MCKMDL00267649.
 284
       MCKMDL00507221 at 00507223.
 285
       MCKMDL00633455.
 286
       MCKMDL00634329 at 00634331.
 287
       MCKMDL00634329 at 00634330-31.
 288
       MCKMDL00516748 at 00516754.




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 to DOJ. In August 2014, DOJ noted that McKesson appeared to be willing to approve threshold
 increases for opioids for the flimsiest of reasons. 289
         Third, McKesson has a long track record of absolute deference to retail national account
 customers when it comes to threshold increases. McKesson’s Senior Director of Distribution
 Operations, Donald Walker, testified that McKesson did not ask for dispensing data in order to
 verify the legitimacy of threshold increases for retail national account customers and generally
 deferred to those customers to decide when it was appropriate for them to get threshold increases
 for controlled substances. (See Donald Walker Deposition; Jan 10, 2019; pp. 190-193.). These
 practices resulted in McKesson routinely granting threshold increases to retail national account
 customers without any apparent due diligence, including many pharmacies in Summit and
 Cuyahoga Counties. 290 McKesson’s conduct in this regard was patently improper, as the duty to
 conduct due diligence is non delegable.
         Fourth, McKesson took affirmative steps to reduce the number of controlled substance
 orders it would have to block by warning customers that they were approaching a threshold, so the
 customer could seek an increase before McKesson would be forced to block their orders. In fact,
 this threshold warning system was designed solely to ensure that thresholds could be increased
 before any sales were lost. In discussing the creation of these reports in October 2006 Sharon
 Mackarness of McKesson stated, “[w]e are in the business to sell product. If we could produce a
 report … that warned a customers approach to the threshold, say at 85% of their 10,000 dosages,
 work could begin on justifying an increase in threshold prior to any lost sales.” 291 These threshold
 warning reports were utilized for years thereafter to great effect as a preemptive tool to increase
 thresholds before orders had to be blocked. Presumably understanding the impropriety of
 providing these warning reports to customers, in November 2013 McKesson announced to its
 employees a new policy pertaining to threshold warning reports. The presentation states “[w]e are
 not communicating specific thresholds or providing threshold warning reports. We believe this is
 a better practice. Thresholds are not intended to allow customers to manage against a number. We
 strongly believe that customers should exercise their corresponding responsibility one prescription
 at a time.” 292 However, in the following months McKesson was already making exceptions to this
 newly established policy for customers in Summit and Cuyahoga Counties. 293 The shift to not
 providing these warning reports was proper and McKesson should have abided by this policy
 without exception.


 289
       MCKMDL00409224 at 00409235.
 290
   See e.g., MCKMDL00000497; MCKMDL00363951; MCKMDL00574488; MCKMDL00555448;
 MCKMDL00512974; MCKMDL00628614; MCKMDL00555473; MCKMDL00555484; MCKMDL00555501;
 MCKMDL00555506; MCKMDL00628660; MCKMDL00568233; MCKMDL00555480; MCKMDL00555536.
 291
       MCKMDL00543971 at 00543972.
 292
       MCKMDL00476786 at 00476791.
 293
       See e.g., MCKMDL00476692; MCKMDL00485800.




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        The above measures individually and collectively served to render McKesson’s various
 programs ineffective as anti-diversion tools.
         As noted above, in May 2015, McKesson incorporated a list of statistical and non-statistical
 red flags into the CSMP. 294 However, all of these red flags included are concepts McKesson
 should have been monitoring for decades.

                                                         However, McKesson had specifically been
 told to monitor for exactly that type of information by DEA as far back as 2005. 296 Similarly, in




                                                                             That foundational construct
 is illogical given that it is the sales of opioids at these levels that has created the opioid epidemic
 and have resulted in McKesson paying significant fines for failing to maintain effective controls
 against diversion in 2008 and 2017.
 2.     McKesson Corporation failed to design and operate a system to identify suspicious orders
 of controlled substances in violation of the security requirement set forth in 21 C.F.R. §
 1301.74(b).
           a.     Policy Period #1 (1997-May 2007)
         Like Cardinal Health, McKesson claims the system it utilized from 1997 to May 2007 was
 premised upon guidance from the DEA. As previously noted, no guidance to justify McKesson’s
 actions during this time period has ever been provided by the DEA. Nor does the record reveal
 any document which supports this contention. Moreover, McKesson’s own regulatory employees
 have acknowledged that this system did not flag true suspicious orders as required by the
 regulations. Multiple McKesson regulatory employees have acknowledged that the DU-45 reports
 were not meant to detect true suspicious orders. As discussed by McKesson’s Regulatory Affairs
 Director, David Gustin, “the previous reports were not the exclusive and proper response to this
 regulation. We have an obligation to report ‘suspicious orders.’ With no clear definition of what
 constitutes a suspicious order we must rely on our own judgment as to what that is. If we report

 294
       MCKMDL00330099 at 00330126-130.
 295
       MCKMDL00330099 at 00330129.
 296
       See MCKMDL00496859 at 00496862.
 297
       MCKMDL00330099 at 00330129.
 298
       See CAH_MDL2804_02203353 at 02203357.




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 anything we believe to be truly suspicious we will be meeting the spirit and letter of the regulation.
 Simply reporting larger than usual orders does not when there are so many plausible and routine
 reasons for orders to be ‘larger than normal.’” 299 Further, another Director of Regulatory Affairs
 for McKesson, Gary Hilliard, has testified that McKesson’s suspicious order monitoring system
 prior to 2007 was not designed to detect true suspicious orders. 300
         Additionally, because during this time period McKesson was reporting excessive orders it
 had already filled it made no effort to detect, investigate, or block any suspicious orders.
 Consequently, during this time period McKesson blatantly violated the security requirement set
 forth in 21 C.F.R. § 1301.74(b).
            b.       Policy Period #2 (May 2007-May 2008)
        McKesson’s LDMP did not fare better when it came to identifying suspicious orders.
 McKesson has been unable to produce any documentation of true suspicious orders being reported
 during this time period.
            c.       Policy Period #3 (May 2008-present)
         McKesson’s CSMP could have been used as a tool to report suspicious orders, but was not
 used in that fashion until five years after it was initially launched. For Summit and Cuyahoga
 Counties, McKesson failed to report a single suspicious order from May 2008 to July 31, 2013. 301
 To put that into further context, during that time period McKesson filled approximately 366,000
 opioid orders in these two counties. 302 This failure to report suspicious orders during this time
 frame is not an anomaly that is restricted to Summit and Cuyahoga Counties. As DOJ recognized,
 there was a “nationwide” and “systemic” failure of McKesson to report suspicious orders and
 otherwise maintain effective controls against diversion. 303 This conclusion is borne out by
 McKesson’s failure to report any suspicious orders from its Livonia, Washington Courthouse,
 Lakeland, and Metheun distribution centers despite ample evidence of diversion occurring from
 customers of each of these distribution centers. 304 The egregiousness of McKesson’s failure to
 report suspicious orders is further supported by the quantity of orders McKesson did report as
 suspicious once it finally decided to begin engaging in the practice. For example, in 2015 alone,
 McKesson has acknowledged it reported a total of 230,000 suspicious controlled substance orders
 nationally. 305 Similarly, the rise in suspicious order reports by McKesson in Summit and


 299
       MCKMDL00510747.
 300
       1/10/19 Gary Hilliard Depo. at 176:8-176:22.
 301
       MCKMDL00478912.
 302
       MCKMDL00478913.
 303
       MCKMDL00409453 at 00409454.
 304
       See generally MCKMDL00409453.
 305
       McKesson Board of Directors’ Response to International Brotherhood of Teamsters at p. 24.




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 Cuyahoga Counties beginning in late 2013 cannot be supported by any conclusion other than that
 prior to that time McKesson completely and utterly failed to meet its regulatory responsibilities.
         It is also apparent that McKesson’s failure to report suspicious orders was not accidental
 or due to a misunderstanding of its regulatory duties. In fact, the term “suspicious” when it came
 to controlled substances was taboo within the company. At the time McKesson’s CSMP was
 created in 2008 it included a section that advised employees to “[r]efrain from using the word
 ‘suspicious’ in communications”’ because “[o[nce McKesson deems an order and/or customer
 suspicious, McKesson is required to act. This means that all controlled substances sales to that
 customer must cease and the DEA must be notified.” 306
 Reporting Requirement:
         McKesson failed to timely report suspicious orders in Summit and Cuyahoga Counties and
 nationally from at least 1997 to 2013. This is supported by the fact that McKesson’s own
 regulatory employees have acknowledged that the excessive orders reported on the DU-45 reports
 were not synonymous with the type of suspicious orders outlined in the applicable regulations. 307
 Moreover, even under the LDMP and CSMP McKesson continued its pattern of failing to report
 suspicious orders until finally beginning to do so in late 2013. Finally, the number of suspicious
 orders reported in Summit and Cuyahoga Counties beginning on August 1, 2013 and continuing
 to June 2018 is insignificant compared to the number of opioid orders McKesson has filled during
 that same time period in those counties. During that five year period, McKesson has reported a
 total of 1,907 suspicious orders in those two counties while also shipping 406,858 opioid orders
 during that same time frame – less than one half of one percent of orders from Cuyahoga and
 Summit Counties. 308
       Further, using any of the methodologies as described in the Expert Report of Craig
 McCann, it is apparent McKesson failed to report thousands of suspicious orders arising out
 Cuyahoga County and Summit County. 309

 Shipping Requirement:
         From at least 1997 to May 2008, McKesson failed to block any suspicious orders
 nationally. Due to its high thresholds for many customers, as noted above, McKesson has blocked
 an insignificant number of orders in Summit and Cuyahoga Counties after it began the practice in
 May 2008. For example, from May 2008 to June 30, 2018 McKesson has blocked a total of 2,907
 opioid orders from Summit and Cuyahoga County customers. 310 However, during that same time


 306
       MCKMDL00518064 at 005118078.
 307
       Deposition of Gary Hilliard, 176:8-176:22; MCKMDL00510747.
 308
       MCKMDL00675597; MCKMDL00675598; MCKMDL00478912; MCKMDL00616425; MCKMDL00616426.
 309
       See Section III, “Identifying Suspicious Orders Distributed in CT1.”
 310
       MCKMDL00478912; MCKMDL00616425; MCKMDL00616426.




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 frame McKesson filled a total of 772,976 of opioid orders from those same two counties. 311 Based
 on this data, it is apparent that McKesson’s systems have not been designed to properly block
 suspicious orders given the miniscule number of suspicious opioid orders that have actually been
 blocked during that time frame.


            C.          AmerisourceBergen Drug Corporation
 Distribution Center: Lockbourne, OH
 DEA Registrant Number: RA0314562
 Transactional Data Disclosed: Date range:               2002-2018 312
  Cuyahoga 313                     Total Dosage             MME                Base Weight
  Oxycodone                        58,456,040               736,850,253        491,234
  Hydrocodone                      26,338,260               109,552,052        109,552

  Summit 314                      Total Dosage           MME                Base Weight
  Oxycodone                       40,160,355             619,283,036        412,855
  Hydrocodone                     26,335,700             102,552,815        102,553


                              1. Court ordered SOMS Discovery Disclosure:

            •     AmerisourceBergen Drug Corporation’s Second Supplemental Objections and
                  Responses to Plaintiffs’ Combined Discovery Requests (3/4/2019)

                              2. SOMS Corporate Policy Disclosed:
            (1)     Pre-2007 Overview.
                        (a)      The Threshold-Based System
        Beginning as early as 1990, AmerisourceBergen Drug Corporation (“ABDC”) utilized a
 threshold-based system to determine if an order is “excessive” (i.e. suspicious). In the deposition
 of Senior Vice President of Corporate Security and Regulatory Affairs, Christopher Zimmerman
 described the threshold history of ABDC’s Suspicious Order Monitoring System. Mr. Zimmerman
 began his employment with ABCS in 1990 and from the time he began his employment until 1998,


 311
       MCKMDL00675597; MCKMDL00675598.
 312
   See Bates Nos. ABDCMDL00037402; ABDCMDL00037404, ABDCMDL00037406; ABDCMDL00279848-
 279853; ABDCMDL00306728-306729; ABDCMDL00308071; ABDCMDL00313653-313654;
 ABDCMDL00316111-316114.
 313
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 46.
 314
       Id. at p. 676.




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 the threshold was described as being calculated through the following procedure: “You take all the
 pharmacies within that category and divide by the number of pharmacies to come up with an
 average volume for the month per drug category. And then there was a multiplier of three. Any
 order that was over the threshold amount would be produced an excessive order report.” 315 Mr.
 Zimmerman made a clarification to the threshold calculation by indicating the “3” multiplier was
 used for Schedule II and Schedule III narcotic drugs (ARCOS reportable) and a “6” multiplier, or
 maybe higher, was used for Non-ARCOS drugs. 316 Mr. Zimmerman stated the controlled
 substances identified during that time period were shipped prior to being reported to the DEA in
 the excessive purchase report. 317 Such a policy constitutes a clear failure to maintain effective
 controls against diversion, as it entails shipping controlled substance orders identified as suspicious
 (or in this case, “excessive”), was not designed to identify orders of unusual frequency, or those
 that deviated from normal ordering patterns. Further, this system improperly utilized a factor of
 “3” and “6” to establish thresholds well above the calculated average for ABDC’s customers.
         During the time period of 1998 through 2007, ABDC implemented a new method of
 calculating thresholds. Mr. Zimmerman stated ABDC worked on a threshold project with the DEA
 for a two-year period from 1996 through 1998 to provide DEA with more accurate information.
 The threshold calculation was now calculated by using only a customer’s four-month rolling
 average of that pharmacy’s purchases and then apply a multiplier of three to “identify a trigger that
 would identify a suspicious order.” 318 Again, such a policy constitutes a clear failure to maintain
 effective controls against diversion because ABDC continued to ship controlled substance orders
 identified as suspicious. In addition, the system failed to identify orders of unusual frequency, or
 deviating from a normal pattern, used a much shorter time period for calculating the threshold
 which would allow the average to increase faster, failed to compare like pharmacies purchasing
 activity, and utilized a factor of “3” to establish threshold well above the calculated average for
 ABDC’s customers.)
         ABDC’s use of a threshold based system using a 3x multiplier derived from the DEA’s
 Chemical Handler’s Manual. 319 It is worth noting that these guidelines relate to “Listed
 Chemicals”, rather than controlled substances, primarily focused on the sale of chemicals used to
 make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
 § 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which multiples a monthly
 base weight average per base code by a multiplier (3x)]. Relying upon a threshold of
 “extraordinary” size fails to detect orders of “unusual size” and is not compliant with 21 CFR
 1301.74(b). Nor is shipping suspicious orders after reporting. The Chemical Handler’s Manual
 specifies that “when a regulated person suspects that an order may be intended for illicit purposes,
 good practice requires that every reasonable effort be made to resolve those suspicious. In addition
 to making the required reports, the transaction should not be completed until the customer is able

 315
       See Zimmerman Deposition, 121:12-21.
 316
       Id., 124:18-125:5.
 317
       Id., 108:10-109:10.
 318
       See Zimmerman Deposition, 122:18-23.
 319
       Id., 131:7-133:22.




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 to eliminate the suspicions. The distributor may have to forego some transactions.” 320 Despite
 this directive from the Chemical Handler’s Manual, ABDC did not consider foregoing such
 transactions at the time. 321
         As discussed above, and pursuant to what a policy summary generated by ABDC after
 2015 describes as its “Legacy Diversion Control Program,” 322 ABDC shipped all orders of
 controlled substances before ruling out the possibility of the orders being suspicious. 323 Only after
 shipping the orders did ABDC report any orders that it deemed to be suspicious to the DEA through
 an “excessive order report.” 324 ABDC sent these reports on a monthly basis to the DEA. 325 ABDC
 took no other actions with regards to excessive orders prior to 2005, meaning that ABDC shipped
 all orders - including orders that may have been suspicious – without any further investigation or
 due diligence. 326
         The determination of whether an order is “excessive” i.e. suspicious, has always been
 determined by ABDC using a threshold-based system. 327 ABDC deemed an order to be
 “excessive” if it exceeded a “threshold.” 328 In order to create thresholds, ABDC generally
 identified characteristics by which it could group its customers (this analysis changed over time),
 then made certain determinations based on ordering patterns (this analysis also changed over time)
 of its customers, and used that information to set a threshold of a drug that could be purchased
 without becoming suspicious.
         While documentation of ABDC’s suspicious order monitoring program prior to 2005 is
 scant, Mr. Zimmerman testified that it involved a two-step process: “It was an excessive order
 report that was produced monthly to send to DEA, and then we also had a manual process at the
 distribution centers where the order fillers would identify suspicious orders and report those.” 329
 ABDC’s written policies and procedures indicate that at least as early as December 1, 2005, ABDC
 operated an “Excessive/Suspicious Order Investigation Program,” to “review the ordering activity
 of its customers to identify possible excessive or suspicious orders of controlled substances and
 listed chemicals.” 330 Although the system now allegedly provided for the identification and
 investigation of excessive orders, ABDC’s system still identified these orders using a threshold.

 320
       See Chemical Handler’s Manual, 2001 Edition, at p. 21.
 321
       See Zimmerman Deposition, 143:9-145:2.
 322
       See ABDCMDL00004578-4602.
 323
    See ABDCMDL00000109 (“Historically Controlled Substance/ Listed Chemical order monitoring has been
 based on a ship and report process.”)
 324
       See Zimmerman Deposition, 110:16-22, 121:7-122:3.
 325
       See Mays Deposition, Part I, 101:7-24; see also Zimmerman Deposition, 108:19-24.
 326
       See Mays Deposition, Part I, 142:15-143:14.
 327
       See ABDCMDL00004578, at 2-4, 7, 10-13.
 328
       See Zimmerman Deposition, 121:7-21.
 329
       See Zimmerman Deposition, 108:19-109:4.
 330
       See ABDCMDL00359957-9961.




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 Therefore, the 2005 system was not new, it merely continued the threshold-based system that was
 in place prior to the newly written policy. And, although ABDC conflated concepts of “excessive”
 orders and “suspicious” orders by treating them identically, ABDC continued its policy of shipping
 such orders to its customers, despite internally identifying them as either excessive or
 suspicious. 331 While the 2005 policy and procedures document includes a new “investigation”
 component that was not previously present in ABDC’s suspicious order monitoring system, this
 component was effectively ignored because, as noted above, ABDC confirmed that it shipped all
 orders prior to 2007 without investigating them or reporting them to the DEA.
                         (b)   Discretionary and Subjective Components of the Threshold-Based System
         In addition to the excessive order reports which included orders that exceeded the relevant
 threshold, employees in ABDC’s distribution centers (“DCs”) were provided with guidelines
 instructing them to report orders that were of an unusual size or frequency, or which deviated from
 the normal ordering pattern. 332 ABDC placed signs in the distribution center “cages” with the base
 quantity levels that could be ordered and it was left to a distribution center employee’s discretion
 to determine whether an order was suspicious. ABDC’s order monitoring system at the time also
 required that ABDC confirm whether customers had the appropriate licenses. 333
        At this time, ABDC employed the same monitoring policy across all of its customers,
 regardless of the type of customer, or whether they may have operated as “internet pharmacies.” 334
 Further, ABDC did not have any policies or procedures in place to compare its customers’ purchase
 of controlled substances with the average purchases of similarly situated customers. 335 Rather,
 ABDC only “monitored the average of each customer against its own orders at that time.” 336 Nor
 did ABDC have any system in place to monitor its purchasing of Schedule II or III controlled
 substances as it compared to other types of substances, 337 or any system to evaluate the frequency
 of orders of controlled substances placed by its customers 338.
         Prior to 2007, ABDC did not have a clear hierarchy establishing responsibility for
 preventing diversion. They did not form their Diversion Control Group or Team until after
 2007. 339 This group was later referred to as the Corporate Security & Regulatory Affairs
 Department (“CSRA”). Aside from the baseline numeric thresholds ABDC used to identify
 “excessive” orders, ABDC lacked clear objective standards for determining when orders from its
 customers were “suspicious.” This was due, in part, to the fact that discretion was left to
 331
       Id.
 332
       See Zimmerman Deposition, 118:1-11.
 333
       See Mays Deposition, 170-174.
 334
       See Mays Deposition II, 57:16-58:15.
 335
       Id., at 68:1-71:23.
 336
       Id., at 68:19-69:2.
 337
       id., at 72:1-5.
 338
       id., at 72:22-73:3.
 339
       See ABDCMDL00270533.




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 distribution center employees to gage what constituted a normal ordering pattern and when a
 customer’s order deviated from that pattern.
            (2) Post-2007 Overview of the Order Monitoring Program (OMP).
                     (a)     The June 2007 DEA Enforcement Action and Settlement

         The year 2007 marks a key shift in ABDC’s suspicious order monitoring policies. That
 year, the DEA initiated an enforcement action against ABDC due to its filling and shipment of
 orders from internet pharmacies, which according to the DEA, ABDC knew to be suspicious.340
 The enforcement action shut down ABDC’s Orlando distribution center. On June 22, 2007, ABDC
 and the DEA reached a settlement agreement regarding the Orlando distribution center, which
 acknowledged “AmerisourceBergen failed to maintain effective controls at the Orlando Facility
 against diversion of particular controlled substances into other than legitimate medical, scientific
 and industrial channels by sales to certain customers of AmerisourceBergen.” 341 As a result, to
 obtain authorization from the DEA to re-open the Orlando facility, ABDC was forced to update
 its diversion control program, including adding (1) a more in-depth due diligence process; and (2)
 a requirement to stop shipping suspicious orders to customers. 342

         The settlement arose from failures in ABDC’s suspicious order monitoring program, which
 were systemic because ABDC maintained national suspicious order monitoring policies and
 procedures. 343 According to an April 19, 2007 Order to Show Cause and Immediate Suspension
 of Registration issued by the DEA, ABDC distributed hydrocodone to pharmacies in amounts that
 far exceeded what an average pharmacy orders to meet the legitimate needs of its customers,
 distributed hydrocodone to pharmacies even though they ordered small amounts of other drug
 products relative to those purchases, distributed hydrocodone to pharmacies much more frequently
 than ABDC’s other customers, and shipping to pharmacies that ABDC knew or should have known
 many prescriptions were issued by physicians who did not conduct a medical examination of its
 customers, and instead wrote prescriptions for controlled substances ordered by customers over
 the internet. 344 Thus, the settlement between ABDC and the DEA resulted in nationwide changes
 to ABDC’s suspicious order monitoring program. Specifically, ABDC revamped its procedures
 and instituted its Order Monitoring Program (OMP). 345 The most significant change was ABDC
 no longer shipped orders to customers that ABDC identified as being suspicious. 346 The OMP
 primarily relied on static thresholds to determine whether an order was potentially suspicious and

 340
       See ABDCMDL00269383-84.
 341
       See ABDCMDL00279854.
 342
   (See Zimmerman Deposition, 139:20-140:8; see also Settlement and Release Agreement, ABDCMDL00279854–
 00279865).
 343
       See Mays Deposition II, 24:18-22.
 344
       See ABDCMDL00269383-387.
 345
       See generally ABDCMDL00000101.
 346
       See ABDCMDL00270533.




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 should be investigated. If an order exceeded a threshold, it was flagged as an excessive or
 potentially suspicious order. 347 ABDC would not automatically designate an order that exceeded
 threshold as “suspicious.” 348

             (b)   The New Threshold System

         To determine each customer’s threshold under the 2007 system or “Legacy Diversion
 Control Program,” (otherwise referred to as the OMP) ABDC grouped customers within a
 “Customer Type.” 349 The “Customer Types” were based on how customers were registered with
 the DEA, e.g. hospital/clinic, retail pharmacy, distributor, etc. 350 ABDC would then classify each
 customer by its “Customer Size,” which was based upon its total average monthly total revenue of
 prescription sales of both control and non-controlled drugs (as opposed to its purchasing pattern
 of a specific drug family) relative to its peers in the same “Customer Type.” 351 Customer Sizes
 were small, medium, large, or extra-large. 352 Then, ABDC looked at the Customer Type, and
 Customer Size and created an average purchase among of each drug family within each Customer
 Size and applied the same 3x multiplier. Implementation of the arbitrary 3x multiplier, however,
 negates the effectiveness of an effective Suspicious Order Monitoring System. Each customer had
 its own threshold for each drug family that it purchased, as described below, that was based on the
 foregoing analysis. 353

          If a customer’s order exceeded a threshold, ABDC placed it in “OMP review.” 354 After an
 order exceeded threshold, all subsequent orders in the same family from that customer were
 rejected while the earlier order was in OMP review. 355 Each DC was responsible for “initial review
 of all orders in OMP review.” 356 DC associates – sometimes referred to by ABDC as “responsible
 persons in charge” (“RPIC”) – were initially responsible for this task. However, as ABDC’s

 347
    See Zimmerman Deposition, 112:18-113:2; 119:1-6. ABDC has claimed during deposition testimony that these
 were “orders of interest” beginning as early as 2007. However, deposition testimony from ABDC employee Kevin
 Kreutzer confirms that there was no use of that terminology during this time period. See Kevin Kreutzer Deposition,
 67-68, 91-93, 109 (“Q. Do you recall Mr. Hazewski using the words “orders of interest” in 2009 when he trained
 you? A. No, I do not”), 111-12, 115-117). This inconsistency between the recollection of ABDC’s employees
 undercuts the credibility of ABDC’s witnesses.
 348
    See e.g., ABDCMDL0000002411 (“Depending on certain circumstances, it may be deemed that order is
 suspicious.”); see also Mays Deposition, 131:5-16.
 349
       See ABDCMDL00000110.
 350
       Id.
 351
       Id.; see also ABDCMDL00002325.
 352
       See ABDCMDL00002405-2418.
 353
       Id.
 354
       See ABDCMDL00000114.
 355
       Id.
 356
   Id. The RPIC generally was responsible for the DC level review, although there was not a clear definition by
 ABDC of who was supposed to be in charge of reviewing orders at the DC level




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 program evolved, this role eventually migrated up to the Distribution Center Compliance
 Managers. In 2007, the OMP allowed the DC associates to “review, release, or cancel potentially
 suspicious orders before they are shipped to customers.” 357 Review at the DC level was based on
 “the knowledge of the customer and the order.” 358 If the “DC can determine that the order is not
 suspicious, the DC will release the order,” but if DC is unsure, the order will be flagged for
 investigation by members of the CSRA investigation team working under the Director of Diversion
 Control who were referred to as CSRA Investigators. 359 The CSRA personnel then would
 determine whether to report the order to DEA as suspicious. ABDC seemingly had no set, concrete
 rules or criteria for distribution center employees to determine what made an order of interest be
 elevated to CSRA or be released as not suspicious. 360 The DC associates maintained a number of
 different ways to resolve questions regarding orders. However, if a DC cancelled an order
 (meaning that it would not be filled by the DC – with or without being reported to the DEA), or
 released an order (meaning it was approved for processing and shipped to the customer), the DC
 was required to log into the system with an explanation of why the action is being taken. 361

 A customer who was repeatedly going over threshold, or whose business was growing could
 request a “threshold review” to have its threshold adjusted. If approved, a threshold adjustment
 was referred to internally at ABDC as a “Threshold Override.” The procedure for submitting a
 threshold review began when ABDC’s sales teams, who were responsible for acquiring new
 customers and managing existing customers, submitted threshold review forms to the CSRA
 Department. The ABDC sales associate (from the sales team managing customer accounts) would
 request the threshold reviews for the customers. 362

                     (3)      FTI Consulting, Inc. Audit of ABDC Compliance Activities.

         In August 2015, ABDC voluntarily engaged an outside consultant – FTI Consulting, Inc.
 (“FTI”) - to review its order monitoring system. FTI issued a report documenting the findings of
 an audit of ABDC’s compliance activities. 363 The FTI report disclosed numerous problems,
 including a lack of resources, a lack of formal training, overburdened workloads, crushing
 administrative demands, inconsistent policies, and communications break-downs. 364 In addition
 to the report, for various areas within the company, including Diversion Control, a forty-five page


 357
       See ABDCMDL00002325.
 358
       See Mays Deposition, 220:11-14; see also Zimmerman Deposition, 457:1-459:19.
 359
       Id.; see also, ABDCMDL00046622.
 360
   See ABDCMDL2405-2418 (describing the DC review process as “arbitrary”); see also ABDCMDL00250024-
 250063.
 361
       See ABDCMDL00002325.
 362
       See Elkins Deposition, 245:2-246:6.
 363
       See ABDCMDL00274105-18.
 364
       Id.




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 chart discussed “findings & observations,” “Gaps & Risks,” and “Recommendations.” 365 Notably,
 a “Gap & Risk” concerning ABDC’s Diversion Control program included “[r]egulatory
 obligations related to diversion control.” 366 David May, ABDC’s senior director of Diversion
 Control, testified that in response to the report, ABDC took no actions and made no changes to its
 diversion policies or procedures. 367

         Despite this willful failure to address specific deficiencies in its OMP, evidence collected
 thus far shows that ABDC understands the importance of diversion control. For instance, David
 May testified that the company has “anti-diversion programs in place to prevent the misuse and
 abuse of controlled substances.” 368 Similarly, Chris Zimmerman, ABDC’s chief compliance
 officer, acknowledged, “if we don’t adhere to our effective controls to prevent diversion, yes,
 diversion could occur.” 369 As discussed above, however, the evidence shows that ABDC
 consistently ignored critical red flags and warning signs from its customers in what amounts to a
 structural break-down of its diversion prevention obligations under the CSA, which had real
 consequences in the communities where ABDC does business.

          For example, a DEA suspension order concerning one of ABDC’s Ohio customers, East
 Main Street Pharmacy, documented deaths that occurred as a result of a failure to prevent
 diversion. 370 Ms. Julie Fuller, an ABDC sales representative who was responsible for East Main
 Street Pharmacy, testified in the suspension proceedings. Notwithstanding the obvious signs of
 illegal activity occurring at the East Main Street Pharmacy, including the fact that more than half
 of the pharmacy’s prescriptions were written by an out-of-area doctor who was writing high
 volumes of controlled substances, Ms. Fuller “acknowledged that the purpose of her visits was not
 ‘to observe [the pharmacist]’ in the practice of pharmacy but to get his business.” 371 Subsequent
 to the suspension proceedings, Ms. Fuller signed a Declaration, where she stated that as an account
 manager, ABDC only provided her general sales training, and did not provide any training or
 information on (a) how to identify questionable pharmacy behavior like suspicious dispensing,
 sales, or prescription filling practices, (b) how to report concerns regarding those behaviors, or (c)
 how to ensure that account managers only signed up and maintained accounts with legitimate
 pharmacies. 372




 365
       See ABDCMDL00250024-63.
 366
       Id.
 367
       See May Deposition, 149:2-5.
 368
       See May Deposition, 97:22-98:1.
 369
       See Zimmerman Deposition, 104:14-17.
 370
       See https://www.deadiversion.usdoj.gov/fed_regs/actions/2010/fr1027_3 htm.
 371
       Id.
 372
       See Declaration of Julie Fuller, ¶ 9 (PLTF_2804_000004483).




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            3.       Suspicious Orders Reported In CT1 Jurisdictions: 373
                                          Pre-Shipment Reporting           Post-Shipment Reporting
  2007                                    0                                0
  2008                                    0                                0
  2009                                    1                                0
  2010                                    18                               0
  2011                                    25                               0
  2012                                    45                               0
  2013                                    167                              0
  2014                                    20                               0
  2015                                    3                                0
  2016                                    0                                0
  2017                                    0                                0
  2018                                    0                                0


            4.       Due Diligence Conducted:
         On August 10, 2005, the DEA met with Steve Mays, ABDC’s then-Director of Regulatory
 Affairs, to inform him about the common characteristics of pharmacies that divert large amounts
 of controlled substances by filling invalid prescriptions obtained by customers using the
 internet. 374 Prior to that meeting, ABDC’s due diligence policy consisted solely of “a good faith
 effort to make sure that that customer’s properly licensed with the state and registered with the
 DEA.” 375
        As a result of the 2005 DEA meeting, ABDC began using a questionnaire to obtain
 information about its customers as part of a new due diligence effort, which consisted of 10-12
 questions, but they were “all related to internet pharmac[ies].” 376
         After the 2007 DEA enforcement action, ABDC implemented a “Know Your Customer”
 due diligence policy. ABDC’s due diligence program was effectuated through the Form 590 retail

 373
    See ABDCMDL00379672;                 ABDCMDL00379673;          ABDCMDL00383973;   ABDCMDL00379674;
 ABDCMDL00383974.
 374
       See ABDCMDL00269383-387.
 375
       See Mays Deposition II, 73:24-74:21.
 376
       See Mays Deposition 134:16-135:16; Mays Deposition II, 37:1-15.




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 pharmacy questionnaire. The Form 590 was supposed to be filled out by ABDC’s customer sales
 representatives in conjunction with ABDC’s pharmacy customers. ABDC’s witnesses testified that
 the Form 590 is and was an important component of its diversion control program. 377
         The Form 590 process, however, suffered from numerous deficiencies. First, for many
 years, the Form 590 was only for new customers. 378 None of the requisite due diligence
 information was collected for existing customers. 379 Additionally, ABDC exempted “retail chain
 pharmacies” (broadly defined to include pharmacies with 10 or more locations, or any number of
 locations in more than one state) from the Form 590 requirement. 380 Rather than require all
 pharmacies within a chain to complete a Form 590, ABDC allowed the chain to complete one
 Form 590. This exempted large swaths of ABDC’s customers from the requirement of completing
 Form 590.
         Moreover, documents show that even when Form 590s were required, vast numbers of the
 forms were either illegibly filled out or contained substantial omissions. 381 Indeed, David May
 acknowledged that the “continued deficiency [in the Form 590s] puts us at risk with regulators.” 382
 In 2016, ABDC implemented a “CSRA 590 Validation Project” to “validate that all ABDC
 customers authorized to purchase controlled substances and identify any with deficiencies” 383, but
 one year into the project, ABDC had only received “about 10% percent of the required customer
 due diligence documents.” 384 To date, as of May 29, 2018, ABDC estimates that only about 60%
 of the due diligence deficiencies have been remedied. 385 The lack of both current and historical
 documentation of due diligence efforts are indicative of a failure to maintain effective controls to
 prevent diversion.
         In 2013, ABDC’s due diligence efforts were the subject of a DEA audit and subsequent
 investigation. According to Joseph Tomkiewicz, an investigator and diversion program manager
 at ABDC, DEA agents met him at his personal residence sometime in the fall of 2013. This
 resulted in conversations with the U.S. Attorney about ABDC’s due diligence efforts, specifically
 whether it had truncated the Form 590 for a specific group of pharmacies, which investigators
 believed may have short-circuited ABDC’s customer due diligence process. 386 This point is also
 reflected in an ABDC “DEA Audit History” spreadsheet, with notes that indicate: “DEA was not



 377
       See, e.g., May Deposition, 263:8-19.
 378
     See Zimmerman Deposition, 213:10-17.
 379
     Id.
 380
     See, e.g., ABDCMDL00000107; see also, Zimmerman Deposition, 213:16-214:9.
 381
       See May Deposition, 269:12-20.
 382
       See ABDCMDL00159415.
 383
       id.; May Deposition, 272:8-13.
 384
       Id., at 273:21-24.
 385
       Id., at 283:24-284:23.
 386
       See Tomkiewicz Deposition, 35:10-23; 57:2-16:14; see also WAGMDL00237263.




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 comfortable with the [OMP] program and analyzed the program specifically how customers are
 screened.” 387
         Based on my review of documents and testimony and as noted throughout this report,
 historically the due diligence conducted by ABDC has fallen short. First, ABDC conducted no
 due diligence until 2005. Once a due diligence program was finally instituted, it consisted of
 merely a short questionnaire and checking to confirm that the customer’s licenses were
 current. Moreover, ABDC’s initial due diligence program only addressed internet
 pharmacies. Later, even when the due diligence was conducted more broadly, it focused on new
 customers and, like some other wholesale distributors, ABDC regularly showed complete
 deference to chain pharmacies. Therefore, the due diligence for those customers was consistently
 lacking. Finally, more recently, it was uncovered that ABDC did not have any of the requisite due
 diligence files for significant numbers of its customers, calling into question whether any due
 diligence was actually conducted. In my opinion, while ABDC has had some sort of due diligence
 program in place since 2005, a review of those programs in practice make clear that for all practical
 purposes, ABDC’s due diligence efforts have fallen short of what is required.

            5.   Opinions Related to AmerisourceBergen:
           1.    AmerisourceBergen failed to maintain effective controls against diversion of
                 prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                 823(b)(1) [1970].

         The bar graphs identified as Figures 27-38 in Schedule II to this report demonstrate a clear
 escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight,
 and MME.

        Documents produced by ABDC show that rather than focusing on putting effective controls
 to prevent diversion in place and designing and operating a system to detect suspicious orders and
 stopping those orders ABDC circumvented the requirements and coached customers on how to
 avoid being detected by the system and being the subject of an enforcement action by the DEA.
 For example, a July 2013 ABDC document entitled “Sales Talking Points” stated as follows:

                 I am rather concerned about your pharmacy for a different reason.
                 Based on your overall volume with us, your percentage of C2 orders
                 is high and may be deemed suspicious by either our OMP system or
                 regulatory authorities. This puts your account with ABDC at
                 significant risk of closure or exposure to regulatory and
                 enforcement agencies actions.

                 Every day, we read about another independent pharmacy under
                 investigation. I want to make sure that doesn’t happen to you. The

 387
       ABDCMDL00253869.




                                                  91
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                  way I see it, is that you have a couple of options. First, you can make
                  ABDC your primary wholesaler and shift all purchases to us. The
                  second option is we arrange a short-term transition process and you
                  stop buying C2s from ABDC and shift them to whomever your
                  buying other products. The third option would be to do nothing --
                  but this is not a feasible long-term decision -- and its not a good
                  option for anyone. 388

           2.     AmerisourceBergen failed to stop shipments of suspicious orders of
                  controlled substances in violation of the requirement to maintain effective
                  controls against diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

          ABDC’s official national policy from 1990, up until the DEA Settlement in 2007, was to
 ship all orders of controlled substances, regardless of size, frequency, deviations from prior orders,
 deviations from averages, deviations from defined thresholds, or whether that order was
 determined to be suspicious. This is a blatant violation of the No-Shipping Requirement.

         Further, while ABDC purported to change its system in 2007 pursuant to its settlement
 agreement with the DEA, it still did not fully comply with the No-Shipping Requirement after that
 date. For instance, the one suspicious order from Summit County ABDC reported to the DEA in
 2010 was shipped anyway, rather than held or cancelled. 389 Likewise, one of the 12 suspicious
 orders from Summit County ABDC reported to the DEA in 2012 was shipped as well. 390

           3.     AmerisourceBergen failed to design and operate a system to identify
                  suspicious orders of controlled substances in violation of the security
                  requirement set forth in 21 C.F.R. § 1301.74(b).

         Pre-2007, ABDC’s suspicious order monitoring system failed the security requirement set
 forth in 21 C.F.R. § 1301.74(b). Specifically, ABDC’s pre-2007 policies constituted a failure to
 design and operate a system to identify suspicious orders because they only identified “excessive”
 orders that exceeded a 3x threshold, which only took into consideration prior orders of that specific
 pharmacy. ABDC’s OMP system did not take into consideration other relevant factors such as
 order frequency patterns, order averages of similar pharmacies, or comparisons of sales of
 Schedule II or III controlled substances with the sales of other controlled substances. ABDC also
 had no meaningful due diligence process in place to investigate whether such “excessive” orders
 otherwise qualified as suspicious, other than an effort to make sure a customer was licensed with
 the state and registered with the DEA. As evidenced by the 2007 DEA Enforcement Action which
 suspended the registration of ABDC’s Orlando distribution facility, ABDC also specifically failed


 388
       ABDCMDL00278212 (emphasis added).
 389
       See ABDCMDL00379674; ABDCMDL00308070.
 390
       See ABDCMDL00383974.




                                                    92
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 to identify suspicious orders from internet pharmacies that the DEA concluded should have been
 identified.
          Post-2007, ABDC failed to design and operate an adequate system to identify suspicious
 orders because it continued to employ a “threshold-based system,” which was based on an arbitrary
 “3x multiplier” among drug families, which again ignored other relevant information. ABDC also
 left critical discretion to identify suspicious orders with its distribution center employees, without
 putting in place any set, concrete rules or criteria on how suspicious orders should be
 identified. The 2015 FTI Audit Report also revealed numerous problems with ABDC’s system,
 including a lack of resources, a lack of formal training, overburdened workloads, crushing
 administrative demands, inconsistent policies, and communications break-downs, which
 contributed to “gaps and risks” in ABDC’s ability to identify orders as suspicious and prevent
 diversion. ABDC’s efforts of due diligence in identifying suspicious orders at this time also fell
 well short of effective. Specifically, the “Know Your Customer” due diligence policy was based
 on a form filled out by ABDC’s own sales representatives in conjunction with ABDC’s pharmacy
 customers, creating a conflict of interest in identifying accurate information. The fact that
 ABDC’s chain retail pharmacy customers were exempt from this requirement abdicated ABDC’s
 duty to identify suspicious orders to the customers themselves. Further, the Form 590 due
 diligence program itself was inconsistently implemented, leaving a lack of current and historical
 documentation of due diligence efforts that renders a robust, effective due diligence system
 impossible.

            4.       AmerisourceBergen failed to report suspicious orders of controlled
                     substances in violation of the reporting requirement set forth in 21 C.F.R. §
                     1301.74(b).

       Between 1998 and 2008, AmerisourceBergen timely reported zero suspicious orders from
 the CT1 jurisdictions. This is a blatant violation of the Reporting Requirement. Further, using
 any of the methodologies described in the Expert Report of Craig McCann, it is apparent
 AmerisourceBergen failed to report thousands of suspicious orders arising out Cuyahoga County
 and Summit County. 391




 391
       See Section III, “Identifying Suspicious Orders Distributed in CT1.”




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             D.    CVS Health
 Distribution Center:                 CVS Indiana, L.L.C.
                                      7590 Empire Drive, Doors 116-123
                                      Indianapolis, Indiana 6219

 DEA Registrant Number:               RH0197170

 Distribution Center:                 CVS Rx Services, Inc.
                                      150 White Wagon Road
                                      Chemung, New York 14825

 DEA Registrant Number:               RC0415871

 Transactional Data Disclosed:
       Date range: 2002 to October, 2014 (when CVS quit distributing HCPs). 392

       Volume:

  Cuyahoga 393                   Total Dosage               MME              Base Weight
  Oxycodone                      0                          0                0
  Hydrocodone                    45,740,060                 190,736,760      190,737

  Summit 394                     Total Dosage               MME              Base Weight
  Oxycodone                      0                          0                0
  Hydrocodone                    28,456,580                 109,085,611      109,086

                        1.        Court ordered SOMS Discovery Disclosure:

             •    CVS HEALTH CORPORATION’S OBJECTIONS AND RESPONSES TO PLANTIFFS’
                  FIRST SET OF INTERROGATORIES (6/18/18)

             •    CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
                  AND RESPONSES TO INTERRROGATORIES NO. 1-6, 8-10, 13, 15-18, 20-21 AND
                  30 OF PLAINTIFFS’ FIRST SET OF INTERROGATORIES (9/10/18)

             •    CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
                  AND RESPONSES TO INTERROGATORIES NO. 11, 13 AND 30 OF PLAINTIFFS’
                  FIRST SET OF INTERROGATORIES (11/30/18)

 392
       CVS-MDLT1-000003782–7364.
 393
       See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 181.
 394
       Id, at p. 811.




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        •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
            AND RESPONSES TO INTERROGATORIES NO. 7, 12, 14, 15, 17, 19, AND 22-29 OF
            PLAINTIFFS’ FIRST SET OF INTERROGATORIES (1/25/19)

        •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
            AND RESPONSES TO INTERROGATORY NO. 15. OF PLAINTIFFS’ FIRST SET OF
            INTERROGATORIES (3/4/19)

        •   CVS HEALTH CORPORATION’S OBJECTIONS AND RESPONSES TO
            PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
            (6/18/18)

        •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
            AND RESPONSES TO REQUESTS NO. 1-6 AND 9 –33 OF PLAINTIFFS’ FIRST SET
            OF REQUESTS FOR PRODUCTION OF DOCUMENTS (9/27/18)

        •   CVS RX SERVICES, INC.’S AND CVS INDIANA, L.L.C.’S OBJECTIONS AND
            RESPONSES TO PLAINTIFFS’ (FIRST) COMBINED DISCOVERY REQUESTS TO
            NATIONAL RETAIL PHARMACY DEFENDANTS (11/30/18).

        •   CVS INDIANA L.L.C. AND CVS RX SERVICES, INC. DISCOVERY RULING NO. 15
            SUPPLEMENT (2/22/19)

        •   CVS INDIANA L.L.C.’S AND CVS RX SERVICES, INC.’S WRITTEN RESPONSE TO
            TOPIC 1 OF PLAINTIFFS’ AMENDED SECOND NOTICE OF DEPOSITION
            PURSUANT TO RULE 30(b)(6) (11/8/18)

        •   CVS’S WRITTEN RESPONSES TO TOPICS 8, 9, 12, 13 AND 14 OF PLAINTIFFS’
            AMENDED SECOND NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
            (11/15/18)

        •   CVS INDIANA L.L.C.’S AND CVS RX SERVICES, INC.’S PARTIAL WRITTEN
            RESPONSE TO TOPIC 2 OF PLAINTIFFS’ AMENDED SECOND NOTICE OF
            DEPOSITION PURSUANT TO RULE 30(b)(6) (11/19/18)

        •   CVS’S WRITTEN RESPONSES TO TOPICS 2, 4, 10, 16 AND 17 OF PLAINTIFFS’
            AMENDED SECOND NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
            (1/14/19)

               2.     SOMS Corporate Policy Disclosed
         It is my understanding that in response to the Combined Discovery Request No. 2, CVS
 listed Bates stamp ranges of documents but failed to identify with specificity the SOM policy




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 and/or procedure and/or the date said policy and/or procedure was in effect. Additionally, I
 understand that portions of the SOMS Corporate Policy were disclosed in the written responses to
 other discovery, the Rule30(b)(6) testimony offered by Mark Vernazza and the testimony of other
 deponents.
         CVS’s first written controlled drug operating procedures were circulated on December 1,
 2007. The 2007 document was titled “CVS Distribution Center Controlled Drug - DEA Standard
 Operating Procedures (SOPs) Manual.” 395 The “standard operating procedures were prepared in
 response to a need for a single source of current information for CVS regarding DEA policies and
 requirements of the Comprehensive Drug Abuse Prevention Act.” 396 Although the “Suspicious
 Order Monitoring (SOM)” section of the standard operating procedures contained some language,
 albeit admittedly incomplete as outlined in the document, Mark Vernazza, the CVS 30(b)(6)
 witness and CVS in-house attorney, testified that the suspicious order monitoring section of the
 standard operating procedures was essentially a draft or placeholder and was not the policy that
 was necessarily in place at the time. 397
         In fact, despite admitting in 2007 that a need existed for a “single source of current
 information for CVS regarding DEA policies,” CVS did not insert a written SOM policy into the
 standard operating procedures until August 25, 2010. 398 In other words, CVS had no written SOM
 policies until August 25, 2010. . Although denied by Vernazza, it appears that the August 25,
 2010 SOM section of the Standard Operating Procedures was rushed into place to comply with a
 DEA request and the section shows a disregard for the necessity and importance of the SOM
 process, a fact demonstrated in the inconsistencies of the document itself. 399 For example, the title
 headings found within the Table of Contents for the SOM section do not actually match the title
 headings used in the document. 400 The page numbers in the Table of Contents for the SOM section
 are incorrect. Another example is the,wording of the SOM section itself is inaccurate, indicating
 that within the next month the critical Item Review Report (“IRR”) examination process would be
 transitioned to each pharmacy DC and outlining procedures to be followed once that happens. 401
 Yet the IRR review process was never transitioned to each individual DC. The Controlled Drug –
 DEA Standard Operating Procedures Manual for the pre-2014 SOM system was amended multiple
 times between 2010 and 2013, with the last revision dated April 18, 2013. 402 None of these
 amendments made significant changes to the SOM section, other than the March, 11, 2011


 395
       CVS-MDLT1-000025206-000025259.
 396
       CVS-MDLT1-000025207.
 397
       Vernazza Depo., 214:11–215:10; 219:4–221:13; 305:16–306:5; CVS-MDLT1-000025206–000025259.
 398
       Vernazza Depo., 305:16–306:5; CVS-MDLT1-000008964–9032.
 399
       Vernazza Depo., 300:6- 312:20; CVS-MDLT1-000089188; CVS-MDLT1-000057751.
 400
       See titles found on CVS-MDLT1–00008966 compared with titles used at CVS-MDLT1-00009003.
 401
   See CVS-MDLT1-00009004: “During the month of September, 2010, the report will be transitioned to each
 pharmacy DC and the following procedures will occur.”
 402
       CVS-MDLT1-00008572-000008635.




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 revision indicated the IRR review was centralized in Knoxville, TN, 403 and later revisions
 identified individuals who were supposedly fulfilling certain DEA obligations within CVS. 404 An
 example of this is the testimony of Amy Propatier who admitted that she was listed as the CVS
 DEA Compliance Coordinator in the Controlled Drug – DEA Standard Operating Procedures
 Manuals but that title was only for reference in the Standard Operating procedures and was not her
 real job position. She also testified that as the CVS DEA Compliance Coordinator the only thing
 she ever did related to suspicious order monitoring was updating the standard operating procedures
 manual. 405
        Despite the fact that the Controlled Drug – DEA Standard Operating Procedures Manual
 purported to be the “single source of current information for CVS regarding DEA policies,” 406
 CVS did author other shorter policies that appear not to have been implemented or, at least, not
 consolidated with the “single source” SOP. Many of these shorter policies appear to be the same
 or very similar to the information contained within the CVS Distribution Center Controlled Drug
 - DEA Standard Operating Procedures (SOPs) Manuals. 407
          On February 29, 2012, the first Work Instructions for Loss Prevention Analyst, outlining
 how to perform IRR/SOM analysis was instituted. 408 This appears to be the first written
 instructions informing analysts how to perform an IRR review. The IRR is the primary SOM
 process, and yet CVS neglected to provide written instructions outlining how to perform that
 critical review from its initial use in mid-2009 until February 29, 2012.
         The DEA was on-site at CVS in August, 2013 conducting an investigation. 409 The content
 of the CVS letter to Mr. Gillen, who was the Diversion Group Supervisor for that DEA office,
 indicates the purpose was a regulatory investigation. This is an investigation of compliance with
 DEA security and record-keeping regulations and an accountability audit of selected controlled
 substances. Normally the DEA conducts a “closing” upon completing the investigation but
 according to the CVS letter, it still had not occurred as of November 21, 2013.
        The CVS letter indicates that CVS and Mr. Gillen had a discussion on November 14, 2013
 and Gillen had some concerns about the SOMS process. According to the CVS letter, Gillen was
 going to report to his Program Manager in Chicago that CVS had no reporting structure in place. 410
 Trying to placate Mr. Gillen’s concerns, Mark Nicastro sent a packet of information to the DEA.

 403
       CVS-MDLT1-00008413-00008482.
 404
    See for example names inserted into the 5/6/11 Controlled Drug – DEA Standard Operating Procedures Manual
 found at CVS-MDLT1-00003177-3242.
 405
       Propatier Depo., 79:15 – 81:2.
 406
       CVS-MDLT1-000025206-000025259, 000025207.
 407
   See PSE and Control Drug Policy & Procedures Template Logistics IRR Analyst – Suspicious Transactions (21
 USC 830(b)(1) Effective Date: June 28, 2011. CVS-MDLT1-000083552-83556.
 408
       CVS-MDLT1-0000020426–20428.
 409
       CVS-MDLT1-000010202.
 410
       CVS-MDLT1-000010202.




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 411 412
        As part of the packet, CVS provided the DEA with what it claimed was its Standard
 Operating Procedure for Suspicious Order Monitoring but it provided an outdated version of the
 policy when a more recent edition was available. Specifically, on January 7, 2013 the “SOM
 Process—Stop Order/Order Resumption SOP” was drafted. 413 Revision number three of this
 document was dated three days later on January 10, 2013. 414 All of the evidence indicates that
 this was also a draft, 415 but CVS sent this document to the DEA on November 21, 2013 and
 portrayed it as the Standard Operating Procedure for Suspicious Order Monitoring. 416 A final
 revision of the Stop Order/Order Resumption SOP was created on March 28, 2013. 417 Months
 before CVS sent the packet to Gillen. In other words, CVS represented to the DEA that the
 January 10th version was the standard operating procedures for suspicious order monitoring, even
 though it had already been revised and supplanted. Moreover, all of the versions of the “CVS
 Distribution Center Controlled Drug - DEA Standard Operating Procedures (SOPs) Manuals”
 indicate that they are the “single source” for DEA policies, and they differ from the stand alone
 Standard Operating Procedure for Suspicoius Order Monitoring document provided to the DEA.


         Significant differences exist between the January 10th version provided to the DEA on
 November 21, 2013 and the March 28, 2013 version that according to the documents was actually
 the version in place as of November 21, 2013. The January 10, 2013 CVS document (hereinafter
 referred to as Document A) provided to the DEA on November 21, 2013, was titled, “CVS /
 Corporate Logistics, External Documents, SOM Process – Stop Orders / Order Resumption SOP”
 with a Current Revision Date of 01/10/2013 and assigned Revision Number 03. 418 The more
 recent CVS policy that, according to the documents was in place on November 21, 2013 and should
 have been sent to the DEA (hereinafter referred to as Document B) was titled, “CVS / Corporate
 Logistics, External Documents, SOM Process – Stop Orders / Order Resumption SOP” with a
 Current Revision Date of 03/28/2013 and assigned Revision Number 04. 419 It should be noted
 both policies contain the following statement underlined in bold font, “THIS IS A
 CONTROLLED DOCUMENT – USE LATEST REVISION.”


 411
       CVS-MDLT1-000010201 – 10212.
 412
     The document as provided to Mr. Gillen representing suspicious orders reported by CVS to the DEA has
 insufficient information that renders it useless. The database does not identify the date of order, DEA registration #,
 type and strength of drug and/or NDC #.(CVS-MDLT1-000010209)
 413
       CVS MDLT1-000028391-000028393. This document was a rough draft. See CVSMDLT1-000028390.
 414
       CVS-MDLT1-000010205-000010208.
 415
    See email string attaching document and corrections made which created another revision number 3, but that
 revision number 3 is dated 1/21/13. (See CVS MDLT1-000025365-000025369).
 416
       CVS-MDLT1-0000010201–000010212.
 417
       CVS-MDLT1-0000030545–000030548.
 418
       CVS-MDLT1-000010205 -000010208
 419
       CVS-MDLT1-000030546-000030548




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        The most significant difference was in regards to the due diligence process. In Document
 A in the Identify and Hold Section of the policy the second paragraph contains the following
 language:
        Once an order of interest is identified, the SOM Analyst will complete all necessary
        due diligence and the SOM Manager will be notified to review the order. Due
        diligence will include, but is not limited to: contacting the Pharmacist, reviewing
        dispensing data, reviewing prior ordering data, comparing the quantity of
        controlled substances to non-controlled substances, determining if prescriptions
        for cocktails are being presented to the store, determining if one or several doctors
        make up a disproportionate share of the dispensing at the pharmacy, and
        contacting pharmacy operations to verify the information received from the store
        and to obtain any relevant information they may have about prescriber, nearby
        clinics, changes in the competitive landscape, or changes in the circumstances such
        as a new emergency room or clinic opening nearby that might impart the ordering
        history. If the SOM Manager agrees that order is an order of interest, the
        Distribution Center will be contacted, both by email and telephone, by the SOM
        Manager to place a Hold on the drug family in question on the order of interest and
        the SOM Manager will communicate to the Distribution Center each day to hold
        future orders for the store in question until the order of interest is verified. Once
        the order of interest is placed on hold, the process enters phase two, Review and
        Research.
 In Document B the second paragraph of the policy contains the following language:
        Once an order of interest is identified, the SOM Analyst will complete all the
        necessary due diligence, according to the SOM Due Diligence SOP, and the SOM
        Manager will be notified to review the order. Due diligence will include, but is not
        limited to: contacting the Pharmacist, reviewing ordering date, etc. If the SOM
        Manager agrees that the order is an order of interest, the Distribution Center will
        be contacted, both by email and telephone, by the SOM Analyst to place a Hold on
        the drug family in question on the order of interest. Also, the SOM Analyst will
        communicate to the Distribution Center each day to hold future orders until the
        order of interest is verified. Once the order of interest is placed on hold, the process
        enters phase two, Review and Research.
 The language in Document A provides a very comprehensive description of the type of due
 diligence investigation required to review an order identified by the CVS system as potential
 suspicious orders when compared with Document B. The differences in language have a strong
 potential to render a different decision in regards to the effectiveness of the due diligence
 investigation. Document B contains the additional statement, “according to the SOM Due
 Diligence SOP.”       Document B does not specifically identify where to find the SOM Due




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  Diligence SOP. There is no mention of due diligence investigations in the Controlled Drug – DEA
  Standard Operating Procedures Manual and this is supposed to be the single source document. 420
  Another significant difference was in regards to due diligence process. In Document A in the
  “Identify and Hold Section” of the policy the first paragraph contains the following language:
            The purpose of the Identify and Hold phase is to identify potentially irregular
            orders and place a Hold on those orders at the Distribution Center. All orders
            identified as potentially irregular are labeled “orders of interest” unless
            determined to be suspicious following the initial due diligence process. Orders of
            interest are identified by the SOM Analyst while reviewing the PSE Item Review
            Report (IRR}, the Control IRR, and/or the Florida 5000 Dose Report (FRR) or by
            warehouse employees reviewing or packing orders for distribution to CVS Stores.
  In Document B the language “or by warehouse employees reviewing or packing orders for
  distribution to CVS Stores” has been omitted.

  Another significant change occurred on the first page in Section 1. – Purpose. The language in
  Document A is as follows:
            To detail the three phase approach developed to effectively identify, review and
            stop potentially irregular orders of PSE or controlled substance drugs identified by
            the CVS/Caremark Suspicious Order Monitoring (SOM) process, as well as report
            orders that are deemed to be suspicious.
  The language in Document B for the same section as listed above is as follows:
            To detail the 3 phase approach developed to effectively review and stop a
            potentially suspicious order of PSE or Control drug identified by the
            CVS/Caremark Suspicious Order Monitoring (SOM) process, as well as report
            orders that are deemed to be suspicious.
          In Document B the word “identify” no longer appears. Further, Document A uses the term
  “irregular orders” which is changed to “suspicious order” in Document B. The change of these
  words become more impactful when the use of the term “order of interest” is used in the letter to
  Mr. Gillen. This change in terminology regarding this area may cause the potential for the reader
  to draw a different conclusion at which point the order should be reported as suspicious to the
  DEA.In August, 2013, CVS created “Work Instructions for Suspicious Order Monitoring” 421 and
  a “DCHuddle Guide.”422 Both of these documents inform employees of CVS’s desire to detect and
  block suspicious orders of controlled substances and other listed chemicals, and they both beg the
  question of what CVS was doing until August of 2013. Indeed, although CVS claims that its SOM
  process since at least 2006 relied on Pickers and Packers to detect and stop suspicious orders, the

  420
        CVS-MDLT1-00008572-000008635.
  421
        CVS-MDLT1-000000299–00000303.
  422
        CVS-MDLT1-00003028-00003032.




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  Huddle Guide appears to be the first written instructions addressing the SOM issue that CVS ever
  provided to Pickers and Packers.
          Other policies and procedures that CVS produced appear to be different versions of
  documents discussed above, or, in some cases, documents that relate to the new SOM system CVS
  gradually rolled out in 2014 (the first distribution center going live on March 2, 2014). Due to the
  limited amount of time that CVS distributed opioids after the introduction of the new SOM system,
  I have not been asked to opine on this system. I am, however, aware of some of the issues that
  were raised internally regarding the effectiveness of the new system. 423
                     3.       Enforcement Actions
          In August, 2013 the DEA initiated a regulatory investigation at the CVS Distribution
  Center in Indiana. 424 After the investigation and after the DEA had outlined some concerns with
  what it found at CVS, Mark Nicastro, the CVS Indiana Director of Operations, sent
  correspondence to the DEA. CVS cited the robust “due diligence processes in our pharmacy
  operations group, which monitor the dispensing of prescriptions across the entire CVS chain to
  ensure appropriate dispensing by stores” as the “primary contributor to the limited number of
  suspicious orders identified through our distributor SOM process.” 425 The sufficiency of the
  pharmacy level due diligence component of the CVS SOM program is belied by numerous DEA
  actions against CVS for the significant due diligence failures in its pharmacy operation, including
  the following:

             a. On October 13, 2010, CVS Pharmacy, Inc. entered into a Settlement Agreement with
                the United States and the DEA to resolve the criminal investigation of unlawful
                distribution and sales of pseudoephedrine ("PSE") by CVS/pharmacy stores in
                Southern California and Nevada and a CVS/pharmacy distribution center in Southern
                California. The CVS Distribution Center in La Habra, California, was in a position to
                monitor and report excessive PSE sales to the DEA, but failed to do so, in violation of
                21 U.S.C. Sec. 830(b) and 21 C.F.R. Sec. 1310.05(a)(1). CVS paid a penalty of
                $75,000,000 and forfeited $2.6 million in profits for a total payment of $77.6
                million. 426

             b. On March 28, 2013, CVS Pharmacy, Inc. and Oklahoma CVS Pharmacy L.L.C. entered
                into a Settlement Agreement with the United States and the DEA to resolve claims that
                CVS violated the CSA by : (1) filling prescriptions for certain prescribers whose DEA

  423
        Schiavo Depo., 374:23-385:22.
  424
        CVS-MDLT1-00008014–00008015.
  425
        Nicastro Depo, 203-206; Ex. 42.
  426
     See Non-Prosecution Agreement found at http://lib.law.virginia.edu/Garrett/corporate-prosecution-
  registry/agreements/cvs.pdf . See also CVS press release announcing Settlement found at
  https://cvshealth.com/newsroom/press-releases/cvspharmacy-announces-agreements-us-drug-enforcement-
  administration-and-us-attorneys-offices.




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               registration numbers were not current or valid; (2) entering and maintaining invalid
               DEA registration numbers on CVS dispensing records for certain prescriptions, which
               were at times provided to state prescription drug monitoring programs; and (3) entering
               and maintaining CVS dispensing records including prescription vial labels that identify
               a non-prescribing provider as the prescribing provider for certain prescriptions. CVS
               paid a fine of $11,000,000. 427

            c. On September 2, 2014, CVS Pharmacy, Inc. entered into a Settlement Agreement with
               the United States and the DEA to resolve claims against CVS for filling (from April 1,
               2012 to July 31, 2012) 153 prescriptions at eight (8) different pharmacies, written by
               the same physician, during a time period during which his Texas Department of Public
               Safety Controlled Substances registration was expired. CVS paid a $1,912,500 fine. 428

            d. On May 12, 2015, CVS Health entered into a Settlement Agreement with the United
               States and the DEA. The Settlement resolved claims that CVS failed “to fulfill its
               corresponding responsibility to ensure that CVS dispensed controlled substances only
               pursuant to prescriptions issued for legitimate medical purposes by practitioners acting
               in the usual course of their professional practice, as required by 21 CF.R. §1306.64.”
               The Settlement also covered CVS’s “Florida Distribution Center[s] failure to maintain
               effective controls against the diversion of controlled substances” and failure to timely
               detect and report suspicious orders of controlled substances. CVS's conduct
               complained of is set forth in the February 2, 2012 Orders to Show Cause and Immediate
               Suspension Orders issued to CVS stores 219 and 5195. CVS paid a fine of
               $22,000,000. 429

            e. On August 7, 2015, CVS Health entered into a Settlement Agreement with the United
               States and the DEA. The Settlement resolved claims that between March 3, 2010 and
               August, 2015 CVS stores in Rhode Island (1) filled prescriptions with invalid prescriber
               DEA numbers (knew or should have known in violation of 21 U.S.C. § 842(a)(1) and
               21 C.F.R. § 1306.04); (2) filled prescriptions for Schedule III controlled substances
               written by psychiatric nurse practitioners who were not authorized under state law or
               by terms of their DEA registration to issue such prescriptions, in violation of 21 U.S.C.
               § 842(a)(1) and 21 C.F.R. § 1306.03(a)(1); and (3) entering, creating, or maintaining
               CVS dispensing records in which the DEA registration numbers of non-prescribing
               practitioners, were substituted for the DEA registration numbers of prescribing



  427
        CVS-MDLT1-000060822–000060829.
  428
        CVS-MDLT1-000060907–000060914.
  429
        CVS-MDLT1-000060796–000060804.




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                practitioners, in violation of 21 U.S.C. § 842(a)(5) and 21 C.F.R. § 1306.24. CVS paid
                a $450,000 fine. 430


            f. On December 31, 2015, the DEA issued a Letter of Admonition for violations in
               distributing HCPs at the CVS Indiana distribution center. 431 This DEA finding was the
               result of the 2013 investigation. The DEA found that CVS violated the Controlled
               Substances Act because of a:

                   “[f]ailure to design and maintain a system to detect suspicious and report
                   suspicious orders for Schedule III-V Controlled Substances as required by
                   Title 21 United States Code (USC) 821, Title 21 USC 823(e)(1), and Title
                   21 Code of Federal Regulations (CFR) 1301.74(b) in violation of Title 21
                   USC 842(a)(5) in that CVS failed to detect orders that should have been
                   identified as suspicious for retail locations in Vincennes and Kokomo,
                   Indiana. 432
            g. On February 12, 2016, CVS Pharmacy, Inc. entered into a Settlement Agreement with
               the United States and the DEA. In the Settlement, CVS acknowledged that between
               2008 and 2012, “certain CVS/pharmacy retail stores in Maryland did dispense certain
               controlled substances in a manner not fully consistent with their compliance obligations
               under the CSA….” CVS paid a fine of $8,000,000. 433

            h. On June 30, 2016, CVS Pharmacy, Inc. entered into a Settlement Agreement with the
               United States and the DEA. The Settlement resolved claims that between 2011 and
               2014 CVS pharmacies in Massachusetts had filled hundreds (523) of forged opioid
               prescriptions. CVS entered into a multi-year compliance agreement and paid a fine of
               $3,500,000. 434

            i. On July 5, 2017, CVS Pharmacy, Inc. entered into a Settlement Agreement with the
               United States and the DEA as a result of a DEA investigation showing “an increase in
               the number of thefts and unexplained losses of Hydrocodone…” at numerous Eastern
               District of California CVS retail stores. The Settlement resolved claims for the
               following misconduct: 1) failure to “provide effective controls and procedures to guard
               against theft and diversion of controlled substances” (see 21 C.F.R. §1301.71(a)) and
               failure to notify the DEA of certain thefts or significant losses of controlled substances

  430
        CVS-MDLT1-000060847–000060855.
  431
        CVS-MDLT1-00008014–00008015.
  432
        CVS-MDLT1-00008014–00008015.
  433
        CVS-MDLT1-000060805–00060811.
  434
        CVS-MDLT1-000060872-00060906.




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                within one business day of the discovery (see 21 C.F.R. §1301.74(c)); 2) failure to
                maintain schedule 3-5 invoices (21 CFR §1304.04(a)); 3) failure to maintain Schedule
                3-5 records separate from non-controlled substance records (21 CFR §1304.04 (h)(3));
                4) failure to conduct a Biennial Inventory on one specific day (21 CFR §1304.11(c));
                5) failure to maintain complete and accurate records (21 CFR §1304.21(a)); 6) failure
                to record the date of acquisition of controlled substances (21 CFR §1304.22(c),
                1304.22(a)(2)(iv)); 7) failure to record the amount received on Schedule 3-5 invoices
                (21 CFR §1304.22(c)); 8) failure to record the amount received and the date received
                on DEA 222 forms (21 CFR §1305.13(e)); 9) failure to maintain DEA-222 forms (21
                CFR §1305. 17(a)); and 10) failure to maintain DEA-222 forms separate from other
                records (21 CFR §1305. 17(c)). CVS admitted that between April 30, 2011 and April
                30, 2013 the retail stores violated their recordkeeping obligations but it denied that the
                recordkeeping obligations caused any diversion. CVS paid a fine of $5,000,000. 435


                   4.      Suspicious Orders Reported In CT1 Jurisdictions: 436
            2006: 0
            2007: 0
            2008: 0
            2009: 0
            2010: 0
            2011: 0
            2012: 0
            2013: 0
            2014: 0

                   5.      Opinions Related to CVS
                1. CVS failed to maintain effective control against diversion of prescription
                   opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970].
          The increase in prescription opioids without any due diligence documentary basis is
  indicative of a failure to maintain effective control against diversion. The bar graphs identified as

  435
        CVS-MDLT1 000060856-000060871.
  436
     CVS RX SERVICES, INC.’S AND CVS INDIANA, L.L.C.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
  (FIRST) COMBINED DISCOVERY REQUESTS TO NATIONAL RETAIL PHARMACY DEFENDANTS (11/30/18).
  Request Nos. 3-7.




                                                     104
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  Figures 39-44 in Schedule II to this report demonstrate a clear increase of distribution of
  prescription opioids into Cuyahoga County and Summit County by dose, base weight and MME.


             2.        CVS failed to design and operate a system to identify suspicious orders of
                       controlled substances in violation of the security requirement set forth in 21
                       C.F.R. § 1301.74(b).
                  a.   Period #1: 2006 – early to mid- 2009

        From 2006 to early to mid-2009, the CVS SOM program consisted of Pickers and Packers
  and PDMR (“Viper”) Reports.
          Pickers and Packers were stationed in the controlled substance cage within the distribution
  center who would pick and pack controlled substance orders. The Pickers and Packers would
  identify orders that they believed were simply too large and would notify the Rx Inventory Control
  manager of the order. Ms. Wilson, a Picker and Packer since 1996, testified that she was guided
  by a “gut feeling” and then later testified that she used a crude rule of thumb that she learned in
  1996 that, according to her, never changed throughout the entire period that CVS distributed
  HCPs. 437 The evidence indicates that the first formal written policy for the Pickers and Packers
  was introduced in August, 2013 with two documents: 1) “Work Instructions for Suspicious Order
  Monitoring” 438 and 2) “DC Huddle Guide.”439 Regardless of the rule used by the Pickers and
  Packers, the evidence demonstrates that essentially no orders were ever identified by the Pickers
  and Packers as potentially suspicious and needing investigation. For the Indiana distribution center
  during the period from 2006 through 2014, Sherri Hinkle was the Rx Inventory Control person
  that the Pickers and Packers would notify if they believed an order merited investigation. 440 Ms.
  Hinkle testified that she would be notified and investigate approximately one control drug
  substance order every six months. 441
                  b. Similarly, the Viper report was not an effective SOM process. CVS’s own
                     witnesses testified that this report was NOT a report to determine suspicious orders:
                     “But the point of this was not to produce results for the purposes of determining
                     whether suspicious orders were made and reporting those to the DEA.” 442 Rather,
                     the Viper Report was an aggregate report that showed shipping versus dispensing




  437
        Wilson Depo., 62:8 – 64:6.
  438
        CVS-MDLT1-000000299–00000303.
  439
        CVS-MDLT1-00003028-00003032.
  440
        S. Hinkle Depo., 14:5-15:22; 65:22-66:15; Wilson Depo., 40:21-42:1.
  441
        S.Hinkle Depo., 83:23-86:1.
  442
        Vernazza Depo., 191:18–21.




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                      to determine whether there was a theft of product. 443 444 Period #2 Early to Mid-
                      2009 until March 2014

                      1. Item Review Reports 445

          In 2007 CVS hired Buzzeo to help create DEA control drug standard operating procedures.
  This engagement lead to the manuals identified above as the “CVS Distribution Center Controlled
  Drug - DEA Standard Operating Procedures (SOPs) Manual.” As part of the engagement, in late
  2008-early 2009, Buzzeo delivered to CVS an “SOM model … designed to ‘pend’ an order which
  may be classified as a ‘suspicious’ order for DEA reporting purposes.” 446 The SOM model
  consisted of complex multiple logistic regression algorithms and was designed to pend any order
  with a score of .15 or higher. The IRR was a print-out that consisted of all controlled drug orders
  for that day that were identified as potentially suspicious by the SOM algorithm. This was a daily
  report that was run five days per week. As is described in the Due Diligence Conducted section
  below, CVS only performed due diligence on a small percentage of the orders identified in the
  IRR as potentially suspicious.

           The IRRs had some specific problems that fit within the time periods below but it also had
  one overarching issue that continued from mid-2009 until March, 2014 – when performing the
  calculation of whether the order was suspicious, the IRRs did not consider orders delivered to CVS
  pharmacies by outside vendors. 447 CVS had full access to every order its pharmacies placed to
  outside vendors but did not incorporate this information in its SOM system. Maintenance of
  effective controls requires CVS to utilize all relevant transaction information. Not surprisingly, the
  VIPER reports which are used as inventory tools and to gauge whether there is a loss of product
  from theft automatically incorporates outside vendor information. 448
  The outside vendor issue was not rectified until the new AGI SOM program was implemented in
  2014. As late as January of 2013, CVS was analyzing the potential risks of not tracking orders
  that its pharmacies placed to outside vendors and concluded that it needed to due to the “DEA
  ‘Know Your Customer’ requirements.” 449 CVS recognized that in order for the “dispensing data
  in the algorithm to be useful, we must account for all controlled substances ordered.” 450 In fact, a

  443
        Burtner Depo., 384:12–21.
  444
        Dugger Depo., 104:12–22.
  445
     During this period the IRR was the primary SOM process used by CVS. However, CVS also continued to use
  the Pickers and Packers and PDMR Viper reports in conjunction with the IRR.
  446
    See Cegedim Dendrite Compliance Solutions Powered by BuzzeoPDMA “Descriptive Over Document: Cegedim
  Dendrice Suspicious Order Monitoring (SOM) Model” Version 1.0 – December 2008. CVSMDLT1-000123386–
  000123392).
  447
        Burtner Depo., 284:21 – 285-20.
  448
        Burtner Depo., 382:20 -387:17.
  449
        CVS-MDLT1-000103328, at 28.
  450
        CVS-MDLT1-000103328.




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  CVS pharmacy lost 68,000 hydrocodone pills and then refilled its hydrocodone supply by calling
  outside vendors instead of placing orders through the CVS distribution centers. 451 Most troubling,
  according to CVS, in the event that CVS detected an order to an outside vendor which CVS
  identified “as an order deviating from normal size, frequency, and/or buying pattern and deemed
  to not be for legitimate purposes or are at risk of being diverted [those orders] are not required to
  be reported to the DEA.” 452

                               a. Early to Mid-2009 through March, 2011

                                         i. Changing the Algorithm Triggering Score

           From early to mid-2009 through March, 2011, the IRR (for the entire country) was being
  reviewed by Henry “John” Mortelliti. Mortelliti was the first individual to begin review of the new
  IRR and he worked in loss prevention at the Lumberton distribution center in New Jersey. The
  SOM algorithm delivered in December 2008 and implemented in early 2009 was designed to pend
  an order with a score of 0.15 or higher. In July, 2009 CVS reported to Buzzeo that the SOM model
  was pending a large number of orders that CVS believed were “not suspicious on their face” and
  it requested that the model be changed. As a result revised coefficients for the algorithm were
  delivered to CVS on August 27, 2009and the pend score of .15 remained the same. 453 454. Between
  June, 2010 and August, 2010 Mortelliti adjusted the IRR pend score from .15 to .65. 455 On
  February 8, 2011 a completely retuned SOM algorithm was delivered to CVS with another set of
  co-efficients. The February, 2011 changes returned the pend score to .15. 456 However, a review
  of IRRs from February and March of 2011 shows that the pend score was .65. In fact, an IRR
  from as early as February 20, 2011, nine days after the consultant returned the model and returned
  the pend score to .15, demonstrates that the score at that point was already returned by CVS to
  .65. 457 Further, I have been informed that no documents have been produced that indicate why,
  after the model was retuned by the consultants and the pend score returned to .15, CVS again
  changed the pend score to .65.
                                        ii. All Flagged HCP Orders That Appear On The IRR Are Sent Out
                                            To Analysts For Additional Specialized Investigation




  451
        CVS-MDLT1-000103327.
  452
        CVS-MDLT1-000078060-000078069, at 78068 (emphasis added).
  453
        CVS-MDLT1-000109623-000109625.
  454
        CVS-MDLT1-00114642-00114652.
  455
        Mortelliti Depo. Exs. 612, 614, 615.
  456
        CVS-MDLT1-24494; 24495-24499; P. Hinkle Depo., pp. 194-214.
  457
        CVS-MDLT1-000100851-000100864.




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          Mortelliti testified that while he was reviewing the IRR, every HCP order that appeared on
  the IRR was referred out for additional investigation which he believed was necessary. 458 Although
  Mortelliti testified that he felt it was necessary for all HCP flagged orders to be sent out for
  additional investigation, he has no idea what due diligence was actually performed. It is my opinion
  that all HCP orders that were flagged on the IRR merited additional investigation beyond just
  reviewing the information on the IRR. Significant evidence exists that calls into question the
  accuracy of Mortelliti’s statement. First, Mortelliti testified that he would contact the loss
  prevention manager and the pharmacy manager of the distribution centers to freeze all orders that
  were flagged on the IRR. 459 However, Dugger, the Indiana loss prevention manager, told the DEA
  that he never received a call from Mortelliti about the IRR. 460 Second, during this time period
  Mortelliti testified that the Field Viper analysts were the individuals reviewing every order of HCP
  that flagged on the IRR. However, I have been informed that the only documents that indicate any
  investigation that was ever done on individual orders by these types of analysts during this time
  period are the IRR Recaps and the IRR Recaps directly contradict Mortelliti’s testimony. ee
  section on IRR Recaps). Mortelli was questioned during his deposition as to whether he was able
  to find documentation that supported his position that he sent all IRR flagged orders of HCP out
  for additional investigation. He unequivocally testified that he tried to find documents that
  supported his story that he sent these flagged orders out for additional investigation but he was
  unable to find any supporting documents. 461
                                           iii. Algorithm Not Functioning Correctly – Loses Historical Data –
                                                Active Ingredient
          In October of 2010 it was discovered that the algorithm was not functioning properly.
  Because the algorithm monitored orders by drug and not active ingredient, any change in how the
  drug was identified would cause the historical data to be lost. In a business description document
  requesting resources to change the model, Mortelliti wrote in October of 2010, that the algorithm
  model lost historical data and caused CVS to not be compliant with DEA expectations. 462 The
  loss of the historical data caused the algorithm to not function properly. Although it is unclear
  when the model was fixed, a business request update of April 25, 2011 indicated that the problem
  was still not fixed and it had a finish date of December 31, 2011. 463
                                b. March/April, 2011 to December, 2013

          In March/April, 2011 CVS moved the IRR review process to the Knoxville, Tennessee
  distribution center. At this point, the active ingredient issue was still not fixed and the IRRs were
  still missing historical data. From March, 2011 until early 2012, the IRR review for the entire

  458
        Mortelliti Depo., 367:1–14.
  459
        Mortelliti Depo., 57:16 – 58:12.
  460
        Mortelliti Depo., 58:17 – 62:18; Exh. 135.
  461
        Mortelliti Depo., 220:7 – 221:22.
  462
        Mortelliti Depo., 129:11 – 131:11, Ex, 16; Vernazza Depo., 400 – 455.
  463
        Mortelliti Depo., 177:9 – 186:2.




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  country was centralized in Knoxville. In early 2012, Aaron Burtner began reviewing IRRs at the
  Indiana distribution center. 464 During this period, the evidence indicates that the IRRs would
  consist of hundreds of flagged orders with some IRRs having over 1,000 orders. All orders listed
  on the IRR were identified by the computer algorithm as potentially suspicious and should have
  had additional investigation. The evidence indicates that during this period, very few orders that
  were identified on the IRR as potentially suspicious were investigated beyond the IRR. (See Due
  Diligence Conducted).
                      2. Due Diligence Conducted

           Due diligence, as it relates to CVS’s SOM program, can be broken down into two distinct
  subparts: i) What tools were available to conduct due diligence; and ii) What due diligence was
  actually performed based on the evidence produced by CVS. CVS might claim that reviewing the
  information contained within the four corners of the IRR constitutes due diligence, but little
  information exists on the IRR that is probative of why an order is suspicious and represents a threat
  of diversion. The CVS SOM program was dependent upon all flagged orders receiving a
  comprehensive due diligence investigation. This was acknowledged by Mortelliti when he
  testified that he referred all HCP flagged orders out for additional investigation. The evidence
  demonstrates that CVS conducted very little effective due diligence.
                      i)       What tools were available to conduct due diligence

                     Viper Report It appears that before 2012, the Viper report was the only due
             diligence tool available. As outlined above, Viper was really just an inventory control,
             theft detection system and was not designed or operated to “produce results for the
             purposes of determining whether suspicious orders were made and reporting those to the
             DEA.” 465 b. Microstrategy
                     Microstrategy was implemented as a SOM tool in February, 2012. 466 This database
             was the primary SOM tool an analyst could use if an investigation of an order beyond the
             IRR was done. Microstrategy provided an analyst with the information necessary to do
             appropriate due diligence: patient ID number, if a doctor is prescribing an inordinate
             amount, how the drugs were paid for, distance patients traveled to fill the prescriptions,
             quantity dispensed, dispensing data, information on the pharmacy, information on the
             patient, 467 and outside vendor deliveries of the same drugs to the stores. 468

                      c.       Store metrics

  464
    In September, 2012 the IRR review is centralized again and now the entire country is being reviewed at the
  Indiana distribution center.
  465
        Vernazza Depo., 191:18-21.
  466
        Burtner Depo., 379:4-13.
  467
        Burtner Depo., 385: 6–18; 396:23–397:17; Helfrich Depo., 18:4–19:8; 176:3–12.
  468
        Burtner Depo., 284-6: 285:9.




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                     In December, 2012, CVS introduced a new tool for due diligence called Store
             Metrics that produced a report called “Store Statistics for SOM Order Review.” Store
             Metrics contained much of the same information (top doctors, top patients, volume,
             distance traveled, patient population, payment method) 469 but formatted into an easily
             readable report. The Store Metrics report was the primary tool for doing investigations, but
             the report used stale data that by July 2013 was over one year old and made the report
             “irrelevant and pointless.” 470

                      ii)     What due diligence was actually performed based on the available
                              evidence: All of the evidence indicates that CVS performed due diligence
                              on very few orders that were flagged by the IRR system. Mortelliti testified
                              that while he was reviewing IRRs from mid-2009 until March of 2011 he
                              sent every flagged orders of HCP out for additional investigation but as
                              addressed above and below that is belied by the evidence. Further, the
                              evidence affirmatively demonstrates that from January, 2011 until the new
                              SOM system was implemented in March,2014, very few of the orders
                              flagged on the IRR as suspicious were ever investigated. This is established
                              by 1) the IRR recaps that list the few flagged orders that received a due
                              diligence investigation; 2) the time studies that demonstrate how few orders
                              were actually investigated; and 3) the testimony of Gary Millikan who
                              indicated that he investigated 5% or less of the IRR flagged orders; and 4)
                              the testimony of Shauna Helfrich and Kelly Baker who both indicated that
                              they did not investigate all of the flagged orders and they had no idea how
                              many they would actually investigate.
                              a. IRR Recaps: According to CVS policy and testimony, anytime an order
                                  received due diligence beyond simply reviewing the IRR, that review
                                  was documented on the IRR Recap. 471 Review of the IRR Recap
                                  Reports shows that few orders actually received additional
                                  investigation. The IRR Recap Report from January, 2011 to June, 2012
                                  shows that only one flagged HCP order placed by a pharmacy in CT1
                                  was investigated. 472 The IRR Recap Report from February 6, 2013 to
                                  December 30, 2013 shows that only one flagged HCP order placed by a
                                  pharmacy in CT1 was investigated. 473 In other words, over a 28-
                                  month period, during the height of the opioid crisis, CVS undertook
                                  two investigations of HCP orders in CT1. Additionally, an IRR

  469
        Burtner Depo., 311:2-23.
  470
        Baker Depo., 259:16–262:19; Ex. 27;; Ex. 29.
  471
        Burtner Depo. , 404: 24–405:10; 474:23–475:8. P. Hinkle Depo., 130:8 - 131:1.
  472
        Burtner Depo., 488:6–490:4; Ex. 441.
  473
        Burtner Depo., 485:2–487:1; Ex. 440.




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                                   Recap from January 2, 2014 to February 11, 2014 demonstrated that
                                   one CT1 store had an order investigated during this time period. 474
                                   The IRR Recaps also contradict Mortelliti’s claim that he referred all
                                   HCP orders for additional investigation. Mortelliti was reviewing IRRs
                                   during the first three months that the recaps are available (January,
                                   February, March of 2011). I have been informed that during that time
                                   period, 37 HCP orders for CT1 stores were flagged on the IRR and not
                                   one of those orders appears on the IRR Recap as receiving additional
                                   investigation.

                               b. Time Studies: Mr. Burtner, who began reviewing IRRs in February,
                                  2012 and was subsequently named the SOM Manager, created various
                                  time studies as part of his job. The time studies were intended to track
                                  a typical day. During the time Burtner created the time studies he was
                                  reviewing the IRR for half the country – five distribution centers. Over
                                  twelve days in 2012, the time studies indicate Burtner performed an
                                  investigation beyond the IRR on zero (0) orders on eight (8) separate
                                  days; one (1) order on two (2) separate days; two (2) orders on one (1)
                                  day; and three (3) orders on one (1) day. In other words, for one half of
                                  the country over a period covering twelve days ranging from June 14,
                                  2012 to September 6, 2012, CVS investigated a total of seven control
                                  substance orders. 475

                               c. Less Than 5%: Gary Millikan was the operations manager at the Indiana
                                  distribution center from 1998 until 2010, and the production manager
                                  until he retired in June, 2012He also was the Indiana distribution center
                                  DEA Compliance Coordinator from 2006 through his retirement in
                                  June, 2012. . 476 Because the distribution center was so short-staffed in
                                  the SOM department, he came back to work part-time in August, 2013
                                  and he started reviewing IRRs. Mr. Millikan admitted during his
                                  deposition that he did due diligence on less than 5% of the suspicious
                                  orders flagged on the IRR. 477


                               d. No Idea How Few Orders Were Investigated: Shauna Helfrich, an IRR
                                  analyst, testified that she does not remember how many flagged orders

  474
        Helfrich Depo.,142:17–143:22; Ex. 14.
  475
        Burtner Depo., 340–371; 505; Ex. 500.
  476
        Millikan Depo., 32:20 – 33:11.
  477
        Millikan Depo., 213:9 – 214:12.




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                                   on an IRR she did additional due diligence on. Despite repeated
                                   questions on her due diligence efforts, Ms. Helfrich was not able to even
                                   estimate or give a percentage of how many flagged orders on which she
                                   did due diligence. She had absolutely no memory or idea of the orders
                                   on which she did due diligence. 478 Kelly Baker, another IRR analyst,
                                   also could not remember how many flagged orders on an IRR she did
                                   due diligence or a deep dive on. He merely remembers one example of
                                   a deep dive that he did and that is it. Furthermore, Mr. Baker did not
                                   dispute Gary Millikan’s testimony that he did a deep dive on about five
                                   percent of the orders on an IRR. 479

                      iii)     A Due Diligence Investigation Should Have Been Conducted On All HCP
                               Orders Flagged On The IRR As Suspicious: As I referenced above, it is my
                               opinion that all orders that flagged on the IRR should have received
                               additional investigation. This would include all orders that flagged on the
                               IRR as a result of violating CVS’s Maximum Cutoff Volume and Maximum
                               Cutoff Ratio; two thresholds that were established in October, 2012. 480 I
                               agree with Mr. Mortelliti’s testimony that all flagged orders of HCP needed
                               to be referred out for additional investigation. 481 Additional investigation
                               could include review of patient profiles such as the age, distance traveled,
                               and method of payment; review of ratios of HCP purchases to other
                               controlled substances; review of other drugs purchased that consist of a drug
                               cocktail; review or comparison to like stores; review of prescribing
                               physician profiles; and total amount of a drug purchased by the pharmacy.
                               As is clear, none of this information is shown on the IRR. 482
                                   The implications of the failure to perform additional investigation on
                               orders flagged on the IRR cannot be overstated. As referenced above, from
                               January, 2011 to June, 2012 one flagged HCP order placed by a pharmacy
                               in CT1 was investigated. 483         Similarly, from February 6, 2013 to
                               December 30, 2013 one flagged HCP order placed by a pharmacy in CT1
                               was investigated. Combined, two orders were investigated over an 18


  478
        Helfrich Depo., 105:5-107:24.
  479
        Baker Depo., 102:9-103:6; 165:14-166:22.


  480
        CVS-MDLT1-00055836-00055838.
  481
        Mortelliti Depo., 367:4-22; 368:22-369:2.
  482
     Millikan Depo., 230:24-232:7. Additionally, total purchased is not shown on the IRR since the IRR does not
  include outside vendor orders.
  483
        Burtner Depo., 488:6–490:4; Ex. 441.




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                         month period. As referenced above, 37 HCP orders flagged on the IRR from
                         January, 2011 through March, 2011 (a 3 month period). This is a large
                         number of orders to simply ignore. These numbers must be evaluated with
                         the understanding that CVS had also artificially reduced the number of
                         orders flagging by increasing the pend score from .15 to .65.


          Based on my review of documents and testimony and as noted throughout this report,
  historically the due diligence conducted by CVS has been inadequate. While CVS has employed
  different due diligence programs over the years, a review of those programs in practice make clear
  that for all practical purposes, CVS’s due diligence efforts have fallen short of what is required.


          3.     Reporting Requirement.

         CVS timely reported zero suspicious orders from 2006 to September 30, 2014. Further,
  using any of the methodologies as described in the Expert Report of Craig McCann, it is apparent
  CVS failed to report thousands of suspicious orders arising out Cuyahoga County and Summit
  County. 484

         4.      Shipping Requirement.

           CVS claims that when it “determines that an order for a controlled substance is suspicious,
  its policy is and has been to decline to ship the order and to report the order to the DEA.” 485




  484
    See Section III, “Identifying Suspicious Orders Distributed in CT1.”
  485
    CVS’S WRITTEN RESPONSES TO TOPICS 8, 9, 12, 13 AND 14 OF PLAINTIFFS’ AMENDED SECOND
  NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6), Response No. 14.




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              E.         Walgreens Boots Alliance
  Distribution Centers:
         During the relevant time period Walgreens Boots Alliance, Inc. (“Walgreens”) had 13
  Distribution Centers (“DCs”) that handled controlled substances. Three of those DCs handled
  schedule 2 controlled substances (Jupiter, Florida; Perrysburg, Ohio; and Woodland,
  California). 486 According to Walgreens Transactional Data, Walgreens distributed prescription
  opioids to the CT1 jurisdictions through at least five of its Distribution Centers: 487
              •    Perrysburg, Ohio Distribution Center (DEA # RW0294493) from at least May 2003
                   through March 2013;
              •    Mt. Vernon, Illinois Distribution Center from (DEA # RW0152467) February 2013
                   through April 2014;
              •    Jupiter, Florida Distribution Center (DEA # RW0277752) from at least September
                   2002 through January 2007;
              •    Bethlehem, Pennsylvania Distribution Center (DEA # RW0161872) from at least
                   August 2002 through May 2003; and
              •    Orlando, Florida Distribution Center (DEA # RW0155994) from at least August 2002
                   through September 2002.


  Transactional Data Disclosed:
  Date range: 1996 through 2014 488
  Volume:

   Cuyahoga 489                    Total Dosage              MME             Base Weight
   Oxycodone                       42,790,400                621,524,590     414,350
   Hydrocodone                     36,504,093                151,519,535     151,773

   Summit 490                      Total Dosage              MME             Base Weight
   Oxycodone                       17,599,000                260,088,232     173,392
   Hydrocodone                     23,315,424                89,107,612      89,154



  486
     See WAGMDL00659801 at WAGMDL000659817. See also WAGFLDEA00000117 (listing all three CII
  facilities)
  487
    See WAGMDL00293631; WAGMDL00490979; WAGMDL00773926; ABDCMDL00170319; and MNK-
  T1_0005986422 at MNK-T1 0005986423.
  488
        See WAGMDL00293631; WAGMDL00490979; and WAGMDL00773926.
  489
        See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 226.
  490
        Id. at p. 856.




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                   1.      Court ordered SOMS Discovery Disclosure

            •   Walgreens Boots Alliance, Inc.’s Objections and Responses to Plaintiffs’ First Set of
                Interrogatories (6/21/2018);

            •   Walgreen Co. And Walgreen Eastern Co.’s Amended Objections and Responses to
                Plaintiffs’
            •   First Set of Interrogatories (10/3/2018);

            •   Walgreen Co. and Walgreen Eastern Co’s Responses to Plaintiffs’ “(First) Combined
                Discovery Requests” (11/30/2018);

            •   Walgreen Co. and Walgreen Eastern Co’s Supplemental Responses to Plaintiffs’
                “(First) Combined Discovery Requests” (12/21/2018);

            •   Walgreen Co. and Walgreen Eastern Co’s Objections and Responses to Plaintiffs’ First
                Notice of Deposition Pursuant to Rule 30(b)(6) Topic 1(O) and Second Notice of
                Deposition Pursuant to Rule 30(b)(6) Topics 2 (A)-(J), 9, 10, 11, 13, 14 and 15
                (1/17/2019);

            •   Walgreen Co. and Walgreen Eastern Co’s Second Supplemental Responses to
                Plaintiffs’ “(First) Combined Discovery Requests” (2/19/2019);

            •   Walgreen Co. And Walgreen Eastern Co.’s Second Amended Objections and
                Responses to Plaintiffs’ First Set of Interrogatories (3/4/2019).

                   2.      SOMS Corporate Policy Disclosed
          Walgreens’s various SOM Programs are described in my opinions, set forth below in other
  areas of this report.
                   3.      Enforcement Actions
         In May 2006, the DEA sent Walgreens a Letter of Admonition citing Walgreens for
  recordkeeping inadequacies and security deficiencies at its Perrysburg Distribution Center.
  Specifically, the DEA found that the “formulation utilized by the firm for reporting suspicious
  ordering of controlled substances was insufficient.” 491

          In April 2012, the DEA served a Subpoena to one of Walgreens’s Schedule 2 controlled
  substance distribution centers, the Jupiter Distribution Center, requesting, among other things, all
  controlled substance SOPs, communications about controlled substances, and customer due

  491
        WAGMDL00709510.




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  diligence files for 14 Walgreens stores, and also served a Warrant of Inspection on the Jupiter
  Distribution Center, authorizing seizure, among other things, all records related to distribution of
  controlled substances. 492

          After reviewing the materials provided by Walgreens in response to the April 2012
  subpoenas, on September 13, 2012, the DEA issued an Order to Show Cause (OTCS) and
  Immediate Suspension of Registration (ISO) to Walgreens on the basis that the Jupiter Distribution
  Center constituted “an imminent danger to the public health and safety” and ordered that Jupiter
  controlled substance vault be sealed. 493 The DEA alleged that Walgreens’s Jupiter DC failed to
  comply with DEA regulations that required it to report to the DEA suspicious drug orders that
  Walgreens received from its retail pharmacies. Further, the DEA alleged that Walgreens’s failure
  to sufficiently report suspicious orders was a systemic practice that resulted in at least tens of
  thousands of violations and allowed Walgreens’ retail pharmacies to order and receive at least
  three times the Florida average for drugs such as oxycodone. The allegations in the OTSC and
  ISO were exacerbated by the fact that over a year earlier, on April 7, 2011, Walgreens had entered
  into a prior Settlement Agreement with DEA regarding allegations of non-compliance with the
  Controlled Substance Act wherein Walgreens had agreed to “maintain a compliance program to
  detect and prevent diversion of controlled substances.” 494

         In February 2013, the DEA issued similar Subpoenas and Warrant of Inspection on the
  Perrysburg Distribution Center. 495 Walgreens employees made plans in preparation for the
  Perrysburg DC being “shut down” by the DEA, like the Jupiter DC. 496 Within weeks of receiving
  the six subpoenas and warrant, Walgreens decided to “discontinue distribution of controlled
  substances from the Perrysburg facility” in order to “eliminate any immediate need for further
  DEA administrative action” regarding the Perrysburg facility. 497

          On June 11, 2013 Walgreens entered into a Settlement and Memorandum of Agreement
  (“MOA”) with the DEA to resolve outstanding allegations involving the Walgreens Distribution
  Centers and pending actions concerning six Walgreens retail pharmacies located in
  Florida. Walgreens agreed to pay $80 million in civil penalties, the largest settlement in DEA
  history at that time, to resolve the DEA’s claims that Walgreens negligently allowed controlled
  substances, including oxycodone and other prescription painkillers, to be diverted into the black
  492
        WAGMDL00777158; CAH_MDL2804_01431074.
  493
     See Settlement and Memorandum of Agreement between the Department of Justice, DEA, and Walgreens Co.,
  with appendices (collectively, “Walgreens 2013 MOA”) (WAGMDL00490963-WAGMDL00490978;
  WAGMDL00387975-WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387654
  (Letter from Michele Leonhart to Walgreen Company, Order to Show Cause and Immediate Suspension of
  Registration (Sept. 13, 2012), [“Jupiter Show Cause Order”]).
  494
   See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387975.
  495
        WAGMDL00493697; WAGMDL00493694.
  496
        WAGMDL00477975; WAGMDL00358471.
  497
        WAGMDL00674280.




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  market. 498 In addition to the $80 million civil penalty, Walgreens agreed to surrender its Jupiter
  DC’s registration to distribute or dispense controlled substances listed in Schedules II – V for two
  years from issuance of the Jupiter ISO, ending in 2014. As part of the MOA, Walgreens admitted
  that Walgreens’s “suspicious order reporting for distribution to certain pharmacies did not meet
  the standards identified by DEA in three letters from DEA's Deputy Assistant Administrator,
  Office of Diversion Control, sent to every registered manufacturer and distributor, including
  Walgreens, on September 27, 2006, February 7, 2007 and December 27, 2007.”

                     4.      Due Diligence Conducted:
          Due Diligence, as discussed in more detail in other areas within this report, relates to the
  KYC process and specific investigations related to potential suspicious orders in an effort to
  determine if said orders may be shipped. Walgreens conducted very limited and irregular due
  diligence prior to the formation of the Pharmaceutical Integrity Department in late 2012/beginning
  of 2013. For example, limited pre-2012 emails produced by Walgreens reveal that the “warehouse”
  (Walgreens DC) would call stores to inquire about large orders, but those orders would be cleared
  if the store confirmed that they were intentionally placed. 499 Even after the creation of the
  Pharmaceutical Integrity Department, Walgreens did little due diligence and did not keep complete
  records of any due diligence performed outside of a relatively small number of emails beginning
  in 2012 500 and sparse database notations about limited orders in and after 2013. 501 Walgreens
  failed to produce any due diligence records pre-dating 2011. Walgreens’s failure to retain
  historical records and failure to incorporate historical due diligence information into its SOMs
  program is problematic because an important aspect of every due diligence review should always
  be an examination of the historical of the customer who placed the flagged order. Without such
  information, one cannot fully evaluate trends over time or make fully informed decisions about
  whether or not orders of controlled substances are likely to be diverted into illicit channels.
          Walgreens claims that it engaged in “a variety of practices” for conducting due diligence
  on potentially suspicious orders over time. 502 One of the practices Walgreens specifically points
  to is that from “time to time, the distribution centers’ function managers also sought input from
  personnel in Rx Inventory, who, upon request, reviewed sales history, order history, and item
  movement for individual stores, to determine whether orders were in line with a store’s history or
  were unusual.” 503 Walgreens points to two documents and the testimony of two individuals, Rx


  498
   See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974).
  499
        See, e.g., WAGFLDEA00000459.
  500
        See e.g. WAGMDL00107532.
  501
      See WAGMDL00400358 (ohio_cso_override_history_updated_drug_list.xlsx) (containing limited to information
  from Sept 2013 – Sept 2018); WAGMDL00400360 (ohio_flagged_orders.xlsx) (only shows certain flagged orders
  from Sept 2016 – Sept 2018).
  502
        Walgreens Second Supplemental Responses to Combined discovery, Request No. 7.
  503
        Id.




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  Inventory manager, Barbara Martin and Perrysburg Distribution Center CII Function Manager,
  Deborah Bish, to support this claim.
           The first document Walgreens cites is an email chain dated January 10, 2011, between the
  Jupiter DC CII Function Manager, Kristine Atwell, and Rx Inventory manager, Barbara Martin.
  In the email chain, the Ms. Atwell expresses concern that she has “several stores that are ordering
  huge quantities of 682971 on a regular basis.” 504 The item Ms. Atwell refers to as “682971” is
  Walgreens Inventory Checker (“WIC”) number for 30 mg oxycodone. 505 Ms. Atwell goes on to
  state, “I feel that the store needs to justify the large order quantity. Three stores that come to mind
  are #7298, #3836 and #5018.” 506 Ms. Martin responds and provides sales history for two of the
  three stores specifically mentioned, notes that the third store’s system was down, and states, “You
  can contact the store for more information if necessary. These sales are quite high compared to
  other non-Florida stores.” Apparently unsatisfied with Ms. Martin’s response, Ms. Atwell replies
  stating, “I ran a query to see how many bottles we have sent to store #3836 and we have shipped
  them 3271 bottles between 12/1/10 and 1/10/11. I don't know how they can even house this many
  bottle to be honest. How do we go about checking the validity of these orders?” Ms. Martin
  responds identifying the district pharmacy supervisor’s cell phone number and telling Ms. Atwell
  that he “may be able to shed some light on the subject.”
          The second document cited by Walgreens is a continuation of the email chain which
  resumed the following day. Ms. Atwell asks for information regarding the store #3836, the store
  that Ms. Martin could not access the previous day. Ms. Martin responded relaying that the store
  had average weekly sales of 36,200 dosage units which was equal to 362 bottles per week and
  noting, “have no idea where these stores are getting this type of volume. The last pharmacy I was
  manager at did about 525 rxs/day and we sold about 500 tabs a month (5 bottles).” 507
          Despite having raised these concerns from the DC to a supervisor at corporate
  headquarters, it appears that this exchange is the full extent of the “due diligence” performed on
  the “huge quantities” of oxycodone identified by Walgreens’s DC personnel and was typical of
  Walgreens’s due diligence process. 508 There is no evidence of any actual due diligence beyond
  this facially insufficient email exchange. Further, despite the fact that questions had been raised
  about this store #3836's ordering volume in January 2011, the very next month, Walgreens filled
  and shipped orders totaling another 285,800 dosage units of 30 milligram oxycodone to the same
  pharmacy. 509 This one store, located in Port Richey, Florida, a town of less than 3000 people in a
  county with a population of only approximately 475,000, went from 344,000 units of oxycodone

  504
        Martin Dep. Ex. 30 (WAGFLDEA00000846).
  505
        WAGMDL00436802.
  506
        B. Martin Dep. Ex. 30 (WAGFLDEA00000846).
  507
        WAGFLDEA00000852.
  508
   B. Martin Deposition at 337:16 to 338:19; Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978;
  WAGMDL00387975-WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658.
  509
   Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658.




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  in 2009 to 1,406,000 units of oxycodone in 2011. 510 Walgreens also cites to the testimony of Ms.
  Martin as supportive of this type of due diligence, however, in her deposition, Ms. Martin, the
  Walgreens inventory manager responsible for performing due diligence on this order, stated that
  she never even attempted to determine the size of the community that was receiving these “huge
  quantities” of oxycodone. 511 She further testified that she was not near that store, did not have
  access to the store’s prescriptions or patient information, and couldn’t take any “direct action.” 512
  It is not surprising that approximately 18 months after this email exchange, store #3836 was one
  of the stores for which Walgreens agreed to surrender DEA registration. 513 Ms. Martin’s response
  confirms that Walgreens was not performing the required and appropriate due diligence.
          Walgreens also cites to the testimony of Deborah Bish, the CII function manager at
  Walgreens’s Perrysburg DC. However, Ms. Bish could only recall one instance in the entire time
  she was a the CII Function Manager, from October 2002 to present, that she contacted Ms. Martin
  regarding a questionable order. 514 Further, Ms. Bish testified that the one time she elevated an
  order to Ms. Martin, Ms. Martin cleared the order to be delivered. 515
          This type of inadequate due diligence evidences Walgreens’s systemic failure to protect
  against diversion. Walgreens, when notified by its own employees of the presence of indicators
  of the pending threat of diversion, took no action to prevent diversion. This failure is a total
  disregard of the maintenance of effective controls against diversion.
          Based on my review of documents and testimony and as noted throughout this report,
  historically the due diligence conducted by Walgreens has generally been substandard at best.
  Walgreens practice of attempting to catch and correct ordering errors at the distribution center
  level is and inventory management program and does not satisfy Walgreens due diligence
  obligations. As noted below, Walgreens admits that they performed no pre-shipment or post-
  shipment due diligence on any orders that were flagged by their Rigid Formula Reports.
  Additionally, even when Walgreens began to cut orders that exceeded their “tolerance,”
  “frequency,” or “ceilings,” their policies did not call for appropriate due diligence to be performed
  on such orders and did not specify what constituted appropriate due diligence. While I am aware
  that Walgreens claims it conducted due diligence via email, phone calls, or other undocumented
  means, my review of the materials as referenced herein belie those claims, indicate that such
  actions rarely occurred, and that even when they did occur, they fell short of what is required.


  510
    Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387656-58; B. Martin
  Deposition at 343:22 to 351:17.
  511
        B. Martin Deposition at 349:7 to 350:12.
  512
        B. Martin Deposition at 337:16 to 338:19.
  513
   See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658
  514
        D. Bish Deposition at 28:4-10; 89:15 to 91-10; D. Bish Deposition Exhibit 3.
  515
        D. Bish Deposition at 89:15 to 91-10.




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                       5.        Suspicious Orders Reported In CT1 Jurisdictions
                      Pre-Shipment Reporting                  Post-Shipment Reporting
                                                      Rigid Formula Reports (Customer Grouping
         2006                      None
                                                                      Formula)
                                                      Rigid Formula Reports (Chemical Handlers
         2007                      None                        Manual Appendix E-3)

                                                       Rigid Formula Reports (Chemical Handlers
         2008                      None                         Manual Appendix E-3)

                                                       Rigid Formula Reports (Chemical Handlers
         2009                      None                         Manual Appendix E-3)

                                                       Rigid Formula Reports (Chemical Handlers
         2010                      None                         Manual Appendix E-3)

                                                       Rigid Formula Reports (Chemical Handlers
         2011                      None                         Manual Appendix E-3)

                                                       Rigid Formula Reports (Chemical Handlers
         2012                      None                         Manual Appendix E-3)

         2013                      None                                     None
         2014                      None                                     None
         2015                      None                                     None
         2016                      None                                     None
         2017                      None                                     None
         2018                      None                                     None


  Walgreens has testified that, other than the Rigid Formula Reports, it could not “identify” any
  reports to the DEA of “suspicious orders of opioids” from 2006-2014 in CT1 despite a “diligent
  search”. 516 Walgreens testified no due diligence was conducted on the orders listed in the Rigid
  Formula Reports. 517
                       6. Opinions Related to Walgreens
              1.       Walgreens failed to maintain effective control against diversion of prescription
                       opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970].



  516
        See Walgreens Second Supplemental Responses to Combined Discovery Requests at Requests 3 and 4.
  517
        See E. Bratton Errata.




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           The bar graphs identified as Figures 45-56 in Schedule II to this report demonstrate a clear
  escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight
  and MME.The massive increase in prescription opioids without a documented basis is indicative
  of a failure to maintain effective control.
          Walgreens’s also knew opioids it distributed in Florida were migrating into Ohio. Because
  Walgreens failed to maintain many pre-2012 documents outside of those produced to the DEA
  during the Jupiter DC investigation, many of the pre-2012 documents Walgreens produced relate
  to Walgreens distribution in Florida. This information is highly relevant to CT1, however, because
  not only does the evidence show that Walgreens’s distribution failures were “systemic”, as noted
  by the DEA in the 2013 MOA, but the evidence further shows that Walgreens knew and/or should
  have known that the high-volume Florida prescriptions were traveling out of state, including to
  Ohio. For example, Pharmacy managers in Florida alerted their supervisors and the distribution
  center that they were ordering 55+ bottles a week (where 30 bottles was an admitted red flag) and
  that many of the prescriptions were coming from out of state. 518 Walgreens was well familiar with
  the “Florida migration” phenomenon, in which prescription opioids were being dispensed in
  Florida and transported north to states include Ohio, 519 and knew that ‘‘Interstate 95 has been
  renamed the Oxycodone Express because of the brisk travel of people from Kentucky, Tennessee,
  [and] Ohio to South Florida to obtain medications.’’ 520 When the DEA issued Orders to Show
  Cause to Walgreens’s Jupiter Distribution Center and six Florida Walgreens pharmacies, the DEA
  specifically noted likely migration to Ohio. 521
            2.     Walgreens failed to design and operate a system to identify suspicious orders of
                   controlled substances in violation of the security requirement set forth in 21
                   C.F.R. § 1301.74(b).
         Walgreens employed a number of limited and disjointed SOMS programs during
  overlapping time periods, none of which fulfilled Walgreens’s duties under the CSA. Walgreens’s
  documentation of many of these programs is minimal and, before 2011/2012, there is little
  evidence that Walgreens took any steps to more than nominally comply with the CSA’s
  requirements. Walgreens’s failures to design and operate an effective SOM program are especially
  problematic because Walgreens, as a self-distributor, had limitless information about its customers
  available to it at times. As Walgreens admits, Walgreens’s distribution “customers” are the
  “individual Walgreens pharmac[ies]” and Walgreens had the ability to conduct “data mining…

  518
        WAGFLDEA00000459
  519
        WAGMDL00289068, at 289153-154.
  520
        WAGMDL00037521..
  521
     See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387727, WAGMDL00387760,
  WAGMDL00387762, WAGMDL00387833, WAGMDL00387866, WAGMDL00387868, WAGMDL00387876,
  and WAGMDL00387941 (detailing suspicious Florida dispensing to Ohio customers), and at WAGMDL00387753
  (describing evidence that “many individuals from Ohio … have travelled by carloads to … Florida to obtain
  prescriptions for oxycodone….”).




                                                     121
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  across retail pharmacies to determine the maximum amount that a pharmacy should be allowed to
  receive….” 522
            Walgreens Ordering System for Prescription Opioids
          Because Walgreens self-distributed, 523 only distributing controlled substances to its own
  pharmacies, Walgreens’s distribution and pharmacy ordering operations were highly integrated.
  Walgreens provided stores with suggested orders for controlled substances, with amounts based
  on the stores’ previous orders for that drug. As part of its new SOM program, which was not fully
  implemented until late 2012/early 2013, Walgreens began to more strictly control the
  recommended orders and implemented ceilings which more strictly limited stores’ ability to
  exceed the recommended order amounts. As summarized by one of Walgreens’s Pharmaceutical
  Integrity Managers in August 2013:
            The Controlled Substances Order Monitoring system now in place sets limits for
            each item based on the chain average for that item for stores of similar size. If a
            particular store fills more of this item than normal and needs additional product we
            would need to document the reason and increase via a CSO Override …. The
            purpose for this is to ensure we have performed adequate review before sending in
            additional inventory.
            The previous system would continue to send additional product to the store without
            limit or review which made possible the runaway growth of dispensing of products
            like Oxycodone, that played a roll [sic] in the DEAs investigation of Walgreens. 524
          As discussed below, the record confirms that Walgreens’s SOM program permitted excess
  distribution of prescription opioids to Walgreens’s pharmacies through at least 2013 without any
  comprehensive limit or review.
            Walgreens’s Outside Distributors Flagged Walgreens Stores for SOM Violations and
            Relied on Walgreens for Due Diligence
          In addition to self-distributing, Walgreens knew its pharmacies also received shipments of
  opioids from outside distributors, including Cardinal, Anda, and AmerisourceBergen. Walgreens
  not only had access to data regarding the amount of opioids the Walgreens pharmacies were
  receiving from the outside distributors, but Walgreens knew that the outside distributors relied on
  Walgreens for some portion of the outside distributors’ due diligence. 525 Additionally, Walgreens
  knew that its outside distributors were flagging its own pharmacies for making suspicious orders



  522
        WAGMDL00757776.
  523
      During the time during which Walgreens was self-distributing, Walgreens stores also received shipments of
  controlled substance from outside vendors at various times, including from Cardinal Health, AmerisourceBergen,
  and Anda.
  524
        WAGMDL00021425.
  525
        See, e.g. WAGMDL00302958; WAGMDL00246284; WAGMDL00242055; WAGMDL00032660.




                                                        122
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  for prescription opioids, 526 and yet continued to self-distribute to those pharmacies without
  reporting any of those pharmacies’ orders as suspicious.
                       a. RX Questionable Order Quantity (2006 – Present):
          In 2006 Walgreens instituted the Questionable Order Quantity policy, which purported to
  establish procedures for verifying questionable store order quantities for prescription items. 527
  This policy instructed DC personnel to review orders and contact the pharmacy with questions
  regarding quantities. Once all orders were reviewed for accuracy, they were to be processed by
  the DC. From 2006 to 2010 this policy made no mention of reporting suspicious orders. In 2010
  the policy was updated to include language that suspicious store orders and inquiries would be
  handled through the Corporate Office Internal Audit Department and noted that suspicious orders
  would be reported to the DEA within 3 days, however the policy gave no specifics as to how or
  by whom such orders would be reported. 528 There is further no evidence in the record that the
  Internal Audit department had any involvement in reporting suspicious orders. For example, the
  Chief Audit Executive at Walgreens could not recall any audit department responsibility
  concerning specific suspicious orders. 529 This policy was updated again in October 2013 to state
  that Walgreens Strategic Inventory Management System will stop what would be considered
  suspicious controlled drug orders from being released for picking. 530
          Walgreens was unable to locate any policies or procedures that Walgreens’s DC personnel
  used to identify suspicious or abnormal orders. 531 Walgreens admits, however, that DCs do not
  have the ability to detect trends in local markets. 532 Similarly, Walgreens could not locate any
  training materials related to this procedure 533 and Walgreens DC personnel did not recall receiving
  any training related to orders deviating from a normal pattern. 534 Further, according to Walgreens’s
  DC personnel there were no guidelines for determining what constituted an abnormal or suspicious
  quantity, but generally anything in the triple digits would be flagged. 535 This meant that a store
  had to order 100 or more 100 count bottles oxycodone or hydrocodone (10,000 dosages units)




  526
        See, e.g. WAGMDL00302958; WAGMDL00246284; WAGMDL00242055.
  527
        WAGMDL00757788.
  528
        WAGMDL00751821 at WAGMDL00751822..
  529
        See e.g. Deposition of C. Domzalski, at 165.
  530
        WAGMDL00749381.
  531
        See E. Bratton Deposition at 138:4-16; 142:18 to 143:2; 50:4 to 51:14.
  532
        WAGMDL00659801, at WAGMDL00659817.
  533
        Id. at 100:21 to 101:4.
  534
        See D. Bish Deposition at 72:22 to 73:23.
  535
        See D. Bish Deposition at 80:16 to 81:7.




                                                            123
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  before an order would be flagged. 536 Walgreens was also unable to produce any files documenting
  any due diligence related to this procedure. 537
           The creator of the order quantity query at Walgreens testified the query was not created for
  the purpose of identifying suspicious controlled substances orders, but was that it utilized a single
  number to identify unusually large orders of any product, regardless of whether the order was for
  toilet paper, or paper towels, or Claritin, or OxyContin. Additionally, the excessive order query
  was never amended or modified for specific use for identifying excessive controlled substances
  orders. 538 Ultimately, the DC personnel responsible for implementing this policy conceded that it
  was not intended to detect suspicious orders, but rather was a program designed to detect orders
  entered in error. 539
           A second aspect of this policy required “pickers”, the DC personnel who actually retrieved
  pill bottles off the shelves and placed them into totes for shipping, to look for “questionable” orders
  while picking. 540 This facet of the RX Questionable Order Quantity policy was also not intended
  to detect suspicious orders as mandated by the security requirement, but as with the policy in
  general, merely allowed for the identification of orders potentially entered in error. 541
                  b. Rigid Formula Reports (“Suspicious Control Drug Order” Reports) (1998–
                     2012):
         Walgreens submitted a monthly report to the DEA field offices containing all orders that
  were outside the parameters of the formula applicable during that time frame.
          While Walgreens internally acknowledged, as early as 1998, the requirement to identify
  controlled substance orders of “unusual size[,]… unusual frequency[,]…[or] [d]eviating from a
  normal pattern for a store in its category”, 542 Walgreens did very little to appropriately ensure that
  such orders were being identified, prevented, or properly reported. The “policy” containing this
  requirement states merely that Walgreens is generating and providing “Suspicious Control Drug
  Orders” reports listing orders that “may” be suspicious “to distribution centers”. In 2012,
  Walgreens updated this “policy” to assert that “[e]ffective calendar year 2012”, Walgreens SOMS
  system “prevents suspicious control drugs from being shipped to the stores,” and thus Suspicious



  536
        See D. Bish Deposition at 80:11-15.
  537
     Id. at 101:5-13. Walgreens also claims that there were line limits in place that set a maximum upper limit on the
  quantity per item that could be ordered by a store, however Walgreens was unable to produce any policies,
  procedures, reports or other written documentation evidencing the line limits or how they were applied to opioid
  products. See E. Bratton Deposition at 191:24 to 194:16.
  538
        See D. Peterson Deposition at 26:9 - 28:21; 260:15 -262:7.
  539
        See J. Diebert Deposition 129:8-130:1 and D. Bish Deposition at 72:3-21;502:11-503:10.
  540
        WAGMDL00749381.
  541
        See D. Bish Deposition 110:16-114:5.
  542
        WAGFLDEA00001854.




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  Control Drug Orders reports would no longer be generated, but again provided no detail on how
  such a system worked or why such measures were only newly being employed. 543
         1. Customer Grouping Formula (1998-2007)
               Walgreens’s “insufficient” formula for reporting suspicious orders to the DEA from
               at least 1998-2007 is outlined in a 2006 Letter of Admonition from the DEA to
               Walgreens, and was as follows:The system set its standard of deviation from a
               normal ordering pattern in groupings of 25 customers, based on the number of non-
               controlled and controlled substance prescriptions filled by each customer. The
               system in place determined the amount of daily prescriptions filled by each of its
               customers of both non-controlled and controlled substance prescriptions. This
               amount was utilized to place each customer in groupings each containing 25
               customers. Of these 25 customer groupings, the firm calculated the average order
               per item of each controlled substance. The firm then took the average and
               multiplied that figure by three. This calculated figure was then used as the base to
               report suspicious orders above such figure. 544

         2. Formula Based on Chemical Handlers Manual Appendix E-3 (2007 – 2012)
          In May 2006 the DEA informed Walgreens that the “formulation utilized by the firm for
  reporting suspicious ordering of controlled substances was insufficient,” 545 and “inadequate” and
  that Walgreens’s suspicious ordering report “formula should be based on (Size, pattern,
  frequency).” 546 Rather than design and operate a system to identify suspicious orders, Walgreens
  modified its reporting of suspicious orders to the DEA to use a version of the formula described in
  Appendix E-3 to the Chemical Handlers Manual (“Appendix E-3”). 547 Notably, the Appendix E-
  3 adopted by Walgreens was virtually identical to the Customer Grouping Formula that the DEA
  had just told Walgreens was “insufficient” and “inadequate” in that it also utilized a store average
  multiplied by a factor of 3 to calculate a purchase limit. 548 Despite knowing they were utilizing a
  formula that they had just been told by the DEA was “insufficient” and “inadequate”, Walgreens
  began reporting to the DEA using this Appendix E-3 formula in March 2007. 549 Walgreens did
  not perform any due diligence on the suspicious orders identified by these reports prior to shipping


  543
        WAGFLDEA00000028.
  544
     WAGMDL00709510. See also WAGMDL00757762 at 772-773 (multiplier of 3 was Walgreens’s
  “determination of a suspicious order.”).
  545
        Id.
  546
        WAGMDL00709508.
  547
    See Walgreens’s Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Request
  No. 3.
  548
        WAGMDL00400357.
  549
         Id.




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  the orders. 550 Walgreens claims that a retrospective analysis of the reports calculated using
  Appendix E-3 was performed, but the individuals that Walgreens claimed performed this analysis
  stated they had never seen the reports and did not perform due diligence on them. 551 This system
  simply reported orders that were greater than three times the store’s average order for the last 13
  months, and only when there were orders in excess of this formula for two or more consecutive
  months. 552
          Walgreens claims that in 2006 “the Detroit DEA Field Office admonished Walgreens for
  not basing its reporting of potentially suspicious orders on the “voluntary formula” found in
  Appendix E-3. 553 However, the documents Walgreens cites for this proposition do not evidence
  any such admonition and Walgreens has not produced any evidence that it was instructed to base
  its reporting of suspicious orders on the formula found in Appendix E-3 to report suspicious orders
  or that it was “admonished” for not doing so. 554 Nor does the record reveal any document which
  supports this contention. To the contrary, Walgreens produced evidence that in 2007 the DEA
  informed Walgreens that it did not want reports identifying all potentially suspicious transactions,
  but rather, only those transactions that Walgreens could not classify as not suspicious after
  review. 555 A memorandum written by Walgreens employee Justin Joseph outlining the actions
  taken during the DEA’s of Walgreens’s Perrysburg DC in 2006 claims that the DEA said that
  Walgreen’s suspicious ordering report “formula” should “be based on (Size, pattern,
  frequency). 556 In fact, documents show that Walgreens was repeatedly told to stop sending the
  Appendix E-3 type of report. 557
          Further, Walgreens had guidance from the DEA that this type of “excessive report” without
  any due diligence performed on order did not satisfy the requirements of 21 C.F.R. § 1301.74(b).
  Documents produced in this litigation evidence that three of Walgreens’s senior employees
  (Dwayne Pinon, Senior Attorney; James Van Overbake, Auditor; and Irene Lerin, Audit Manager)
  attended the DEA Office of Diversion Control’s 13th Pharmaceutical Industry Conference in
  Houston, Texas on September 11-12, 2007. 558 Michael Mapes, Chief, DEA, Regulatory Section,
  gave a presentation at this Conference relating to suspicious orders, which included the reminder
  that the CSA “requirement is to report suspicious orders, not suspicious sales after the fact.” 559

  550
        See E. Bratton Deposition at 158:22 to 159:24. See also E. Bratton Errata.
  551
        See E. Bratton Deposition at 160:1-23; B. Martin Deposition at 163:4 to 168:11.
  552
        WAGMDL00400357.
  553
    See Walgreens Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
  Request No. 3.
  554
    See Walgreens Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
  Request No. 3.
  555
        WAGMDL00387635.
  556
        WAGMDL00709508.
  557
        WAGMDL00660331; WAGMDL00387641.
  558
        CAH_MDL_PRIORPROD_DEA07_01185382 at CAH_MDL_PRIORPROD_DEA07_01185404-5.
  559
        CAH_MDL_PRIORPROD_DEA_12_00011059; HDS_MDL_00002032 at 2040.




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  Participant notes from this meeting indicate that Mr. Mapes advised the audience not to “confuse
  suspicious order report with an excessive purchase report. They are two different things.” 560
         3. Bancroft Algorithm (2008 to 2012):

             Phase I (August 2009 – September 2010)

          As early as 2005 and 2006, Walgreens acknowledged that its SOM policies were
  inadequate and did not meet industry and legal standards, however, Walgreens did not institute a
  SOM program at that time. 561 In March 2008, in response to three of Cardinal Health’s DCs being
  shut down by the DEA for suspicious drug ordering violations, Walgreens formed a five
  department “team” to finally “begin creating” a SOM program, 562 and, in June 2008, developed a
  new SOMS algorithm to begin to address the inadequacies of Walgreens’s SOM policies. 563
  Despite years of knowledge that its SOM was insufficient, and despite developing a sophisticated
  algorithm in 2008, Walgreens did not practically implement its SOM program until 2009, when it
  began to pilot the algorithm with respect to orders from seven (7) Walgreens stores. 564 The
  algorithm Walgreens developed in 2008 and began to test in August 2009 flagged the regular
  periodic orders for controlled substances orders that these seven Walgreens stores placed to
  Walgreens Distribution Centers for “tolerance” (size of the order) and “frequency” (how often the
  period orders were placed).

          During the substantial majority of Phase I, the SOMS program was only implemented as a
  “pilot” or “proof of concept”. 565 While the Phase I SOMS flagged some orders from these seven
  stores as suspicious, during Phase I Walgreens did not halt orders that violated the algorithm or
  take any other comprehensive steps to prevent the flagged orders from being shipped or filled.

             The SOMS order flagging pilot was not implemented chainwide until September 2010. 566




  560
        Acquired_Actavis_00441354 at 441355.
  561
     WAGMDL00757193 (“internal controls that ensure compliance with DEA regulations … pertain[ing] to all
  company DCs … should be addressed to void potential DEA sanctions”, noting that these issues had been pending
  and “un-remediated” since audits in 2005 and 2006, and included “suspicious controlled drug order processing and
  reporting” and “lack of formalized CII controlled substance policies and procedures.”); See also
  WAGMDL00709508 (““suspicious ordering report is inadequate”); WAGMDL00709510 (“formulation utilized by
  the firm for reporting suspicious ordering of controlled substances was insufficient”).
  562
        WAGMDL00659801 at 818; WAGMDL00709395.
  563
        WAGMDL00624527.
  564
        WAGMDL00667936, at 938 and 940; see also WAGMDL00658227.
  565
        See E. Bratton Deposition at 207:1 to 210:7; WAGMDL00325170
  566
        See E. Bratton Deposition at 208:10 to 209:24.




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          The algorithm also was only applied on an extremely limited basis, for example, reviewing
  only the controlled substances a store ordered from a Walgreens Distribution Center, but ignoring
  orders that same store was placing for those same controlled substances from an outside vendor. 567

          Rather than report the orders flagged by its SOMS algorithm, during Phase I Walgreens
  continued to use the formula found in the Chemical Handler’s Manual Appendix E-3 to report
  orders as suspicious to the DEA. 568 Walgreens knew the SOMS algorithm and the E-3 formula
  did not flag the same orders. 569 Despite this, Walgreens did not report the orders flagged by the
  Bancroft Algorithm.

             Phase II (September 2010 – June 2012)

          In September 2010, two years after developing its SOMS algorithm, Walgreens first began
  to take steps to prevent certain suspicious orders from being filled. In Phase II of Walgreens’s
  SOMS program, Walgreens flagged orders according to its SOMS algorithm on a nationwide basis,
  and also began to automatically reduce quantities of certain flagged orders before those orders
  were filled and shipped by Walgreens distribution centers. 570

          In April 2012, Walgreens created a policy describing its new SOMS program in which it
  asserted that the SOMS program now would “identify and modify potentially suspicious orders of
  controlled substances … prior to the order being sent to the warehouse for fulfillment.” 571

          In addition to the fact that cutting orders without reporting the same to the DEA as
  suspicious fails to comply with Walgreens obligations under the Controlled Substance Act, Phase
  II as implemented also had significant gaps or loopholes which caused Walgreens to continue to
  provide its stores with suspicious quantities of controlled substances, including the following:

             •    Outside Vendor Orders: The SOMS program still only analyzed orders that
                  Walgreens’s stores placed to Walgreens’s DCs in a vacuum and did not analyze the
                  store orders in the context of orders which the stores were also placing, at the same
                  time, to outside distributors like Cardinal Health, even though Walgreens has
                  possession of and access to that information. 572 Accordingly, if a Walgreens store had
                  already received from an outside vendor orders amounting to what Walgreens had
                  determined to be the store’s full quota for a controlled substance, the Walgreens store

  567
        See E. Bratton Deposition at 225:21 to 226:7; WAGMDL00325170
  568
        See E. Bratton Deposition at 155:17-22.
  569
        WAGMDL00660331.
  570
        WAGMDL00667936, at 940.
  571
        WAGMDL00757762, at 773. See also WAGMDL00757759, at 761.
  572
   See E. Bratton Deposition at 258:8-17; T. Polster Deposition at 144:18 to 145:15; WAGMDL00245768 at
  WAGMDL00245769.




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                  would still be permitted to order that same full quota from the Walgreens Distribution
                  Center. Rendering the “cutting” of orders meaningless, Walgreens knew that where it
                  reduced a Walgreens DC order, that its store often would place the remainder of the
                  order with an outside vendor. 573 And yet, Walgreens ignored the outside vendor
                  orders and did not report to the DEA when stores would overtly circumvent the
                  “cutting” of orders.

             •    Interstoring – In addition to obtaining controlled substances from Walgreens
                  Distribution Centers and Outside Distributors, Walgreens stores also obtained
                  controlled substances from other Walgreens stores through the process of
                  “interstoring.” 574 Walgreens did not consider these interstore transfers as part of its
                  SOM analysis. 575 Controlled substance interstoring continued at Walgreens until
                  April 2013. 576

             •    Gradual Increase – the SOMS algorithm only considered 13 weeks of sales data and
                  would recalibrate the thresholds if there was an increase in sales. Therefore, a
                  gradual increase in sales did not result in orders getting cut. 577

             •    PDQ Orders – In addition to their regular periodic order for controlled substances
                  from the Walgreens Distribution Centers, Walgreens stores were permitted to place
                  ad hoc “PDQ” (“pretty darn quick”) orders for controlled substances outside of their
                  normal order days. The limits and automatic reductions Walgreens placed on stores’
                  orders to Distribution Centers did not apply to PDQ orders, such that “a store could
                  hit their … limit” on a weekly controlled substance order, and then place daily PDQ
                  orders for that drug, “and far exceed” the monthly cumulative order limits put in
                  place by Walgreens SOM program. 578 Walgreens did not remove oxycodone from
                  PDQ ability until October 2012. 579 Other Schedule II controlled substances were not
                  removed from PDQ until Phase V. 580 It is not clear if Walgreens ever removed
                  schedule III controlled substance, such as hydrocodone from PDQ ability.

  573
    See, e.g., WAGMDL00325129 at 130 (future “enhancements” to SOM system will “identify stores that had order
  quantity decreased and then placed order to vendor”).
  574
        WAGMDL00303305 at 306.
  575
     See E. Bratton Deposition at 258:18 to 260:5; See alsoWAGMDL00303305 at 306 (in early 2013, Walgreens
  indicated that it was considering including multiple interstore requests within three weeks as a suspicious criterion,
  but there is no evidence Walgreens otherwise include interstore transfers in its SOMS analysis).
  576
        WAGMDL00700161.
  577
        WAGMDL00659801 at WAGMDL00659818.
  578
        WAGMDL00705318.
  579
        WAGMDL00705318.
  580
        See E. Bratton Deposition at 271:20-23.




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             •    340B – Walgreens admits that orders pursuant to the 340B program were not
                  included in the initial phases of the SOMS program. 581

             •    No comparison to Other Stores – Only Comparison to That Store’s History –
                  Walgreens admits that, during Phase II, “each pharmacy is looked at individually.” 582

             •    Store and/or Product Removal – During Phases I and II Walgreens had the ability to
                  remove both entire stores and products from the SOMS review. 583

             •    Call DC for Manual Workaround: even when Walgreens began cutting orders over a
                  certain limit, stores could simply “call the DC” to obtain a “manual work around” the
                  purported limit. As Walgreens admitted, the DCs did not have the ability to evaluate
                  information necessary to determine the propriety of any such overrides. 584

          Rather than report the orders flagged by its SOMS algorithm, during Phase II Walgreens
  continued to use the formula found in the Chemical Handler’s Manual Appendix E-3 to report
  orders to the DEA. 585

          Orders flagged by the SOMS algorithm and reduced in Phase II were not reported to the
  DEA as suspicious, even though Walgreens’s own documents describe these orders as “suspicious
  orders.” 586

             Phase III and Phase IV (June 2012-November 2012)

          In April 2012, the DEA served a Subpoena to one of Walgreens’s three Schedule II
  distribution centers, the Jupiter Distribution Center, requesting, among other things, all controlled
  substance SOPs, communications about controlled substances, and customer due diligence files
  for 14 Walgreens stores, and also served a Warrant of Inspection on the Jupiter Distribution Center,
  authorizing seizure, among other things, all records related to distribution of controlled
  substances. 587 On September 13, 2012, the DEA issued an Order to Show Cause and Immediate
  Suspension of Registration to Walgreens on the basis that the Jupiter Distribution Center



  581
        See N. Polster Deposition at 256:9 to 257:4.
  582
        WAGMDL00757762 at 773.
  583
        See E. Bratton Deposition at 260:6 to 261:4.
  584
        WAGMDL00659801 at 817-818.
  585
        See E. Bratton Deposition at 155:17-22.
  586
        See Bratton Depo at p 227:1-5; WAGMDL00624503; WAGMDL00119542.
  587
        WAGMDL00777158; CAH_MDL2804_01431074.




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  constituted “an imminent danger to the public health and safety” and ordered that Jupiter controlled
  substance vault be sealed. 588

          During the latter half of 2012, after the DEA instituted its regulatory investigation and
  action regarding Walgreens’s controlled substance distribution practices, Walgreens engaged in
  meetings with the DEA about Walgreens’s “Controlled Substance Anti-Diversion and Compliance
  Program” in an effort to “cooperate and avoid litigation,” and represented to the DEA that it was
  making “new changes” to “enhance” its SOMS program. 589 Internally Walgreens claimed that it
  enhanced its SOMS program “in an effort to convince DEA that the proposed penalty is
  excessive…” 590

         While these changes narrowed some of the more significant gaps in the SOMS program,
  many still remained in Phase III, which ran from June 2012 through August 2012, and in Phase
  IV, which ran from August 2012 to November 2012.

          Phase III of the SOMS program began to incorporate outside vendor orders into the overall
  SOMS analysis, but only when analyzing order frequency – not in analyzing the tolerance (i.e.
  overall limits). 591

         The other gaps which existed in Phase II also generally continued in Phases III and IV. For
  example, where a Walgreens store’s order was reduced before being fulfilled by the Walgreens
  DC, Walgreens still allowed the store to order the rest of the amount from an outside vendor (i.e.
  Cardinal), but now tracked that information on a report. 592

         Orders flagged by the algorithm and reduced in Phase III and IV were not reported to the
  DEA as suspicious, even though Walgreens’ own documents continue to describe these orders as
  “suspicious orders.” 593

             Phase V (November 2012 forward)




  588
     See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
  WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387654 (Letter from Michele
  Leonhart to Walgreen Company, Order to Show Cause and Immediate Suspension of Registration (Sept. 13, 2012)
  [“Jupiter Show Cause Order”].)
  589
        WAGMDL00659801 at 802.
  590
        WAGMDL00659270.
  591
        See E. Bratton Deposition at 254:14-21; WAGMDL00325170, at 174; E. Bratton Deposition at 226:4-12.
  592
        WAGMDL00492378.
  593
        Bratton Depo at p 227:1-5.; WAGMDL00325170 at 172.




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          Phase V changed the frequency algorithm to “ceiling limits” which looked at the overall
  total a Walgreens store was ordering before allowing the Walgreens Distribution Center to fill the
  order, finally incorporating orders from outside distributors into a more comprehensive analysis. 594

         Phase V eliminated the “frequency” analysis and implemented a “ceiling threshold” in
  January 2013, examining all orders placed by a store within a giving time period. Walgreens also
  began cutting a store’s order to zero when the store manually manipulated a suggested order or
  created an order that exceeded the tolerance or ceiling. 595

           Walgreens’s own documents admit that it made the ceiling limits visible to the stores in
  advance via a “ceiling tool” and further admit that the purpose of this “ceiling tool” was to provide
  stores visibility into the likelihood of an order being flagged – and possibly a means to work around
  it – stating “the ceiling tool was designed to provides stores direction to place orders for controls
  without an order being flagged.” 596

        Walgreens’s last CII shipment as a distributor to Cuyahoga and/or Summit County was
  on March 4, 2013. 597

  3.      Reporting Requirement.

          Walgreens failed to timely report any suspicious orders for the CT1 jurisdictions. The
  Rigid Formula Reports, used from approximately 1985 598 through 2012, were an after-the-fact
  reporting which is insufficient. Walgreens has not been able to produce suspicious orders that
  were reported to the DEA after 2012. Using any of the methodologies described in the Expert
  Report of Craig McCann, it is apparent Walgreens failed to report thousands of suspicious orders
  arising out Cuyahoga County and Summit County. 599

  4.      Shipping Requirement.

             Period 1 (1996-2009)

         Even if Walgreens had properly identified suspicious orders, which it did not, its corporate
  policy from 1996 to 2010 was to ship anyway. This is a blatant violation of the No-Shipping
  requirement. As stated earlier, Walgreens did not perform any due diligence on the suspicious
  orders identified by the Chemical Handler’s Manual Appendix E-3 formula prior to shipping,


  594
        Walgreens Second Supplemental Combined Discovery Responses, at p. 16.
  595
        WAGMDL00246016.
  596
        WAGMDL00095316 at 322.
  597
        See ARCOS Transactional Data (this excludes Codeine Drug Code 9050).
  598
        WAGMDL00660331.
  599
        See Section III, “Identifying Suspicious Orders Distributed in CT1.”




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  despite the fact that even the Chemical Handler’s Manual (on which Walgreens claims it was
  relying) requires due diligence prior to shipment. 600

           Though Walgreens initially claimed that a retrospective review of a sample of these orders
  was reviewed for appropriateness 601, the Walgreens employee identified as performing this review
  stated that she had never reviewed these reports and did not perform due diligence on these
  orders. 602 Walgreens subsequently admitted no due diligence had been conducted on any of the
  orders identified as “suspicious” on the Suspicious Control Drug Report prior to shipment of these
  orders. 603 In August 2010 Dan Coughlin, Walgreens Divisional Vice President Supply Chain, sent
  an email to many of those involved in the development of the Bancroft algorithm asking who had
  been reviewing the reports generated by the Appendix E-3 formula for the past 25 years and
  whether any was presently reviewing “what would be considered suspicious quantities that are
  physically ordered and are releasing to stores?” 604 Despite the fact that this email was sent to ten
  people, most of whom were identified by Walgreens as having been involved in developing
  Walgreens’s order monitoring system or in monitoring or evaluating orders, Walgreens did not
  produce any evidence indicating that anyone had ever reviewed these suspicious orders prior to
  shipment. 605

           Walgreens claims that from 2006 through the time that Walgreens stopped distributing
  controlled substances, Walgreens’s DC personnel called stores with orders greater than a set
  threshold quantity and inquired whether the quantity was actually needed, before shipping the
  order. 606 As noted previously, this process (Rx Questionable Order Quantity) was not a due
  diligence practice instituted to investigate suspicious orders, but in fact was an inventory
  management practice intended to identify ordering errors. 607 Walgreens was unable to produce any
  policies reflecting what the procedures were for determining a “suspicious order” at the DC level
  or what the set thresholds were for any controlled substances, 608and the Perrysburg DC personnel
  in charge of Schedule II and III controlled substances were never trained on suspicious orders or
  identifying the same. 609 In May 2012, the Perrysburg DC personnel questioned whether the
  quantities they typically “let go” were correct and asked for “real, updated guidance on drugs that


  600
        See E. Bratton Deposition at 158:22 to 159:24; See E. Bratton Errata. See also WAGMDL00395965 at 988.
  601
        Id. E. Bratton Deposition at 160:1-23.
  602
        See B. Martin Deposition at 163:4 to 168:11; See E. Bratton Errata.
  603
        See E. Bratton Errata.
  604
        WAGMDL00660331
  605
        Walgreens Second Amended Obj. and Resp. to First Set of Interrogatories, Interrogatory 5.
  606
        Walgreens Second Supplemental Responses to Combined Discovery, Request No. 7.
  607
        See J. Diebert Deposition 129:8-130:1 and D. Bish Deposition at 72:3-21 and 502:11-503:10.
  608
        See E. Bratton Deposition at 138:4-16; 142:18 to 143:2; 50:4 to 51:14.
  609
        See J. Diebert Deposition at 61:2-23 and D. Bish Deposition at 64:19-23, 66:7-22, and 401:14-17.




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  are going to be an issue if the DEA audits…” 610 DC personnel further indicated that because large
  orders of opioids such as oxycodone, methadone, and fentanyl were so common that it was
  impractical to call and check large orders, and, that when the DC did call and check orders, they
  typically learned that the orders were “intentional” and thus appropriate to approve under
  Walgreens’s operative DC level SOMS program. 611 This lack of written procedures and guidelines
  used to determine what could constitute “suspicious orders”, as well as the lack of any enforcement
  of the policy on calling pharmacies led to a total failure of any meaningful due diligence at the DC
  level throughout the time period that Walgreens was distributing controlled substances.
             Period 2 (2009-2012)

          Walgreens admits that, since at least 2009, the DEA had instructed Walgreens to “stop
  what was considered suspicious drug shipments to any of our stores.” 612 During the 2009 to 2012
  period, Walgreens claims personnel in Rx Inventory and Loss Prevention conducted additional
  due diligence on potentially suspicious orders, by reviewing reports of orders hitting on the SOMS
  threshold limits for tolerance and frequency. 613 This additional “due diligence” consisted of a
  review of samples of reports of flagged orders generated by the SOMS algorithm after the orders
  had already shipped, in order to validate the algorithm’s logic – not to determine whether the
  order was in fact suspicious. 614 Additionally, this additional “due diligence” was performed by
  two Walgreens individuals, one of whom dedicated a mere one to ten hours a week to review of
  the suspicious orders flagged by the SOMS algorithm. 615 As of August 2010, the Walgreens
  algorithm was generating 389+ pages of suspicious order data per week. 616

             Period 3 (2012-2014)

          Pharmaceutical Integrity (“RX Integrity”) was formed in 2012 as a result of the DEA
  investigation into Walgreens CSA violations and viewed its role as protecting the DCs and stores
  from losing their DEA licenses. 617 After referring to orders flagged by Bancroft algorithm as
  “suspicious orders” since the inception of the algorithm, in late 2012 Walgreens put together a
  team to “begin the determination between a suspicious order and an order of interest” 618 From this
  point forward, RX Integrity took the position that the orders flagged by Walgreens’s algorithm
  were not “suspicious” under the controlled substances regulations (despite being described as such

  610
        WAGMDL00751871.
  611
        WAGMDL00751871.
  612
        WAGMDL00660331.
  613
        Walgreens Second Supplemental Responses to Combined Discovery, Request No. 7.
  614
        See B. Martin Deposition at 169:5 to 170:4; 253:4-15.
  615
        See B. Martin Deposition at 70:10-12; 328:5 to 329:7;
  616
        WAGMDL00660331.
  617
        See WAGMDL00101723; WAGMDL00060486.
  618
        See WAGMDL00574824 at 825.




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  in Walgreens own documents), but rather were “orders of interest.” 619 Furthermore, as of January
  2013 the RX Integrity team only had the ability to investigate orders placed via a Controlled
  Substance Override (“CSO”) Form. 620 The orders flagged via the Walgreens algorithm were a
  week old and in most cases had already shipped by the time that RX Integrity had the visibility to
  investigate them. 621

           RX Integrity lacked the necessary resources to perform adequate due diligence on the
  overwhelming number of orders identified by Walgreens’s algorithm for Walgreens 5,000 plus
  stores. 622 In December 2012 when Walgreens’s “updated” SOM program was set to “tracking”
  for all controlled substances chainwide, it resulted in 14,000 flagged orders that required due
  diligence reviews. 623 At the time these 14,000 orders were flagged, Walgreens’s RX Integrity
  department consisted of fewer than 5 people, and at its height it only had had eleven members. 624
  Walgreens had the ability to control this workload by simply increasing stores’ ceiling values,
  thereby reducing the number of orders that would breach that ceiling. 625

          One of the mechanisms that Walgreens put in place to deal with the number of flagged
  orders was the CSO system, an “alternative ordering procedure” to be used in response to demand
  increase. 626 Orders that exceeded the Walgreens algorithm were cut to predetermined limits unless
  an override was approved. When Walgreens stores were close to hitting their ceiling limits they
  were directed to complete a CSO Form. 627 The RX Integrity team of eleven was then tasked with
  reviewing the CSO Forms and making decisions with regard to override approvals. At times, the
  RX Integrity team received between 1,000 and 3,000 CSO forms per month. 628 When CSO
  overrides were submitted they were routinely approved. For example, Walgreens documents show
  that over 95% of CSO overrides were approved by RX Integrity in both 2014 and 2015. 629




  619
        See N. Polster Deposition at 174:3 to 176:18.
  620
        See WAGMDL00414048.
  621
        See WAGMDL00414048; WAGMDL00415348.
  622
        See N. Polster Deposition at 133:10-13.
  623
        See WAGMDL00659270.
  624
        See N. Polster Deposition at 240:3-15.
  625
        See WAGMDL00370894 at WAGMDL00414048.
  626
        See WAGMDL00037074.
  627
        See WAGMDL00700240; WAGMDL00095316 at 334.
  628
        See N. Polster Deposition at 343:15-23.
  629
        See Walgreens Presentation State of Rx Integrity (May 10, 2016) WAGMDL00010887 at WAGMDL00010909.




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              F.       Henry Schein, Inc. (“Henry Schein”)
  Distribution Center: Indianapolis, Indiana (5315 West 74th Street, Indianapolis, IN 46268)
  DEA Registrant Number: RH0162494
  Transactional Data Disclosed:
              Date range:     01/01/2009 through 07/27/2018 630
              Volume:         Henry Schein provided transactional data for Summit County only.

                                                Opioid Total Dosage          Opioid Total MME
                            Cuyahoga
                                                 Units (2006-2014)              (2006-2014)

                                                      211,660 631               2,093,698 632



                                                Opioid Total Dosage          Opioid Total MME
                            Summit
                                                 Units (2006-2014)              (2006-2014)

                                                       81,170 633               1,256,372 634



              1.       Court ordered SOMS Discovery Disclosure

                   •   Henry Schein, Inc. and Henry Schein Medical Systems, Inc.’s Amended Objections
                       and Responses to Plaintiffs’ First Combined Discovery Requests (11/30/2018).

         In response to Interrogatory No. 2, Henry Schein disclosed a list of documents and
  represented that these were their SOMS policies and procedures. 635

              2.       SOMS Corporate Policy Disclosed
                       a.     1992-1998: Early Suspicious Order Monitoring System



  630
        HSI-MDL-00001612.
  631
        See Expert Report of Craig J. McCann, Ph.D., CFA, App. 9, p. 3783.
  632
        Id. at 3779.
  633
        Id. at 3859.
  634
        Id. at 3849.
  635
        HSI-MDL-00000001 to HSI-MDL-00000441.




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          Henry Schein has had some form of a written system in place to review customer orders of
  controlled substances since at least March 31, 1992. 636 At that time, Henry Schein defined a
  suspicious order as “any order that was in excess of the thirty day or six-month thresholds as
  defined within the computer system.” 637 Even when the system flagged an order as suspicious,
  various Henry Schein employees had authority to override and release a suspicious order.
  Although the 1992 procedures imply that the decision to ship a suspicious order should be
  documented – noting, “the background information developed in the decision process must be
  entered on the approval screen” – the procedures fail to define the background information
  required. 638
          Henry Schein’s “Verification Procedures for Controlled Drug Orders,” dated February 5,
  1998, outlined the steps for maintaining a customer’s DEA and prescription drug licensing
  information. 639 These steps included verifying that a customer’s DEA and/or State Board of
  Pharmacy license was on file, that the licenses were valid and current, and that the quantity of
  controlled substances was not “in excess of the threshold levels as set forth in the suspicious order
  monitoring system.” 640 Even though the procedures acknowledge that suspicious orders can also
  include orders that “deviate from a normal pattern” or “orders of unusual frequency,” an exceeded
  order threshold is the only metric used to automatically identify a suspicious order. 641
         Orders that are “identified as suspicious . . . will pend for review.” 642 However, Henry
  Schein only reported the orders its system initially identified as suspicious if a Henry Schein
  employee determined it was necessary to do so after conducting a review. 643 The procedures do
  not describe what such a review would require, stating merely that the head of the medical, dental
  or vet department would review the customer’s account and determine if the orders were
  “compatible with the practitioner’s type of practice and the customer’s purchasing pattern”. Henry
  Schein would then call the doctor to confirm that he/she had placed the order before releasing it. 644
                    b.      2001-2006: Development of the Suspicious Order Monitoring system
         Henry Schein made non-substantive revisions to their SOM system procedures between
  2001 and 2005. 645 In September 2005, BuzzeoPDMA reviewed Henry Schein’s Suspicious Order

  636
        See HSI-MDL-00404222.
  637
        Id.
  638
        Id. at HSI-MDL-00404223.
  639
        See HSI-MDL-00404226.
  640
        Id. at HSI-MDL-00404227.
  641
        Id.
  642
        Id. at HSI-MDL-00404228.
  643
        Id. at HSI-MDL-00404227.
  644
        Id.
  645
    See HSI-MDL-00000082; HSI-MDL-00000073; HSI-MDL-00000139; HSI-MDL-00000056; and HSI-MDL-
  00000134.




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  Monitoring system. 646 However, despite BuzzeoPDMA’s recommendations, described in detail
  below, Henry Schein’s suspicious order monitoring policies remained essentially the same until
  2007, when the company started a “Suspicious Monitoring Program enhancement project.”
        In the September 2005 report summarizing its review of Henry Schein’s suspicious order
  monitoring system and procedures, BuzzeoPDMA noted multiple deficiencies, including:
         •   Threshold Issues: Henry Schein designed its suspicious order monitoring system to detect
             suspicious orders based solely upon order thresholds, and the system failed to highlight
             orders for frequency or deviations from patterns. Henry Schein also had no formal process
             in place to review threshold data on a periodic basis, nor a staff pharmacist available to
             review the system thresholds as stated in the standard operating procedure. Additionally,
             thresholds were set based on an average number of orders for each product and did not take
             customer categories such as size or practice into account.

         •   Due Diligence Issues: Henry Schein had no formal process in place to assess the
             appropriateness of the customer’s practice in relation to the drug product ordered.

         •   Reporting Requirement: While Henry Schein investigated all suspicious orders, Henry
             Schein released all orders that it cleared from suspicious status. However, Henry Schein
             did not send this suspicious order activity to DEA until the end of each month, rather than
             “when discovered” as required by 21 CFR 1304.74(b).
         In July of 2006, Henry Schein issued a revised procedures document called “Controlled
  Substance Monitoring & Reporting Procedures”. 647 As noted above, changes to Henry Schein’s
  suspicious order monitoring procedures during this time (and despite the recommendations for
  required changes provided by BuzzeoPDMA) were minimal, with the process for verification of
  customer orders and the review of suspicious orders remaining essentially the same.
                    d.      2007: Review by Cegedim Dendrite
         Following a review of Henry Schein’s SOM system in March and July of 2007, a Cegedim
  Dendrite consultant, Robert C. Williamson, sent Henry Schein a letter and report summarizing his
  findings on September 3, 2007. 648 Mr. Williamson specifically found that the SOM system had
  not changed in a substantial way from the time of BuzzeoPDMA’s prior review of Henry Schein’s
  system in 2005. 649 Mr. Williamson also noted multiple deficiencies with Henry Schein’s system,
  including:
         •   Inadequate Due Diligence for New Customers: Henry Schein’s new account procedures
             were inadequate. The Verifications Department merely confirmed that a customer had a
             valid DEA Registration Certificate, but they failed to capture additional information
  646
        See HSI-MDL-00404203.
  647
        See HSI-MDL-00000134.
  648
        See HSI-MDL-00619797-801.
  649
        Id. at HSI-MDL-00619798.




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              regarding the customer in order to determine whether the customer is a legitimate business.
              Henry Schein did not use a Controlled Substances Ordering Questionnaire prior to
              authorizing new accounts to purchase controlled substances. 650

         •    Threshold Issues: Henry Schein’s computer program did not identify deviations from usual
              ordering patterns. 651

         •    Inadequate Due Diligence in Reviews of Pended Orders: Henry Schein failed to fully
              investigate orders that pended, the investigation did not include possible on-site interviews,
              and the results of the due diligence investigation were not documented. 652 Further, Henry
              Schein lacked standard operating procedures to memorialize the important internal
              controls, including individual responsibility and other management controls for releasing
              pending orders. 653

         •    Reporting Requirement Issues: Henry Schein still did not immediately report suspicious
              orders to the local DEA office. Instead, Henry Schein sent a monthly report of “Suspended
              Orders Released” and “Pended Invoices Not Shipped”. 654
                     e.      October 2009 to present: The “SOM” Update Project
          According to a November 2, 2009 presentation by Henry Schein’s Director of Regulatory
  Affairs, Mike DiBello, the project to update Henry Schein’s suspicious order monitoring system,
  took place over a two-year period from September 2007 to October 2009. 655 Cegedim Dendrite
  consultant, Robert C. Williamson, had again met with Henry Schein officials on January 17-18,
  2008, and made specific recommendations related to improving both the suspicious orders
  thresholds and the company’s due diligence in reviewing flagged orders. 656 His recommendations
  included the setting up of restrictions to prevent accounts from ordering products not normally
  used in their practice, creating a process to monitor orders not only based on thresholds but also
  based on model calculations, and updating and memorializing procedures for Verification and
  Regulatory Affairs review processes. 657
         According to internal documents, Henry Schein did not implement this new suspicious
  order monitoring system until September 22, 2009. 658 In implementing this improved system,

  650
        Id. at HSI-MDL-00619799.
  651
        Id. at HSI-MDL-00619800.
  652
        Id.
  653
        Id. at HSI-MDL-00619800-801.
  654
        Id. at HSI-MDL-00619801.
  655
        See HSI-MDL-00040712.
  656
        See HSI-MDL-00386875-879.
  657
        Id.
  658
        HSI-MDL-00000119-125.




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  Henry Schein adopted some of the basic recommendations that BuzzeoPDMA and Cegedim
  Dendrite had made between 2005 and 2009 regarding thresholds and due diligence. However,
  Henry Schein continued to submit monthly reports of pended and suspicious orders to DEA.
                           i.        November 2009 – New Account Setup Due Diligence
                                     Procedures
         As a part of Henry Schein’s new suspicious order monitoring system initiated in September
  2009, Henry Schein created a new written policy so that all new accounts that ordered controlled
  substances would be the subject of a due diligence inquiry. During the due diligence inquiry, the
  new account holder would go through a preliminary phone interview and a self-assessment
  questionnaire. 659
                          ii.        2012 – Verifications/ Due Diligence Procedures
          Henry Schein’s Controlled Substance Monitoring Procedure policy issued on December 3,
  2012, added “Know Your Customer” due diligence procedures. 660 These additional due diligence
  investigation steps included additional questionnaires, a phone interview, and possible site visits.
  A flow chart of this written process is included on the last page. 661
                         iii.        2016 and 2018 – Changes to SOM and Due Diligence SOPs
          By 2016, Henry Schein’s Regulatory Affairs department had completed the review,
  planning and agreement with Cegedim Dendrite for a SOM system threshold “Retunement”. 662
  Following these consultations, Henry Schein issued a new standard operating procedure for
  controlled substance monitoring and reporting dated March 29, 2016. 663 This version made
  changes to the following areas:
          ● Added clarity regarding pended orders and suspicious orders
          ● Added detail on the Know Your Customer/Due Diligence processes
          ● Added section covering the reporting of suspicious orders to DEA and State Authorities
          ● Added detail regarding inventories taken
          ● Added section on monthly state reporting
          In 2018, Henry Schein issued additional SOM policy updates, including a policy
  document for Regulatory Affairs Controlled Substance Due Diligence procedures on March 2,
  2018, 664 and an updated Controlled Substance Monitoring & Reporting procedures document

  659
        See HSI-MDL-00406270-273.
  660
        See HSI-MDL-00000194-204.
  661
        Id. at HSI-MDL-00000204.
  662
        See HSI-MDL-00623053.
  663
        See HSI-MDL-00000104-112.
  664
        See HSI-MDL-000000208-218.




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  issued on May 21, 2018. 665 These documents made changes to the following areas: provided an
  updated overview of SOMS, described and outlined procedures for federal and state suspicious
  order reporting, and described and outlined procedures for federal (ARCOS) and state-controlled
  substance transaction reporting.
             3.      Enforcement Actions

                  a. In 1998, Henry Schein received a Cease and Desist letter from the Ohio State
                     Board of Pharmacy for the sale of dangerous drugs to persons/entities not
                     licensed/authorized to possess them. 666

                  b. On April 27, 2012, the Iowa Board of Pharmacy accepted a Citation and Warning
                     submitted by Henry Schein in order to resolve charges that the company
                     distributed controlled substances to an unauthorized person in violation of the
                     Controlled Substance Act. Henry Schein was assessed a civil penalty of
                     $5,000. 667

                  c. In 2012, Henry Schein agreed to pay a $50,000 fine to settle civil allegations by
                     the DEA stemming from distributions to a researcher at the University of
                     Pittsburg who had been criminally charged in connection with the diversion of
                     controlled substances. 668

                  d. In November 2012, Henry Schein’s Director of Regulatory Operations, Sergio
                     Tejeda, informed the Program Director for the Prescription Monitoring Program
                     of the Ohio State Board of Pharmacy that Henry Schein had been under reporting
                     sales of controlled substances to the Ohio Board of Pharmacy as required for the
                     previous two years. 669

                  e. In 2014, Henry Schein Animal Health agreed to pay a $225,000 fine to settle
                     allegations by the DEA that it sold/distributed dangerous drugs to an entity not
                     licensed/authorized to possess them. 670




  665
        See HSI-MDL-000000086-91.
  666
        See HSI-MDL-00528774, at 777.
  667
        See Iowa Board of Pharmacy, Case No. 2010-35OP, April 27, 2012.
  668
        See HSI-MDL-00528774, at 777.
  669
        See HSI-MDL-00397293-294.
  670
        See HSI-MDL-00528774, at 777.




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          4.       Suspicious Orders Reported In CT1 Jurisdictions (Summit County only):
          Note that Henry Schein claimed that they were only able to produce reliable transactional
  data for Summit County from 2009 to the present – they did not report any suspicious orders to
  DEA in that time frame. 671
          2009: 0
          2010: 0
          2011: 0
          2012: 0
          2013: 0
          2014: 0
          2015: 0
          2016: 0
          2017: 0
          2018: 0


          5.    Due Diligence Conducted
          Henry Schein conducted limited due diligence prior to October of 2009, particularly with
  respect to the “Know Your Customer” process and investigations relating to potential suspicious
  orders. After October 2009, Henry Schein conducted varying levels of due diligence related to
  pended orders that will be addressed herein.
          Based on my review of documents and testimony and as noted throughout this report,
  historically the due diligence conducted by Henry Schein has been inadequate. While Henry
  Schein has employed different due diligence programs over the years, a review of those programs
  in practice make clear that for all practical purposes, Henry Schein’s due diligence efforts have
  fallen short of what is required. In fact, as discussed herein, Henry Schein has admitted that it
  lacked complete due diligence files for all of its customers until at least 2017.
          6.    Opinions Related to Henry Schein:
                   1.       Henry Schein failed to maintain effective controls against the diversion
                            of prescription opiates into the illicit market in violation of 21 U.S.C.A.
                            § 823(b)(1) [1970] in the following ways:

  671
     See Henry Schein, Inc. and Henry Schein Medical Systems, Inc’s Amended Objections and Responses to Plaintiff’s
  (First) Combined Discovery Requests, No. 3; Henry Schein, Inc.’s Objections and Amended Responses to Plaintiffs’
  First Set of Interrogatories, No. 3.




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          The bar graphs identified as Figures 57-65 in Schedule II to this report demonstrate a clear
  escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight,
  and MME.
          A. From at least 1992 to September of 2009, Henry Schein’s suspicious order monitoring
  system thresholds did not detect orders based upon deviations of either frequency or pattern.
  During this seventeen-year period, Henry Schein set their suspicious order monitoring system
  thresholds to detect orders based upon deviations in size only. In fact, as early as September of
  2005, Henry Schein’s own consultants, BuzzeoPDMA, had informed the company that it needed
  to modify the suspicious order monitoring program to include the detection of orders that deviated
  in both frequency and pattern, in addition to detecting orders of unusual size. Further, from 1992
  until October of 2009, Henry Schein set their system thresholds to detect suspicious orders based
  upon the aggregate ordering history, rather than the individual customer’s prior ordering history.
  The system’s threshold calculations did not even consider an individual customer’s purchasing
  patterns until Henry Schein implemented their revised Controlled Substance Monitoring &
  Reporting Procedures in October of 2009. 672
          B. Based upon information and belief, Henry Schein did not report any suspicious orders
  in Summit County from at least 2009 to July 2018. 673 Further, before the publication of the
  Masters Pharmaceutical 674 decision, Henry Schein failed to immediately report any suspicious
  orders – those of unusual size, orders deviating substantially from a normal pattern, or orders of
  unusual frequency - to the DEA when discovered. Instead, Henry Schein referred to these
  controlled substance orders that their suspicious order monitoring system flagged as pended orders
  of interest.

          Rather than immediately reporting these pended orders of interest to the DEA as suspicious
  orders upon discovery, Henry Schein chose to investigate them first. Pended orders that Henry
  Schein cleared from suspicion were released to the customer. Orders that Henry Schein did not
  clear from suspicion with their due diligence investigation were deemed as suspicious orders and
  cancelled. At the end of each month (rather than immediately upon discovery), Henry Schein
  submitted two reports to the appropriate field office of the DEA. The first report included those
  pended orders that Henry Schein had cleared from suspicious status. The second report reflected
  those orders that Henry Schein had deemed suspicious and cancelled after investigation.

         As early as September of 2005, Henry Schein’s own consultants, BuzzeoPDMA, had
  informed the company that it needed to start sending suspicious order reports to the DEA

  672
     See Rule 30(b)(6) Deposition of Shaun Abreu (“Abreu Dep.”) at 237:21-239:1; 259:17-261:19; 454:12-456:24;
  Deposition of Mike DiBello (“DiBello Dep.”) at 181:12-182:17; also see HSI-MDL-00404222-223; HSI-MDL-
  00404203-209; HSI-MDL-00619797-800; HSI-MDL-00404219; HSI-MDL-00000119-125; HSI-MDL-00404202-
  209; HSI-MDL-00386875-879.
  673
     See Henry Schein, Inc. and Henry Schein Medical Systems, Inc’s Amended Objections and Responses to Plaintiff’s
  (First) Combined Discovery Requests, No. 3; Henry Schein, Inc.’s Objections and Amended Responses to Plaintiffs’
  First Set of Interrogatories, No. 3.
  674
      Masters Pharm., Inc. v. DEA, 861 F.3d 206, 219 (D.C. Cir. June 30, 2017).




                                                        143
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  immediately upon discovery. Yet, it wasn’t until late 2017/early 2018, following the publication
  of the Masters Pharmaceutical decision, that Henry Schein began to immediately report orders of
  unusual size, orders deviating substantially from a normal pattern, or orders of unusual frequency
  to the DEA as suspicious orders when discovered. 675

           C. Before October of 2009, when an order pended as an order of interest in Henry Schein’s
  system because it exceeded a threshold, Henry Schein’s due diligence investigation consisted of
  merely sending a one-page questionnaire/letter to the customer and reviewing their responses
  before determining if the order could be shipped. 676 After October of 2009, Henry Schein
  implemented “Know Your Customer” components, including on-site visits and potential telephone
  interviews with the customer to determine if a pended order of interest (an order that deviated in
  size, frequency, or pattern) could be shipped. 677 Henry Schein did not have any specific standard
  operating procedure in place for keeping a written record of due diligence investigations of pended
  orders of interest until October of 2009. 678
          D. Before 2012, Henry Schein did not have a written policy relating to its “Know Your
  Customer” due diligence obligations. 679 Further, Henry Schein’s Regulatory Affairs department
  noted in November of 2013 that the company did not have “Know Your Customer” due diligence
  information for sixty percent of their customers and had only varying degrees of completed due
  diligence for the remaining forty percent. 680 Henry Schein’s head of Regulatory Affairs, Sergio
  Tejeda, even noted in an August 6, 2013, email that Henry Schein’s lack of Know Your Customer
  due diligence was the “area of most risk.” 681 Tejeda further noted that Henry Schein still needed
  to conduct due diligence inquiries for 27,000 customer accounts, which would take Henry Schein
  “3-4 years to become current/fully compliant with DEA due diligence.” 682
          In fact, Henry Schein did not obtain complete due diligence files for all of its customers
  until sometime in 2017, a process that required the company to hire at least twelve or more
  additional staff members in the company’s verifications and regulatory departments between 2013


  675
     See Deposition of Jeff Peacock (“Peacock Dep.”) at 153:1-24; DiBello Dep. at 157:9-24; 267:9-270:12; Abreu
  Dep. at 55:12-57:23; 64:11-67:13; 71:4-73:21; 83:10-21; 146:15-148:16; Deposition of Sergio Tejeda (“Tejeda
  Dep.”) at 318:5-320:7; 330:24-331:12; also see HSI-MDL-00404202-209; HSI-MDL-00021781-82; HSI-MDL-
  00606634-36; HSI-MDL-00647221-23; HSI-MDL-00486513-14; HSI-MDL-00569496.
  676
        See Abreu Dep. at 51:18-53:18; 74:3-75:24.
  677
        Id. at 127:18-129:22.
  678
        See Abreu Dep. at 75:3-24.
  679
        See HSI-MDL-00000194-204.
  680
     See Abreu Dep. at 294:21-295:7; 308:10-310233:13-134:17; 135:10-22; 144:24-145:9; 149:15-150:21; Tejeda
  Dep. at 232:11-15; 233:14-17.
  681
        See HSI-MDL-00552881.
  682
     Id.; also see Steffanie-Oak Dep. at 74:9-78:1; 98:15-20; Tejeda Dep. at 222:6-16; 225:11-227:9; 233:18-234:15;
  248:23-249:3.




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  and 2017. 683 Further, as of 2018, Henry Schein may still approve a pended order of interest without
  contacting the customer, relying only on a due diligence letter from a prior pended order of interest
  with that same customer. 684 Currently, Henry Schein does not perform any criminal background
  checks or medical/dental board disciplinary checks on any of their doctor customers as part of their
  due diligence inquiry. 685


        V.       MANUFACTURERS

          It is my expert opinion that manufacturers of opioids, as DEA registrants, have the same
  duties as wholesalers to maintain effective controls to prevent diversion of controlled substances
  into other than legitimate medical, scientific, and industrial channels. 686 The fact that
  manufacturers hold a different position in the supply chain, and have different sources of
  information and knowledge, does not change the underlying duty.

         Specifically, manufacturers of opioids must, among other regulatory requirements,
  maintain effective controls to prevent diversion, which include, but are not limited to, the following
  elements:

        1. Design and operate suspicious order monitoring systems that operate effectively to
           identify, report, and not ship suspicious orders. 687

        2. Make use of all relevant prescribing and transactional data and information they obtain in
           the course of their business activity to identify and prevent diversion and identify
           suspicious orders.

           Manufacturers must ensure that their direct customers—for the most part, distributors—
  have sufficient controls in place to prevent diversion of controlled substances. Manufacturers,
  initially and then periodically, must verify that their customers maintain effective controls to
  prevent diversion.

          Manufacturers must review the orders that distributors place with them to detect suspicious
  orders, which include, but are not limited to, orders of an unusual size or frequency or that deviate
  from the normal pattern. 688 Upon discovery, manufacturers must report and not ship these orders.

  683
        See Abreu Dep. at 310:15-314:15; also see Peacock Dep. at 69:22-71:9; 129:11-130:24.
  684
        See Abreu Dep. at 255:6-256:13; HSI-MDL-00404203-209.
  685
        See Peacock Dep. at 132:22-133:1; also see Steffanie-Oak Dep. at 105:1-106:23.
  686
             21 USC § 823 (b)(1); 21 CFR § 1301.74(b).
  687
             21 CFR 1301.74(b).
  688
           See Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 221 (D.C. Cir. 2017) (“Section
  1301.74(b) defines suspicious orders as “includ[ing]” orders of an unusual size, pattern, or frequency, and it is well
  established that the word “include” often precedes a list of “illustrative” examples, rather than an exclusive list of




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  These orders may not be shipped unless the manufacturer conducts and documents its own due
  diligence investigation of these orders and dispels the basis for its suspicion. That does not mean
  simply relying on the representation by a distributor that there is a reasonable basis for the order.
  Actual (and documented) investigations to verify the information must be conducted by the
  manufacturer to confirm that the order is not diverted into other than legitimate medical, scientific,
  and industrial channels.

          I am aware that some manufacturers have some data on doctors’ prescribing of opioids,
  which manufacturers purchase from companies like IQVIA (formerly IMS). It is my
  understanding that manufacturers obtain this data in order to target and monitor their marketing
  efforts. This data also allows manufacturers to identify prescribers who prescribe opioids in
  volumes, types, doses, and combinations, or with frequencies that are indicative of diversion.

          I am also aware that manufacturers also have access to chargeback or fee for services data
  (collectively, “chargeback data”), which is provided by distributors. This data provides transaction
  information allowing manufacturers to determine who purchased its drugs, in what volumes, and
  in which doses. Using chargeback data, manufacturers could identify pharmacies or other
  customers whose orders of opioids were of an unusual size, frequency, or pattern, or suspicious in
  other ways that are indicative of diversion. Manufacturers could also determine whether a
  pharmacy is obtaining opioids through multiple distributors, a red flag of diversion. Manufacturers
  could also use chargeback data to monitor the geographic distribution of their drugs in order to
  assess whether their drugs are being supplied to hotspots of opioid abuse or in volumes that are
  disproportionate to a legitimate market in an area. Based on the documents I reviewed, including
  documents from Purdue Pharma, it is clear that manufacturers could and did identify the largest
  prescribers and dispensers of their drugs.

          Using relevant data acquired by a manufacturer for compliance purposes is part of
  maintaining effective controls to prevent diversion. This obligation was acknowledged by
  Mallinckrodt in the Memorandum of Agreement Mallinckrodt entered with the United States in
  2017. 689 Mallinckrodt confirmed that it would “design and operate a system that meets the
  requirements of 21 CFR 1301.74(b)” and “utilize all available transaction information to identify
  suspicious orders of any Mallinckrodt product.” 690 Mallinckrodt agreed “to notify DEA of any
  diversion and/or suspicious circumstances involving any Mallinckrodt controlled substances that
  Mallinckrodt discovers.” 691 Mallinckrodt also acknowledged that “[a]s part of their business
  model Mallinckrodt collects transaction information, referred to as chargeback data, from their

  indicia of an identified wrong. [internal citations omitted]. […] Reading section 1301.74(b)’s listed characteristics as
  exemplary rather than exhaustive, DEA reasonably concluded that other indicia may also raise suspicions about an
  order for controlled substances.”)
  689
           Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
  Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC at 5 (July 10, 2017), available at
  https://www.justice.gov/usao-edmi/press-release/file/986026/download.
  690
           Id. at 4
  691
           Id.




                                                           146
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  direct customers (distributors). The transaction information contains data relating to the direct
  customer sales of controlled substances to ‘downstream’ registrants.” As part of the resolution,
  Mallinckrodt agreed that it could and would “report to the DEA when Mallinckrodt concludes that
  the chargeback data or other information indicates that a downstream registrant poses a risk of
  diversion.” 692
          Thus, to comply with the law, manufacturers that have prescribing and chargeback data are
  obligated to incorporate that data into their compliance programs to meet their duties to maintain
  effective controls to prevent diversion. Put another way, manufacturers “know what they know”
  and must put that knowledge to use when they know it to prevent diversion. Manufacturers must
  analyze this data using metrics or methods that are reasonably designed to identify suspicious
  orders and that are not so high that they fail to detect suspicious orders. As DEA had pointed out:
  “[r]egistrants that rely on rigid formulas to define whether an order is suspicious may be failing to
  detect suspicious orders.” 693 Changing these metrics or methods in a suspicious order system to
  avoid flagging too many suspicious orders is not an effective control on diversion. These metrics
  must look specifically at drugs (or National Drug Codes, known as “NDCs”) that are known targets
  of diversion, and not just at drug families. In addition, manufacturers must conduct and document
  a due diligence investigation to ensure that the drugs are not being diverted.
          Manufacturers’ sales representatives provide additional visibility into the manufacturers’
  downstream customers purchasing their products. These sales representatives have on-site
  interaction with doctors’ offices and pharmacies through regular visits. These visits allow the
  manufacturers the ability to observe red flags of diversion – long lines, potentially inappropriate
  customers, cash payments, and other signs of abuse that would have alerted them to potential
  diversion of opioids. These observations of red flags also must be integrated into manufacturers’
  compliance programs.

        An example of sales representatives ignoring signs of diversion is illustrated in the case of
  Dr. Adolph Harper, Jr., a physician in Akron, Ohio. Although his specialty was obstetrics and
  gynecology, Harper prescribed a substantial volume of opioids.

          On October 20, 2014, Harper pleaded guilty to one count of conspiracy to traffic drugs,
  four counts of health care fraud and sixteen counts of drug trafficking. He was subsequently
  sentenced to ten years imprisonment. The Department of Justice’s news release regarding
  Harper’s sentencing indicated that Harper distributed “hundreds of thousands of doses of
  prescription medications – including OxyContin, Percocet, Roxicet, Opana and others – from his




  692
          2017 Mallinckrodt MOA at 5.
  693
          See MNK-T1_7146630, Ratliff Ex. 8 (letter from Deputy Assistant Administrator Joseph Rannazzisi to
  Mallinckrodt (Dec. 27, 2007)).




                                                    147
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  medical offices in Akron between 2009 and 2012.” 694 The sentencing memorandum indicates that
  at least eight of Adolph Harper’s patients died as a result of drug overdoses. 695

           In the sentencing memorandum, prosecutors described an office environment that should
  have alerted any sales representative who visited Harper’s office: “The atmosphere of Harper’s
  office, like his prescribing practices, was also more akin to street-level drug trafficking operation
  rather than a medical office. Harper’s customers often waited for hours to see Harper, and many
  of these customers exhibited behavior consistent with drug abuse. Witnesses reported seeing
  customers passed out in the hallway and office while waiting to see Harper, or vomiting or
  urinating on the floor in the waiting room. Customers were also combative and aggressive with
  Harper’s staff members if there was any delay in receiving their drugs.” 696

          I reviewed a declaration from Ramona Harrison, who was a receptionist at Harper’s office
  from 2010 through January 2012. 697 Harrison said that most of Harper’s patients appeared to be
  drug addicts. They often looked disheveled and acted like they were “high” on drugs. Harper’s
  waiting room was usually full, with some people needing to stand because there were not enough
  seats. Many patients “nodded off’ while they were waiting to see the doctors. Others were
  belligerent to the staff or argued with other patients in the waiting room. Harrison noted that some
  patients even urinated on themselves and some patients periodically vomited in the water
  fountain. 698

         I am informed that, from 1994 through 2005, Harper was called upon at least 109 times by
  Purdue sales representatives. 699 Purdue’s last recorded call to Harper’s office occurred on
  September 14, 2005. 700 Two months later, on November 17, 2005, a Purdue email stated, “Purdue
  determined that the sales representative should cease sales calls on Dr. Harper.” 701 I have not seen
  any documentation that Purdue reported Harper to state or federal authorities.

         Based on documents I reviewed, Endo, Cephalon, and Janssen also visited Harper and held
  programs that he attended, and he was marketed Opana, Actiq, Nucynta, and Kadian. 702 Harper
  was eventually removed from Endo’s call plan according to an April 20, 2012 document, with the

  694
          “Akron Doctor Sentenced to 10 Years in Prison For Illegally Prescribing Painkillers, Even After Patients
  Died,” U.S. Dep’t of Justice Press Release (Feb. 13, 2015) https://www.justice.gov/usao-ndoh/pr/akron-doctor-
  sentenced-10-years-prison-illegally-prescribing-painkillers-even-after.
  695
          PLTF_2804-000013676 at 5.
  696
          Id at 4.
  697
          PLTF_2804_000004562.
  698
          Id.
  699
          PPLPMDL0030005334.
  700
          Id.
  701
          PPLPMDL0030005327.
  702
          ENDO-OPIOID_MDL-00673563; TEVA_MDL_A_02416207; JAN-OH-00006800.




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  explanation: “License is being investigated and has made local news due to questionable
  actions.” 703 This indicated that the removal was based on media reports, as opposed to feedback
  from Endo representatives in the field. I am also informed that, according to DEA ARCOS data,
  between 2006 and 2009, Harper directly purchased opioids directly from Henry Schein. 704

           According to prosecutors’ sentencing memorandum, several Akron-area pharmacies began
  refusing to fill Adolph Harper’s prescriptions. 705 Rite Aid store 3182 in Akron continued to fill
  Harper’s prescriptions and requested an increase in its oxycodone thresholds from McKesson after
  the store received an influx of Harper’s patients turned away by another Rite Aid branch. 706 Emails
  obtained from McKesson disclosed that in September and October 2011, Rite Aid store 3182
  requested that McKesson increase its threshold on oxycodone by 15 percent because of “increased
  activity from a local pain mgmt. doctor,” Adolph Harper. 707 It appears McKesson approved the
  first request, but denied the October 2011 the additional increase. Oriente wrote that Harper “may
  be an issue that you may want to do additional due diligence on. He is an Ob/Gyn not a Pain
  Management Specialist.” 708 Oriente included complaints about Harper from individuals who had
  posted to the website Vitals.com:
       • September 29, 2011: “No one is filling his prescriptions! … some of us are very sick and
           not just drug addicts!” 709
        •   July 15, 2011: “YOUNG PEOPLE ARE DYING BECAUSE THIS MAN WILL GIVE
            PAIN PILLS AND XANAX TO ANYONE! PLEASE SOMEONE STEP IN BEFORE
            ANOTHER LIFE IS LOST.” 710
        •   July 6, 2011: “gives my daughter any pills she wants as long as he can be a pervert once a
            month and check her, in trouble with drug board, he will get you addicted to any pills, he
            is not a doctor he is a drug dealer with his own daughters as accessories.” 711
  A Director of Loss Prevention for Rite Aid responded, “I agree, we ran a report and checked his
  DEA number and saw the same thing. We have the [Pharmacy District Manager] reviewing a
  checklist to visit the clinic. No increases at this time.” 712


  703
            ENDO-OPIOID_MDL-02816744 & END00746489
  704
            HIS-MDL-00001612; HIS-MDL-00648726.
  705
            PLTF_2804_000013676 at 4.
  706
            MCKMDL00632908; MCKMDL00626683; PLTF_2804_000013676 at 4.
  707
            MCKMDL00632908 & MCKMDL00626683
  708
            MCKMDL00627631.
  709
            Id.
  710
            Id.
  711
            Id.
  712
            MCKMDL00634992.




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     It is my expert opinion that:

     1. Sales representatives who visited Dr. Harper should have been aware of and reported the
        signs of diversion at his practice.

     2. A distributor who directly supplied opioids to Dr. Harper should have visited his practice
        and observed and reported signs of diversion.

     3. The increase in volume associated with Dr. Harper’s prescribing should have—and did—
        alert distributors and pharmacies to Dr. Harper’s suspicious prescribing, and those entities
        should have reported Dr. Harper.

          Manufacturers that knew or should have known of suspected diversion of their products by
  prescribers and/or pharmacies through relevant transaction data, sales representatives’ visits, or
  any other means are required to take action to maintain effective controls to prevent diversion.
  Manufacturers should have investigated whether the suspected diversion was the result of
  deficiencies in their distributors’ overall compliance program, including the suspicious order
  monitoring system that supplied their products to the prescribers and/or pharmacies. The
  obligation for taking action exists when the diversion was or should have been discovered, even if
  that was after the orders were shipped to those customers, to prevent diversion and protect the
  public interest. To the extent that a manufacturer was aware of potential diversion, whether by a
  distributor, prescriber, or pharmacy, the manufacturer should have reported the relevant conduct
  to the DEA. In addition, manufacturers that continued to distribute their products with reason to
  believe those products were being diverted demonstrated a failure to maintain effective controls
  against the prevention of diversion.

          In sum, whatever specific methodology a manufacturer used (or failed to use) to implement
  effective controls to prevent diversion, to design and operate a system to disclose suspicious
  orders, all manufacturers had the obligation to: (1) evaluate all relevant data and information
  available to them to prevent and report diversion; (2) identify, report, and stop shipment of
  suspicious orders of opioids; and (3) if shipping those suspicious orders, conduct sufficient due
  diligence to ensure that those orders are not being diverted into other than legitimate medical,
  scientific, and industrial channels. Manufacturers that do not have effective systems to carry out
  these obligations, or do not consistently or sufficiently implement these systems, failed to comply
  with the law.

          Based (a) on my education, training and experience, (b) the law, regulation and practices
  in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
  case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty:

     1. Manufacturers with relevant transaction data including the distribution, dispensing, and
        prescribing of their opioids by their direct and downstream customers had an obligation to
        utilize that data in their compliance programs. The failure to integrate that data into their




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           compliance programs was a failure to implement and/or maintain effective controls to
           prevent diversion.

        2. Suspicious order monitoring programs that use rigid multipliers of two or three times the
           average purchase amount to trigger or disclose a suspicious order do not effectively identify
           suspicious orders.

        3. Suspicious order monitoring programs that are designed to only evaluate orders by drug
           code or by drug family and fail to assess specific NDCs that are known targets of diversion
           mask potential diversion and are ineffective.

        4. Manufactures that identify suspicious orders and ship those order must conduct and
           document a due diligence investigation to ensure those drugs are not being diverted into
           other than medical, scientific and industrial channels or they are failing to maintain
           effective controls to prevent diversion.

        5. Manufacturers that adjust their programs for identifying suspicious orders in order to
           reduce the number of orders that were identified as suspicious, without regard to whether
           those orders were suspicious or not, fail to maintain effective controls to prevent diversion.

         Set out below, based on my review of documents produced and testimony given by
  defendants in this litigation, are examples of systemic failures of compliance in the various
  manufacturers’ obligation to maintain effective controls and suspicious order monitoring
  programs.

        A. ALLERGAN

          Based on the evidence I have reviewed in this case, Allergan and its predecessor entities
  failed to maintain effective controls to prevent diversion, failed to design and operate adequate
  suspicious order monitoring systems, and failed to take reasonable steps to prevent the Allergan
  entities’ products from being diverted. This conclusion is based on my review of the evidence
  including the following facts:

         1. In 2012, Watson Pharmaceuticals, Inc. purchased Actavis, Inc., and the combined company
            took the “Actavis” name. 713 In March 2015, Actavis purchased Allergan, Inc. and, renamed
            itself again to “Allergan.” 714


  713
           https://www.Allergan.com/news/news/thomson-reuters/watson-pharmaceuticals-inc-is-now-actavis-inc
  The Allergan Defendants include Allergan plc, Actavis, Inc., Watson Pharmaceuticals, Inc., Watson Laboratories,
  Inc., Actavis Pharma, Inc., Actavis LLC, as well as other related subsidiaries.
  714
            https://www.Allergan.com/news/news/thomson-reuters/actavis-plc-is-now-Allergan-plc. Through a 2013
  acquisition, the company had become a “plc” and moved its headquarters to Ireland to take advantage of “a favorable
  tax     structure”   but    kept   its   executive   headquarters      in     New      Jersey,   USA.           See
  https://www.Allergan.com/news/news/thomson-reuters/actavis-to-acquire-warner-chilcott-to-create-premi




                                                         151
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        2. Before the 2012 merger, Actavis produced twelve different generic opioids including some
           of the most abused and diverted opioids such as generic OxyContin (Oxycodone I
           hydrochloride tablet), generic Opana ER (Oxymorphone tablet) and generic Duragesic (a
           fentanyl transdermal patch). 715 Pre-merger Actavis had the same rudimentary threshold-
           based SOM system in place from November 2000 through October 2012. 716 Under that
           system, the Customer Service group printed a report “several times a day” showing any
           controlled substance order that was “25% over the customer’s rolling average” of orders
           placed over the prior six months. 717 Then, according to an internal document, “Customer
           Service reviews (eyeballs) the suspicious order report throughout the day (when a new
           report is created)” and “any order that looks unusual is investigated and any unusual items
           are cleared before the order is released.” 718

        3. In February 2009, Senior Manager of Actavis’s Customer Service Department, Nancy
           Baran explained to her boss why the existing pre-merger Actavis process was inadequate
           to “prevent shipping excess product”:


                    For starters, the report is not cumulative. For example, if a customer's
                    monthly usage is 3000 units - they can order 2999 units every day of the
                    month and it would not be caught. At the same time, the % of times an
                    order comes up on this report where we would actually stop the order is a
                    fraction of 1%. Orders come in all day long over the 25% threshold. 719

            Baran further stated

                    If we stopped to question and put on hold every one of these orders, it would
                    be crippling. The intent of the DEA suspicious report was designed to
                    prevent excessive shipments of controlled products. In my opinion, it does
                    a lousy job at even that.” 720

        4. Actavis employee Noemi Rebeco, who oversaw the day-to-day implementation of the
           system wrote in August 2009 that “DEA Analyst Omar Plaza” would check the report
           “daily” and then “select customers that are exceeding the normal orders (over 25-50%) …

  715
           See Allergan Kaufhold Ex. 3-4 (listing the Amended New Drug Application (“ANDA”) number for each of
  the pre-merger Actavis generic opioids.
  716
            Woods Depo. Ex. 12 (Allergan_MDL_02081243); Ex. 13 (Allergan_MDL_02128514). Mary Woods served
  as the Corporate Representative of the Allergan Defendants with regard to Suspicious Order Monitoring issues. The
  first 24 exhibits to her deposition are the SOM SOPs the Allergan Defendants said were in place.
  717
            Woods Depo. Ex. 12. at 2.
  718
            Id.
  719
            Allergan_MDL_02128035
  720
            Id.




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          [choose] the ones that should be investigated … get the reply from customer service
          advising the reason of the large Order (most of the time trade show promotions) and send
          to the local [DEA] office once a month a copy of the ‘suspicious report.’” 721 Baran
          remembered only one order between 2008 and 2017 that was ever deemed to be suspicious
          and reported to the DEA as such, but testified she did not “know any details about it.” 722 All
          other pended orders were cleared and released. 723

        5. As the above-cited evidence shows, the 2000-2012 Actavis system only flagged orders
           unusual in size; it did not flag orders unusual in frequency or unusual in pattern in real
           time. In my opinion, the rigid formula used did not satisfy regulations requiring registrants
           to detect and investigate suspicious orders. The system did not utilize any downstream
           customer information available to Actavis, did not differentiate among NDC codes for
           drugs with a higher risk of diversion, and did not automatically stop orders from shipping.
           Although Actavis mailed reports to the DEA of orders that were identified in the system
           from 2009-2012, the lack of any analysis of such data made the reports meaningless. It
           was not an effective control and Actavis employees recognized as much. Yet the system
           remained in place until 2012. 724

        6. In September 2012, Actavis was implementing a statistics-based more modern SOM
           system designed by the Buzzeo/Cegedim group to detect “orders of interest” in “Direct
           Customer sales.” 725 On October 1, 2012, it began working alongside Actavis’s prior
           system. 726 Until that date, the company had used the SOM system as described in
           November 2000. 727



  721
            Allergan_MDL_04333369. The monthly reports Plaza mailed to the DEA between July 6, 2009 and July 14,
  2012, make clear that the orders listed were from the automated system. See Allergan_MDL_03328387 (noting that
  (“[t]his letter is to report suspicious purchase orders during the month of June 2012”). I have seen no such reports
  outside of the July 2009 through July 2012 timeframe.
  722
           Baran Deposition, 303:7-304:10.
  723
           Id.
  724
           A separate program from January 2011 designed by Actavis’s marketing group, tracked only “oxycodone IR
  suspicious orders.” Woods Depo Ex. 14 (Allergan_MDL_00490306). The marketing program compared monthly
  order rates and noted “any individual customer locations that have ordered 50% or greater than their established six
  month order average.” Id. It was not designed to track any DEA regulations, and after three months of trials, it was
  apparently abandoned. Acquired_Actavis_00665233 (March 24, 2011 email discussing SOP).
  725
           Woods Depo. Exhibit 15 (Allergan_MDL_01684748).
  726
          Allergan_MDL_03380778 (Thursday October 4, 2012 email noting that “we went live on Monday with our
  enhanced Suspicious Order Monitoring” system).
  727
           A separate system, titled “Indirect Customer Sales” also was issued in late 2012. Woods Depo. Exhibit 16
  (Allergan_MDL_01979834). This SOP, which was to focus on customers of Actavis’s direct customers using
  chargeback and other data, was never implemented. As the contemporaneous notes of a Watson employee noted,
  Actavis assigned “no resources,” or personnel, to carry out the indirect SOP. Woods Depo. Ex. 36 at 12( “Also
  prepared to work on the indirect side, no resources but have SOP’s – work has been completed already”).




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        7.   At the same time Actavis was preparing to implement the Buzzeo/Cegedim SOM system,
             its personnel were called to meet with the DEA. On September 12, 2012, five Actavis
             employees met with the seven DEA personnel at its Arlington, Virginia office for about
             three hours to discuss opioid diversion. A DEA record produced in the litigation
             memorializing the meeting states that, among other things, Barbara J. Boockholdt, Chief,
             Regulatory Section, told the Actavis employees that:

                a. “[A]ddicts are coming from around the country to Florida and are
                   specifically seeking oxycodone 15mg and 30mg tablets.”
                b. “[I]n Florida eleven people per day are dying from oxycodone overdoses
                   and seven babies are born each day addicted to opiates.”
                c. “ARCOS data revealed the [REDACTED] was distributing very large
                   quantities of Actavis oxycodone 15mg and 30mg to numerous pharmacies
                   in Florida. Some of the pharmacies had purchased well in excess of a
                   million dosage units per year. This is an obvious concern to DEA and must
                   be addressed by Actavis.”
                d. “Florida's prescription drug laws have traditionally been very lax and
                   because of that and the influx of pain management clinics oxycodone sales
                   went out of control.”
                e. “[B]ecause of the amount of oxycodone prescriptions being written,
                   Florida, specifically South Florida has more pending pharmacy applications
                   than all other states combined. Statistics are now showing this problem is
                   spreading north into Georgia, Tennessee, Kentucky, Ohio and West
                   Virginia.” 728

        8.   The memorandum also states that Leonard Levin, Staff Coordinator, Regulatory Section
             described various activities that are required to maintain effective controls to prevent
             diversion and told Actavis’s Baran that:

                a. “Actavis should send someone from their compliance team to visit
                   pharmacies who were receiving their products in south Florida, in order for
                   them to witness the long lines at pain clinics, out of state license plates,
                   questionable clients, security guard(s) in the parking lots, and signs stating
                   cash payment only.”
                b. Actavis employees should “get to know their customers, visit distribution
                   sites, visit customers of those distributors, check on customers' suspicious
                   order monitoring systems, review due diligence files, and obtain printouts
                   of pharmacies or practitioners who are receiving Actavis products.”
                c. “[I]f their customers refused to provide them with sales information Actavis
                   should consider cutting them off.”
                d. “Actavis [should take a] serious look at their quota request, review their
                   suspicious order monitoring system, visit their customers to review their

  728
             US-DEA-00000001




                                                    154
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                    suspicious order monitoring systems as well as their due diligence files, ask
                    to see their customers' top customers for Actavis products, and contact their
                    local DEA Office with any questions or issues.” 729

        9.   The DEA presentation included slides “compiled from ARCOS reports [Actavis had]
             previously submitted to DEA” showing the massive amount of Actavis opioids being
             shipped to Florida compared to other states. 730 One slide, for example showed that 2011
             sales of Actavis’s 30 mg Oxycodone (generic OxyContin) were six times higher in Florida
             than in the next highest state: 731




        10. Actavis employees remain defensive regarding the meeting. Ethics & Compliance Officer
            Michael R. Clarke testified that the meeting was “ostensibly for the DEA to talk to us about
            our anti-diversion efforts,” but that “the tone and the tenor of the meeting . . . made it less
            productive than it could have been” because, instead of treating the Actavis individuals “as
            professionals,” the DEA looked at and talked to the Actavis representatives “as street

  729
             Id
  730
             US_DEA_00000092
  731
             US_DEA_00000100




                                                      155
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            dealers.” 732 “[T]hey described it,” Clarke continued, “without using these specific words,
            but in a way that we would just manufacture, put the product out on the street, and not have
            a care as to where it went” and “described finding or seeing or obtaining product, you
            know, opioid products that seemed to be diverted relatively easily.” 733 In late October
            2012, Actavis had a follow-up meeting with two field representatives from the DEA’s
            Newark, New Jersey office where, according to Clarke, DEA requested a reduction of
            approximately 30%-40% in Actavis’ manufacturing quota for oxycodone. 734 Actavis’ then
            CEO, Doug Boothe, however, rejected the DEA’s request. .

    11.     The deficiencies in pre-merger Actavis’ failures to prevent diversion, design and operate
            adequate suspicious order monitoring systems, and take reasonable steps to prevent
            diversion were summed up by Boothe’s testimony. Boothe – again, the CEO of pre-merger
            Actavis – testified that Actavis’ responsibility was only to making certain orders were
            received from licensed pharmacies and were within numerical suspicious order monitoring
            thresholds, and that Actavis had no responsibility (or accountability) for preventing
            diversion:

                     Again, I don't think we had responsibility for, accountability for preventing
                     diversion. We had responsibility and accountability for making certain that
                     the orders that we received were valid from licensed pharmacies and were
                     within our suspicious order monitoring thresholds as it was described earlier
                     then with the Buzzeo model or the more statistical model. So we -- that was
                     our responsibility. Once it goes outside of our chain of custody, we have no
                     capability or responsibility or accountability to -- or at least my
                     understanding, I'm not a lawyer, as it relates to diversion. So, once we ship
                     a valid order to a wholesaler or ship a valid order to a distributor or another
                     smaller wholesaler, our chain of custody is finished at that point. 735

            It is my opinion that this statement reflects an inaccurate interpretation of Actavis’ statutory
            and regulatory requirements.

        12. The core of the Watson SOM system, like the early pre-merger Actavis system, dated to
            the early 2000s. 736 A 2001 memo says Watson’s inventory system automatically compiled
            a “12-month average” of customers’ various orders, and reported violations of it Customer
            Service personnel (also known as the “Call Center” group). 737 A May 2004 Operational
            Procedure added a “SOMS multiplier table” to the system that increased the level at which

  732
            Clarke Depo., 86-89.
  733
            Id. at 90-91
  734
            Id. at 98-102.
  735
            Boothe Depo., 408-09.
  736
            Woods Depo. Ex. 1 (Allergan_MDL_01844864).
  737
            Id..




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            the inventory system would alert a potentially suspicious order. 738 The multiplier, set by
            people instead of an algorithm, placed a different value for various “classes of trade,” and
            orders from wholesalers, distributors and chain pharmacies were regularly allowed at triple
            the historical average, or more. 739

        13. The Watson system affirmatively allowed customers to get around violations by canceling
            the order, or cutting the quantity. 740 Mary Woods, who was in charge of the Watson SOM
            system, stated that Watson “never needed to file a report” because they would cut or cancel
            the order instead. 741 This policy was consistent through 2012. 742 In 2012, Watson merely
            required that “[i]f the customer decides to cancel or reduce the quantity, they will need to
            provide a reason for the reduction or cancellation.” 743 Before the merger with Watson,
            Actavis policy did not allow reducing or cancelling an order. 744 After the merger, the
            combined company adopted the Watson SOM system, and cutting or cancelling was not
            generally prohibited. Watson also allowed orders to be shipped based on “an employee
            inside of the company [including salespeople] providing the justification” in “an email.” 745
            Watson Call Center/Customer Relations Operation did not add any new staff to handle the
            SOMs “validations” between 2009 and 2012, but the number of validations increased
            substantially. 746 In 2009, each “administrator” handled an average 62 “SOMs validations”
            per month. 747 In 2010, that number jumped to an average of 180, and in 2011 the number




  738
            Woods Depo. Ex. 3 (Allergan_MDL_01839001).
  739
           Allergan_MDL_02181128 at ‘1150 (noting that the “SOMS Multi” for wholesalers was “3”); see also Id. at
  ‘1131 (noting that the “SOMS Multi” for “chain” stores was “6”). The wholesaler/distributor and chain store
  multipliers apparently covered “99 percent of the orders” in the system. Allergan_MDL_02578082
  740
            Allergan_MDL_01839001
  741
           Woods 1/10/19 Depo Tr. at 25:18-31:16, Woods Depo. Ex. 30 (“[a]ny time there was a question during the
  order process of a suspicious order quantity, we went (and still follow the same procedure) back to a customer to let
  them know we would need to notify the DEA due to the quantity they wanted to order. In response, they either
  reduced the quantity or cancelled the order").
  742
         Allergan_MDL_02146521 at 2 (July 2011 SOM policy); see also Allergan_MDL_03952774 at 9 (April 2007
  SOM policy); Allergan_MDL_1839002 at 2 (May 2004 SOM policy).
  743
            Allergan_MDL_01175581.
  744
              Allergan_MDL_03368470 (Baran PowerPoint presentation making clear that “’Cutting’ orders to a volume
  that puts the order under a threshold is not acceptable,” and that the “DEA has stated on this topic, ‘That is like saying
  a little bit of diversion is okay’”).
  745
            Woods Depo. I, 140:3-141:9.
  746
            Woods Ex. 35 at Allergan_MDL_03802654
  747
            Id. at 2660.




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            reached 280, a 350% increase over 2009. 748 Woods, who oversaw the system, did not seek
            to add more personnel at any time. 749

        14. Like Nancy Baran at Actavis, Thomas Napoli, Watson’s (and then post-merger Actavis’s)
            DEA Compliance Chief, made clear that the system did not comply with the DEA laws
            and regulations. In November 2008 Napoli wrote a memo stating that “[i]t is highly
            recommended that industry utilize a 'total SOM model.' This model favors a more
            statistically-based model that dynamically evaluates a variety of order characteristics to
            determine whether an order should be pending. Characteristics include order size, ordering
            frequency, ordering patterns and percentage of CS ordered." 750 He continued that “[t]his
            approach is viewed to be more effective and defensible than the traditional approach of just
            setting a threshold." 751

        15. Starting in 2011, Napoli advocated to hire Buzzeo/Cegedim to create a new system, just
            as Baran had at Actavis. Napoli wrote that, among other things, the requirement of “manual
            effort is very labor intensive, as the current system is not configured with any analytical
            tools to support timely and accurate decision making. This approach also introduces the
            element of ‘human interaction’ in the order evaluation process.” 752 A 2012 PowerPoint
            from Napoli’s files notes that Cegedim had “produced a written report” and under
            “Findings” noted that the multiplier threshold was “not consistent with specific
            requirements noted within regulations and guidance,” that Watson’s system “evaluates at
            SKU level,” left open the “possibility of distributing orders across multiple SKU’s without
            detection,” and that Watson’s system did not “evaluate listed chemicals.” 753 The
            PowerPoint made “Recommendations” including developing an SOM system to “Fully
            address specific regulatory requirements,” and that system was “Budgeted for 2012
            Implementation.” 754 But the new system was never implemented, and when Watson
            bought Actavis, the combined Company reverted to the Watson system until 2015 when it
            announced it was selling all of its generic drugs and various corporate subsidiaries to Teva,
            and as Napoli said, Teva “already had their own program in place for Suspicious Order
            Monitoring.” 755

        Without restating every finding laid out above, I conclude that from 2000 until 2016,
  Watson, post-merger Actavis and Allergan used an SOM system with a threshold based automated

  748
            Id.
  749
          See e.g. Woods Ex. 33, Allergan_MDL_02187056 at 7060 (noting static headcount in “SOMS Admin” and
  “Order Administration-Support”).
  750
            Napoli Depo. Ex. 1 (Allergan_MDL_0353513)
  751
            Id.
  752
            Allergan_MDL_02467546.
  753
            Allergan_MDL_02468983 at 8987-8989.
  754
            Id. at 8990-91.
  755
            Id. at 324: 3-12; After the sale, Napoli said, he “was laid off.” Id. at 325:19.




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  inventory component. Like the pre-merger Actavis system, it only looked for orders of unusual
  size and not for frequency and/or pattern in real time. The rigid formula used did not satisfy DEA
  requirements to detect and investigate suspicious orders. The automated portion of the system did
  not utilize any downstream customer information available, did not differentiate among NDC
  codes for drugs with a higher risk of diversion, and only manually stopped orders from shipping.
  The companies’ failure to identify suspicious orders was known among their employees. It was
  these same employees that cut or reduced orders in order to avoid filling a suspicious order. The
  SOM was not an effective control and the Watson and Actavis employees recognized as much.
  Yet the system remained in place until 2016, and was not replaced. Now, Allergan asserts that as
  a “virtual manufacturer” that outsources its manufacturing, transport and delivery systems, it is no
  longer a DEA registrant with regard to Kadian and Norco, and need not have a suspicious order
  monitoring system at all. 756 In my expert opinion, there is no category of “virtual” manufacturers,
  and Allergan cannot delegate its duties to prevent diversion.

        B. JANSSEN

      Based on the evidence I have reviewed in this case, Janssen failed to maintain effective
  controls to prevent diversion by failing to implement adequate compliance to prevent its products
  from being diverted. This conclusion is based on the following facts, as established by the
  evidence in this case and as elaborated on in more detail throughout this section:
        1. Janssen’s SOM program began in 2006 with its first Standard Operating Procedure for its
           SOM policy, in which Janssen wrote that a “potentially suspicious or excessive”
           controlled substance order can be defined as an order “that exceed[s] the permitted
           quantity by 3 times the normal mean demand” over a 52-week period. 757

        2. In 2013, Janssen modified its definition of suspicious order, stating, “A potentially
           suspicious or excessive controlled substance order can be defined as an order that exceeds
           the minimum order quantity requirements, and is above 3x’s (300% of) the calculated, 12
           month, per weekly order average.” 758 Janssen maintained its same suspicious order
           algorithm from 2006 through at least the date of the deposition of Janssen’s Controlled
           Substances Compliance Director, Michele Dempsey, on March 8, 2019. 759

        3. From 2005 through at least 2018, Janssen has never reported a suspicious order to the
           DEA. 760


  756
          See e.g., Acquired_Actavis_01843335 (discussing regulation of entities that refer to themselves as “virtual
  manufacturers”).
  757
           See JAN-MS-03741170.
  758
           See JAN-MS-03124101 (Dempsey Deposition Exhibit 37).
  759
           See Dempsey Deposition at 471:23-472:18.
  760
           See Dempsey Deposition at 487:2-488:18; see also JAN-MS-05444748 at 761 (Dempsey Deposition Exhibit
  26 (Janssen’s SOM Audit Report, stating, “It appears that the JOM SOM has not reported a suspicious order for
  controlled substances as suspicious during its entire time in operation.”).




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        4. Janssen only monitored for orders of unusual size and failed to ever monitor for frequency
           and/or pattern in real-time. 761

        5. Beginning in 2005, Janssen received chargeback data that would have provided visibility
           into the orders of its opioids by downstream customers. 762

        6. Further, since at least 2011, Janssen’s “SCG Trade Group” and its “marketing teams”
           were using 852 data (wholesalers’ inventory and total sales out to their customers) and
           un-blinded 867 data (“wholesalers total sales out to their customers broken out by outlet,
           i.e., Retail Pharmacies, Hospitals, Long Term Care, Clinics, etc. Last Points-of-Care in
           the Supply Chain where product is shipped prior to delivering to the patients”), as well as
           chargeback data to gain insights into purchasing behavior of individual pharmacies and
           other customers to resolve demand issues and help build demand strategies. 763 According
           to Janssen’s documents, this information was used by sales and marketing to spot high
           prescribers and to ensure that wholesalers were stocking targeted pharmacies with
           Janssen’s opioids. 764 Janssen also was buying third party data from Integrichain and
           ValueTrak. 765

        7. Janssen’s Director of Controlled Substances Compliance, Michele Dempsey was asked
           whether her compliance group was getting stocking data while looking at suspicious order
           monitoring in 2012. The answer was, “no, we were not.” 766 When asked if it might have
           been useful to see which pharmacies were stocking at a higher volume than others in a
           given zip code, Ms. Dempsey replied, “No.” 767

        8. Janssen never incorporated any of the relevant transactional sales data that could assist in
           disclosing diversion into its real-time SOM system, including, IQVIA, chargeback data,
           sales representatives’ tips, or even the Integrichain and ValueTrak data that its Trade
           Analytics team was using in order to sell its opioid products and track stocking at the
           pharmacy level.

        9. In 2012, Janssen Ortho-McNeil’s (“JOM”) “Customer Service” team was required to use
           ValueTrak data after a distributor customer’s order was flagged as potentially suspicious

  761
          See Dempsey Deposition at 433:21-455:13.
  762
           See JAN-MS-01117436 at slide 3 (“In 2005, wholesalers began sending us information on their shipments to
  qualify for Distributor Performance Agreement (DPA). Key information we receive: . . . 844/849 – Chargeback data
  which identifies how much a vendor qualifies for rebates.”).
  763
          See JAN-MS-01117436 at slide 3.
  764
          See JAN-MS-00454956.
  765
          See JAN-MS-01117436.
  766
          See Dempsey Deposition at 106:1-8; 111:14-18.
  767
          See Dempsey Deposition at 114:11-19.




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            or excessive, and after receive a reason for the increase in demand, only “to show the
            [distributor] customer’s inventory and compare that inventory to the demand of the
            increase.” 768

        10. Ms. Dempsey testified that Janssen only utilized 852 and 867 data from the wholesaler in
            its order monitoring program, “as needed.” 769 However, Ms. Dempsey testified that, in
            2017, when she was aware that another division within Janssen was getting third party
            852 and 867 sales data, “I don’t know if prior to 2017 [the third party data] did include
            Duragesic and Nucynta. But at the time that I was – I learned of this [third party data],
            Duragesic was not included, and Nucynta was no longer a product.” 770 In my expert
            opinion, consistent utilization of this third party data to monitor sales of Janssen’s
            Duragesic and Nucynta for orders that should have been flagged for review based upon
            unusual size, frequency or pattern, certainly was necessary to identify potential diversion
            when evaluating potentially suspicious orders and should have been used for that purpose.

        11. Additionally, through purchases of data from ValueTrak, 771 Janssen stated that “we can
           now identify the most valuable individual pharmacies in the marketplace.” 772 Ms.
           Dempsey further testified that she was unaware that Janssen was purchasing such third
           party data until 2017. 773 Ms. Dempsey also testified that she was unaware that Janssen
            had the “ability to unblind the sales it was making to wholesalers to obtain visibility of
           [Janssen’s] inventory at individual retail stores” until “2017.” 774 This data enabled Janssen
            to know the end customers of its distributors. Janssen was using this information, in
            addition to monitoring pharmacy inventory, to track the “hot spot markets prescribers
            writing the higher strengths so [Janssen] can provide that data to the JOM Planners and
            Wholesaler Buyers.” 775 However, Janssen was not incorporating the third party data into
           its real-time order monitoring platform. 776

  768
           See JAN-MS-03124101 at JAN-MS-03124105, section 7.1.6 (Dempsey Deposition Exhibit 37).
  769
          Ms. Dempsey testified, “. . . when an order, a controlled substance order, goes through the order monitoring
  program, if it is deemed to be questionable, customer service planning is involved in reaching out to the customer to
  understand why it is not a typical order. And this data is used to -- in some cases, as justification to show that
  downstream inventory is low and it required additional information -- this order was justified for release.” See
  Dempsey Deposition at 123:11-124; see also 122:16-123:9 and 132:18-134:11.
  770
           See Dempsey Deposition at 104:3-16.
  771
           See JAN-MS-00454956; JAN-MS-01117436.
  772
           See JAN-MS-01117436 (844-849 – “Stocking Tool Territory Level: For the first time, our sales reps know
  which pharmacies have purchased, and which high decile pharmacies have not purchased our products.” Id. at slide
  14 (depicting how Janssen was tracking Nucynta down to the specific pharmacies, such as specific CVS, Walgreens
  and Wal-Mart locations).
  773
           See Dempsey Deposition at 340:6 – 343:20.
  774
           See Dempsey Deposition at 98:15-99:16.
  775
           See JAN-MS-00454956.
  776
           See Dempsey Deposition at 133:2-134:12.




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           only flagged orders if they were 2x the 12 month rolling average for the prior year (and in
           fact was increased to 3x the prior 12 month average). 780

        2. Mallinckrodt effectively only monitored for orders of unusual size and failed to monitor
           for frequency and/or pattern in real time. 781 (July 8, 2008 Draft Controlled Substance Order
           Monitoring Policy) (Defining a “peculiar order” as “[o]rders in excess of 2x the amount of
           product ordered during the previous fiscal year and YTD average by customer, by sku.”) 782
           (Oct. 29, 2010 Identified and Review of Peculiar Orders Controlled Substance Suspicious
           Order Monitoring Program) (Defining a “peculiar order” as an “order that meets an internal
           established criteria of 3x the average amount of product ordered during the previous 12
           months by DEA reporting class”) 783 (Oct. 18, 2012 Identification, Investigation, and
           Report of Controlled Substances Suspicious Orders) (Creating a two-tiered system with

                                 2008                       MNK-T1_0000296382
                                 2008                       MNK-T1_0000263965
                                 2010                       MNK-T1_0000264260
                                 2011                       MNK-T1_0000264275
                                 2011                       MNK-T1_0000264200
                                 2011                       MNK-T1_0000259166
                                 2011                       MNK-T1_0000571916
                                 2011                       MNK-T1_0000264053
                                 2011                       MNK-T1_0000264265
                                 2011                       MNK-T1_0000264231
                                 2011                       MNK-T1_0000264270
                                 2011                       MNK-T1_0000264279
                                 2011                       MNK-T1_0000264209
                                 2011                       MNK-T1_0000259157
                                 2011                       MNK-T1_0000264214
                                 2011                       MNK-T1_0000264205
                                 2011                       MNK-T1_0000259162
                                 2011                       MNK-T1_0000259153
                                 2011                       MNK-T1_0000264265


  780
           See MNK-T1_0000301994.
  781
           MNK-T1_0000296382.
  782
           MNK-T1_0000264260.
  783
           MNK-T1_0007476261.




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           tier 1 setting monthly limits on Oxy 15 and Oxy 30 shipments and tier 2 consisting of a
           “standard algorithm” of
                            and (b)


        3. This formula did not satisfy requirements to detect and investigate suspicious orders.
           Mallinckrodt’s own compliance department noted that the 2x limit potentially allowed
           customers to evade the system by gradually increasing their order volume to stay under the
           threshold. 784

        4. This formula was actually increased to a 3x multiplier in 2010 (before being
                        . The justification for this increase was that a 2x limit was identifying too
           many orders and placed too much of a burden on the one person at Mallinckrodt responsible
           for reviewing peculiar orders. 785

        5. If an order did not pass the numeric threshold, it was not subject to further scrutiny, even
           if there may have been other reasons to be suspicious of the order. 786 Moreover,
           Mallinckrodt discontinued using any formula from 2008 through 2009. According to Jim
           Rausch, the Customer Service Manager responsible for investigating peculiar orders, the
           only check Mallinckrodt appears to have performed during that period was to verify the
           customer’s 222 form, a process that was clearly inadequate. 787

        6. Mallinckrodt did not use appropriate due diligence for those orders that were flagged under
           Mallinckrodt’s formula. In particular, Mallinckrodt inappropriately relied on its sales
           force, which was compensated, in significant part, based upon the volume of opioids they
           sold, to determine whether an order should be shipped. 788 According to Karen Harper,
           Mallinckrodt’s compliance head, the marketing and sales force were the compliance



  784
           MNK-T1_0000477889.
  785
           MNK-T1_0000264260.; Harper Transcript at 321 (justifying moving from a 2x to 3x formula because the
  peculiar order report was “too lengthy” and was creating too much of an “administrative burden”).
           786
             Rausch Transcript at 194:3-23 (confirming that if an order was not flagged by Mallinckrodt’s algorithm,
  it was not examined; and acknowledging that if there were gaps or faults in the algorithm, it was possible for
  problematic orders to get through.) Gillies 30(b)(6) Transcript at 92:7-18 (confirming that only peculiar orders were
  reviewed and outside of the peculiar order algorithm, there was no separate system or protocol for identifying peculiar
  orders).
  787
            Rausch Transcript at 139:14-140:9 (other than verification of the 222 forms Mallinckrodt did not have a
  suspicious order program in place between fall of 2008 and 2009); MNK-T1_000419956 (email stating “confirmation
  of the customer’s current DEA registration and status and receipt of a DEA 222 form are not alone adequate in
  determining whether an order is suspicious”); Ratliff Transcript at 242:2-9 (agreeing that it would not be proper to
  just rely solely on registration status and the 222 form in determining whether or not to ship an order).
  788
           MNK-T1_0000315995 (excel sheet showing national account managers and bonus payments); Borelli
  Transcript at 40:22-45:5, 47:17-21.




                                                           164
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           department’s “boots on the ground.” 789 In a September of 2010 email, Harper was aware
           of the conflict and acknowledged that “the actual day-to-day monitoring responsibility
           should be switched to a non-customer service function in that those that have responsibility
           to manage the orders have a conflict of interest in deciding which orders should ultimately
           be shipped – with ultimate right of refusal retained by Controlled Substance
           Compliance.” 790 791

        7. Mallinckrodt shipped suspicious orders before due diligence was completed. Rausch
           explicitly warned Karen Harper that “[s]ince I don’t hold the orders up during my due
           diligence it’s possible that the order could ship. I thought we discussed this and alerting the
           DEA about a suspicious order/customer for further investigation would be our process
           going forward.” 792

        8. Furthermore, Ms. Harper admitted that Mallinckrodt did not always perform due diligence
           on orders before shipping them 793 and that failure to conduct such an investigation would
           lead to Mallinckrodt potentially shipping suspicious orders. 794

        9. Prior to 2010, Mallinckrodt’s SOM program also failed to utilize chargeback data, or any
           other data available to it, to trace the total amount of Mallinckrodt opioid products being
           delivered to downstream customers. Mallinckrodt did not formally incorporate chargeback
           data into its SOM program until January of 2011, and did not start using its chargeback
           data to systematically review and identify problematic pharmacies until Fall of 2011. 795

        10. More generally, in 2010, Mallinckrodt began identifying through chargeback data
            pharmacies, pain clinics and physicians (almost all of whom were in Florida) that engaged
            in the suspicious practice of purchasing controlled substances from multiple Mallinckrodt
            distributors and wholesalers, but only identified an insubstantial number of suspicious
            orders to the DEA.

        11. In late 2010 Mallinckrodt retained a former DEA employee to review its SOM program.
            This consultant advised Mallinckrodt that its program was inadequate and recommended
            changes. Mallinckrodt did not implement many of these changes, and continued its
  789
            Harper Transcript at 59:7-19 (National Account Managers “were our eyes and ears and boots on the ground
  at the customer accounts.).
  790
           MNK-T1_0000280260.
  791
          See e.g., MNK-T1_0000274737, MNK-T1_0000289692, MNK-T1_0000298653, MNK-T1_0000298795,
  MNK-T1_0000267906, MNK-T1_0000267896, MNK-T1_0000290934, MNK-T1_0000369397 (collecting
  examples of NAM involvement in SOM process).
  792
           Harper Transcript 199-203:17
  793
           Harper Transcript at 200:4-10.
  794
           Harper Transcript at 203:1-17.
  795
      MNK-T1_0000289368 (Letter to distributors identifying pharmacies subject to chargeback denials); K. Harper
  Deposition 400:11-401:10.




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             exclusive reliance on a numeric formula for identifying peculiar orders. See Paragraph 2
             above. Mallinckrodt deleted questions from its Distributor Questionnaire regarding the
             distributors monitoring of their customers. 796

         12. Prior to 2008, Mallinckrodt identified nationwide, at most, a total of 25 suspicious orders
             to the DEA. From 2008 through 2011, Mallinckrodt identified, at most, a total of 9
             suspicious orders to the DEA. This is despite numerous orders being flagged for exceeding
             Mallinckrodt’s numeric formula. 797

         13. Despite having access to chargeback data and following press reports identifying
             problematic distributors, as well as internal emails expressing concerns with shipments to
             Florida, Mallinckrodt continued to ship its opioids to distributors that ultimately had their
             licenses revoked or suspended by the DEA for the diversion of prescription drugs. 798
             Furthermore, Mallinckrodt failed to conduct adequate investigations and audits of its
             wholesale distributor customers. 799

         14. There are numerous examples of significant quantities of Mallinckrodt opioid products
             going to physicians that are now serving lengthy prison sentences for the illegal dispensing
             of opioids. These included Dr. Barry Schultz (serving a 157 year sentence for opioid
             trafficking and manslaughter); Dr. Shehta (suspended by the DEA after purchasing 451,700
             UOM of oxy 15 and oxy 30s from Sunrise); Dr. Shook (Mallinckrodt’s leading purchaser
             of oxycodone and sentenced to four years in prison for illegally prescribing opioids). 800
             That these doctors were receiving Mallinckrodt products was not news to Mallinckrodt
             because its chargeback database contained information on all of these doctors and the
             amount of Mallinckrodt opioids they received. In fact, Karen Harper directed the
             compliance department to prepare reports cross-referencing pill mills identified in news
             articles against Mallinckrodt’s chargeback database. 801 Referred to as “indirect match
             reports,” these reports identified specific sales to pills mills, allowing Mallinckrodt to


  796
             See MNK-T1_0000368388 (Email from K. Harper to G. Collier and K. Muhlenkamp (8/26/10)).
  797
             March 4, 2019 Mallinckrodt Response to Interrogatory No. 32 and Exhibits cited therein.
  798
            MNK-T1_0002077756 (summarizing DEA concerns about volume of Oxy 15 & 30 mg tablets being
  shipped to Florida and noting that DEA believes that a significant percentage of Mallinckrodt products are being
  diverted); MNK-T1_0000562325 (email discussing notice from law enforcement that Mallinckrodt product had
  been diverted from Florida to Tennessee and recommending an immediate audit of the distributor); MNK-
  T1_0000386857 (email regarding Grand Jury Report and article about the crackdown on Florida pill mills); MNK-
  T1_0000279166 (email noting multiple law enforcement inquires in Florida and surrounding states relating to a
  Mallinckrodt distributor); MNK-T1_0000384265 (email from customer service rep to sales executive asking if he
  “heard anything about Oxycodone in Florida, and why there are so many people from Kentucky going to Florida to
  get their prescriptions filled?”).
  799
             Harper Transcript at 415:12-417:16.
  800
        See Borelli Transcript at 161:23-169 (Dr. Shook); 170:24-172 (Dr. Shehta); and 176:12-177:5 (Dr. Schultz).
  801
        See MNK-T1_0000283880.




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             determine the exact amount of its products that were likely diverted. 802 While these reports
             were used to make after-the-fact determinations that their product was diverted, chargeback
             data was not used to prevent diversion, despite Mallinckrodt’s clear awareness of the
             available of the data and its potential uses.

         15. The above conclusions are further confirmed by the fact that Mallinckrodt has admitted, in
             a Memorandum of Agreement with the DEA, that from 2008-2012, “certain aspects of
             Mallinckrodt’s system to monitor and detect suspicious orders did not meet the standards
             outlined in letters from the DEA Deputy Administrator, Office of Diversion Control, to
             registrants dated September 2, 2006 and December 27, 2007.” 803

          Without restating every finding laid out above, I conclude that Mallinckrodt used an SOM
  system with a threshold based trigger, which was then increased in order to avoid identifying
  suspicious orders. It only looked for orders of unusual size and not for frequency and/or pattern
  in real time. The rigid formula used did not satisfy DEA requirements to detect and investigate
  suspicious orders. The system did not utilize downstream customer information available, did not
  differentiate among NDC codes for drugs with a higher risk of diversion. Nor did Mallinckrodt
  conduct adequate due diligence on suspicious orders, and left clearing suspicious orders to sales
  personnel with clear financial conflicts of interest, which Mallinckrodt recognized. Mallinckrodt
  also failed to stop shipment of suspicious orders. The SOM was not effective in identifying or
  preventing shipment of suspicious orders.


         D. PURDUE PHARMA

          Based on the evidence I have reviewed in this case, Purdue Pharma did not maintain
  effective controls to prevent diversion, and did not maintain an adequate SOM program and failed
  to take reasonable steps to prevent its products from being diverted. This conclusion is based on
  the following facts, as established by the evidence in this case and as elaborated on in more detail
  throughout this section:
         1. Purdue designed an Order Monitoring System that recognized its obligations to comply
            with DEA regulations to review and potentially report orders that are deemed suspicious
            when identified. The Purdue OMS system (Purdue schematic below) is a compilation of
            several different standard operating procedures (SOPs) from various departments within
            Purdue.




  802
        See MNK-T1_0000283884.
  803
        See Depo. of William Ratliff, Ex. 41 (Administrative Memorandum of Agreement”).




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         2. Purdue implemented a series of SOPs intended to explain in detailed steps the various
            components of its suspicious order monitoring system. The SOPs (and their updates) that
            relate to Purdue’s OMS are 7.7, 1.14, 65, 007, 1.7.1, 001, CC-SOP-000017, CC-SOP-
            000018, and CC-SOP-000019.

         3. In February 2000, Purdue acknowledged its obligation under the Controlled Substances
            Act to have a “system in place which will disclose suspicious orders of controlled
            substances to Purdue personnel.” 804 Purdue stated specifically, “[w]e are required by the
            DEA to have such a system in place.” 805 From day one, Purdue was primarily concerned
            with the effect that such a system would have on its relationships with its “customers”
            (various distributors). One problem that was identified early on was the fact that Purdue
            “would be reviewing a large percentage of our orders under these guidelines.” The reality,

  804
        PPLPC004000119321
  805
        Id.




                                                   168
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              as realized by Purdue’s National Accounts department, was that any review of an order
              “would be well after the shipment.” Purdue’s position was that “National Accounts primary
              function is to sell, not police orders.” 806 This attitude was borne out through the years via
              a practice of rapid approvals of orders of unusual size, frequency, and dollar amounts prior
              to shipment. 807

         4. Purdue’s SOP 7.7 required the Senior Manager of Customer Service, the Senior Director
            of Finance Operations, or the Director of Credit Services to review all suspicious orders
            identified pursuant to SOP 7.7. It required Purdue to inform the field division office of
            DEA of suspicious orders when discovered. Final reports and recommendations were
            placed in Purdue’s “customer’s credit file” as well as being copied to 4 separate Purdue
            executive officers. 808

         5. Despite clear recognition of the limitations of SOP 7.7, in responding to questions from the
            NJ Field Division of the DEA regarding the adequacy of Purdue’s SOM efforts in January
            2006, Purdue identified SOP 7.7 as the mechanism by which Purdue “would determine a
            suspicious order.” 809 Purdue represented to the DEA the following:

                     “During the ordinary course of business, members of the Controlled Substances
                     Team in Customer Service are familiar with customer order frequency, order
                     quantities, and dollar amounts. They review each order for unusual quantities or
                     any other deviation from the customers regular order pattern. If any deviations are
                     found, the Customer Service Representative will submit the customers purchase
                     order to the Senior Manager of Customer Service or the Senior Director of Finance
                     Operations for further review. The company business officials then conduct a
                     further internal review process. If the order appears to be suspicious the
                     information is provided to the Associate General Counsel and the Executive
                     Director of CSA Compliance. A determination will then be made if further
                     investigative steps are required and if the findings should be reported to the
                     appropriate Field Office of the DEA.” 810

              The extensive layering system described above created a regime in which an incoming
              suspicious order would have to be evaluated on four different levels before being
              determined to be “suspicious,” despite the fact that it had been flagged as suspicious by
              Purdue’s Customer Service Representative.


  806
     National Accounts further laid out the limitations inherent in Purdue’s earliest version of an Order Monitoring
  System in PDD8801146346.
  807
    See generally PPLPC004000207529, PPLPC004000207523, PPLPC004000215590, PPLPC004000213649,
  PPLPC004000214875, PPLPC004000218107; Deposition testimony of Stephen Seid Vol. 2, 12/13/2018 at 314:20.
  808
        PPLPC004000119321.
  809
        PPLPC020000057781 at 792.
  810
        Id.




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         6. Purdue’s files contain numerous examples of orders received by National Accounts from
            authorized distributors that were deemed suspicious because they exceeded the size of prior
            orders from the same distributor. These orders were approved, sometimes within minutes,
            without any serious review of the underlying “suspicious” order. 811

         7. SOP 1.14 documents Purdue’s quarterly Fee for Service Credit Process. 812 Purdue had 17
            wholesalers under agreement in 2013. 813 Fee for Service Agreements [FFS] and their
            counterparts, Distribution Service Agreements [DDSA] describe the calculations made by
            Purdue each quarter to provide chargebacks and rebates by Purdue back to each
            wholesaler. 814 The DDSA and/or FFS appear to be separate contracts (with slightly
            different percentages in each) with respect to each authorized Purdue distributor.

         8. Under the terms of the DDSA and/or FFS, Purdue’s distributors were paid to provide
            chargeback data, which is data that specifically traces the sale and distribution of Purdue’s
            product from its authorized distributors to each individual pharmacy, dispenser or other
            outlet. Purdue utilized a third-party software called ValueTrak (previously Edge
            Dynamics) to perform the analytics for the chargeback data. 815816 This chargeback data
            identifies the Purdue product delivered to every retail pharmacy, outlet and/or dispensary
            by Purdue’s authorized distributors. This data provides Purdue with visibility with respect
            to the size, pattern and frequency of most orders delivered to each and every pharmacy or
            other outlet.

         9. SOP 007, which was first instituted in 2009, developed an Order Monitoring System to
            review the above described chargeback data as well as IMS/IQVIA and other prescription,
            pharmacy and prescriber data available to Purdue. 817 The data was collected into the OMS
            database, which had the capacity to accept notes on the pharmacies under investigation by
            the committee. I am informed that information from the OMS database could also be
            generated into a report, and those reports were discussed at OMS committee meetings,
            typically scheduled every quarter, overseen by Purdue’s General Counsel’s Office. 818



  811
        Seid deposition at 314:20-318:18 and related exhibits.
  812
        PPLPC004000344799.
  813
        Id. at 4809.
  814
      Purdue’s contractual arrangement with Walgreens was slightly different and styled as an “Inventory Data License
  Agreement.” Under the un-signed versions of the agreements that we have, Walgreens would provide to Purdue, as a
  licensee, 852 and 867 distribution center data (daily data provided on a weekly basis) as well as store level 852 (data
  provided on a daily basis) for a fee. See generally PPLPC004000254710; PPLPC004000320062.
  815
        Deposition of Stephen Seid (Fact Deposition), 87:10-88:2; 138:15-139.
  816
        See generally deposition testimony of Stephen Seid Vol. 2, 12/13/2018.
  817
        PPLPP003430436.
  818
        PPLPC041000014663.




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         10. The OMS SOP 007 included the creation of an OMS Committee overseen by the General
             Counsel’s office at Purdue beginning in 2009 and then moving to Corporate Security’s
             oversight some years later. The OMS committee is currently inactive and suspicious
             monitoring duties are carried out pursuant to three new SOPs CC-SOP-000017, SOP CC-
             SOP-000018 and SOPs CC-SOP 000019 under the supervision of Corporate Ethics and
             Compliance committee, which from 2009 through September 2017 included
             approximately seven members. 819

         11. Pursuant to SOP 007, suspicious orders would by flagged as a result of algorithms applied
             to the chargeback data received from Purdue’s authorized distributors concerning
             approximately 35,000 to 45,000 pharmacies each year, dispensers and other outlets.
             Members of the OMS committee could change the algorithms. 820 At best, pursuant to the
             OMS database, only 1,567 orders were identified for investigation over 8 years. Of those
             investigated, it appears that as of 2012, 365 were reported to DEA. 821 Of the 365, 290 were
             reported in May of 2011 in an attempt to market OxyContin’s new “tamper-resistant”
             formulation. Those 290 pharmacies had actually ordered less OxyContin that the years
             before.

         12. Purdue has no limitation with respect to the amount of time a suspicious order investigation
             can remain open and unreported to DEA. In addition, there is no requirement for any
             investigative material to be in writing. Members of the OMS share what they learn with
             each other and the General Counsel’s office, but there is no requirement that any findings
             be memorialized in writing. 822

         13. Purdue, at least through September 2017, kept no consistent record of suspicious
             pharmacies or other entities referred to DEA as suspicious. Mr. Geraci, Senior VP of
             Compliance and a longstanding member of the OMS testified that the only way such
             referrals could be identified was to undertake a search of email files of individuals tasked
             with reporting duties. 823

         14. Purdue had data available to match suspicious prescribers with suspicious pharmacies but
             failed to refer either the prescribers or the pharmacies to DEA. 824




  819
     PPLPC012000378037; Depositions were taken of OMS committee members Stephen Seid, Jack Crowley and
  Frank Geraci.
  820
        See 30(b)(6) Deposition of Frank Geraci, Apr. 4, 2019, Rough Tr. 179:2-183:20.
  821
        PPLPC012000378037
  822
        Geraci Rough Tr. 55:16-57:5..
  823
        Geraci Rough Tr. 53:12-57:5.
  824
        Geraci Rough Tr. 131:3-146:11.




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          In sum, I conclude that Purdue did not maintain effective controls against diversion, failed
  to implement a reasonable SOM program, and failed to take reasonable steps to prevent their
  products from being diverted. In addition to my opinions above, it is my opinion that Purdue failed
  to keep DEA referral records in an organized and retrievable way making it difficult if not
  impossible for Purdue to utilize historical data to identify suspicious pharmacies, pharmacists,
  prescribers or other dispensaries. Purdue failed to use consistent algorithms and failed to
  investigate the suspicious orders identified by the algorithms. The algorithms Purdue did use were
  rigid and did not satisfy DEA requirements to detect and investigate suspicious orders. Purdue
  failed to clearly define a time limit for suspicious investigations to continue before DEA referral
  and otherwise allowing investigations to continue indefinitely. Purdue failed to adequately utilize
  ADD reports 825, ROCs 826, Region Zero lists 827, and other indicia of abuse and diversion. Purdue
  failed to maintain an OMS database that could not be overwritten nor keep a record of queries.
  Purdue’s most recent OMS SOPs continue to exhibit the same flaws as the previous SOPs.


           E. ENDO

          Based on the documents and testimony I have reviewed, Endo—like the Qualitest and Par
  entities that I am informed Endo acquired in 2010 and 2015 828, respectively—did not maintain
  effective controls against diversion, failed to implement a reasonable SOM program, and failed to

  825
     SOP 1.7.1 (2002, 2015) Abuse and Diversion Detection Program (ADD) “is designed to ensure that interactions
  with Prescribers and Pharmacists, that reveal observations or circumstances that suggest potential concerns, generate
  appropriate review and follow up.”825 The policy established an internal procedure at Purdue for implementing the
  ADD program and it provided specific examples of observations and circumstances that warrant review and follow
  up through submission of an ADD Report. This policy also requires the Corporate Compliance Department to audit
  and review sales representatives’ call notes to evaluate compliance with this ADD policy.
  826
     SOP 000001.0 (ROC) (2005, 2009) concerns the routing of Reports of Concern Regarding PPLP Marketed Opioids
  by field personnel at Purdue Pharma and all associated companies.826 The SOP does not apply to adverse events, but
  are defined as “an alleged specific occurrence of abuse or diversion of a PPLP Marketed Opioid Analgesic. Any
  reports were sent to Drug Safety and Pharmacovigilance Department (DSP) and then DSP forwarded any material
  they believe contains a ROC to Risk Management
  827
      SOP 65 required that there be a system in place to identify and handle possible cases of abuse and
  diversion. Purdue’s Sales Administration Department had access to prescriber information through IMS/IQVIA. Per
  SOP 65, on a monthly basis, a list of the top 200 prescribers of selected products was to be generated for review,
  including a report of the outliers. The top 200 were selected based on the total number of prescriptions written in the
  previous 12 months. The General Counsel’s office would then decide what, if any, further action would be taken. A
  sample list was attached to this SOP (with attachments A-F). Attachment A stated that doctors who can continue to
  be called on are printed in RED and doctors that cannot be called on nor can representatives receive commission are
  in BLUE and known as REGION ZERO.
  828
     Endo's acquisition of Qualitest (Endo Press Release, 9/28/2010. “Endo Pharmaceuticals Announces Agreement to
  Acquire Qualitest Pharmaceuticals for $1.2 Billion.” Accessible at http://investor.endo.com/news-releases/news-
  release-details/endo-pharmaceuticals-announces-agreement-acquire-qualitest; P. Campanelli Tr. 30:21-31:4) and Par
  (Endo Press Release, 9/28/2015. “Endo Completes Acquisition of Par Pharmaceutical and Provides Financial
  Guidance.” Accessible at http://investor.endo.com/news-releases/news-release-details/endo-completes-acquisition-
  par-pharmaceutical-and-provides; P. Campanelli Tr. 31:13-15).




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  take reasonable steps to prevent its products from being diverted. This conclusion is borne out by
  the documentary and testimonial evidence in this case, as further detailed below:


         1. I am informed that Defendants Endo Pharmaceuticals, Inc. (together with Endo Health
            Solutions, Inc, “Endo”) and Par Pharmaceutical, Inc. (together with Par Pharmaceutical
            Companies, Inc. f/k/a Par Pharmaceuticals Holdings Inc., “Par”) develop, manufacture,
            market, distribute, and/or sell prescription opioid products. 829 Endo affiliate Qualitest
            manufactured opioids both before and after Endo acquired it in 2010. Par also
            manufactured opioids before and after it was acquired by Endo in 2015. In 2015,
            Qualitest’s operations were combined with Par. Endo now sells branded products, while
            Par sells generics and/or non-promoted products. 830

         2. Although Endo is not a DEA registrant, in connection with its interactions with both
            DEA and FDA, it has represented that it would monitor orders and distribution of opioid
            products for signs of diversion, including suspicious orders. 831 The witness designated
            by Endo to provide testimony on behalf of Endo on SOM issues affirmed that Endo
            understood that it had a responsibility to maintain effective controls against diversion for
            orders of its opioid products. 832

         3. At all times, Endo’s internal order review system was carried out by employees in
            commercial/customer service departments, not by compliance staff that were
            independent from the sale of the product. 833

  829
      Endo Press Release, 6/23/2006. “Endo Press Release, “Endo Receives FDA Approval for Opana ER (oxymorphone
  HCl) Extended-Release and Opana (oxymorphone HCl) Immediate Release Tablets CII.” Accessible
  at: http://investor.endo.com/news-releases/news-release-details/endo-receives-fda-approval-opanar-er-
  oxymorphone-hcl-extended) [Charachterizes the Opana NDA as “internally developed”]; S. Macrides Tr. 40:6-
  41:8; ENDO-OPIOID_MDL-04927196 generally; ENDO-CHI_LIT-00547005 generally; S. Macrides Tr. 40:6-22; S.
  Macrides Tr. 40:6-22.
  830
        Depo. of P. Campanelli, 32:8-18; Depo. of Macrides, 81:1-17; 81:23-82:12, 16-17.
  831
      Endo met with the DEA to brief the agency on Endo’s risk management plan to prevent diversion of oxycodone
  ER. See 2003.9.30 DEA ENDO Meeting ENDO- OPIOID_MDL-00451334. This was following the announcement
  of the DEA’s action plan to prevent diversion and abuse of OxyContin (which also mentioned a long history of abuse
  of Endo’s Percocet and Percodan oxycodone combination products). 2003.7.14 DEA Action Plan to Prevent
  Diversion, ENDO-OPIOID_MDL-01692317. Endo assured the DEA Endo would “monitor for signals of diversion”
  of generic OxyContin, and noted that, although Endo could not “predict what that signal will look like,” Endo was
  “committed to working with the DEA and law enforcement agencies as appropriate” ENDO DEA Meeting Minutes,
  p.2 ENDO-OPIOID, MDL-01706007. Endo made similar representations to FDA in a “RiskMAP” put in place in
  connection with Endo’s launch of Opana ER in 2006. ENDO-CHI_LIT-00234542. The RiskMAP represented that
  “[a]s for all of Endo’s controlled substance products, the manufacturing and distribution chain is highly controlled
  and closely monitored,” including “order management practices” that allegedly “monitored [order data] frequently
  to look for unusual changes in deliveries to customers.” Id. at § 3.4 and Appendices 2 & 3.
  832
        S. Macrides Tr. 94:5-21
  833
        L. Walker Tr. 53:1-54:10; ENDO-CHI_LIT-00234542.




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         4. Until at least 2014, Endo never conducted any due diligence with respect to the
            customers to which it was selling its opioids beyond confirming the customer held a
            DEA registration. 834 In testimony, Endo asserted that it relied on due diligence and site
            visits conducted by Qualitest/Par, but testimony from representatives of Qualitest’s head
            of DEA compliance from 2011 through 2014 indicates that Qualitest had no responsibility
            for Endo’s SOM process or associated due diligence. 835

         5. Until at least 2013, Endo’s internal order review system was a “limited” system using
            a rudimentary algorithm that did not monitor for orders of unusual quantity, size, or
            frequency. 836 The process was designed only to identify “excessive” orders from a
            commercial perspective, rather than suspicious orders based on unusual volume,
            frequency or pattern. Specifically, in 2013, Ms. Walker stated:

              In Endo’s SAP system, we have a limited SOM Program that looks at our buying
              (wholesalers) customers’ 3 month and 12 month history and if any order is above
              the 3 or 12 month it goes on hold until it is reviewed by Customer Service. 837

             Beginning in 2014, Endo expanded its algorithm for identifying suspicious orders to
             include three order characteristics—quantity, size, and frequency—by class of customer
             trade. 838 However, despite tens of thousands of order line items for controlled substances
             having been flagged under this and predecessor order systems, no suspicious orders were
             ever reported to DEA by Endo or UPS for Endo products at any point in time. S. Macrides
             Tr. 103:19-109:5; L. Walker Tr. 67:4-68:7.

         6. Endo never examined chargeback data as part of its internal order review process for

  834
     Prior to 2014, Endo conducted no due diligence on its customers or customers’ customers. Walker Tr., 633:18-
  635:21. In 2014, Endo was aware of a duty to perform such due diligence. ENDO-OPIOID_MDL-05968962. Endo
  inquired whether UPS (Endo’s third party order fulfiller) could carry out this due diligence on its behalf.
  PAR_OPIOID_MDL_0000369517. But UPS made clear that it could not carry out Endo’s “know your customer”
  duties. PAR_OPIOID_MDL_0000369517. Additionally, UPS noted in its own November 2009 SOM Summary
  that due to UPS’s lack of a direct contact with its clients’ (like Endo) customers, UPS is unable to conduct routine
  customer questionnaires, on-site visits, or ensure legitimate use of controlled substance products. UPSSCS0007432.
  Endo’s corporate designee confirmed that the “know your customer” obligation was an Endo obligation. S.
  Macrides Tr. 544:14-545:14.
  835
        T. Norton Tr. 346:13-18.
  836
        EPI000620553
  837
        Id. at EPI000620553
  838
      ENDO-OPIOID_MDL-05969985; It does not appear that Endo ever had any SOM-specific SOPs. L. Walker Tr.
  300:23 – 309:24. Ms. Walker did identify a 2015 SOM Program Summary (ENDO-OPIOID_MDL-059482), but that
  document does not contain any “Standard Operating Procedure.” Notably, a master list of Endo’s company-wide
  SOPs did not contain any SOM SOPs or DEA Compliance procedures, at least as of 2012. ENDO-OPIOID_MDL-
  05950068.




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             its branded opioids. As of December 2018, Endo’s order review system did not
             utilize chargeback or IMS/IQVIA data, and relied on Qualitest and later Par to
             perform site visits and due diligence. 839 However, the former head of DEA
             compliance for Qualitest, Tracy Norton, testified that her group had no responsibility
             for Endo’s branded business. 840 Ms. Walker also testified that Endo never conducted
             site visits of its customers or its customers’ customers. 841

         7. Endo’s internal order review system never resulted in any order of an Endo opioid being
            reported to the DEA and Endo never blocked shipment of any opioid order based on its
            internal reviews, despite orders being flagged for review by Endo’s systems. 842

         8. An August 2008 audit by a DEA consultant found that Qualitest’s system for reporting
            suspicious orders to DEA needed improvement to comply with regulatory
            requirements—particularly with respect to information needed for decisions about
            whether or not to ship an order. 843 Additionally, from 2008-2015, Qualitest was the
            subject of several DEA investigations, letters of admonition, civil penalties, and
            enforcement actions. 844 Among other things, the DEA found Qualitest records could

  839
        L. Walker Tr. 190:1-190:13, 164:9-174:17.
  840
        T. Norton Tr. 343:18-346:18.
  841
        L. Walker Tr. 635:1-9.
  842
     In the fall of 2013, Endo and Qualitest audited the UPS SCS SOM program. PAR_OPIOID_MDL_0000404095;
  L. Walker Tr. 586:15-590:4. Among other things, the internal audit found that, as of February 2013, UPS SCS had
  not reported any Endo/Qualitest product orders as “suspicious orders” to any agency, did not visit customers, lacked
  the functionality to visit or know customers’ customers, and did not utilize chargeback data, trending analyses, or
  modify its program based on current diversion trends.                          PAR_OPIOID_MDL_0000404285;
  PAR_OPIOID_MDL_0000404095 (noting “items identified as concerns during the audit are classified below as E/Q
  or UPS”) (emphasis added); see also PAR_OPIOID_MDL_0000376972, p. 9 (“gaps identified” in UPS SCS
  program).         See also UPS DEA Non-Prosecution Agreement, Mar. 29, 2013, available
  athttps://www.justice.gov/sites/default/files/usao-ndca/legacy/2013/03/29/UPS.%20signedNPA.pdf
  843
        PAR_OPIOID_MDL_0000076010.
  844
      DEA Enforcement Actions Include: 1) Sept. 25, 2008 DEA Investigation of SOM Handling & Procedures
  PAR_OPIOID_MDL_0000399716; 2) Sept. 24, 2010 DEA Letter of Admonition for Generics Bidco Violations with
  Sept. 30, 2010 QT Response to DEA Letter of Admonition PAR_OPIOID_MDL_0001615738; 3) Sept. 27, 2010 DEA
  Notice of Intent to Serve Civil Penalties for Violations of the Controlled Substances Act
  PAR_OPIOID_MDL_0002102288; 4) Feb. 15 2011 QT MOA with Alabama US Attorney & $15,000 Fine
  PAR_OPIOID_MDL_0002102288 (failed to maintain complete and accurate records and inventories of controlled
  substances imported and/or received in violation of federal statute and regulations); 5) Nov. 2011 DEA Charlotte
  Inspection PAR_OPIOID_MDL_0000390035 (DEA discussed SOMS requirements at length and the initial inspection
  that led to Mar. 2013 SOMS meeting); 6) July 10, 2012 QT DEA Deficiency Letter (for failure to maintain adequate
  security and storage of controlled substances or keep accurate accountability) and Aug. 10, 2012 QT Response to
  Deficiency Letter ENDO-OPIOID_MDL-02827463 ; 7) Nov. 27, 2012 DEA Quota Meeting
  PAR_OPIOID_MDL_0000369261; 8) Mar. 6, 2013 DEA QT SOM Meeting PAR_OPIOID_MDL_0001647888
  (internal DEA Meeting Minutes found QT had Inadequate SOMS); 9) Oct. 17, 2013 Follow-Up DEA Meeting for
  Briefing on Compliance Efforts/Changes re SOMS ENDO-OPIOID_MDL-01448683; 10) Sept. 30, 2014 Qualitest
  DEA Notice of Intent to Serve Civil Penalties for CSA Violations PAR_OPIOID_MDL_0001059825 ( relating to
  inaccurate recordkeeping & egregious inventory discrepancies) and Dec. 31, 2014 QT Settlement Discussion




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            not account for, and had deviations of, at least 9 million pills for the period of
            December 31, 2012 through July 14, 2014. 845

         9. As late as March 2013, Qualitest’s SOM process had multiple deficiencies, including:

                 i. Qualitest applied SOM only to “retail” customers; 846
                ii. Orders were only on the basis of “historical purchases by an individual customer
                    (thresholds),” 847 and not by size pattern or frequency as required by 21 CFR
                    1301.74; 848;
               iii. Qualitest did not evaluate chargeback data for SOM 849;

               iv. Qualitest did not conduct rigorous due diligence of its customers or customers’
                   customers; 850 851

                v. Qualitest’s site visits and due diligence were carried out by sales
                   personnel, not compliance staff. 852

         10. At least as late as June 2009, Qualitest personnel “cut” orders down in size and just
             increased the number of orders, so that each smaller order would clear Qualitest’s SOM
             “thresholds,” without reporting the size of the original single order to the DEA as


  Response. PAR_OPIOID_MDL_0002108008 (noted new SOPs and SAP system they were implementing to fix issues
  DEA identified in their inventory & record keeping of controlled substances); 11) Feb. 18, 2015 QT MOA with
  Alabama US Attorney & $300,000 Penalty PAR_OPIOID_MDL_0002102254; 12) Sept. 10, 2015 DEA Letter of
  Admonition for Manuf. QT/Vintage Pharmaceuticals CSA Violations ENDO-OPIOID_MDL-02879035 and Sept. 29,
  2015 QT Response to DEA Letter of AdmonitionENDO-OPIOID_MDL-02879037.
  845
        PAR_OPIOID_MDL_0001059825.
  846
        PAR_OPIOID_MDL_0000363469
  847
        PAR_OPIOID_MDL_0001647888
  848
    PAR_OPIOID_MDL_0001647888; PAR_OPIOID_MDL_0000373333; PAR_OPIOID_MDL_0000018920; T.
  Norton Tr. 301:11-302:2
  849
        PAR_OPIOID_MDL_0001647888; T. Norton Tr. 71:12-73:5
  850
      PAR_OPIOID_MDL_0001647888 (During the meeting with FDA Norton stated that Qualitest did not conduct
  “routine” visits to customers or customers’ customers); T. Norton Tr. 232:1-13 (Norton was “unaware” of any due
  diligence files created as a result of customer visits prior to 2013)
  851
     In October 2013, Qualitest wrote to its customers explaining that Qualitest was changing its SOM process to include
  confirmation that customers had suspicious order monitoring practices in place to ensure legitimate use of their
  products. In its letter, Qualitest acknowledged it had a duty to conduct its business as a “responsible corporate citizen”
  and, therefore, “to do as much as we can to prevent drug abuse and diversion in our communities.do everything
  possible to prevent diversion, and that the failure to have “adequate controls in place to discourage and prevent the
  diversion of prescription products” can lead to prescription opioids leaving “legitimate channels,” with “heart-
  wrenching consequences” for the community. ABDCMDL00337067.
  852
        PAR_OPIOID_MDL_0001647888




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            suspicious. 853

         11. The due diligence process Qualitest implemented in late 2013 was not applied
             conscientiously or consistently. For example, large “Tier 1” customers’ orders could not
             be reported or stopped as suspicious through the process that applied to other customers,
             but were instead routed to the Chief Operating Officer.

         12. Qualitest’s implementation of its new standards was not robust, and overlooked diversion
             risks for its biggest customers. For example, even when proper policies were lacking and
             raised concerns, Qualitest continued to seek ways to work with the customer, rather than
             terminating the relationship. 854 It was only when Qualitest began looking at chargeback
             data that Qualitest found problematic secondary customers and actually reported them to
             DEA. Likewise, Qualitest did not report or cease distribution for any of its biggest
             customers or their customers. Par’s 3/4/19 Response to Plaintiffs’ Interrogatory No. 32.
             Indeed, Qualitest’s SOM Advisory Board, established to determine appropriate action on
             SOM issues, did not have the authority to terminate “Tier 1” customers, i.e. a customer
             with a minimum of ten million dollars in overall sales and/or 750,000 dosage units of
             controlled substances or List 1 chemical purchases annually; such action was left to the
             discretion of the Chief Operating Officer. 855

         13. At least as early as 2010, Par was selling opioid products, 856 but, according to an
             outside audit, had no SOM program. 857

         After Endo acquired Par in 2015, internal documents confirmed that Par’s order review
  process still had major deficiencies, including: SOM decisions made by sales or customers

  853
      Specifically, the 2009 Qualitest SOM audit review found: “The review of Order Release Requests showed that
  many requests were made for quantities of drugs that were several times greater than the current limit set in the order
  monitoring system. In most of those instances, the size of the order was cut down and the order was approved to be
  released, with some increase to the limit in the Order Monitoring System. Although the original order requested a
  quantity of controlled substances that was larger than QT was willing to ship to the customer, no report of a suspicious
  order was sent to the DEA as required by 21 CFR 1301.74(b). Each Order Release Request that is rejected or modified
  by QT should be sent to DEA as a suspicious order. Sending these orders to DEA will document to DEA that QT is
  monitoring the orders on a continuing basis and is monitoring controlled substance orders in a reasonable manner.”
  Id. at PAR_OPIOID_MDL_0000398177. See also . PAR_OPIOID_MDL_0000398174.
  854
     E.g., PAR_OPIOID_MDL_0000020898 (March 19, 2014 report by Qualitest Manager, Customer Due Diligence
  & SOM expressing “concern with the current program” used by Preferred Pharmaceuticals);
  ENDO_HSGAC_0010368 (October 2014 emails concerning ongoing communications between Qualitest and
  Preferred Pharmaceuticals concerning Preferred Pharmaceuticals’ very informal SOM program).
  855
        PAR_OPIOID_MDL_0001642692.
  856
     See Par 3/4/2019 Response to Plaintiffs’ Interrogatory No. 33, Exhibit A (reflecting sales, for example, of
  Chlorphen/Hydrocodone (in 2010), Morphine Sulfate ER (beginning in 2012), and Oxycodone (beginning in 2014).
  857
    Review of Par’s DEA compliance found “There is no Suspicious Order Monitoring program in place.”
  PAR_OPIOID_MDL_0001053153.




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  service rather than regulatory employees, no customer due diligence other than confirming a
  DEA license, no reliable review for size, pattern or frequency and an SOP that only required
  reporting “criminal” activities to the DEA, which “misse[d] the point of the regulations,”
  which is that, “suspicious orders should be reported as soon as they are identified.” 858
  Furthermore, there were no SOMS staff and the SOMS function was limited to a manual
  review conducted by sales personnel, which was “viewed as a conflict of interest by the
  DEA,” 859 After the Par-Endo merger, the former elements of the QT DEA compliance unit
  took responsibility for SOMS for both businesses. 860
          In sum, I conclude that Endo, Qualitest, and Par did not maintain effective controls against
  diversion, failed to implement a reasonable SOM program, and failed to take reasonable steps to
  prevent their products from being diverted. Endo employed a rigid “excessive orders” system
  operated by sales and commercial personnel, never looked to available data on its customers’
  customers, and failed to conduct any meaningful due diligence of its customers. Until at least
  the spring of 2013, Qualitest applied SOM review only to “retail” customers, used a rigid formula
  that did not examine orders for unusual size, frequency, or pattern or account for class of trade,
  ignored available data on its customers’ customers, and failed to conduct any meaningful due
  diligence. After the spring of 2013, Qualitest’s SOM program lacked real rigor, independence,
  and consistency. Par had no effective, independent SOM program prior to 2015 and, thereafter,
  operated under the deficient program Qualitest used. None of these entities employed an SOM or
  order review program that was an effective control against diversion.


              F. TEVA

         I am informed that Teva Pharmaceuticals Industries, Ltd. (“Teva Ltd.”) sells and distributes
  name-brand and generic opioid pharmaceutical products through the following United States
  subsidiaries: 861
              •   Teva Pharmaceuticals USA, Inc. (“Teva USA”), which sold and continues to sell
                  generic opioids pharmaceutical products at least since 2006. 862




  858
        PAR_OPIOID_MDL_0001596366
  859
        PAR_OPIOID_MDL_0001024034.
  860
        Id.
  861
     Depo. of Hassler, 34:11-43:19, Exhibit 4.
  862
      I am informed Teva is the ANDA holder for generic Vicoprofen (hydrocodone bitartrate and Ibuprofen tablets;
  ANDA 076023) which was approved by the FDA on April 11, 2003. Additionally, I am informed Teva acquired Barr
  Pharmaceuticals in 2008, and Barr was the ANDA holder for generic Demerol Tablets (meperidine hydrochloride
  tablets; ANDA 088639), which was approved by the FDA on July 2, 1984. Moreover, Barr received a license from
  Cephalon to sell generic Actiq, which became effective September 5, 2006. (see Cephalon, Inc. v. Barr Labs., Inc.,
  389 F.Supp.2d 602 (2005)) Therefore, it appears Teva and its predecessor entities may have sold generic opioids prior
  to 2006. See also, Depo. of Hassler, 217:17-218:6.




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           •   Cephalon Inc. (“Cephalon”), which Teva Ltd. acquired in 2011, and which sold and
               continues to sell Actiq and Fentora, two name-brand Transmucosal Immediate-Release
               Fentanyl products approved by the FDA in 1998 and 2006 respectively. 863
           •   Watson Laboratories, Inc., Actavis, LLC, and Actavis Pharma, Inc. (f/k/a Watson
               Pharma, Inc.) (“Actavis Generic entities”), which Teva Ltd. acquired from Allergan plc
               in 2016 as part of its acquisition of Allergan’s global generic pharmaceutical business
               for $40.5 billion, and which sold and continues to sell generic opioids. 864

         I am further informed Teva USA and Cephalon ran a combined SOM program after
  Cephalon’s acquisition in 2011, and I am informed that both entities operated as a single unit with
  regard to the marketing, sale and distribution of Cephalon’s name-brand opioid products. After
  Teva Ltd. acquired the Actavis Generic entities in 2016, those entities were folded into the Teva
  USA SOM program.
      Based on the evidence I have reviewed in this case, Teva did not maintain effective controls
  against diversion via an adequate SOM program and failed to take reasonable steps to prevent its
  products from being diverted. This conclusion is based on the following facts, as established by
  the evidence in this case and as elaborated on in more detail throughout this section:

        1. The only written standard operating procedure identified by Teva that in any way concerns
           suspicious order monitoring is SOP-0013489 (“Order Management”), which was approved
           for Cephalon on June 1, 2009 prior to its acquisition by Teva. Under those procedures,
           orders by customers that are not pre-authorized by Cephalon were investigated as
           potentially suspicious and investigated by the Logistics Manager or designee and the order
           is reported to the DEA if follow up suggested it is suspicious. Unauthorized customers that
           wished to proceed with their orders were required to open new accounts. 865

        2. In 2012, Teva hired Ronald Buzzeo and Cegedim Relationship Management to perform an
           onsite review and assessment of Teva’s then current SOM system at Teva’s North Wales,
           Pennsylvania site. 866

        3. On September 25, 2012, Buzzeo and Cegedim submitted their report 867 to Teva’s Director
           of DEA Compliance, Colleen McGinn.

        4. The Buzzeo report noted Teva had a “rudimentary” SOM system with a process for
           opening new accounts and pended orders using a program known as “SORDS (Suspicious

  863
     Depo. of Marchione, 23:16-22; 68:17-69:12; Ex. 5; Ex. 32.
  864
     Watson Pharmaceuticals acquired Actavis Group in 2012, and changed its name to Actavis plc. In 2016, Allergan
  plc completely shed its generic drug business and sold the Actavis Generic entities and its other generic assets to Teva
  Ltd. for $40.5 billion. See also Depo. of Hassler, 34:11-43:19; Ex. 4; 56:11-58:9; 59:10-63:20; Ex. 5.
  865
      Depo. of Hassler, 72:11-76:21; Ex. 7.
  866
      Depo. of McGinn, 236:15-237:23; 243:12-266:1; Ex. 15.
  867
      MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).




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             ORDerS), which the report concluded “is not sufficiently sensitive to customer ordering
             practices to result in any meaningful analysis of customer order practices.” 868

         5. The Buzzeo report further noted Teva had never identified a suspicious order or reported a
            suspicious order to the DEA, and had “no program to review ‘downstream distribution’ of
            Teva products, and there were “no formal Standard Operating Procedures or official
            guidelines ….” 869

         6. The Buzzeo report 870 made a number of further findings and recommendations including
            the following:

                    a. Teva’s current due diligence on new and existing customers was inadequate.
                       The report recommended expanding the amount of initial due diligence for
                       existing and potential customers to include at a minimum further initial client
                       screening including a questionnaire, an on-site visit and internet research on the
                       customer.
                    b. Teva’s SORDS system was inadequate to properly evaluate for suspicious
                       orders. That system “rel[ied] heavily upon the use of standard deviations for
                       identifying orders that [were] possibly suspicious.” Under this system, any
                       order that was in excess of three standard deviations above the mean was
                       “pended” for further investigation, which the report noted only identified three
                       out of 1000 orders and failed to identify orders of unusual frequency or pattern.
                       The empirical rule is that a system using three standard deviations would
                       identify only 0.3% of orders as requiring further investigating. The report
                       recommended immediate changes to SORDS including reducing the limit from
                       three to two standard deviations, as well as certain long-term solutions to
                       improve their monitoring system.
                    c. Teva’s investigation of “pended” orders was not well-documented. The report
                       recommended a process for Teva to investigate and document its investigation
                       and to access information in the course of such investigation.
                    d. Teva did not have standard operating procedures or official guidelines for the
                       operation of an SOM program, and the procedures followed did not have
                       sufficient depth for opening new accounts and reviewing pended orders. The
                       report recommended developing such written procedures and guidelines.
                    e. Additional recommendations included developing, incorporating and using
                       information “regarding what their wholesaler/distributor customers sell further
                       ‘downstream;’” putting in place SOM programs for Teva’s manufacturing sites;
                       and addressing state regulations.



  868
        MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
  869
        MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
  870
        MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).




                                                    180
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         7. After the report was submitted, Teva decided to develop and operate a new SOM system
            internally rather than retain outside third parties to assist in this process. Teva first hired
            Kevin Kreutzer from AmerisourceBergen in January 2013 to design, develop and operate
            the Teva SOM program. Mr. Kreutzer was terminated by Teva after two and a half months
            on the job. Prior to that time, Teva never had an individual who was specifically assigned
            to manage the suspicious order monitoring program. 871 Teva next hired Joseph
            Tomkiewicz from AmerisourceBergen in January 2014 to design, develop and operate the
            Teva SOM program. Mr. Tomkiewicz was a corporate investigator for AmerisourceBergen
            from 2008 to 2012, performing new customer due diligence and suspicious order review,
            and was its Diversion Program Manager in 2013 before leaving for Teva. 872

         8. Tomkiewicz ultimately designed a SOM program which he coined “DefOps,” which
            means “Defensible Operations,” which Tomkiewicz testifed was named that way because
            it was intended to be a system defensible if there was an audit by state pharmacy
            organizations or the DEA. 873 The first version of the DefOps system was not put in place
            until March 1, 2015 to replace the SORDS system. 874

         9. The written SOPs for the system were drafted and approved internally by Teva in August
            2014, nearly two years after the Buzzeo/Cegedim report recommended Teva have written
            SOM procedures in place. 875 The initial SOM SOPs and later revisions are as follows: 876


   SOP                            SOP Name                              SOP                   BATES
    No.                                                                 Date
   8279       SOM – Customer Due Diligence                           8/1/2014      TEVA MDL A 02660924
   8280       SOM – Customer Site Visits                             8/1/2014      TEVA MDL A 02660932
   8277       SOM – DEA Order Holds                                  8/1/2014      TEVA MDL A 02660892
   8278       SOM – Do Not Ship List                                 8/1/2014      TEVA_MDL_A_01061094
   8489       SOM – DEA Order Holds – Locations Other                10/1/2015     TEVA_MDL_A_03160173
              Than New Britain, PA, and North Wales, PA
   8277       SOM – DEA Order Holds                                  6/18/2018     TEVA MDL A 01158453
   8278       SOM – Do Not Ship List                                 6/18/2018     TEVA MDL A 01158463
   8279       SOM – Customer Due Diligence                           6/18/2018     TEVA_MDL_A_01158470
   8280       SOM - Customer Site Visits                             6/18/2018     TEVA MDL A 01158479

  871
        12/14/18 McGinn Depo., pp. 289-90.
  872
    Depo. of McGinn, 289:18-299:4; 300:8-319:5; 320:11-21; 322:17-24; 323:11-18; Ex. `2; Ex. 19; Ex. 20.;
  Tomkiewicz Dep. p. 139:19-140:4; 141:11-142:7; 142:24-143:11; 144:4-6; 217:10-218:16.
  873
        11/28/18 Tomkiewicz Depo., pp. 267-77 (DefOps System); pp. 319-29 (2015 internal audit findings).
  874
        11/28/18 Tomkiewicz Depo., p. 266.
  875
        11/28/18 Tomkiewicz Depo., p. 243; see also 11/16/18 Hassler Depo., Exh. 7 (SOM SOP Chart).
  876
    11/28/18 Tomkiewicz Depo., pp. 244 and 358-58; 11/16/18 Hassler Depo, pp. 72-78 and Exh. 7 (SOM Chart);
  MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).




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         10. Teva’s DEA Compliance Department only has a single SOM manager, Joseph
             Tomkiewicz, and a single employee, Mathew Benkert, reporting to Mr. Towkiewicz to
             identify, investigate and release suspicious orders and report them to the DEA. 877

         11. Teva’s current DefOps SOM system utilizes an internally developed algorithm that
             analyzes at least in part chargeback and 867 data to identify potentially suspicious orders
             that it then analyzes for suspicious orders. 878 Tomkiewicz testified the chargeback and 867
             data (which provides pharmacy level data) 879 is incomplete and does not cover all products
             and cannot identify individual prescribers. 880 Prior to the DefOps system, Teva did not use
             chargeback or 867 data to analyze suspicious orders even though Teva acknowledged that
             the data was available and there was no reason it could not have been utilized earlier. 881

         12. Teva’s DefOps and the prior SORDs system relied and continues to rely on its sales
             department to assist in conducting an investigation into a potentially suspicious order.
             Teva’s SOM operating procedures provide that the “Suspicious Order Oversight Team”
             includes “a representative from DEA Compliance, Customer Service, and Customer
             Account Management”; that if an order is not consistent with a customer’s previous order
             that Customer Service “will contact the customer for clarification about the quantity
             ordered” and further “Customer Service will contact the customer to request the reason for
             the increase change in ordering pattern”; and “if a customer does not satisfactorily respond
             to a Customer Service inquiry, the appropriate Sales Associate will be contacted and
             instructed to obtain an explanation from the customer.” 882 The involvement of Teva’s sales
             department in the SOM investigation process creates a conflict of interest. 883

         13. This conflict is illustrated by the involvement of Teva’s sales department in the DEA
             Compliance Department’s investigation of a potentially suspicious order of Teva’s generic
             oxycodone product wherein the DEA Compliance Department found suspicious activity
             with regard to the order, but did not report the order to the DEA and shipped the order

  877
        11/28/18 Tomkiewicz Depo., pp. 204-05.
  878
        11/28/18 Tomkiewicz Depo., pp. 379-89; see also 11/16/18 Hassler Depo., pp. 141-49.
  879
        11/28/18 Tomkiewicz Depo., p. 387.
  880
        11/28/18 Tomkiewicz Depo., p. 387.
  881
     11/28/18 Tomkiewicz Depo., pp. 379-84 (testifying about the use of chargeback and 867 data, that Teva was not
  using chargeback data when he arrived at Teva in 2014, and that Teva started using 867 data in 2017); McGinn Depo.,
  pp. 242 and 454-56 (testifying Teva started using chargeback data in 2015 at the earliest), and Exh. 35 (April 2015
  Chargeback Analysis); see also 11/16/18 Hassler Depo., pp. 141-49.
  882
    TEVA_MDL_A_01158453 (Teva 2018 Standard Operating Procedure 8277, “Suspicious Order Monitoring - DEA
  Order Holds”).
  883
     See 11/28/18 Tomkiewicz Depo., pp. 393-407 and Exh. 18, Slide 20 (Tomkiewicz Powerpoint slide entitled
  “Managing Conflicts”); see also 1/15/19 Boyer Depo., pp. 124 and 227 (testifying that key competitive advantage for
  generic drug manufacturers is to ensure a continuous and uninterrupted supply of those products)..




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          without sufficient documentation of a basis to dispel that suspicion. The documents and
          deposition testimony by Teva’s SOM manager, Mr. Tomkiewicz, reflect Teva’s DEA
          Compliance Department identified a potentially suspicious order by Publix Supermarkets
          for its in-store pharmacies made through Anda, Inc., one of Teva’s wholesaler customers.
          Per Teva’s procedures, Mr. Tomkiewicz requested that the Teva Sales Department obtain
          further information about their top 10 stores by oxycodone tablet volume; a breakdown by
          SKU number of their ER and IR volume; and a list of the top 5 prescribers for each of the
          10 locations. Mr. Tomkiewicz identified a number of red flags with regard to the order
          including with regard to their Florida location, sales volume, and emphasis on the higher
          doses. 884 Upon receipt of further information and upon further investigation and analysis,
          Mr. Tomkiewicz found that 9 of the 10 pharmacies had ordered between 25.4% to 58.6%
          of the highest strength IR oxycodone dose (30 mg), and for 8 of those 9 the 30 mg was the
          largest percentage of sales. 885 In contrast, for the remaining pharmacy (which was near a
          cancer center) the lowest dose (5 mg) was the largest percentage of sales (42.3%) and the
          highest 30 mg dose sales was only 5%. 886 Mr. Tomkiewicz’s investigation and analysis of
          the top 5 prescriber information showed substantial pill mill activity associated with a
          number of those prescribers. 887 In the course of Mr. Tomkiewicz’s investigation, Teva’s
          Vice President for Commercial Operations, Christine Baeder, Teva’s Director of National
          Accounts, Jocelyn Baker, and Teva’s Senior Director for Trade Customer Service, exerted
          substantial pressure on the DEA Compliance Department and on Mr. Tomkowicz
          personally to release the full order to Publix and not to report the order to the DEA. 888 The
          Teva Sales Department took the view that the dispensing data was “good enough for them,”
          and that “Publix has 0.8% overall market share and we (Teva) are trying to capture generic
          oxycodone market share.” 889 Teva ultimately shipped the Publix order and did not report
          it to the DEA. 890 Teva should have reported the Publix order to the DEA and should not

  884
     11/28/18 Tomkiewicz Depo., pp. 417-21 and Exh. 17 thereto. The “serious red flags” identified by Tomkiewicz in
  his October 16, 2015 (Exh. 17) included the following:
          “1.      This is a high strength oxycodone ultimately going to Florida, a well established hot spot for
                   oxycodone abuse in the U.S.
          2.       The total quantities in the Publix forecast put them significantly above their peers as far as size and
                   class of trade are concerned.
          3.       The breakdown by strength with an emphasis on 40 mg does not appear to be normal for a retail
                   pharmacy.”
  885
          11/28/18 Tomkiewicz Depo., pp. 440-45 and Exh. 22 thereto (pp. 1-2).
  886
          11/28/18 Tomkiewicz Depo., pp. 442-43 and Exh. 22 thereto.
  887
          11/28/18 Tomkiewicz Depo., pp. 445-51 and Exh. 22 thereto (pp. 1-2).
  888
           11/28/18 Tomkiewicz Depo., pp. 408-59 and Exhs. 17 to 22; see also example of customer service
  involvement in Exh. 23 (customer service representative releasing order). In addition, Teva’s first SOM Manager,
  Kevin Kreutzer, testified he was terminated because he had contacted a downstream customer during an SOM
  investigation. (11/27/18 Kreutzer Depo., pp. 269-270.)
  889
          11/28/18 Tomkiewicz Depo., pp. 440-45 and Exh. 21 thereto
  890
          11/28/18 Tomkiewicz Depo., pp. 408-10.




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             have shipped the order. There is no written record of any steps that were taken by Publix
             or any follow up by Teva after the order was shipped to ensure Teva’s oxycodone was not
             diverted for inappropriate uses.

         14. Teva Ltd., which I am informed is Teva’s parent company in Israel, audited Teva’s DEA
             compliance department in 2015 and prepared a report critical of the department and the
             SOM program. 891 The report stated that Teva investigated 10,000 line orders per month of
             Schedule II products; of these 10,000 orders, 95% were automatically released. Only 5%
             of the orders were placed on hold to be manually checked. 892 The report found the DEA
             Department was in “non-compliance with DEA requirements” and was at “High Risk” of
             DEA regulatory action, and the SOM program was at “Moderate Risk” for such action. 893
             For the SOM program, the report focused primarily on the fact that suspicious orders were
             cleared through the decisions of a single person, which exposed the system to the risk of
             mistaken releases. 894 Ultimately, the recommendation was not implemented. 895

         15. I am informed that Teva’s 2018 SOM SOPs remain in effect, and apply to all Teva Ltd.
             U.S. subsidiaries, including Teva USA, Cephalon and the acquired Actavis Entities. The
             2018 written standard operating procedures are essentially the same as the initial SOM
             procedures that were approved by Teva in 2014. 896

         16. Teva’s current DEA Compliance Senior Director affirmed the following at her deposition:
                o At all times Teva sold and distributed opioid products, Teva had a duty to have a
                    suspicious order monitoring program in place. 897
                o Teva has a duty to investigate if they find suspicious opioid orders from their
                    customers. 898
                o If Teva does not have a suspicious order monitoring system or fails to have one that
                    is effective in identifying suspicious orders then they have breached their duty and
                    responsibility according to DEA regulations. 899
                o If Teva fails to investigate potentially suspicious orders then they have breached
                    their duty. 900

  891
        11/28/18 Tomkiewicz Depo., Exh. 14 (2015 Internal Audit Report), [TEVA_MDL_A_02475564].
  892
        11/28/18 Tomkiewicz Depo., pp. 319-29 (calculations re: orders flagged, investigated, and released).
  893
        TEV_A_MDL_A_02475564 (2015 Internal Audit, pp. 12, 18 and 22 of PDF).
  894
        TEV_A_MDL_A_02475564 (2015 Internal Audit, pp. 18 and 22 of PDF).
  895
        11/28/18 Tomkiewicz Depo. pp. 329-35.
  896
      Hassler Dep. p. 72:11-76:21, Exh. 7; Tomkiewicz Dep. p. 220:20-221:20; 227:9-228:7; 231:10-13; 241:12-244:3;
  244:5-246:9; 285:22-287:6; 301:7-12; 358:10-359:8; McGinn Dep. p. 323:1-10.
  897
        12/14/18 McGinn Depo., p. 125.
  898
        12/14/18 McGinn Depo., p. 128.
  899
        12/14/18 McGinn Depo., p. 129.
  900
        12/14/18 McGinn Depo., p. 131.




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                 o If Teva did not follow the DEA regulations and have effective systems in place to
                   prevent diversion, then they contributed to the opioid epidemic. 901

         17. I have not seen any suspicious orders were reported by Teva to the DEA prior to 2013, and
             from 2013 to 2018 the following numbers of suspicious orders were reported to the DEA
             by Teva: 902

             2013: 1
             2014: 1
             2015: 5
             2016: 0
             2017: 5
             2018: 16
          Without restating every finding laid out above, I conclude Teva’s SORDs system in place
  until 2015 was inadequate for multiple reasons, including the reasons stated in the
  Buzzeo/Cegedim report. Teva also took nearly two years after the Buzzeo report (August 2014) to
  approve written procedures, and two and one-half years after that report (March 2015) to institute
  a new SOM system. Teva also did not implement the use of chargeback or 867 data to identify
  suspicious orders by downstream customers until 2015 and 2017 respectively. Teva also designed
  an in-house SOM program I am informed without overview, assistance or review from outside
  consultants, but rather relied primarily on a single individual, Joseph Tomkiewicz, for the design
  and implementation of the program. 903 Teva’s SOM program also relies on and involves
  substantially the Teva sales department, which has clear financial conflicts, in its SOM
  investigation and system, and does not provide adequate separation of its SOM employees from
  the sales department in their investigation and decision-making with regard to decisions to suspend
  and report suspicious orders. Teva only identified 28 suspicious order reports to the DEA in its
  responses to interrogatories after the Buzzeo/Cegedim Report, mostly for smaller distributors and
  many of which consisted of multiple reports for the same distributors.




  901
        12/14/18 McGinn Depo., p. 135.
  902
           See 1/7/19 Responses and Objections of Defendants Cephalon, Inc., Teva Pharmaceuticals USA, Inc., Teva
  Pharmaceutical Industries Ltd., Actavis LLC, Actavis Pharma, Inc., and Watson Laboratories, Inc. to Plaintiffs’ Third
  Set of Interrogatories, Response to Interrogatory No. 32 (at p. 11) and Appendix A thereto (listing bates numbers for
  DEA reports). Many of the DEA reports identified in Appendix A appear to be duplicates.
  903
             McGinn Dep. p. 323:11-324:4; 341:5-13; 395:2-6; Tomkiewicz Dep. p. 216:15-219:18; 268:8-13; 320:4-12




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             G.      Insys 904
      Based on the evidence I have reviewed in this case, Insys failed to maintain effective controls
  to prevent diversion by failing to take reasonable steps to prevent its products from being diverted.
  This conclusion is based on the following facts, as established by the evidence in this case and as
  elaborated on in more detail throughout this section:
         1. From the launch of Subsys in 2012, the majority of Insys’ sales were to wholesale
            pharmaceutical distributors, which would sell Subsys to pharmacies, hospitals and other
            customers. In 2012, three wholesale pharmaceutical distributors, Cardinal Health, Inc.,
            McKesson Corporation and AmerisourceBergen Corporation, comprised approximately
            87% of the total gross sales of Subsys. These wholesalers comprised a significant portion
            of the distribution network. 905

         2. According to Insys, these distributors implemented SOM programs that addressed what
            had been set forth by the DEA. Distributors did not provide any SOPs of their programs
            but told Insys that they: review the size of the store and its product mix; review schedule
            II controlled substances (CII) vs. traditional drug dispensed; review the size patterns around
            CII medications; timing of CII orders; location of the facility, as well as some geographic
            areas that are ‘hot spots’ for diversion. Insys conducted no independent investigation
            regarding the distributors’ SOM programs at all. In spite of all this, distributors were
            allowed increases in Subsys if a specific reason for the requested increase was
            communicated. 906

            Insys never incorporated any of the relevant transactional sales data that could assist in
            disclosing diversion into its real-time SOM system, including, IQVIA, chargeback data,
            sales representatives’ tips, or even the Integrichain data that its Sales Operations team was
            using in order to sell its opioid products and track stocking at the pharmacy level. In spite
            of this, I am informed that Insys used this information to spot high prescribers and to ensure
            that wholesalers were stocking targeted pharmacies with Subsys, and that Insys was also
            buying third party data from Integrichain.
         3. Insys had a Trade and Distribution department tasked with ensuring the availability of Insys
            products while also maintaining effective controls to prevent diversion. 907 I am informed
            that Dion Reimer is the former Insys employee, is the person most knowledgeable with

  904
         Multiple depositions of Insys witnesses have been stayed pending a criminal trial in the District of
  Massachusetts. I reserve the right to supplement these opinions as any new information become available.
  905
        INSYS-MDL-007657600
  906
        Id. at FN1
  907
        INSYS-MDL-001668983




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             respect to the SOMs policies at Insys. However, Mr. Reimer’s deposition has been stayed
             until after the criminal trial by the DOJ in the District of Massachusetts because Mr. Reimer
             is on the DOJ’s witness list.

         4. Nevertheless, deposition testimony by current Insys employees has confirmed that Insys
            failed to implement any SOM system or maintain any SOM protocols until 2018. 908

         5. This failure to conduct any sort of SOM process continued despite the fact that Insys was
            conscious that it habitually lost track of inventory in its downstream customers like Linden
            Care. 909 For other wholesalers where they did not receive inventory level reports, Insys
            estimated the levels. Significant differences between actual and estimated inventory levels
            often resulted. Many times, distributor purchases exceeded customer demand, a situation
            that creates a risk of diversion.

  In my expert opinion, Insys failed to conduct any SOM process, even failing to track for orders of
  unusual size. The lack of any SOM program did not satisfy DEA requirements to detect and
  investigate suspicious orders. Insys failed to maintain effective controls to prevent diversion.

         I reserve the right to amend or supplement my opinions in this matter considering any
  new or additional information.




                                                                          James E. Rafalski

                                                                          Date: April 15, 2019




  908
        See Deposition of James Doroz at 53; 118; 251. See also Thomas Udicious Tr. at 19; 44.
  909
        See James Doroz Tr. at 221.




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Beginning Bates
ABDCMDL00000101‐ABDCMDL00000122
ABDCMDL00001245
ABDCMDL00001857
ABDCMDL00002325‐ABDCMDL00002334
ABDCMDL00002405‐ABDCMDL00002418
ABDCMDL00004578‐ABDCMDL00004602
ABDCMDL00037402
ABDCMDL00037404
ABDCMDL00037406
ABDCMDL00046622‐ABDCMDL00046627
ABDCMDL00048086
ABDCMDL00048231
ABDCMDL00159415‐ABDCMDL00159416
ABDCMDL00170319
ABDCMDL00170319
ABDCMDL00250024‐ABDCMDL00250063
ABDCMDL00253868‐ABDCMDL00253869
ABDCMDL00269383‐ABDCMDL00269387
ABDCMDL00270533
ABDCMDL00274105‐ABDCMDL00274118
ABDCMDL00278209‐ABDCMDL00278212
ABDCMDL00279848‐ABDCMDL00279853
ABDCMDL00279854‐ABDCMDL00279865
ABDCMDL00306728
ABDCMDL00306729
ABDCMDL00308070
ABDCMDL00308071
ABDCMDL00313653‐313654
ABDCMDL00316111‐316114
ABDCMDL00337067
ABDCMDL00337067‐ABDCMDL00337068
ABDCMDL00359957‐9961
ABDCMDL00379672
ABDCMDL00379673
ABDCMDL00379674
ABDCMDL00383973
ABDCMDL00383974
Acquired_Actavis_00184125
Acquired_Actavis_00184191
Acquired_Actavis_00265976
Acquired_Actavis_00441354
ACQUIRED_ACTAVIS_00488498
Acquired_Actavis_00573129
Acquired_Actavis_00665233
Acquired_Actavis_00945856
ACQUIRED_ACTAVIS_00945856


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ACQUIRED_ACTAVIS_00968401
ACQUIRED_ACTAVIS_01495929
Acquired_Actavis_01509414
ACQUIRED_ACTAVIS_01843335
Acquired_Actavis_01843336
ACTAVIS1129567
ACTAVIS1129567
ALLERGAN_MDL_00184191
ALLERGAN_MDL_00490299
ALLERGAN_MDL_00490306
ALLERGAN_MDL_00493795
ALLERGAN_MDL_00945856
ALLERGAN_MDL_01067715
ALLERGAN_MDL_01175570
ALLERGAN_MDL_01175574
ALLERGAN_MDL_01175581
ALLERGAN_MDL_01382907
ALLERGAN_MDL_01495929
ALLERGAN_MDL_01684748
ALLERGAN_MDL_01766993
ALLERGAN_MDL_01796473
ALLERGAN_MDL_01796473
ALLERGAN_MDL_01836235
ALLERGAN_MDL_01838989
ALLERGAN_MDL_01839001
ALLERGAN_MDL_01844724
ALLERGAN_MDL_01844862
ALLERGAN_MDL_01844864
ALLERGAN_MDL_01860386
ALLERGAN_MDL_01979834
ALLERGAN_MDL_01979834
ALLERGAN_MDL_02048479
ALLERGAN_MDL_02081243
ALLERGAN_MDL_02081243
ALLERGAN_MDL_02128035
ALLERGAN_MDL_02128514
ALLERGAN_MDL_02146077
ALLERGAN_MDL_02146081
ALLERGAN_MDL_02146297
ALLERGAN_MDL_02146301
ALLERGAN_MDL_02146314
ALLERGAN_MDL_02146510
ALLERGAN_MDL_02146521
ALLERGAN_MDL_02166476
ALLERGAN_MDL_02176554
ALLERGAN_MDL_02181123
ALLERGAN_MDL_02181128


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ALLERGAN_MDL_02181227
ALLERGAN_MDL_02181292
ALLERGAN_MDL_02186651
ALLERGAN_MDL_02187056
ALLERGAN_MDL_02187056
ALLERGAN_MDL_02467151
ALLERGAN_MDL_02467540
ALLERGAN_MDL_02467546
ALLERGAN_MDL_02468119
ALLERGAN_MDL_02468982
ALLERGAN_MDL_02468983
ALLERGAN_MDL_02578082
ALLERGAN_MDL_02645113
ALLERGAN_MDL_03328387
ALLERGAN_MDL_03368470
ALLERGAN_MDL_03380778
ALLERGAN_MDL_03383828
ALLERGAN_MDL_03411273
ALLERGAN_MDL_03412129
ALLERGAN_MDL_03535130
ALLERGAN_MDL_03535131
ALLERGAN_MDL_03641386
ALLERGAN_MDL_03750135
ALLERGAN_MDL_03750135
ALLERGAN_MDL_03776365
ALLERGAN_MDL_03776365
ALLERGAN_MDL_03799164
ALLERGAN_MDL_03802654
ALLERGAN_MDL_03802654
ALLERGAN_MDL_03951885
ALLERGAN_MDL_03952754
ALLERGAN_MDL_03952774
ALLERGAN_MDL_03953044
ALLERGAN_MDL_04333187
ALLERGAN_MDL_04333192
ALLERGAN_MDL_04333369
ALLERGAN_MDL_04333371
ALLERGAN_MDL_1839002
CAH_DEA07_00827893
CAH_MDL PRIORPROD_ DEA07_00091989
CAH_MDL PRIORPROD_ DEA07_00318941
CAH_MDL PRIORPROD_ DEA07_00319489
CAH_MDL PRIORPROD_ DEA07_01052516
CAH_MDL_INS_0000001
CAH_MDL_PRIORPROD_ACTION_0000010
CAH_MDL_PRIORPROD_AG_0000013
CAH_MDL_PRIORPROD_AG_0000073


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CAH_MDL_PRIORPROD_AG_0000101
CAH_MDL_PRIORPROD_AG_0000168
CAH_MDL_PRIORPROD_AG_0000323
CAH_MDL_PRIORPROD_AG_0000344
CAH_MDL_PRIORPROD_AG_0000348
CAH_MDL_PRIORPROD_AG_0000357
CAH_MDL_PRIORPROD_AG_0000570
CAH_MDL_PRIORPROD_AG_0000599
CAH_MDL_PRIORPROD_AG_0000893
CAH_MDL_PRIORPROD_AG_0004208
CAH_MDL_PRIORPROD_AG_0028694
CAH_MDL_PRIORPROD_AG_0029446
CAH_MDL_PRIORPROD_AG_0029498
CAH_MDL_PRIORPROD_AG_0029938
CAH_MDL_PRIORPROD_DEA07_00000859
CAH_MDL_PRIORPROD_DEA07_00006195
CAH_MDL_PRIORPROD_DEA07_00008894
CAH_MDL_PRIORPROD_DEA07_00027920
CAH_MDL_PRIORPROD_DEA07_00027991
CAH_MDL_PRIORPROD_DEA07_00028721
CAH_MDL_PRIORPROD_DEA07_00029966
CAH_MDL_PRIORPROD_DEA07_00030008
CAH_MDL_PRIORPROD_DEA07_00030778
CAH_MDL_PRIORPROD_DEA07_00030890
CAH_MDL_PRIORPROD_DEA07_00031801
CAH_MDL_PRIORPROD_DEA07_00031858
CAH_MDL_PRIORPROD_DEA07_00031993
CAH_MDL_PRIORPROD_DEA07_00032026
CAH_MDL_PRIORPROD_DEA07_00032064
CAH_MDL_PRIORPROD_DEA07_00032855
CAH_MDL_PRIORPROD_DEA07_00092296
CAH_MDL_PRIORPROD_DEA07_00100915
CAH_MDL_PRIORPROD_DEA07_00135433
CAH_MDL_PRIORPROD_DEA07_00622477
CAH_MDL_PRIORPROD_DEA07_00622484
CAH_MDL_PRIORPROD_DEA07_00622486
CAH_MDL_PRIORPROD_DEA07_00627729
CAH_MDL_PRIORPROD_DEA07_00638775
CAH_MDL_PRIORPROD_DEA07_00649205
CAH_MDL_PRIORPROD_DEA07_00661348
CAH_MDL_PRIORPROD_DEA07_00661389
CAH_MDL_PRIORPROD_DEA07_00702258
CAH_MDL_PRIORPROD_DEA07_00830753
CAH_MDL_PRIORPROD_DEA07_00833436
CAH_MDL_PRIORPROD_DEA07_00833466
CAH_MDL_PRIORPROD_DEA07_00833777
CAH_MDL_PRIORPROD_DEA07_00837645


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CAH_MDL_PRIORPROD_DEA07_00839862
CAH_MDL_PRIORPROD_DEA07_00842165
CAH_MDL_PRIORPROD_DEA07_00853073
CAH_MDL_PRIORPROD_DEA07_00857861
CAH_MDL_PRIORPROD_DEA07_00858084
CAH_MDL_PRIORPROD_DEA07_00858125
CAH_MDL_PRIORPROD_DEA07_00859717
CAH_MDL_PRIORPROD_DEA07_00859732
CAH_MDL_PRIORPROD_DEA07_00860599
CAH_MDL_PRIORPROD_DEA07_00861648
CAH_MDL_PRIORPROD_DEA07_00861693
CAH_MDL_PRIORPROD_DEA07_00862675
CAH_MDL_PRIORPROD_DEA07_00862734
CAH_MDL_PRIORPROD_DEA07_00863261
CAH_MDL_PRIORPROD_DEA07_00866440
CAH_MDL_PRIORPROD_DEA07_00866449
CAH_MDL_PRIORPROD_DEA07_00866544
CAH_MDL_PRIORPROD_DEA07_00866628
CAH_MDL_PRIORPROD_DEA07_00866645
CAH_MDL_PRIORPROD_DEA07_00866791
CAH_MDL_PRIORPROD_DEA07_00866871
CAH_MDL_PRIORPROD_DEA07_00867143
CAH_MDL_PRIORPROD_DEA07_00867233
CAH_MDL_PRIORPROD_DEA07_00867240
CAH_MDL_PRIORPROD_DEA07_00867254
CAH_MDL_PRIORPROD_DEA07_00867276
CAH_MDL_PRIORPROD_DEA07_00867279
CAH_MDL_PRIORPROD_DEA07_00867288
CAH_MDL_PRIORPROD_DEA07_00867344
CAH_MDL_PRIORPROD_DEA07_00867449
CAH_MDL_PRIORPROD_DEA07_00871634
CAH_MDL_PRIORPROD_DEA07_00871635
CAH_MDL_PRIORPROD_DEA07_00871842
CAH_MDL_PRIORPROD_DEA07_00872251
CAH_MDL_PRIORPROD_DEA07_00874453
CAH_MDL_PRIORPROD_DEA07_00874455
CAH_MDL_PRIORPROD_DEA07_00874461
CAH_MDL_PRIORPROD_DEA07_00875774
CAH_MDL_PRIORPROD_DEA07_00879201
CAH_MDL_PRIORPROD_DEA07_00879515
CAH_MDL_PRIORPROD_DEA07_00880754
CAH_MDL_PRIORPROD_DEA07_00880758
CAH_MDL_PRIORPROD_DEA07_00881049
CAH_MDL_PRIORPROD_DEA07_00884595
CAH_MDL_PRIORPROD_DEA07_00896142
CAH_MDL_PRIORPROD_DEA07_00896150
CAH_MDL_PRIORPROD_DEA07_00897272


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CAH_MDL_PRIORPROD_DEA07_00899843
CAH_MDL_PRIORPROD_DEA07_00899965
CAH_MDL_PRIORPROD_DEA07_00920176
CAH_MDL_PRIORPROD_DEA07_00920207
CAH_MDL_PRIORPROD_DEA07_00921008
CAH_MDL_PRIORPROD_DEA07_00925977
CAH_MDL_PRIORPROD_DEA07_00931109
CAH_MDL_PRIORPROD_DEA07_00933241
CAH_MDL_PRIORPROD_DEA07_00933244
CAH_MDL_PRIORPROD_DEA07_00938368
CAH_MDL_PRIORPROD_DEA07_00949187
CAH_MDL_PRIORPROD_DEA07_00949189
CAH_MDL_PRIORPROD_DEA07_00951038
CAH_MDL_PRIORPROD_DEA07_00968964
CAH_MDL_PRIORPROD_DEA07_01008446
CAH_MDL_PRIORPROD_DEA07_01011323
CAH_MDL_PRIORPROD_DEA07_01011404
CAH_MDL_PRIORPROD_DEA07_01011465
CAH_MDL_PRIORPROD_DEA07_01013289
CAH_MDL_PRIORPROD_DEA07_01015749
CAH_MDL_PRIORPROD_DEA07_01015754
CAH_MDL_PRIORPROD_DEA07_01053067
CAH_MDL_PRIORPROD_DEA07_01108945
CAH_MDL_PRIORPROD_DEA07_01108946
CAH_MDL_PRIORPROD_DEA07_01120515
CAH_MDL_PRIORPROD_DEA07_01144221
CAH_MDL_PRIORPROD_DEA07_01146732
CAH_MDL_PRIORPROD_DEA07_01146736
CAH_MDL_PRIORPROD_DEA07_01146741
CAH_MDL_PRIORPROD_DEA07_01151120
CAH_MDL_PRIORPROD_DEA07_01151124
CAH_MDL_PRIORPROD_DEA07_01176247
CAH_MDL_PRIORPROD_DEA07_01176914
CAH_MDL_PRIORPROD_DEA07_01181142
CAH_MDL_PRIORPROD_DEA07_01185382
CAH_MDL_PRIORPROD_DEA07_01188147
CAH_MDL_PRIORPROD_DEA07_01188323
CAH_MDL_PRIORPROD_DEA07_01190055
CAH_MDL_PRIORPROD_DEA07_01190057
CAH_MDL_PRIORPROD_DEA07_01190943
CAH_MDL_PRIORPROD_DEA07_01191199
CAH_MDL_PRIORPROD_DEA07_01191265
CAH_MDL_PRIORPROD_DEA07_01198690
CAH_MDL_PRIORPROD_DEA07_01383136
CAH_MDL_PRIORPROD_DEA07_01383814
CAH_MDL_PRIORPROD_DEA07_01383895
CAH_MDL_PRIORPROD_DEA07_01448829


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CAH_MDL_PRIORPROD_DEA07_01457031
CAH_MDL_PRIORPROD_DEA07_01465435
CAH_MDL_PRIORPROD_DEA07_01475709
CAH_MDL_PRIORPROD_DEA07_01488350
CAH_MDL_PRIORPROD_DEA07_01506288
CAH_MDL_PRIORPROD_DEA07_01515965
CAH_MDL_PRIORPROD_DEA07_01525200
CAH_MDL_PRIORPROD_DEA07_01538085
CAH_MDL_PRIORPROD_DEA07_01546013
CAH_MDL_PRIORPROD_DEA07_01554009
CAH_MDL_PRIORPROD_DEA07_01563313
CAH_MDL_PRIORPROD_DEA07_01573797
CAH_MDL_PRIORPROD_DEA07_01590839
CAH_MDL_PRIORPROD_DEA07_01601686
CAH_MDL_PRIORPROD_DEA07_01611135
CAH_MDL_PRIORPROD_DEA07_01620843
CAH_MDL_PRIORPROD_DEA07_01631459
CAH_MDL_PRIORPROD_DEA07_01640601
CAH_MDL_PRIORPROD_DEA07_01650463
CAH_MDL_PRIORPROD_DEA07_01660982
CAH_MDL_PRIORPROD_DEA07_01676164
CAH_MDL_PRIORPROD_DEA07_01685103
CAH_MDL_PRIORPROD_DEA07_01696166
CAH_MDL_PRIORPROD_DEA07_01713984
CAH_MDL_PRIORPROD_DEA07_01723108
CAH_MDL_PRIORPROD_DEA07_01732427
CAH_MDL_PRIORPROD_DEA07_01747160
CAH_MDL_PRIORPROD_DEA07_02056996
CAH_MDL_PRIORPROD_DEA07_02058248
CAH_MDL_PRIORPROD_DEA07_02058484
CAH_MDL_PRIORPROD_DEA07_02058486
CAH_MDL_PRIORPROD_DEA07_02058488
CAH_MDL_PRIORPROD_DEA07_02059451
CAH_MDL_PRIORPROD_DEA07_02059452
CAH_MDL_PRIORPROD_DEA07_02078403
CAH_MDL_PRIORPROD_DEA07_02086261
CAH_MDL_PRIORPROD_DEA07_02086265
CAH_MDL_PRIORPROD_DEA07_02086269
CAH_MDL_PRIORPROD_DEA07_02088954
CAH_MDL_PRIORPROD_DEA07_02111798
CAH_MDL_PRIORPROD_DEA07_02112715
CAH_MDL_PRIORPROD_DEA07_02113477
CAH_MDL_PRIORPROD_DEA07_02119421
CAH_MDL_PRIORPROD_DEA07_02119447
CAH_MDL_PRIORPROD_DEA07_02427381
CAH_MDL_PRIORPROD_DEA07_02433755
CAH_MDL_PRIORPROD_DEA07_02433806


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CAH_MDL_PRIORPROD_DEA07_02434627
CAH_MDL_PRIORPROD_DEA07_02434693
CAH_MDL_PRIORPROD_DEA07_02434917
CAH_MDL_PRIORPROD_DEA07_02435477
CAH_MDL_PRIORPROD_DEA07_02435566
CAH_MDL_PRIORPROD_DEA07_02435601
CAH_MDL_PRIORPROD_DEA07_02435754
CAH_MDL_PRIORPROD_DEA07_02435866
CAH_MDL_PRIORPROD_DEA07_02437763
CAH_MDL_PRIORPROD_DEA07_02437999
CAH_MDL_PRIORPROD_DEA07_02438001
CAH_MDL_PRIORPROD_DEA07_02448479
CAH_MDL_PRIORPROD_DEA07_02448480
CAH_MDL_PRIORPROD_DEA07_02454603
CAH_MDL_PRIORPROD_DEA07_02454736
CAH_MDL_PRIORPROD_DEA07_02461869
CAH_MDL_PRIORPROD_DEA07_02461870
CAH_MDL_PRIORPROD_DEA07_02462008
CAH_MDL_PRIORPROD_DEA07_02462698
CAH_MDL_PRIORPROD_DEA07_02625967
CAH_MDL_PRIORPROD_DEA07_02738893
CAH_MDL_PRIORPROD_DEA07_02738896
CAH_MDL_PRIORPROD_DEA07_1544958
CAH_MDL_PRIORPROD_DEA07_1641502
CAH_MDL_PRIORPROD_DEA07_1698986
CAH_MDL_PRIORPROD_DEA07_1788800
CAH_MDL_PRIORPROD_DEA12_00000405
CAH_MDL_PRIORPROD_DEA12_00000609
CAH_MDL_PRIORPROD_DEA12_00000609
CAH_MDL_PRIORPROD_DEA12_00000825
CAH_MDL_PRIORPROD_DEA12_00000826
CAH_MDL_PRIORPROD_DEA12_00004353
CAH_MDL_PRIORPROD_DEA12_00007799
CAH_MDL_PRIORPROD_DEA12_00011059
CAH_MDL_Priorprod_DEA12_00011195
CAH_MDL_PRIORPROD_DEA12_00013747
CAH_MDL_PRIORPROD_DEA12_00014053
CAH_MDL_PRIORPROD_DEA12_00014224
CAH_MDL_PRIORPROD_DEA12_00014479
CAH_MDL_PRIORPROD_DEA12_00014535
CAH_MDL_PRIORPROD_DEA12_00014762
CAH_MDL_PRIORPROD_DEA12_00014862
CAH_MDL_PRIORPROD_HOUSE_0000485
CAH_MDL_PRIORPROD_HOUSE_0002197
CAH_MDL_PRIORPROD_HOUSE_0002201
CAH_MDL_PRIORPROD_HOUSE_0002207
CAH_MDL_PRIORPROD_HOUSE_0003331


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CAH_MDL2804_00000013
CAH_MDL2804_00000015 ‐ CAH_MDL2804_00001851
CAH_MDL2804_00009412
CAH_MDL2804_00009845
CAH_MDL2804_00012047
CAH_MDL2804_00012244
CAH_MDL2804_00012953
CAH_MDL2804_00012954
CAH_MDL2804_00012976
CAH_MDL2804_00013446
CAH_MDL2804_00014168
CAH_MDL2804_00014622
CAH_MDL2804_00016259
CAH_MDL2804_00016261
CAH_MDL2804_00016265
CAH_MDL2804_00017658
CAH_MDL2804_00017780
CAH_MDL2804_00017958
CAH_MDL2804_00019279
CAH_MDL2804_00020532
CAH_MDL2804_00021468
CAH_MDL2804_00021735
CAH_MDL2804_00021773
CAH_MDL2804_00021791
CAH_MDL2804_00021829
CAH_MDL2804_00022251
CAH_MDL2804_00022896
CAH_MDL2804_00023458
CAH_MDL2804_00025632
CAH_MDL2804_00027121
CAH_MDL2804_00027283
CAH_MDL2804_00031677
CAH_MDL2804_00031681
CAH_MDL2804_00031862
CAH_MDL2804_00032076
CAH_MDL2804_00032473
CAH_MDL2804_00032551
CAH_MDL2804_00032824
CAH_MDL2804_00033588
CAH_MDL2804_00035622
CAH_MDL2804_00037201
CAH_MDL2804_00040392
CAH_MDL2804_00040586
CAH_MDL2804_00040601
CAH_MDL2804_00040891
CAH_MDL2804_00041525
CAH_MDL2804_00041751


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CAH_MDL2804_00048139
CAH_MDL2804_00048546
CAH_MDL2804_00049493
CAH_MDL2804_00050265
CAH_MDL2804_00050292
CAH_MDL2804_00050615
CAH_MDL2804_00051330
CAH_MDL2804_00053148
CAH_MDL2804_00053170
CAH_MDL2804_00053226
CAH_MDL2804_00053398
CAH_MDL2804_00053439
CAH_MDL2804_00053488
CAH_MDL2804_00053495
CAH_MDL2804_00053518
CAH_MDL2804_00053535
CAH_MDL2804_00053679
CAH_MDL2804_00053703
CAH_MDL2804_00053707
CAH_MDL2804_00053709
CAH_MDL2804_00053711
CAH_MDL2804_00053764
CAH_MDL2804_00053771
CAH_MDL2804_00054153
CAH_MDL2804_00054177
CAH_MDL2804_00054527
CAH_MDL2804_00054603
CAH_MDL2804_00054795
CAH_MDL2804_00054837
CAH_MDL2804_00054854
CAH_MDL2804_00054951
CAH_MDL2804_00054953
CAH_MDL2804_00054980
CAH_MDL2804_00055198
CAH_MDL2804_00057242
CAH_MDL2804_00057248
CAH_MDL2804_00057259
CAH_MDL2804_00057262
CAH_MDL2804_00057267
CAH_MDL2804_00057271
CAH_MDL2804_00057314
CAH_MDL2804_00057778
CAH_MDL2804_0005778
CAH_MDL2804_00058923
CAH_MDL2804_00094067 ‐ CAH_MDL2804_00094604
CAH_MDL2804_00135242
CAH_MDL2804_00284503


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CAH_MDL2804_00619125
CAH_MDL2804_00637428
CAH_MDL2804_00637430
CAH_MDL2804_00637434
CAH_MDL2804_00637435
CAH_MDL2804_00637436
CAH_MDL2804_00637437
CAH_MDL2804_00637438
CAH_MDL2804_00641449
CAH_MDL2804_00689780
CAH_MDL2804_00834232
CAH_MDL2804_00953317
CAH_MDL2804_01103874
CAH_MDL2804_01287246 ‐ CAH_MDL2804_01287525
CAH_MDL2804_01307225
CAH_MDL2804_01344590
CAH_MDL2804_01344635
CAH_MDL2804_01344753
CAH_MDL2804_01349604
CAH_MDL2804_01352534
CAH_MDL2804_01358806
CAH_MDL2804_01431074
CAH_MDL2804_01457737
CAH_MDL2804_01465723
CAH_MDL2804_01483146
CAH_MDL2804_01503514
CAH_MDL2804_01507430
CAH_MDL2804_01522227
CAH_MDL2804_01563592
CAH_MDL2804_01752014
CAH_MDL2804_01794075
CAH_MDL2804_02098561
CAH_MDL2804_02101800
CAH_MDL2804_02101802
CAH_MDL2804_02101803
CAH_MDL2804_02101808
CAH_MDL2804_02102142
CAH_MDL2804_02103237
CAH_MDL2804_02168279
CAH_MDL2804_02169329
CAH_MDL2804_02203346
CAH_MDL2804_02203353
CAH_MDL2804_02203353
CAH_MDL2804_02203814
CAH_MDL2804_02205827
CAH_MDL2804_02210528
CAH_MDL2804_02240363


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CAH_MDL2804_02240745
CAH_MDL2804_02240753
CAH_MDL2804_02247601
CAH_MDL2804_02248545
CAH_MDL2804_02258176
CAH_MDL2804_02269582
CAH_MDL2804_02269583
CAH_MDL2804_02271225
CAH_MDL2804_02285367
CAH_MDL2804_02286253
CAH_MDL2804_02297933
CAH_MDL2804_02299512
CAH_MDL2804_02299521
CAH_MDL2804_02299668
CAH_MDL2804_02334799
CAH_MDL2804_02335207
CAH_MDL2804_02350970
CAH_MDL2804_02362878
CAH_MDL2804_02366996
CAH_MDL2804_02416848
CAH_MDL2804_02456657
CAH_MDL2804_02457959
CAH_MDL2804_02465982
CAH_MDL2804_02509732
CAH_MDL2804_02511357
CAH_MDL2804_02512933
CAH_MDL2804_02522055
CAH_MDL2804_02525111
CAH_MDL2804_02540340
CAH_MDL2804_02558801
CAH_MDL2804_02596190
CAH_MDL2804_02610784
CAH_MDL2804_02610788
CAH_MDL2804_02610798
CAH_MDL2804_02610802
CAH_MDL2804_02610806
CAH_MDL2804_02610810
CAH_MDL2804_02610814
CAH_MDL2804_02610818
CAH_MDL2804_02610822
CAH_MDL2804_02610826
CAH_MDL2804_02616130
CAH_MDL2804_02639238
CAH_MDL2804_02639812
CAH_MDL2804_02691543
CAH_MDL2804_02696436
CAH_MDL2804_02839632


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CAH_MDL2804_02843871
CAH_MDL2804_02858532
CAH_MDL2804_02858743
CAH_MDL2804_02858743
CAH_MDL2804_02871252
CAH_MDL2804_02879401 ‐ CAH_MDL2804_02879958
CAH_MDL2804_02883938
CAH_MDL2804_02883938
CAH_MDL2804_02953299
CAH_MDL2804_02960030
CAH_MDL2804_02960810
CAH_MDL2804_02964551
CAH_MDL2804_03191401
CAH_MDL2804_03195201
CAH_MDL2804_03195209
CAH_MDL2804_03195215
CAH_MDL2804_03195232
CAH_MDL2804_03195258
CAH_MDL2804_03210265
CAH_MDL2804_03212432
CAH_MDL2804_03212461
CAH_MDL2804_03262274
CAH_MDL2804_03267318
CAH_MDL2804_03267670
CAH_MDL2804_03267710
CAH_MDL‐PRIORPROD_DEA12_00003244
CAH_PRIORPROD_DEA_01176247
CVS‐MDLT1‐000 101181
CVS‐MDLT1‐000 101385
CVS‐MDLT1‐000000001
CVS‐MDLT1‐000000299
CVS‐MDLT1‐000000299
CVS‐MDLT1‐000000409
CVS‐MDLT1‐000001022
CVS‐MDLT1‐000001074
CVS‐MDLT1‐000003021
CVS‐MDLT1‐000003028
CVS‐MDLT1‐000003028
CVS‐MDLT1‐000003177
CVS‐MDLT1‐000008014
CVS‐MDLT1‐000008014
CVS‐MDLT1‐000008413
CVS‐MDLT1‐000008506
CVS‐MDLT1‐000008572
CVS‐MDLT1‐000008898
CVS‐MDLT1‐000008964
CVS‐MDLT1‐000009033


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CVS‐MDLT1‐000009167
CVS‐MDLT1‐000010126
CVS‐MDLT1‐000010201
CVS‐MDLT1‐000010202
CVS‐MDLT1‐000010204
CVS‐MDLT1‐000010205
CVS‐MDLT1‐000010205
CVS‐MDLT1‐000010210
CVS‐MDLT1‐000010214
CVS‐MDLT1‐000010235
CVS‐MDLT1‐000010268
CVS‐MDLT1‐000010268
CVS‐MDLT1‐0000103327
CVS‐MDLT1‐0000103328
CVS‐MDLT1‐0000123386
CVS‐MDLT1‐000019722
CVS‐MDLT1‐000020426
CVS‐MDLT1‐000020426
CVS‐MDLT1‐000024494
CVS‐MDLT1‐000024621
CVS‐MDLT1‐000024633
CVS‐MDLT1‐000024647
CVS‐MDLT1‐000024657
CVS‐MDLT1‐000024877
CVS‐MDLT1‐000025018
CVS‐MDLT1‐000025018
CVS‐MDLT1‐000025129
CVS‐MDLT1‐000025129
CVS‐MDLT1‐000025206
CVS‐MDLT1‐000025206‐000025259
CVS‐MDLT1‐000025365
CVS‐MDLT1‐000025367
CVS‐MDLT1‐000025548
CVS‐MDLT1‐000025548
CVS‐MDLT1‐000028390
CVS‐MDLT1‐000028390
CVS‐MDLT1‐000028391
CVS‐MDLT1‐000028391
CVS‐MDLT1‐000028391
CVS‐MDLT1‐000030237
CVS‐MDLT1‐000030354
CVS‐MDLT1‐000030453
CVS‐MDLT1‐000030545
CVS‐MDLT1‐000030546
CVS‐MDLT1‐000030546
CVS‐MDLT1‐000034175
CVS‐MDLT1‐000034183


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CVS‐MDLT1‐000034451
CVS‐MDLT1‐000055836
CVS‐MDLT1‐000057748
CVS‐MDLT1‐000057751
CVS‐MDLT1‐000059484‐5
CVS‐MDLT1‐000060796
CVS‐MDLT1‐000060805
CVS‐MDLT1‐000060812
CVS‐MDLT1‐000060822
CVS‐MDLT1‐000060830
CVS‐MDLT1‐000060839
CVS‐MDLT1‐000060847
CVS‐MDLT1‐000060856
CVS‐MDLT1‐000060872
CVS‐MDLT1‐000060872‐00060906
CVS‐MDLT1‐000060907
CVS‐MDLT1‐000060915
CVS‐MDLT1‐000061141
CVS‐MDLT1‐000061733
CVS‐MDLT1‐000062278
CVS‐MDLT1‐000062394
CVS‐MDLT1‐000062466
CVS‐MDLT1‐000062604
CVS‐MDLT1‐000062955
CVS‐MDLT1‐000063023
CVS‐MDLT1‐000063560
CVS‐MDLT1‐000066036
CVS‐MDLT1‐000066107
CVS‐MDLT1‐000076119
CVS‐MDLT1‐000076135
CVS‐MDLT1‐000078060
CVS‐MDLT1‐000078061
CVS‐MDLT1‐000078116
CVS‐MDLT1‐000083349
CVS‐MDLT1‐000083552
CVS‐MDLT1‐000088412
CVS‐MDLT1‐000088434
CVS‐MDLT1‐000088442
CVS‐MDLT1‐000088523
CVS‐MDLT1‐000088734
CVS‐MDLT1‐000089188
CVS‐MDLT1‐000089194
CVS‐MDLT1‐000089195
CVS‐MDLT1‐00008966
CVS‐MDLT1‐000090030
CVS‐MDLT1‐00009004
CVS‐MDLT1‐000099702


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CVS‐MDLT1‐000100851
CVS‐MDLT1‐000100855‐856
CVS‐MDLT1‐000100865
CVS‐MDLT1‐000100868
CVS‐MDLT1‐000100871
CVS‐MDLT1‐000100891
CVS‐MDLT1‐000100925
CVS‐MDLT1‐000100925
CVS‐MDLT1‐000100936
CVS‐MDLT1‐000100937
CVS‐MDLT1‐000100940
CVS‐MDLT1‐000100944‐46
CVS‐MDLT1‐000100984
CVS‐MDLT1‐000100998
CVS‐MDLT1‐000101031
CVS‐MDLT1‐000101032
CVS‐MDLT1‐000101036
CVS‐MDLT1‐000101058
CVS‐MDLT1‐000101066
CVS‐MDLT1‐000101074
CVS‐MDLT1‐000101091
CVS‐MDLT1‐000101092
CVS‐MDLT1‐000101097
CVS‐MDLT1‐000101100
CVS‐MDLT1‐000101109
CVS‐MDLT1‐000101125
CVS‐MDLT1‐000101137
CVS‐MDLT1‐000101157
CVS‐MDLT1‐000101161
CVS‐MDLT1‐000101165
CVS‐MDLT1‐000101169
CVS‐MDLT1‐000101173
CVS‐MDLT1‐000101174
CVS‐MDLT1‐000101183
CVS‐MDLT1‐000101197
CVS‐MDLT1‐000101202
CVS‐MDLT1‐000101216
CVS‐MDLT1‐000101371
CVS‐MDLT1‐000101387
CVS‐MDLT1‐000101428
CVS‐MDLT1‐000101449
CVS‐MDLT1‐000102478
CVS‐MDLT1‐000103327
CVS‐MDLT1‐000103328
CVS‐MDLT1‐00010918
CVS‐MDLT1‐000109623
CVS‐MDLT1‐000109775


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CVS‐MDLT1‐000110756
CVS‐MDLT1‐000111273
CVS‐MDLT1‐000112637
CVS‐MDLT1‐000112646
CVS‐MDLT1‐000112659
CVS‐MDLT1‐000112668
CVS‐MDLT1‐000112670
CVS‐MDLT1‐000112672
CVS‐MDLT1‐000112674
CVS‐MDLT1‐000112678
CVS‐MDLT1‐000112684
CVS‐MDLT1‐000112686
CVS‐MDLT1‐000112688
CVS‐MDLT1‐000112692
CVS‐MDLT1‐000112694
CVS‐MDLT1‐000112696
CVS‐MDLT1‐000112700
CVS‐MDLT1‐000112704
CVS‐MDLT1‐000112706
CVS‐MDLT1‐000112708
CVS‐MDLT1‐000112710
CVS‐MDLT1‐000113868
CVS‐MDLT1‐000114642
CVS‐MDLT1‐000114642
CVS‐MDLT1‐000116595
CVS‐MDLT1‐00012194
CVS‐MDLT1‐000123386
CVS‐MDLT1‐000244495
CVS‐MDLT1‐00033811
CVS‐MDLT1‐00064378
CVS‐MDLT1‐00101204
 END00746489
ENDO‐ OPIOID_MDL‐00451334
ENDO_HSGAC_0010368
ENDO_OPIOID_MDL_00451334
ENDO_OPIOID_MDL_0569985
ENDO‐CHI_LIT‐00234541
ENDO‐CHI_LIT‐00234542
ENDO‐CHI_LIT‐00547005
 ENDO‐OPIOID_ MDL‐00673563
ENDO‐OPIOID_MDL‐00451333
ENDO‐OPIOID_MDL‐00762816
ENDO‐OPIOID_MDL‐00899933
ENDO‐OPIOID_MDL‐01448682
ENDO‐OPIOID_MDL‐01448683
ENDO‐OPIOID_MDL‐01500830
ENDO‐OPIOID_MDL‐01500831


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ENDO‐OPIOID_MDL‐01571476
ENDO‐OPIOID_MDL‐01681499
ENDO‐OPIOID_MDL‐01692316
ENDO‐OPIOID_MDL‐01692317
ENDO‐OPIOID_MDL‐01706006
ENDO‐OPIOID_MDL‐01706007
ENDO‐OPIOID_MDL‐02290107
ENDO‐OPIOID_MDL‐02378262
ENDO‐OPIOID_MDL‐02383210
ENDO‐OPIOID_MDL‐02388844
ENDO‐OPIOID_MDL‐02391501
ENDO‐OPIOID_MDL‐02399886
 ENDO‐OPIOID_MDL‐02816744
ENDO‐OPIOID_MDL‐02827462
ENDO‐OPIOID_MDL‐02827463
ENDO‐OPIOID_MDL‐02879034
ENDO‐OPIOID_MDL‐02879035
ENDO‐OPIOID_MDL‐02879037
ENDO‐OPIOID_MDL‐02879495
ENDO‐OPIOID_MDL‐02975958
ENDO‐OPIOID_MDL‐03113787
ENDO‐OPIOID_MDL‐04927196
ENDO‐OPIOID_MDL‐05948286
ENDO‐OPIOID_MDL‐05950068
ENDO‐OPIOID_MDL‐05968962
ENDO‐OPIOID_MDL‐05969976
EPI000620553
EPI000814919
EPI001935968
HDS_MDL_00002032
HSI‐MDL‐00000001
HSI‐MDL‐00000027
HSI‐MDL‐00000056
HSI‐MDL‐00000073
HSI‐MDL‐00000082
HSI‐MDL‐00000086
HSI‐MDL‐00000104
HSI‐MDL‐00000113
HSI‐MDL‐00000119
HSI‐MDL‐00000134
HSI‐MDL‐00000139
HSI‐MDL‐00000184
HSI‐MDL‐00000194
HSI‐MDL‐00000208
HSI‐MDL‐00000219
HSI‐MDL‐00000322
HSI‐MDL‐00000323


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HSI‐MDL‐00000370
HSI‐MDL‐00000389
HSI‐MDL‐00000390
HSI‐MDL‐00000425
HSI‐MDL‐00001612
HIS‐MDL00648726
HSI‐MDL‐00021781
HSI‐MDL‐00040712
HSI‐MDL‐00072607
HSI‐MDL‐00374284
HSI‐MDL‐00386875
HSI‐MDL‐00397293
HSI‐MDL‐00404202
HSI‐MDL‐00404219
HSI‐MDL‐00404222
HSI‐MDL‐00404226
HSI‐MDL‐00406270
HSI‐MDL‐00486513
HSI‐MDL‐00486519
HSI‐MDL‐00528774
HSI‐MDL‐00552881
HSI‐MDL‐00569496
HSI‐MDL‐00606634
HSI‐MDL‐00619797
HSI‐MDL‐00623053
HSI‐MDL‐00647221
INSYS‐MDL‐001668983
INSYS‐MDL‐007657600
JAN‐MS‐00454956
JAN‐MS‐00454957
JAN‐MS‐00454958
JAN‐MS‐01117436
JAN‐MS‐02966791
JAN‐MS‐02985441
JAN‐MS‐03115430
JAN‐MS‐03115584
JAN‐MS‐03121185
JAN‐MS‐03121264
JAN‐MS‐03121283
JAN‐MS‐03121311
JAN‐MS‐03121368
JAN‐MS‐03124100
JAN‐MS‐03124101
JAN‐MS‐03124110
JAN‐MS‐03124145
JAN‐MS‐03124147
JAN‐MS‐03741170


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JAN‐MS‐03741176
JAN‐MS‐03741200
JAN‐MS‐03741205
JAN‐MS‐04219970
JAN‐MS‐05444665
JAN‐MS‐05444748
JAN‐MS‐05444763
JAN‐MS‐05444873
JAN‐MS‐05457247
  JAN‐OH‐00006800
MCKMDL0
MCKMDL0
MCKMDL00000497
MCKMDL00267635
MCKMDL00330099
MCKMDL00330924
MCKMDL00337001
MCKMDL00355251
MCKMDL00355349
MCKMDL00363951
MCKMDL00397861
MCKMDL00402184
MCKMDL00409045
MCKMDL00409224
MCKMDL00409453
MCKMDL00410744
MCKMDL00418094
MCKMDL00437057
MCKMDL00476692
MCKMDL00476786
MCKMDL00478912
MCKMDL00478913
MCKMDL00478913
MCKMDL00485800
MCKMDL00496212‐00496305
MCKMDL00496859
MCKMDL00507221
MCKMDL00507799
MCKMDL00510747
MCKMDL00512974
MCKMDL00516748
MCKMDL00518064
MCKMDL00540033
MCKMDL00543610
MCKMDL00543971
MCKMDL00555448‐555744
MCKMDL00555473


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MCKMDL00555480
MCKMDL00555484
MCKMDL00555501
MCKMDL00555506
MCKMDL00555536
MCKMDL00568170
MCKMDL00568207‐568281
MCKMDL00568233
MCKMDL00574488
MCKMDL00579972
MCKMDL00606062
MCKMDL00616425
MCKMDL00616426
 MCKMDL00626683
MCKMDL00626898
 MCKMDL00627631
MCKMDL00628614
MCKMDL00628660
 MCKMDL00632908
MCKMDL00633455
MCKMDL00633917
MCKMDL00634329
 MCKMDL00634992
MCKMDL00647787
MCKMDL00649082
MCKMDL00651873
MCKMDL00675597
MCKMDL00675598
MNK‐T1_0000259166
MNK‐T1_0000263874
MNK‐T1_0000264200
MNK‐T1_0000264260
MNK‐T1_0000264275
MNK‐T1_0000264292
MNK‐T1_0000267896
MNK‐T1_0000267906
MNK‐T1_0000268911
MNK‐T1_0000269399
MNK‐T1_0000273471
MNK‐T1_0000273894
MNK‐T1_0000274737
MNK‐T1_0000275226
MNK‐T1_0000276264
MNK‐T1_0000279142
MNK‐T1_0000279153
MNK‐T1_0000279166
MNK‐T1_0000279975


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MNK‐T1_0000280260
MNK‐T1_0000280821
MNK‐T1_0000283880
MNK‐T1_0000283884
MNK‐T1_0000289692
MNK‐T1_0000290502
MNK‐T1_0000290520
MNK‐T1_0000290611
MNK‐T1_0000290934
MNK‐T1_0000296382
MNK‐T1_0000297371
MNK‐T1_0000298653
MNK‐T1_0000298795
MNK‐T1_0000298906
MNK‐T1_0000301994
MNK‐T1_0000302097
MNK‐T1_0000315995
MNK‐T1_0000368388
MNK‐T1_0000369397
MNK‐T1_0000384265
MNK‐T1_0000386857
MNK‐T1_0000387492
MNK‐T1_0000418885
MNK‐T1_0000418886
MNK‐T1_0000419956
MNK‐T1_0000419993
MNK‐T1_0000427406
MNK‐T1_0000448888
MNK‐T1_0000474370
MNK‐T1_0000477889
MNK‐T1_0000500657
MNK‐T1_0000506306
MNK‐T1_0000506535
MNK‐T1_0000559412
MNK‐T1_0000559532
MNK‐T1_0000559581
MNK‐T1_0000559994
MNK‐T1_0000560227
MNK‐T1_0000560555
MNK‐T1_0000561015
MNK‐T1_0000562325
MNK‐T1_0000562520
MNK‐T1_0000563394
MNK‐T1_0000563696
MNK‐T1_0000571916
MNK‐T1_0002077756
MNK‐T1_000419956


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MNK‐T1_0004888229
MNK‐T1_0005986422
MNK‐T1_0007146630
 MNK‐T1_0007146630
MNK‐T1_0007476261
MNK‐T1_0007728295
PAR_OPIOID_MDL_0000016654
PAR_OPIOID_MDL_0000018920
PAR_OPIOID_MDL_0000020898
PAR_OPIOID_MDL_0000023108
PAR_OPIOID_MDL_0000076009
PAR_OPIOID_MDL_0000076010
PAR_OPIOID_MDL_0000216198
PAR_OPIOID_MDL_0000363469
PAR_OPIOID_MDL_0000369253
PAR_OPIOID_MDL_0000369517
PAR_OPIOID_MDL_0000373333
PAR_OPIOID_MDL_0000373334
PAR_OPIOID_MDL_0000373335
PAR_OPIOID_MDL_0000373336
PAR_OPIOID_MDL_0000373337
PAR_OPIOID_MDL_0000373338
PAR_OPIOID_MDL_0000373339
PAR_OPIOID_MDL_0000373340
PAR_OPIOID_MDL_0000373341
PAR_OPIOID_MDL_0000373342
PAR_OPIOID_MDL_0000373343
PAR_OPIOID_MDL_0000373344
PAR_OPIOID_MDL_0000373345
PAR_OPIOID_MDL_0000373346
PAR_OPIOID_MDL_0000373347
PAR_OPIOID_MDL_0000373348
PAR_OPIOID_MDL_0000373349
PAR_OPIOID_MDL_0000373350
PAR_OPIOID_MDL_0000376972
PAR_OPIOID_MDL_0000390035
PAR_OPIOID_MDL_0000398174
PAR_OPIOID_MDL_0000399716
PAR_OPIOID_MDL_0000404095
PAR_OPIOID_MDL_0000404285
PAR_OPIOID_MDL_0001024034
PAR_OPIOID_MDL_0001053153
PAR_OPIOID_MDL_0001059825
PAR_OPIOID_MDL_0001391585
PAR_OPIOID_MDL_0001596366
PAR_OPIOID_MDL_0001615734
PAR_OPIOID_MDL_0001615738


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PAR_OPIOID_MDL_0001642692
PAR_OPIOID_MDL_0001647888
PAR_OPIOID_MDL_0001893202
PAR_OPIOID_MDL_0002102254
PAR_OPIOID_MDL_0002102288
PAR_OPIOID_MDL_0002108005
PAR_OPIOID_MDL_0002108008
PAR_OPIOID_MDL0000369261
PAR_OPIOID_MDL0000398177
PDD1503450011
PDD8801146346
 PLTF_2804‐000004562
 PLTF_2804‐000013676
PPLP003430434
PPLP004035073
PPLP004368538
PPLP004393084
PPLPC004000119321
PPLPC004000119321
PPLPC004000207523
PPLPC004000207529
PPLPC004000213649
PPLPC004000214875
PPLPC004000215590
PPLPC004000218107
PPLPC004000254710
PPLPC004000320062
PPLPC004000344799
PPLPC012000378037
PPLPC019001275418
PPLPC020000057781
PPLPC021000075447
PPLPC021000219123
PPLPC023000971890
PPLPC041000014663
 PPLPMDL0030005334
 PPLPMDL003005327
PPLPP003430436
TEVA_MDL_13583538
TEVA_MDL_13583539
TEVA_MDL_A_01037227
TEVA_MDL_A_01039159
TEVA_MDL_A_01060005
TEVA_MDL_A_01061094
TEVA_MDL_A_01087806


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TEVA_MDL_A_01158453
TEVA_MDL_A_01158463
TEVA_MDL_A_01158470
TEVA_MDL_A_01158479
 TEVA_MDL_A_02416207
TEVA_MDL_A_02475564
TEVA_MDL_A_02475564
TEVA_MDL_A_02660892
TEVA_MDL_A_02660918
TEVA_MDL_A_02660932
TEVA_MDL_A_03160173
TEVA_MDL_A_06619234
UPSSCS0000171
UPSSCS0002916
UPSSCS0002991
UPSSCS0006836
UPSSCS0007432
US‐DEA‐00000001
US‐DEA‐00000001
US‐DEA‐00000092
US‐DEA‐00000100
US‐DEA‐00000144
US‐DEA‐00000147
US‐DEA‐00000352
US‐DEA‐00000369
US‐DEA‐00000371
WAGFLDEA00000028
WAGFLDEA00000117
WAGFLDEA00000459
WAGFLDEA00000846
WAGFLDEA00000852
WAGFLDEA00001854
WAGMDL00010887
WAGMDL00021425
WAGMDL00032660
WAGMDL00037074
WAGMDL00037093
WAGMDL00037521
WAGMDL00060486
WAGMDL00095316
WAGMDL00095316
WAGMDL00101723
WAGMDL00107532
WAGMDL00119542
WAGMDL00237263
WAGMDL00242055
WAGMDL00245768


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WAGMDL00246016
WAGMDL00246284
WAGMDL00289068
WAGMDL00293631
WAGMDL00302958
WAGMDL00303305
WAGMDL00325129
WAGMDL00325170
WAGMDL00358471
WAGMDL00370894
WAGMDL00387635
WAGMDL00387641
WAGMDL00387753
WAGMDL00387760
WAGMDL00387762
WAGMDL00387833
WAGMDL00387866
WAGMDL00387868
WAGMDL00387868
WAGMDL00387876
WAGMDL00387941
WAGMDL00395965
WAGMDL00400357
WAGMDL00400358
WAGMDL00400360
WAGMDL00414048
WAGMDL00415348
WAGMDL00436800
WAGMDL00436802
WAGMDL00477975
WAGMDL00490963‐00490978
WAGMDL00490979
WAGMDL00492378
WAGMDL00493694
WAGMDL00493697
WAGMDL00574824
WAGMDL00624503
WAGMDL00624527
WAGMDL00658227
WAGMDL00659270
WAGMDL00659801
WAGMDL00660331
WAGMDL00667936
WAGMDL00674280
WAGMDL00700161
WAGMDL00700240
WAGMDL00705318


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WAGMDL00709395
WAGMDL00709508
WAGMDL00709510
WAGMDL00749381
WAGMDL00751821
WAGMDL00751871
WAGMDL00757193
WAGMDL00757759
WAGMDL00757762
WAGMDL00757776
WAGMDL00757788
WAGMDL00773926
WAGMDL00777158
WAGMDL0387653‐00387974
WAGMDL0387975‐00387982
ABDCMDL00000099‐ABDCMDL00000100
ABDCMDL00000124‐ABDCMDL00000147
ABDCMDL00000169‐ABDCMDL00000170
ABDCMDL00003367‐ABDCMDL00003429
ABDCMDL00017114
ABDCMDL00037394‐ABDCMDL00037396
ABDCMDL00045074
ABDCMDL00141716
ABDCMDL00142299‐ABDCMDL00142301
ABDCMDL00151471‐ABDCMDL00151472
ABDCMDL00151814‐ABDCMDL00151817
ABDCMDL00152836‐ABDCMDL00152838
ABDCMDL00156065
ABDCMDL00156095‐ABDCMDL00156097
ABDCMDL00158306‐ABDCMDL00158309
ABDCMDL00158342
ABDCMDL00158675
ABDCMDL00158730
ABDCMDL00158732
ABDCMDL00158734
ABDCMDL00158760‐ABDCMDL00158761
ABDCMDL00159415‐ABDCMDL00159416
ABDCMDL00159417
ABDCMDL00163537‐ABDCMDL00163541
ABDCMDL00170149
ABDCMDL00246107‐ABDCMDL00246109
ABDCMDL00246985
ABDCMDL00247169‐ABDCMDL00247172
ABDCMDL00250024‐ABDCMDL00250063
ABDCMDL00251385
ABDCMDL00251386‐ABDCMDL00251391
ABDCMDL00251392‐ABDCMDL00251394


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              Walgreens Second Supplemental Combined Discovery
              Responses




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Date               Deposition/Discovery
                   Cardinal Health's Respones to
                   Plaintiffs' First Requests for
       5/29/2018   Production
                   Cardinal Health's Responses to
       5/29/2018   Plaintiffs' Interrogatories
                   CVS Health Corp’s Objections and
                   Responses to Plaintiffs' First Set of
                   Requests for Production of
       6/18/2018   Documents
                   CVS Health Corp's Objections and
                   Responses to Plaintiffs’ First Set of
       6/18/2018   Interrogatories
                   Deposition of Shirlene Justus ‐
       7/13/2018   Transcript and Exhibits
                   Deposition of Kristine Fidler ‐
       7/19/2018   Transcript and Exhibits
                   Deposition of Michael Oriente,
       7/19/2018   transcript and exhibits
                   Cardinal Health's Responses to
                   Plaintiffs' First Combined Discovery
       7/31/2018   Requests
                   McKesson Corporation’s Objections
                   and Responses to Plaintiffs’
       7/31/2018   Combined Discovery Requests
                   Deposition of Nate Hartle, transcript
        8/1/2018   and exhibits
                   Deposition of David May, transcript
        8/4/2018   and exhibits
                   Deposition of May, transcript and
        8/4/2018   exhibits
                   Deposition of Jennifer Norris ‐
        8/7/2018   Transcript and Exhibits
                   Deposition of Dave Gustin, transcript
       8/17/2018   and exhibits

                   CVS Indiana LLC’s and CVS Rx
                   Services, Inc.’s Amended Objections
                   and Responses to Interrogatories No.
                   1‐6, 8‐10, 13, 15‐18, 20‐21 and 30 of
                   Plaintiff's First Set of Interrogatories
       9/10/2018
                 Cardinal Health’s Written Response
       9/11/2018 to Plaintiffs’ 30(b)(6) Topic 1
                 Deposition of Todd Cameron ‐
       9/26/2018 Transcript and Exhibits




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                   CVS Indiana LLC's and CVS Rx
                  Services, Inc.'s Amended Objections
                  and Responses to Requests No. 1‐6
                  and 9–33 of Plaintiffs' First Set of
                  Requests for Production of
      9/27/2018   Documents
                  Deposition of Chris Lanctot ‐
     10/10/2018   Transcript and Exhibits
                  Deposition of Eric Stahmann,
     10/16/2018   transcript and exhibits
                  Deposition of Ray Carney ‐ Transcript
     10/16/2018   and Exhibits
                  Cardinal Health’s Written Response
                  to Plaintiffs’ 30(b)(6) Topics (O), 9‐11
     10/18/2018
                Deposition of Steve Mays, transcript
     10/24/2018 and exhibits
                Cardinal Health’s Written Response
     10/25/2018 to Plaintiffs’ 30(b)(6) Topic 2
                Deposition of Stephan Kaufhold,
     10/26/2018 transcript and exhibits

                CVS Indiana LLC's and CVS Rx Services
                Inc.'s Written Response to Topic 1 of
                Plaintiffs' Amended Second Notice of
      11/8/2018 Deposition Pursuant to Rule 30(b)(6)
                Deposition of Blaine Snider, transcript
      11/8/2018 and exhibits
                Cardinal Health’s Written Response
      11/9/2018 to Plaintiffs’ 30(b)(6) Topics 3‐5

                  Cardinal Health’s Written Response
                  to Plaintiffs’ 30(b)(6) Topics 13, 15‐21
     11/14/2018
                Deposition of Nathan Elkins,
     11/14/2018 transcript and exhibits

                  CVS’s Written Responses to Topics 8,
                  9, 12, 13 AND 14 of Plaintiffs'
                  Amended Second Notice of
     11/15/2018   Deposition Pursuant to Rule 30(b)(6)
                  Deposition of Mark Hartman ‐
     11/15/2018   Transcript and Exhibits
                  Deposition of Patricia Daugherty,
     11/15/2018   transcript and exhibits
                  Deposition of Tracy Jonas, transcript
     11/15/2018   and exhibits



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                Depo. of John Hassler, transcript and
     11/16/2018
                exhibits
                Deposition of James Rausch,
     11/16/2018 transcript and exhibits
                Deposition of Nicholas Rausch ‐
     11/16/2018 Transcript and Exhibits

                  CVS Indiana LLC’s and CVS Rx Services
                  Inc.'s Partial Written Response to
                  Topic 2 of Plaintiffs' Amended Second
                  Notice of Deposition Pursuant to Rule
     11/19/2018   30(b)(6)
                  Deposition of Mark Vernazza,
     11/20/2018   transcript and exhibits
                  Depo. of Kevin Kreutzer, transcript
     11/27/2018
                  and exhibits
                  Deposition of Eric Brantley ‐
     11/27/2018   Transcript and Exhibits
                  Deposition of Eric Brantley and
     11/27/2018   Exhibits
                  Deposition of Kevin Kruetzer,
     11/27/2018   transcript and exhibits
                  Email from Maier to Crawford re
     11/27/2018
                  Chargeback Data Bates Numbers
                  Depo. of Joesph Tomkiewicz,
     11/28/2018
                  transcript and exhibits
                  Deposition of Joe Tomkiewicz,
     11/28/2018   transcript and exhibits
                  Deposition of William De Gutierrez‐
     11/28/2018   Mahoney, transcript and exhibits
                  Deposition of Amy Propatier,
     11/29/2018   transcript and exhibits
                  Deposition of Victor Borelli, transcript
     11/29/2018   and exhibits

                Cardinal Health's First Supplemental
                Responses to Plaintiffs' First
     11/30/2018 Combined Discovery Requests

                  CVS Indiana LLC's and CVS Rx
                  Services, Inc.’s Amended Objections
                  and Responses to Interrogatories No.
                  11, 13 and 30 of Plaintiffs' First Set of
                  Interrogatories
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                  CVS Rx Services, Inc. Rx Services,
                  Inc.'s and CVS Indiana LLC's
                  Objections and Responses to
                  Plaintiffs' Objections and Responses
                  to Plaintiffs' First Combined Discovery
                  Requests to National Retail Pharmacy
     11/30/2018   Defendants
                  Deposition of Ed Bratton, transcript
     11/30/2018   and exhibits
                  Deposition of Steve Reardon ‐
     11/30/2018   Transcript and Exhibits
                  McKesson Corporation’s
                  Supplemental Objections and
                  Responses to Plaintiffs’ Combined
     11/30/2018   Discovery Requests
                  Deposition of Gilberto Quintero ‐
      12/6/2018   Transcript and Exhibits
                  Deposition of Mark Nicastro,
      12/6/2018   transcript and exhibits
                  Deposition of Tom McDonald,
      12/7/2018   transcript and exhibits
                  MDL2804; Discovery Ruling No. 12,
      12/9/2018   SM Cohen
                  Catherine Stewart deposition
     12/11/2018   transcript
                  Deposition of Nancy Baran, transcript
     12/11/2018   and exhibits
                  Deposition of Ronald Link, transcript
     12/11/2018   and exhibits
                  Deposition of Shaun Abreu 30(b)(6),
     12/13/2018   transcript and exhibits
                  Deposition of Steve Morse ‐
     12/13/2018   Transcript and Exhibits
                  Depo. of Collen McGinn, transcript
     12/14/2018
                  and exhibits
                  Deposition of Lisa Walker and
     12/14/2018   Exhibits
                  Deposition of Steve Bamberg,
     12/14/2018   transcript and exhibits
                  Deposition of Steve Mills, transcript
     12/14/2018   and exhibits
                  Deposition of Ed Bratton (30(b)(6)),
     12/16/2018   transcript and exhibits
                  Deposition of Steven Becker,
     12/19/2018   transcript and exhibits



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                Deposition of William Ratliff,
     12/19/2018 transcript and exhibits
                Energy and Commerce Committee
                Report, “Red Flags and Warning Signs
                Ignored: Opioid Distribution and
                Enforcement Concerns in West
     12/19/2018 Virginia,” dated, December 19, 2018
                Deposition of Douglas Peterson,
     12/20/2018 transcript and exhibits
                Deposition of Mike Bleser, transcript
     12/20/2018 and exhibits
                Deposition of (DDM) Peter Ratycz ‐
     12/21/2018 Transcript and Exhibits
                Deposition of Rex Swords, transcript
     12/21/2018 and exhibits
                Deposition of Steve Lawrence ‐
       1/4/2019 Transcript and Exhibits
                Teva 1/7/19 Response to Plaintiffs’
       1/7/2019
                Third Set of Interrogatories
                Deposition of Ginger Collier,
       1/8/2019 transcript and exhibits
                Deposition of Kate Neely
                (Muhlenkamp), transcript and
       1/8/2019 exhibits
                Deposition of Mary Woods (30(b)(6)),
       1/9/2019 transcript and exhibits
                Deposition of Micheal Bishop,
       1/9/2019 transcript and exhibits
                Deposition of Donald Walker,
      1/10/2019 transcript and exhibits
                Deposition of Frank Devlin, transcript
      1/10/2019 and exhibits
                Deposition of Gary Hilliard, transcript
      1/10/2019 and exhibits
                Deposition of Jack Crowley transcript
      1/10/2019 and exhibits
                Deposition of Kim Howenstein ‐
      1/10/2019 Transcript and Exhibits
                Deposition of Mary Woods, transcript
      1/10/2019 and exhibits
                Deposition of Shauna Helfrich,
      1/10/2019 transcript and exhibits
                Deposition of Wayne Bancroft,
      1/10/2019 transcript and exhibits
                Deposition of Cassi Baker ‐ Transcript
      1/11/2019 and Exhibits



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                CVS’s Written Responses to Topics 2,
                4, 10, 16 and 17 of Plaintiffs'
                Amended Second Notice of
      1/14/2019 Deposition Pursuant to Rule 30(b)(6)
                Deposition of Ed Lanzetti, transcript
      1/14/2019 and exhibits
                Deposition of Denny Murray,
      1/15/2019 transcript and exhibits
                  Deposition of Karen Harper,
      1/15/2019   transcript and exhibits
                  Deposition of Dean Vanelli, transcript
      1/16/2019   and exhibits
                  Deposition of Laurie Zaccaro,
      1/16/2019   transcript and exhibits
                  Deposition of Aaron Burtner,
      1/17/2019   transcript and exhibits
                  Deposition of Christopher Domzalski,
      1/17/2019   transcript and exhibits
                  Deposition of Craig Schiavo,
      1/17/2019   transcript and exhibits
                  Deposition of Doug Emma ‐
      1/17/2019   Transcript and Exhibits
                  Deposition of Gary Boggs, transcript
      1/17/2019   and exhibits
                  Deposition of Thomas Napoli,
      1/17/2019   transcript and exhibits
                  Deposition of John Merritello,
      1/18/2019   transcript and exhibits
                  Deposition of Rich Ryu ‐ Transcript
      1/18/2019   and Exhibits
                  Deposition of Gary Millikan,
      1/19/2019   transcript and exhibits

                Deposition of Michele Dempsey –
      1/22/2019 Day 1, transcript and exhibits

                  Cardinal Health's Second
                  Supplemental Responses to Plaintiffs'
      1/22/2019   First Combined Discovery Requests
                  Deposition of Chris Forst ‐ Transcript
      1/22/2019   and Exhibits
                  Deposition of James Doroz,
      1/23/2019   transcripts and exhibits
                  Deposition of James Whited,
      1/23/2019   transcripts and exhibits



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                Deposition of Tasha Polster,
      1/23/2019 transcript and exhibits
                Deposition of Terrance Dugger,
      1/23/2019 transcript
                Deposition of Thomas Convery ‐
      1/23/2019 Transcript and Exhibits
                Deposoition of Henry John Mortelliti,
      1/23/2019 transcript and exhibits
                Cardinal      Health’s    Supplemental
                Written Response to Plaintiffs’
      1/24/2019 30(b)(6) Topic (a)
                Cardinal Health’s Written Response
      1/24/2019 to Plaintiffs’ 30(b)(6) Topics 16‐18
                Deposition of Ellen Wilson, transcript
      1/24/2019 and exhibits
                Deposition of Kelly Baker, transcript
      1/24/2019 and exhibits
                Deposition of Kimberly Anna‐Soisson ‐
      1/24/2019 Transcript and Exhibits
                Deposition of Pam Hinkle, transcript
      1/24/2019 and exhibits
                Deposition of Thomas Udicious,
      1/24/2019 transcript and exhibits
                1/25/2019 CAH Discovery Hearing ‐
      1/25/2019 Transcript

                  CVS Indiana LLC's and CVS Rx Services
                  Inc.'s Amended and Objections and
                  Responses to Interrogatories No. 7,
                  12, 14, 15, 17, 19, and 22‐29 of
                  Plaintiffs' First Set of Interrogatories
      1/25/2019
                Deposiiton of Sherri Hinkle, transcript
      1/25/2019 and exhibits
                Deposition of Barb Martin, transcript
      1/25/2019 and exhibits
                Deposition of Christopher Dymon,
      1/25/2019 transcript and exhibits
                Special Master Cohen Discovery
                Hearing Transcript of January 25,
      1/25/2019 2019
                Def MNK Supplemental ROG
      1/30/2019 responses
                Deposition of Jeff Peacock, transcript
      1/30/2019 and exhibits
                Deposition of John Adams, and
      1/30/2019 transcript exhibits



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                Deposition of John Gillies 30(b)(6),
       2/7/2019 transcript and exhibits
                Deposition of (ABDC) Christopher
       2/8/2019 Zimmerman, transcript and exhibits
                Deposition of Christopher
       2/8/2019 Zimmerman, transcript and exhibits
                Deposition of Steve Mays (II),
       2/8/2019 transcript and exhibits
                Deposition of Tiffany Rowley‐Kilper,
       2/9/2019 transcript and exhibits
                Deposition of William Hunter,
      2/12/2019 transcript and exhibits
                Deposition of Mike DiBello, transcript
      2/19/2019 and exhibits
                CVS Indiana LLC and CVS Rx Services
                Inc. Discovery Ruling No. 15
      2/22/2019 Supplement
                Cardinal Health’s Revised and
                Supplemental Written Response to
       3/4/2019 Plaintiffs’ 30(b)(6) Topic (a)
                Cardinal Health’s Written Response
       3/4/2019 to Plaintiffs’ 30(b)(6) Topic 14

                Cardinal Health's Second
                Supplemental Responses to Plaintiffs'
       3/4/2019 First Set of Interrogatories

                  Cardinal Health's Third Supplemental
                  Responses to Plaintiffs' Frist
       3/4/2019   Combined Discovery Requests
                  CVS Indiana LLC's and CVS Rx
                  Services, Inc.'s Amended Objections
                  and Responses to Interrogatory No.
                  15. of Plaintiffs' First Set of
       3/4/2019   Interrogatories
                  Def MNK Supplemental ROG
       3/4/2019   responses
                  Mallinckrodt's Responses to Plaintiffs'
       3/4/2019   Interrogatories
                  McKesson Corporation’s Second
                  Supplemental Objections and
                  Responses to Plaintiffs’ Combined
       3/4/2019   Discovery Requests
                  Par's Supp Obj & Resp to Plfs Rogs 1‐
       3/4/2019   5,10‐12,16‐17, 22‐24. 27, 29‐33




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                     Deposition of Michele Dempsey –
         3/8/2019    Day 2, transcript and exhibits
                     Deposition of Deb Bish, transcript and
         3/8/2019    exhibits
                     Deposition of Jennifer Diebert,
         3/8/2019    transcript and exhibits
                     Deposition of Tina Steffanie‐Oak,
        3/11/2019    transcript and exhibits
                     Deposition of Steven Macrides and
        3/15/2019    Exhibits
                     Deposition of Paul Campanelli and
        3/21/2019    Exhibits

                     Cardinal Health's Third Supplemental
                     Responses to Plaintiffs' First Set of
        3/25/2019    Interrogatories
                     Expert Report of Craig J. McCann,
        3/25/2019    Ph.D., CFA
                     McKesson Corporation’s Third
                     Supplemental Objections and
                     Responses to Plaintiffs’ Combined
        3/29/2019    Discovery Requests
                     Deposition of Sergio Tejeda,
         4/2/2019    transcript and exhibits
                     Deposition of Frank Geraci transcript
         4/4/2019    and exhibits
                     Cardinal Health's Supplemental
                     Responses to Plaintiffs' First Set of
        11/30/2019   Interrogatories
1/16/2019‐           Deposition of Tracy Norton and
1/17/2019            Exhibits
12/12/2018‐          Deposition of Stephen Seid transcript
12/13/2018           and exhibits
                     All discovery responses served by
                     Defendants included in my report.




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                                                     Schedule II




          Fig. 11




1
    See Expert Report of Craig J. McCann, Ph.D, CFA, App. 9, p. 14.
                                                           240
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           Fig. 22




2
    Id. at p. 29.
                                               241
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           Fig. 33




3
    Id. at 51.
                                               242
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Fig. 44




4
    Id. at 136.
                                               243
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           Fig. 5.5




5
    Id. at 52.
                                               244
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           Fig. 66




6
    Id. at 137.
                                               245
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           Fig. 7.7




7
    Id. at 53.
                                               246
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           Fig. 88




8
    Id. at 138.
                                               247
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           Fig. 9.9




9
    Id. at 93.
                                               248
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           Fig. 1010




10
     Id. at 178.
                                               249
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           Fig. 11.11




11
     Id. at 94.
                                               250
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           Fig. 1212




12
     Id. at 179.
                                               251
        Case: 1:17-md-02804-DAP Doc #: 3007-21 Filed: 12/17/19 252 of 314. PageID #: 441230




           Fig. 1313




13
     Id. at 95.
                                               252
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           Fig. 1414




14
     Id. at 180.
                                               253
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           Fig. 1515




15
     Id. at p. 54.
                                               254
        Case: 1:17-md-02804-DAP Doc #: 3007-21 Filed: 12/17/19 255 of 314. PageID #: 441233




           Fig. 1616




16
     Id. at 139.
                                               255
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           Fig.1717




17
     Id. at 55.
                                               256
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           Fig. 1818




18
     Id. at 140.
                                               257
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           Fig. 1919




19
     Id. at 56.
                                               258
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           Fig. 2020




20
     Id. at 141.
                                               259
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           Fig. 2121




21
     Id. at 96.
                                               260
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           Fig. 2222




22
     Id. at 181.
                                               261
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           Fig. 2323




23
     Id. at 97.
                                               262
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           Fig. 2424




24
     Id. at 182.
                                               263
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           Fig. 2525




25
     Id. at 98.
                                               264
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           Fig. 2626




26
     Id. at 183.
                                               265
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           Fig. 2727




27
     Id. at p. 48.
                                               266
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           Fig. 2828




28
     Id. at 133.
                                               267
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           Fig. 2929




29
     Id. at 49.
                                               268
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           Fig. 3030




30
     Id. at 134.
                                               269
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           Fig. 3131




31
     Id. at 50.
                                               270
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           Fig. 3232




32
     Id. at 135.
                                               271
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           Fig. 3333




33
     Id. at 90.
                                               272
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           Fig. 3434




34
     Id. at 175.
                                               273
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           Fig. 3535




35
     Id. at 91.
                                               274
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           Fig. 3636




36
     Id. at 176.
                                               275
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           Fig. 3737




37
     Id. at 92.
                                               276
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           Fig. 3838




38
     Id. at 177.
                                               277
        Case: 1:17-md-02804-DAP Doc #: 3007-21 Filed: 12/17/19 278 of 314. PageID #: 441256




           Fig. 3939




39
     Id. at p. 142.
                                               278
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           Fig. 4040




40
     Id. at 143.
                                               279
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           Fig. 4141




41
     Id. at 144.
                                               280
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           Fig. 4242




42
     Id. at 184.
                                               281
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           Fig. 4343




43
     Id. at 185.
                                               282
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           Fig. 4444




44
     Id. at 186.
                                               283
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           Fig. 4545




45
     Id. at p. 60.
                                               284
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           Fig. 4646




46
     Id. at 145.
                                               285
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           Fig. 4747




47
     Id. at 61.
                                               286
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           Fig. 4848




48
     Id. at 146.
                                               287
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           Fig. 4949




49
     Id. at 62.
                                               288
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           Fig. 5050




50
     Id. at 147.
                                               289
        Case: 1:17-md-02804-DAP Doc #: 3007-21 Filed: 12/17/19 290 of 314. PageID #: 441268




           Fig. 5151




51
     Id. at 102.
                                               290
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           Fig. 5252




52
     Id. at 187.
                                               291
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           Fig. 5353




53
     Id. at 103.
                                               292
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           Fig. 5454




54
     Id. at 188.
                                               293
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           Fig. 5555




55
     Id. at 104.
                                               294
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           Fig. 5656




56
     Id. at 189.
                                               295
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           Fig. 5757




57
     Id. at p. 75.
                                               296
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           Fig. 5858




58
     Id. at 160.
                                               297
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           Fig. 5959




59
     Id. at 76.
                                               298
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           Fig. 6060




60
     Id. at 161.
                                               299
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           Fig. 6161




61
     Id. at 77.
                                               300
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           Fig. 6262




62
     Id. at 162.
                                               301
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           Fig. 6363




63
     Id. at 202.
                                               302
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           Fig. 6464




64
     Id. at 203.
                                               303
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           Fig. 6565




65
     Id. at 204.


                                               304
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